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                  2022-1866, 2022-1867, 2022-1868
              VOLUME II OF III; APPX01465-APPX06355


            United States Court of Appeals
                for the Federal Circuit

                            GOOGLE LLC,
                              Appellant

                                   v.

                    SINGULAR COMPUTING LLC,
                             Appellee

         Appeals from the United States Patent and Trademark Office,
                  Patent Trial and Appeal Board in Case Nos.
            IPR2021-00155, IPR2021-00165, and IPR2021-00179

               NON-CONFIDENTIAL JOINT APPENDIX

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         Case: 22-1866   Document: 50-2   Page: 2   Filed: 02/03/2023




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9/17/2019 Exhibit 1001 U.S. Patent 10,416,961          Appx261-290
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10/30/2020 Exhibit 1007 U.S. Patent Application       Appx1465-1475
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                        ("Dockser")
10/30/2020 Exhibit 1008 Tong et. al, Reducing Power Appx1476-1489
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                        Precision/Range of Floating-
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                        3, June 2000
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10/30/2020 Exhibit 1010 U.S. Patent Application    Appx1505-1514
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                           1911.05289
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                              Computing Machines, 2002
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                   CONFIDENTIAL MATERIAL OMITTED

          The material redacted from this joint appendix on pages Appx38-43,

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Appx7924, Appx8126, Appx9615-9624, Appx9626-9628, Appx9702-9703 and

Appx9916 is subject to a protective order issued by the Patent Trial and Appeal

Board in IPR2021-00155, IPR2021-00165, and IPR2021-00179. The redacted

material includes confidential e-mails and PowerPoint presentations that are

subject to a non-disclosure agreement as well as quotes of those documents that

appear in the parties’ filings and expert declarations. All of the redacted material

was filed under seal at the Patent Trial and Appeal Board.




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(19) United States
c12) Patent Application Publication (JO) Pub. No.: US 2007 /0203967 Al
       Dockser                                                             (43) Pub. Date:                             Aug. 30, 2007

(54) FLOATING-POINT PROCESSOR WITH                                                       Publication Classification
     REDUCED POWER REQUIREMENTS FOR
     SELECTABLE SUBPRECISION                                        (5 1) Int. Cl.
                                                                            G06F 7138                    (2006.01)
                                                                    (52)    U.S. Cl. ........................................................... 708/495
(76)    Inventor: Kenneth Alan Dockser, Cary, NC (US)
                                                                    (57)                           ABSTRACT
                                                                    A method and apparatus for perfonning a floating-point
        Correspondence Address:                                     operation with a floating-point processor having a given
        QUALCOMM[NCORPORATED                                        precision is disclosed. A subprecision fo r the floating -point
        5775 MOREHOUSE DR.                                          operation on one or more floating-point numbers is selected.
        SAN DIEGO, CA 92121 (US)                                    The selection of the subprecision results in one or more
                                                                    excess bits for each of the one or more floating-point
                                                                    nUlllbers. Power may be removed from one or more com-
(2 1) Appl. No.:         11/363,118                                 ponents in the floating-point processor that would otherwise
                                                                    be used to store or process the one or more excess bits, and
                                                                    the fl oating-point operation is performed with power
(22)    Filed:           Feb. 27, 2006                              removed from the one or more components.


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                                                                                                   KEYBOARD/
                                                                                                       MOUSE
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US 2007/0203967 Al                                                                                            Aug.30,2007



l'LOATL,G-POlJ\T PROCESSOR wnu REDUCED                                                      SUMMARY
   POWER REQUIRl<::\U:l\TS FOR SELl£CIABLE
                                                                   [0004] An aspect of a method of performing a floating-
               SUBPRF.CISTO:\.
                                                                   point operation with a floatin g-point prncessor having a
                                                                   precision format is disclosed. The method includes selecting
                      BACKGROUND                                   a subprccision for the floating-point operation on one or
(0001] Floating-point processors are specialized comput-
                                                                   more floating-point numbers, the selection of the suhprcci-
ing units that perform certain mathematical operations, e.g.,      sion resulting in one or more excess bits for each of the one
                                                                   or more floating-point numbers . The method further
multiplication, divisi011, trigouoruetric firnctions, aud expo-
                                                                   includes removing power from one or more components in
nential functions, at. high speed. Accordingly, powerful           the floating-point processor that would otherwise be used to
computing systems often incorporate floating-point proces-         store or process the one or more excess bits, and performing
sors, either as part of the main processor or as a rnprocessor.    the floating-point operation with power removed from the
A floating-point representation of a number colllillonly           one or more components.
includes a sign component, an exponent, and a muntissa. To
find the value of a floating-point number, the nrnntissa is        [0005] One aspect of a tloating-point processor b.w ing a
multiplied by a base (commonly 2 in computers) raised to           precision forn1at is disclosed. The floating-point processor
the power of the exponent. The sign is applied to the              includes a floating-point controller configured to select a
resultant value.                                                   subprecisiou for a !loaling-point operation on one Dr more
                                                                   floating-point numbers, the selection of the subprecision
(0002] "J1ie precision of the lloatiug:-point processor is         resulting in one Dr more excess bits for each of the one or
defined by the number of bits used to represeut the mamissa.       more floating-point munbers. the floating-point controller
The more hits in the mantissa, the greater the precision . The     hcing further configured to remove power from DllC or more
precision of the floating-point processor generally depends        components in the floating-point pmcessor that would oth-
on the particular application. For example, the ANSl/lEEE-         erwise be used To store or process the one or more excess
754 standard (commonly followed by modern computers)               bits. The tloating-poiut processor further includes a floating-
                                                                   poiut operator configured to perform the tloating-point
specifies a 32-bit single format having a I-bit sign, an 8-bit
                                                                   operation.
exponent and a 23-bit mantissa. Only the 23 fraction bits of
the mantissa arc stored in the 12-hit encoding, an integer hit,    [0006]    Another aspect ofa floating-point processor having
immediately to the left of the bin,1ry point, is implied. '!he     a precision fonual is disclosed. The floatin)!; ·poiut processor
IEEE-754 also specifies a 64-bit double format having a            includes a floating-point register having a plurality of stor-
I-bit sign, an I I-bit exponent, and a 53-bit mantissa. Analo-     age elements configured to store a plurality of floating-point
gous to the si11glc encoding. only tho 52 fraction hits of the     numbers, and a floating-point operator configured to per-
mantissa are stored i.l1 the 64-bit encoding, an integer bit,      form a floating-point operation on the one or more of the
immediately to the left of the binary point, is implied. Jligher   floating-point numbers stored in the floating-point register.
precision results in a higher accurncy, but commonly results       The floating-point processor forther includes a 11oaling-point
in intr~sed power consumption.                                     controller configured to select a subprecjsion for a tloating-
                                                                   point operatiou on said one or more of tile floating-point
(0003] ·111e performance of Jloating-poinl arithmetic              nwnbers. Ll1e selection of the subprecision resulting: in one or
operations can entail computational inefficiency because           more excess bits for each of said one or more of tbe
floating-point processors arc commonly limited to U1c pre-         floating-point munbers, the one or more excess bits being
cision provided by either the single format, or borh the single    stored in one or more of the storage elements of the
and double fornrnts. While some applications may require           floating-point register, and wherein the floating-point con-
these types of precision, other applications may not. For          troller is further configured to remove power from the
example, some graphics applications may only require a             storage elements for the one or more excess bits.
16-bit mautissa. For th.ese graphics applications, any accu-
                                                                   [0007] A further aspect of a floating-point processor hav-
racy beyond. 16 bits of precision tends to result in unneces-
                                                                   ing a precis.ion formal is disclosed. ·111e floaling:-poinl pro-
sary power consumption. This is of particular concern in
                                                                   cessor includes a floating-point register configured to store
battery operated devices 1vhcre power rnmes at a premium,
                                                                   a plurality of floating-point numbers, and a Jluating-point
such as wireless telephones, personal digital assismnrs
                                                                   operator having logic configured to perform a floating-point
(PDA), laptops, game consoles, pagers, and cameras, just to
                                                                   operation on the one or more of the floating-point numbers
name a fcw. lfit is k-110wn that an application always requires
                                                                   stored in the floating-point register. The floating-point pro-
a certain rednced precision, the tloating-point processor can
                                                                   cessor further includes a tloating-point controller configured
be designed and built to that reduced precision. For general       to select a subprccision for a floating-point operation on said
purpose processors, however, the common siniation is t!Jat
                                                                   one or more of the floating-point nwnlx:rs. the selection of
for certain applications. e.g. generating 3D graphics, a
                                                                   the subprecision resulting in one or more excess bits for each
reduced precision may be acceptable, and for other appli-
                                                                   of said one or more of the floating-point numbers, and
cations. e.g. implementing Global Positioning System (GPS)
                                                                   wherein the floating-point controller is further configured to
fimc1ions, a greater precision may be needed. Accordingly,
                                                                   rcnmvu power a portion of tho logic that would otherwise be
there is a need in the arl for a Jloatiug-poiut processor in
                                                                   used to process the one or more excess bits.
which the reduced precision, or subprecision, of the floating-
point fonnat is selectable. Power management techniques            [0008] It should be understood tlrnt other embodiments of
may also he employed to ensure that that the floating-point        the float ing-point processor. and of the method of perform-
processor docs not consume more power tlkm necessary to            ing 11oating-poiut operations, will become readily apparent
support the selected subprecision.                                 to those skilled in tbe art from the following detailed




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description. in which various embodiments of the floating-            be implemented as part of the nwin processor, a coprocessor,
point processor and of the method of perfonning floating-             or a separate entity connected to the main processor through
point operntions are shown and describe<l by way of illus-            a bus or other clwnnel.
tration. As will be realized, other and different embodiments
of the floating-point processor and of the method of per-             [0016] The floating-point register fi le ll O may be any
forming lloaling-point operation, arc possible, and the               suitable storage mcdiwn. In the embodiment shown in fl(;_
details used to describe these embodiments are capable of             1, the floating-point register lilc 110 includes several addres-
modification in many respects. Accordingly, the drnwings              sable register locations 115-1 (IWGJ), 115-2 (REG2), ...
and the detailed description me to be regarded as illustrative        115-N (REGN). each configured to store an operand for a
in nature. and not as restrictive.                                    floaring-point operation. The operands may indudc, for
                                                                      example, data from a memory and/or the results of previous
      TlRIEP DFSCRIPTTON or TITF DRAWINGS                             floating-point operations. lnstrucrions provided 10 the float-
                                                                      ing-point processor uwy be used to move the operands to
[0009] FIG. 1 is a fimctional block diagram illustrating an           and from the main memory.
example of a floating-point processor with selectable sub-
precision;                                                            [0017] FIG. 2 schematically illustrates an example of the
                                                                      data structure for a floating-point register file 110 used in a
[0010] FIG. 2 is a grnphical illustration of an example of            noaring-point processor 100 with selectable subprecision, as
a floating-point register file used in a floating-point proces-       described in conjunction with 1;10. 1. In the embodiment
sor with selectable suhprecision;                                     illustrated in rIG. 2, the floating-point register file 110
[0011] l-'IG. 3A is a conceptual diagr,un illustrating an             includes sixteen <1d<lressable register locations. each register
example of a floating-point addition performed usiug a                location beinQ referred to with reference numeral 200 in
floating-point processor with selectable subprecision; and            l'IG. 2 for co;wenience. E:ich register location 200 is con-
                                                                      figured to store a 32-bit binary floating-point number, in an
[0012] FIG. 38 is a conceptual diagram illustrnting an                IREE-754 32-bit single format. In particular, each register
example of a lloaling-poinl multiplication that is performed          location 200 contains a 1-bir sign 202, an 8-bit exponent
using a floating-point processor with selectable subprcci-            204, and a 24-bit frnction 206. It should of course be
sion.                                                                 understood, however, that other embodiments of the float-
                                                                      ing-point processor 100 may include a floating-po int register
                DETAILED DESCRIPTION                                  file UO tbat is formatted dilforeutly from IEEE 32-bit single
[00 I 3] The detailed description sci Jorth below in connc'C-         format (including but no! limited lo IEEE 64-bit double
Iion with the appended drawings is intended to describe               formal), and/or may contain a different nwnber of regiskr
various embodiments of the present disclosmc, but is not              locations.
intended to represent the only embodiments in which the               [0018] Reforring back to FIG. l, the floating-point con-
present disclosure may be practiced. Tbe detailed descrip-            troller 130 may be used lo select the subprecision of tbe
tion includes specific details, iu order to permit a thorough         lloating-point opcrntions using a m ntml signal 133. A con-
understanding of tbe present disclosure. It will be appreci-          trol register (CRG) 137 may he loaded with suhprecision
ated by those skilled iu the art, however, that tile prcseot          select bits for example transmitted in the control field of one
<lisdosure may be prm:ticed wi01oul these specific uelails. In        or more instmctions. ln a manner lo he described in greater
some instances, well-known structures and components are              detail later, the subprecision select bits may be used by the
shown in block diagram form, in order to more clearly                 tloating-point controller 130 to reduce the prec ision of tbc
illustrate the concepts of the present disclosure.                    operands. The subprecision select bits may also be used to
[0014] In at least one embodiment of a floating-poin1                 turn oIT portions of the tloating-poinl processor 100. Uy way
processor, the precision for one or more floating-point               of example, tile subprecision select bits may be used ro
operations may be reduced from that oftbe specified format.           remove power from the lloaling-po inl register clements for
ln adJit.ion, power numagemenl leclmiques may be                      the bits that are not required for the subprecision selected.
employed lo emure that the floating-point processor does              The suhpwcision select hits may also be used lo remove
not consume more power thao necessary to support the                  power from logic in the floating-point operator FPO 140 that
selected , ubprecision. lnstmctions provided lo the tloating-         is not used when the selected subprecision is reduced. A
point processor to perform mathematical operntions may                series of switches may be used lo remove and apply power
include a programmable control field. The control field may           10 the floating-point register elements and logic in the
be used to select the subprecision of the floating-point              tloating-poiut operator 140. The switches. which may be
format and manage power consumption. lly selecting the                internal or ex1erlllll to the floating-point register 110 and the
subprccision of the floating-point format, to that needed for         tloaring-point operator 140, may be field effect transistors or
a particular operation, thereby reducing 01e power consump-           any other type of switches.
tion of the tloating-point processor to support the selected
                                                                      [0019] The floating-point operator 140 may include oue or
subprecision, greater dliciency as well as significalll power
                                                                      more components configured to perfonn the floating-point
savings can be achieved.
                                                                      operations. These componems may include, bm are not
[0015] FIG. 1 is a functional block diagrnm illustrating an           limited to, computational units such as a lloatiug-point adder
example of a floating-point processor (FPP) 100 with select-          (ADD) 142 configured to execute floaring-point add and
able subprecision. Tue floating-point processor 100 includes          subtract instructions, and a floating-point multiplier (MUL)
a floating-point register file (f'PR) 110; a floating-point           144 configured to execute floating-point multiply instmc-
controller (CTL) 130; and a floating-point mathematical               Iions. As seen in FIG. I, eacl1 of tbc computational units
operator (FPO) 140. 'll1e floating-point processor 100 may            AIJIJ 142 and MUL 144 in the floating-point operator 140




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is coupled to each other and to the floating-point register file       controller 130. ']be output may be sent back to the floating-
J10 in a way as to allow operands to he transforrcd between            point register 110 for storage. as shown in l'IU. I.
the comput111ional units, as well as between each computa-             [0025] In an embodiment of the floating-point processor
tional unit and the Jloating-point register [iJe 110 . 'llie
                                                                       100, a software selectable mode may be used to reduce the
floating point operator may be coupled to the floating point
                                                                       precision of tl1c floating-point operations under program
rngister through individual connections 134, 135. 136, 137,            control or as explained above, the instructions provided to
138 and 139, as illustrated or may be coupled via a bus or             the floating-point processor 100 may include a progrnm-
any othor suitable coupling. ln at least one cmblidimcnt of            mable control field containing the subprecision select bits.
the floating-point processor 100, the otllput of any one of the        The subprccision select bits arc writtcu to tbe control
computational units (ADD 142 and Ml/T . 144) may he the                register 137, which in tum contmls the bit length of the
input of any other computational unit. The floating-point
                                                                       mantissa for each operand during the floating-point opera-
register file ll Omay be used for storing intermediate results,        tion. Alternatively, the su bprecision select bits nwy be
as we11 as the results that are oul]lut from the floating-poiOl        written to the control register 137 directly from any suitable
operator 140.                                                          user iuterface, including for example but not limited to a
[0020] The adder 142 may be a conventional floating-                   monitor screen/keyboard or mouse 150 shown in FIG.1. In
point adder, collllgured lo perform slandard arithmetic                another embodiment of the floating-point processor 100, tile
operations in a floating-point fonnat. The multiplier 144              subprecision selectiou bits may be written to the coutrol
may be a conventional 11oaling-point multiplier, configured            register 137 directly Jrom the main processor. or its operat-
to perfonu fioating-point multiplication. 'llle multiplier 144         ing, system. The control register 137, which is shown in the
may implcmcul with, by way of example, a Booth or                      floating-point controller 130, may reside elsewhere as a
modified Booth algorithm, and may include partial product              stand-alone entity, imegrated into another entity, or distrib-
generntion logic that generates partial products, and a muu-           uted across multiple entities.
ber of carry-save adders that add up the partial products.             [0026] The subprecision select bi1s may be used to reduce
[0021]    While for simplicity only an allder 142 and a                the precision of the floating-point operation. This may be
multiplier 144 arc shown in FIG. I, the floating-point                 achieved in a variety of ways. In one embodiment, the
operator 140 may also include other compmmion units (not               floating-point controller 130 may cause power to be
shown), which arc known in the art, and which arc config-              removed from tbe floating-point register elements for the
ured to execute other types of floating-point matllematical            excess bits of the fr.,ct ion that are not required lo meet the
operations. Tllese computational units may include, but are            precision specified by the subprecision select bits. l:ly way of
not limited to: a floating-point divider configured to perfom1         example, if each location in the floating-point register tile
floating-point divide instructions; a floatiug. -poiut square-         contains a 23 -bit fraction, and the subprecision required for
root extractor configurell to perform floating-point square-           the noating-point operation is I0-bits, only the 9 commonly
root extract instructions; a lloating-point exponential opera-         significam bits (MSBs) of the fraction are required; the
tor con11gured to execute noating-point exponential                    hidden or integer bit makL'S the tenth. Power can be removed
instrnctions; a floating-poinl logarilhmic operator config-            from the floating-point register elements for the renwining
ured to perform instrnetions for calculating logarithmic               14 fraction hits. If the subprccision for one or more instmc-
functions; and a floating-point trigonometric operntor con-            tions is increased 10 16-bits, then the 15 MSl:ls or the
figured to perfom1 instructions for calculating trigonometric          mantissa wi11 be required. In tbe latter case, power may be
functions.                                                             removed from the floating-poiut register elements for the 8
                                                                       least-significant bits (LSBs) of the fraction.
[0022]    l)iJlcrenl embodiments or the 11oating-point pro-
cessor 100 may inc.lude only one, or some, or all of the               [0027] In addition, the logic in the floating-point operator
computational units listed above. For example, the adder               140 corresponding to the excess mantissa bits do not require
142 and the multiplier 144 may each include one or more                power. Thus, power savings may be achieved by removing
well-known conventional subunits such as aligners that align           power to Lim logic in tile fl oating-point operator 140 that
input operands, nonualizers that shift the result into standard        remains unused as a result of the subprccision selected.
format, and rounders that round the result based on a                  [0028] FJG. 3A is a conceprual diagram i11ustrating an
specified rounding mode. We11-known circuit elements such              example of a lloating-poinl addition operation with power
as bit-inveners, multiplexers. counters, aud combinatorial             being selectively applied to logic in the floating-poim opera-
logic circuits are also included in the adder 142 and. the             tor. ln particular, P!G. JA conceptually illustrates a floating-
multiplier 144.                                                        point addition operation with two input floating-point num-
                                                                       bers 302 and 304, each clrnracrerized by tl1e selec1ed
[OOH] As illustrated in HG. 1, the floaling-point operator
                                                                       subprccision, added together. For simplicity, it is assumed
 140 is coupled to the floating-point register file llO so that
                                                                       that the two numbers 302 aud 304 have alreadv been
for each instruction of a requested floating-point operation,
the relevant computational unit. i.e. the adder 142 or the             aligned, so that no shitiiug need be doue. The floating-point
                                                                       addition operation in the foll precision mode is pertormed
multiplier 144. can receive from the Jloating-point register
                                                                       through a succession of stages, referred to in FIG. 3A with
tile 110 one or more operands stored in one or more of the
                                                                       reference numerals 310i, 3102, . . • , 310,, .. 310.,. In
rngister locations REUL .. . , [{EUN.
                                                                       accordance with stamkml convention, the Jloating-point
[0024] Upon receiving the operands from the floating-                  register stores in order the bits thm make up each number,
point register file 110, one or more compnt1tional units in            rm1ging from a rightmost LSB to a leftmost MSB. Each
the floating-point operator 140 may execute the instmctions            successive one of the stages moving from right to left across
of the requested floating-point operation on the roceived              the FIG. 3.A involves bits that have an increased significance
operanlls. al the subpr~-cision selected by the floating-point         compared to bits involved in the precelli.ng stages .




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[0029] Ju the example illustrated in HG. 3A, the selected                reference numera l 414, is unpowered. The number of bits N
subprecision is represented with a line 305. Power may be                is chosen so that the precision of the remaining stages is not
removed from the logic used to implement each stage to the               adversely affecttxl.
right of the line 305. The cariy-0111 C: from the last powered
                                                                         [0034] The output value, resulting from the floating-point
down stage 310, is forced to zero. Power is supplitxl only to
                                                                         multiplication described above. has a width (i.e. number of
the logic used to implement each stage to the left of the line           bits) that is equal to tbe sum of the widths of tbe two input
305. In rm. 3A, the powered bits provided to the active                  vah1es 402 and 404 that are being multiplied together. Tbe
stages oftbe lloatiog-point operator are shown as Xs, using              output value 430 may be tnmcated to the selected subpre-
reference numeral 322, wbilc tbc unpowcred bits provided                 cision, i.e. any of the bits of the output value 430 that arc in
to the stages with power removed arc shown as circles, using             less the selected precision may be truncated, to generate a
reJerenee numeral 324.                                                   truncated output number characterized by the selected pre-
                                                                         cision. Allerumi vely, the output value 430 may be rounded
[0030] FIG. 3B is a concepmal diagram illustrating an
                                                                         off to the selected precision. l n either case the output bits less
example of a floating-point multiplication operation ,vith               significant tban the selected precision may also he uopow-
power being selectively applied to logic in the floating-point           ered.
operator. The floating-point multiplication operation is per-
formed in the floating-point multiplier MUL, shown in FIG.               [0035] The various illustrative logical muts, blocks, mod-
I with reference numeral I 44. It is in lhe multiplier thal a            ules, circuits, clements, and/or components described in
substantial amount oflogie can be powered down, providing                connection with the embodiments disclosed herein may be
significant power savings. ilinary multiplication as illus-              implemented or performed in a floating-point processor that
trated in FIG. 3B is basicallv a series of additions of shifted          is part of a general purpose processor, a digital signal
floating-point oumbers.      Ji;tl1e illustrated embodiment,             processor (IJSP), an application spccif1c integrated cimiit
binary multiplication is performed between a k-bit multipli-             (ASIC), a field prograllllllable gate array (FPGA) or other
cand 402 and a k-bit multiplier 404, using a shiit-and-add               programmable logic component, discrete gate or transistor
technique. The shift-and-add technique may be replaced by                logic, discrete hardware components, or any combination
a Booth's algorithm, or a modified Booth algorithm mulli-                thereof designed to perforu1 the functions described herein.
plier.                                                                   A general-purpose processor may be a microprocessor, but
                                                                         in tbc alternative. tbe processor may be any conventional
[0031] As in the case of floating-point addition, floating-              processor. controller. microcontroller. or state machine. Tbe
point multiplication is performed in a series of stages,                 processor may also be implemented as a combination of
illustrated in rm. 311 as 410-1, . ... 410-m. Assuming for               computing components, e.g.. a combination of a USP and a
simplicity lhat ilooU1's algorithm is used. one partial product          microprocessor, a plurality of microprocessors, Dnc or more
is generated for every bit in tl1e multiplier 404, a partial             micmproccssors in conjunclion wilh a DSP core, or any
product 420-i being generated during a corresponding stage               other such configuration.
410-i. lf the value or the multiplier is 0. its corresponding
partial product consists only of Os; if the value of the bit is          [0036] The methods or algorithms described in connection
I, its corresponding partial product is a copy of the multi-             with the embodiments disclosed herein may he embodied
plicand. Dach partial product 420-i is left-shifted, as a                directly in hardware, in a software module executed by a
function of the multiplier bit wirh which it is associated,              processor, orin a combinaticm or the two. A software module
after which the operation moves on to rhe next stage. Each               may reside in RAM memory, Jlash memory, ROM memory,
partial product can thus be viewed as a shifted 11umher. Jlie            [ PROM memory. [[PROM memory, registers, bard disk, a
partial product associated with bit O in the multiplier is               removable disk, a CD-ROM, or any other form of storage
left-shifted zero bits, and the partial product associated with          medium knowu in the art. A storage mediwn may be coupled
bit 1 is left-shifted one bit. The partial products m shifted            to the processor such that (he processor can read information
noating-point numbers 420-i am added together to generate                from. and write infonnation lo, tbe slorage 1mxlium. ln the
the output value 430 for the multiplication.                             alternative. the storage medium may be integral to the
                                                                         processor.
[0032] ln the embodiment illustrated in FIG. 3B, rhe
sckction of a desired reduced precision by the controller I JO           [0037] The previous description or the disdos1.,-<l embodi-
is indicated with a line 405. As in the case of floating-point           ments is provided to enable any person skilled in the art 10
addition, described in conjunction with PlG. 3A, power may               make or use tbc present disclosure. Various modifications to
be removed from the logic used to implement the stages ro                these cmhndimenls will be readily apparent to those skilled
the right of the line 405. Power is only applied to the stages           in the art, and the generic principles defined herein nrny be
that are acmally needed to support the selected subprecision,            applied to other embodiments without departing from the
i.e., the stages to the left of the line 405. ln FIG. 3B, the bits       spirit or scope of the disclosure. Thus, the present disclosure
provided to the powered on logic are shown as Xs. while the              is not iutended to be limited to the embodin1euts shown
bits provided lo lhe powered down stages arc sho\.vn as                  herein, but is to be accorded the full scope consistent with
circles .                                                                the claims, wherein reference to an element in the singular
                                                                         is not intended to mean "one and only one" unless specifi-
[0033] As sixn from FIG. 3B, for the first partial product               1:ally so slattxL but rather "one or more ." All structmal and
420-1, the logic for a number of bits N, shown using                     limctional equivalents to the elements of the various
reference numeral 402, is unpowered. For the second partial              embodiments described throughout this disclosure that are
product, the logic for N-1 bits is unpowcrcd, and so forth.              known or later come to be known to those of ordinarv skill
For the m-th partial product or shifted floating-point number            in the art arc expressly incorporated bcrcin by rcforcn~e, and
420-m, the logic for a munber (N-m+l) ofbits, shown using                are intended to be encompassed by the claims. Moreover,




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nothing disclosed herein is intended to be dedicated to the           elements. the one or more excess bits being stored in one or
public regardless of whether such disclosure is explicitly            more of the storage clements, and wherein the one or more
recited in the claims. No claim element is to be construed            components from which power can be removed includes the
umlcr the provisions of 35 U.S.C. ~ 112. sixtl1 paragraph,            stordge elements for the one or more excess bits.
unless the element is expressly recited using the phrase                 10. TI1e floating-point processor of claim 9 wherein the
"means for" or, in the cuse or a method claim, !be element            floating-point operator comprises logic to pedorm tlie float-
is recited using the phrase "s1ep for."                               ing-point operation, and wherein the one or more compo-
                                                                      nents from which power can be removed includes a portion
What is claimed is:                                                   of the logic that would otherwise be used to process the oue
  1. A method of perfomling a floating-point operation with           or more excess bits.
a Aoating-point processor having a maximum precision                     11. 'll1e floating-point processor of claim 8 wherein the
comprising:                                                           tloating-point operator comprises logic to perfom1 the float -
  selecting a subprecision less tlian tlie maximum precision          ing-point operation, and wherein the one or more compo-
    for the lloaling-point operJlion on one or more Jloat.ing-        nents from which power can be removed includes a portion
     point numbers. the selection of tlie subprccision result-        of the logic that would otherwise be used to process the one
     ing in one or more excess bits for each of the one or            or more excess bits.
    more floating-poinr numbers;                                         12. 11te floating-point processor of claim 11 wlierei..t1 tlie
                                                                      floating-point operator includes a floating-point adder.
  removing power 1rmn one or more components in the
    floating-point processor that would otherwise be used                13 . The floating-point processor of claim 12 whcrei..t1Ilic
    to store or process the one or more excess bits; and              floating-point operator is further configured lo force a carry-
                                                                      out from the portion of the logic to zero when the power is
   performing the Jloating-point operntion wilh power                 removed.
      removed from tlie one or more compone.nrs.                         14 . The floating-point processor of claim 11 wlierei..t1tlie
   2. ·1.bc mctho<l of daim 1 further rnmprising using a              floating-point operator includes a floating-point multiplier.
floating-point regis1er with a plurality of storage elements,            15. A floating-point processor having a nrnximum preci-
the one or more excess bits being stored in one or more of            sion comprising:
the storage elements, and wherein the one or more compo-
nents from which power is removed includes the storage                  a floating-point register having a plurality of storage
elements for tlie one or more excess bits.                                elements configured to store a plurnli1y of Jloating-
   3. ·me method of claim 2 li1rther comprising using a                   point numhcrs:
floating-point operator with logic to perfom1 the floating-
point operation, and wherein the one or more components                 a floating-point operator configured to perform a floating-
from which power is removed indudcs a portion oflhe logic                  point operntion on the one or nmre of the floating-point
that woul<l otherwise be used to process the one or more                   numbers stored in the floating-point register; and
excess bits.                                                             a floating-point controller configured to select a subpre-
   4. 111c method of claim 1 further comprising using a                     cision t.,s, than the maximum precision for a floating-
floating-point opermor with logic to perform the floating-                  point operation on said one or more of the floating-
point operation, and wherein the one or more components                      point numbers, the selection of the subprccision
from which power is removed includes a portion ofthe logic                  resulting in one or more excess bits for each of said one
that would otherwise be used to process the one or more                     or more of the tloating-point nwubcrs, the one or more
excess bits.                                                                excess bits hcing stored in one or more of the storage
   5. The method of claim 4 wherein tbc floating-point                      elements of the floating-point register, and wlierein the
operation comprises addition.                                                floating-point controller is further configured to remove
   6. The method of claim 5 further comprising forcing a                    power from the storage elements for the on" or more
can)•-nut from the portion of the logic to zero.                            excess bits.
   7. The mctliod of claim 4 wlicreill the floating-point                16. TI1e floating-poi.tit processor of claim 15 wlierei..t1 the
operation comprises mulTiplication.                                   tloating-poiut operator comprises logic coufig11red to per-
   8. A floating-point processor lrnving a maximum precision          form the floating-point operation, and wherein tlie floating-
comprising:                                                           point comroller is further configured to remove power from
                                                                      a portion of tbe logic that would otherwise be used lo
  a floating-point controller conJlgured lo select a subpre-
                                                                      process the one or more excess bits.
     cision less 1!1<10 the maximum precision for a floating-
     point operation on one or more floating-point muubers.              17 . 'l11e floating-poi..tll processor of claim 16 wherein the
     the selection of the subprecision resulting in one or            floating-point operator includes a floating-point adder.
     more excess hits for each of the one or mmc iloating-               18. The floating-point processor of claim 17 wlierei.t1 tlie
     point numbers, the floating-point controller hc.ing fur-         floating-point operator is further configured to force a carry-
     ther configured to remove power from one or more                 Olli from the portion of tlie logic to zero when tlie power is
     components in the floating-point processor that would            removed.
     otherwise be used lo store or process the one or more               19 . 'l11e !louting-point processor of claim 16 wherein !be
     excess bits; and                                                 lloating-poinl operator includes a Jloati..t1g-point multiplier.
                                                                         20. A Jloating-poinl processor having a llli1ximum prnci-
  a Jloating-point operator conJlgured lo perform the float-          sion comprising:
      ing-point operation.
  9. The floating-point pmccssor of claim 8 further com-                a tloating-point register configured to store a plurality of
prising a tloating-point register having a plurality of storage            11oaling-point numbers:




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  a floating-point operator having logic configured to per-             more excess bits being stored in one or more of the storage
     fon11 a floating-point operation on the one or more of             elclllents. and wherein tbc floating-point controller is further
     the lloating-point numbers stored in the floating-point            conligured t:o remove power from the stornge elements for
     register: and                                                      the one or more excess bits.
  a noating-point controller configured to select a subpre-                22. TI!e floating-point processor of claim 20 wherein the
      cision less than the maximum precision for a floating-            floating-point operator includes a floating-point adder.
      point opcmtion on said one or more of the noating-                   23. TI!e floating-point processor of claim 22 wherein tile
      poinl numbers, the selection of the suhprecision                  lloatiug-point opcmlor is further configtu<.,'<l to force a carry-
      resulting in one or more excess birs for each of said. one        out from the portion of the logic to zero when the power is
      or more of the tloating-point number,, and wherein the            removed.
      tloating-poi111 co111roller is further configured to remove          24 . The tloating-point processor of claim 20 wherein the
      power from a ponion of the logk tuat would otherwise              lloaling-point operator includc'S a floating-point multipl ier.
      be used to process the one or more excess bits.                   and power is removed from portions of elements comprising
   21. The floating-point processor of claim 20 wherein the             partial products within the floating-point multiplier.
floating-register comprises a plurality of storage elements
configured to store the floating-point number, the one or




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         Reducing Power by Optimizing the Necessary
         Precision/Range of Floating-Point Arithmetic
      Jonathan Ying Fai Tong, Member, IEEE, David Nagle, Member, IEEE, and Rob A. Rutenbar, Fellow, IEEE



    Abstract-Low-power systems often find the power cost of                       these computations as integer operations, we should translate
floating-point (FP) hardware prohibitively expensive. This paper                  them into custom-precision FP.
explores ways of reducing FP power consumption by minimizing                         Specifically, we examine how software can employ the min-
the bitwidth representation of FP data. Analysis of several FP
programs that manipulate low-resolution human sensory data                        imal number of mantissa and exponent bits in FP hardware to
shows that these programs suffer no loss of accuracy even with a                  reduce power consumption, yet maintain a program' s overall
significant reduction in bitwidth. Most FP programs in our bench-                 accuracy. We study experimentally the relationship between the
mark suite maintain the same output even when the mantissa                        accuracy of FP programs and the number of bits used in the
bitwidth is reduced by half. This FP bitwidth reduction can deliver               representation of their data. Our central results demonstrate that
a significant power saving through the use of a variable bitwidth
FP unit. Our results show that up to 66% reduction in multiplier                  many programs which manipulate human sensory inputs, e.g.,
energy/operation can be achieved in the FP unit by this bitwidth                  speech and image recognition, suffer no loss of accuracy with
reduction technique without sacrificing any program accuracy.                     reduced bitwidth in the mantissa or exponent. We use this result
  Index Terms-Analysis, computer-arithmetic, digital CMOS,                        to explore various methods to minimize power dissipation in the
low-power design, special low-power99.                                            FP unit. The fundamental principle is to reduce waste-in this
                                                                                  case, unnecessary bits in the FP representation and computation.
                                                                                     Our results show that programs such as speech recognition
                           I. INTRODUCTION                                        and image processing use significantly less power with our re-

F     LOATING-POINT (FP) hardware provides a wide
      dynamic range of representable real numbers, freeing
                                                                                  duced bitwidth FP representation than with an IEEE-standard
                                                                                  FP representation. For example, the speaker-independent con-
programmers from writing the cumbersome manual scaling                            tinuous-speech recognition program Sphinx [10] requires only
code required of fixed-point representation. Unfortunately,                       5 mantissa bits and 6 exponent bits to maintain 90% recog-
FP hardware is very power hungry, with FP multipliers in                          nition accuracy-the same level of accuracy achieved with a
particular being expensive components in a processor's power                      32-bit IEEE-standard FP representation. Compared to a con-
budget. This has limited the use of FP hardware, with most                        ventional 32-bit FP multiplier, which uses 2078 pJ per multi-
low-power processors not including any FP hardware. However,                      plication in our implementation, our reduced bitwidth FP mul-
for an increasing number of embedded applications, such as                        tiplier uses only 705 pJ, roughly one third the energy. It has
voice recognition and image/vision processing, FP hardware's                      long been known that many such signal processing applications
performance, simplified programming model, and adaptability                       can get by with less precision/range than full FP. Our central
over a wide dynamic range makes it a desirable feature.                           contribution here is precise documentation of the extremity of
   One important characteristic of many of these mo-                              such allowable reductions across several real benchmarks. In
bile/portable applications is that they work primarily with                       many cases, fewer the half the bits, in an appropriate custom
low-resolution (4-10 bits) human sensory data, notably dig-                       FP format, suffice.
itized speech and images. FP arithmetic allows many signal                           The remainder of the paper is organized as follows. Section II
processing algorithms to process these acquired voice or                          provides background material on FP representation and algo-
vision data without concern about either the precision or range                   rithms. Section III constructs an ASIC-style FP multiplier for
of intermediate results. Indeed, it remains common design                         use as a baseline in subsequent experiments, and characterizes
practice [26] to prototype these algorithms in FP, then (usually                  the power dissipation of its component pieces. Section IV of-
manually) to translate them into an appropriate set of integer                    fers a taxonomy of custom FP format variations, categorized
operations. In this study, we suggest that instead of rendering                   by their potential impact on power. Section V describes exper-
                                                                                  imental results from analysis of several real benchmark pro-
                                                                                  grams executing (in emulation) with reduced precision/range
  Manuscript received February 13, 1999; revised September 22, 1999. This
work was supported in part by the National Science Foundation and by DARPA        FP formats. This section also examines the utility of digit-serial
under Contract DAAL0l-95-K-3527.                                                  variable-precision multipliers as a possible compromise when
  J. Y. F. Tong was with the Department of Electrical and Computer Engi-          low-precision operands dominate, but higher precision operands
neering, Carnegie-Mellon University, Pittsburgh, PA 15213 USA. He is now
with the M-Core Technology Center, Motorola, Austin, TX 78731 USA (e-mail:        cannot be entirely avoided. Section VI describes related work
Jonathan.Tong@mot.com).                                                           and examines in particular how transition-gating schemes re-
  D. Nagle and R. A. Rutenbar are with the Department of Electrical and           cently proposed for integer arithmetic optimization perform in
Computer Engineering, Carnegie-Mellon University, Pittsburgh, PA 15213
USA (e-mail: dnagle@ece.cmu.edu; rutenbar@ece.cmu.edu).                           our FP workloads. Finally, Section VII offers some concluding
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                          II. BACKGROUND                                              31     30               23 12                                        0


A. FP Representation Versus Fixed-Point Representation                                            exponent                          mantissa
   FP representation is by far the most widely used represen-                                FP value=(- 1)'•2"'""""' x 1.mOnhsSO
tation for real numbers. FP numbers provide a wide dynamic
range of representable real numbers, freeing programmers from                    Fig. I .   Representation of single-precision IEEE FP number.
the manual scaling code necessary to support fixed-point opera-
tions. For instance, an IEEE single-precision number and an in-                  easy. In addition to the design complexity and the large area
tegeron a 32-bit machine both require 32 bits of storage for their               it occupies, an FP unit is also a major consumer of power in
representation. However, the dynamic range provided by the FP                    microprocessors. Many embedded microprocessors such as the
representation (1.999 999 88 x T 126 to 1.999 999 88 x 2 127 ) is                StrongARM [3] and MCore200 [4] do not include an FP unit
substantially wider than that provided by the integer represen-                  due to its significant implementation cost.
tation (1-2 31 ) .
   On the other hand, FP hardware is very power hungry. In ad-                          III . POWER COMSUMPTION OF A SINGLE-PRECISION
dition to performing the basic addition and multiplication oper-                                                 FP MULTIPLIER
ations as in the integer unit, the FP unit must process the expo-
                                                                                     To attack the power problem of the FP unit, we need a rea-
nents of the input operands as well as provide rounding to the
                                                                                 sonable estimate of the power dissipation in different blocks of
final result. Typically, FP multipliers are expensive components
                                                                                 the unit. Since multiplication is one of the most frequent oper-
in a processor's power budget. This has limited the use of FP
                                                                                 ations in signal processing applications and we claim that the
operations in embedded systems, with many low-power proces-
                                                                                 multiplier is by far the most power hungry arithmetic unit, this
sors not including any FP hardware. For example, recent digital
                                                                                 section dissects the power dissipation of a single-precision FP
signal processors (DSP's) introduced with FP hardware support
                                                                                 multiplier. Subsequent sections use this FP multiplier as an il-
seem to have met with limited success in the signal processing
                                                                                 lustration of our power reduction techniques, but the techniques
community [26].
                                                                                 apply to other blocks of the FP unit as well.
   For an increasing number of embedded applications such
                                                                                     The FP multiplier (Fig. 2) can be divided into three major
as voice recognition, vision/image processing, and other
                                                                                 functional blocks: 1) the mantissa multiplier; 2) the exponent
human-sensory-oriented signal-processing applications, FP's
                                                                                 unit; and 3) the rounding unit (including normalization). Fig. 3,
simplified programming model (in contrast with fixed-point
                                                                                 which is based on [5], shows one possible mantissa data flow for
systems) and large dynamic range makes FP hardware a
                                                                                 an FP multiplier. The top section (Multiply) accepts two nor-
desirable feature. Furthermore, many recognition applications
                                                                                 malized mantissas and uses a Wallace-tree reduction structure
achieve a high degree of accuracy starting from fairly low-res-
                                                                                 that produces the product in carry-save form (two 2n bit num-
olution input sensory data. Leveraging these characteristics
                                                                                 bers). These two numbers are then added in the carry-propagate
by allowing software to use the minimal number of mantissa
                                                                                 adder (CPA) section to produce a complete 2n bit product. If
and exponent bits, standard FP hardware can be modified to
                                                                                 the resulting product is in the range 2 ::; product < 4, we
significantly reduce its power consumption while maintaining                     have a potential overflow and the constant 2 (- n+l ) is added to
a program's overall accuracy.
                                                                                 the product and the result is truncated to n - 2 bits to the right
                                                                                 of the decimal point. A normalization shift (Normal) of 1 bit
B. The IEEE 754 Standard                                                         to the right is then necessary to restore the rounded product to
   There are two different IEEE standards for FP computation.                    the range 1 ::; rounded product < 2, with an appropriate ad-
IEEE 754 is a binary standard that requires the implied radix                    j ustment of the exponent. If the original 2n
(base) to be two. IEEE 854 allows either radix 2 or radix 10 rep-                range 1 ::; product < 2, then we need only add the constant
resentation. By far, IEEE 754 is more popular and most desktop                   2 (- n) . Furthermore, if the addition of 2 ( - n) causes the rounded
microprocessors support the IEEE 754 standard.                                   product to be equal to two, then a normalization shift of 1 bit
   One of the main concerns of the IEEE 754 Floating Point                       and an exponent adjustment are necessary.
Standard [2] is the accuracy of arithmetic operations. IEEE-754                      To estimate the power consumed in each of a multiplier's
specifies that any single-precision FP number be represented                     three main blocks (i.e., mantissa multiplier, exponent unit,
using 1 sign bit, 8 bits of exponents, and 23 bits of mantissa.                  rounding unit), we have adopted a standard ASIC-style design
With double precision, the bitwidth requirements of exponent                     methodology and constructed a complete-though minimally
and mantissa go up to 11 and 53 bits, respectively. An IEEE                      optimized-PP multiplier. We synthesized a behavioral model
single-precision number is represented in Fig. 1. Note that                      of an FP multiplier using a standard cell-based design flow
the exponent is a signed number represented using a bias                         and then performed power simulation using a transistor-level
method; for single-precision numbers the exponent is stored in                   simulator. Even though most FP units in microprocessors and
excess-127 form.                                                                 DSP are custom-designed, our design provides usable estimates
   In addition to specifying the bitwidth requirement for FP                     of the relative power dissipations among the different blocks
numbers, IEEE-754 incorporates several additional features,                      inside an FP multiplier.
including delicate rounding modes and support for gradual                            Our behavioral model of the FP multiplier was written in
underflow to preserve the maximal accuracy of programs.                          Verilog and based on the design of the Aurora III processor
The implementation of an IEEE-compliant FP unit is not                           developed at the University of Michigan [6]. The model was


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                              mantissa a                     sign a
                                   22
                                  7 ...
                                                             signb                 JD                  sign


                                                   24
                                   u1 ,1-..
                                 sign a                       Wallace
                                                              Tree                                        24        Nonnall-
                                                                                           Rounder.                 zatlon
                                                              Multiplier
                                                                                                                    Unit
                                  23~
                                   7    ..
                                  "1"_....
                                sign b



                                   exp a                 Exponet
                                                                                          8                        8-bit                8
                                   exi, b                Adder/                                                    Adder
                                                         Subtracter


Fig. 2. Block diagram of a single-precision FP multiplier.



                                                    n bit binary number                       n bit binary number

                                                                                  X
                                Multiply                              Carry Save Array
                                                          2n bits product i             rry save form


                                CPA add
                                                    rn · ..I_•l...•....l...•...l.. . .________
                                                                                        +
                                                                                              1...-...l...•....l...,...1     Carry bit$

                                                                                                            • • •            Sum bits
                                                                                                No Overflow
                                              ~ bits             I!                                               ~ hits        p

                               Round
                                              l!.0 .1.1 + Gl·l·I                                  @m •l•i + l·l•l•I l•I
                                              [!ill .101 o...o )11§1 :2<-n• 1>                    @:ID .)r=o.. -1o~_._. , _o,---,-lo""l""1I =2<""1

                               Normal                       +....l....•I....•I.....•I ~
                                              III:J •I•....l._                                                      \
                                                                           ------... @IT] • ,......,-..-,.....
                                                                                                           ,• ,..-..1

Fig. 3. Mantissa data flow of an FP multiplier.


synthesized using Synopsys' Design Compiler tool and Founda-                         operands found in the Sphinx III speech recognition application
tion Library. Then, the synthesized netlist was fed into Duet's                      (discussed in Section IV-A).
Epoch physical design tool to generate the physical design in                           Table I summarizes the average power consumption of the
a 0.5-µm CMOS process. The layout of the FP multiplier ap-                           FP multiplier. The mantissa multiplier completely dominates
pears in Fig. 4. A SPICE netlist with all the capacitance infor-                     the power, followed by the rounding unit which accounts for
mation back-annotated was read into Synopsys' PowerMill tool                         roughly one sixth of the power. We note that the power dissipa-
to perform full transistor-level power simulation. Determining                       tion does vary significantly for different data sets; for example,
the complete power dissipated in a multiplier requires the sen-                      in another experiment with just 100 random vectors the multi-
sitization of all possible combinations of inputs, which means                       plier power consumption dropped to roughly two thirds of the
we would need to have 22 N input combinations where N is                             total power and the rounder increased to about one quarter of the
the number of inputs. Fortunately, it is possible to estimate the                    power. Nevertheless, the mantissa multiplier always consumes
mean power consumption using statistical techniques [13]. Ap-                        more power than all other blocks.
plying these ideas, we simulated 50 batches of vectors with each                        We interpret these results as follows. First, it is clear that a
batch containing 30 vectors in the Synopsys PowerMill tool; this                     custom-designed FP unit, in contrast to our ASIC-style design,
was sufficient to ensure a 95% confidence interval. The cor-                         will have superior area, speed, power. Nevertheless, we argue
rect cycle time was obtained from static timing analysis. The                        that our ASIC experiment validates one clear design assump-
test vectors were taken from streams of actual multiplication                        tion: the mantissa multiplier itself dominates the power in an


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                                                                                      As a preliminary experiment to assess the impact of using
                                                                                   a higher radix, we used a software FP emulator to measure
                                                                                   the number of normalization shifts when different radices are
                                                                                   used. Our benchmarks were a large set of signal processing ap-
                                                                                   plications focusing on human sensory data, described in Sec-
                                                                                   tion N-A. The result shows that the number of normalization
                                                                                   shifts is reduced by less than 10% for base 16, suggesting the
                                                                                   potential for only a modest power reduction in the normalized
                                                                                   shifter. We conclude that changing the implied radix is not a
                                                                                   high-priority target for power optimization.
                                                                                      On the other hand, there does exist potential power savings
                                                                                   in the prealignment shifter. Both [7], [8] show that a log shifter
                                                                                   has a lower energy-delay product. For single-precision addition
                                                                                   and subtraction, three muxes are needed in series for radix 2
                                                                                   representation while only two muxes are needed for radix 16
                                                                                   representation. This reduces the area, delay, and power of the
                                                                                   barrel shifter.


                                                                                   B. Simplifications of Rounding Modes
Fig. 4. Layout of the single-precision FP multiplier. This FP multiplier was
synthesized and laid out using a conventional cell-based ASIC flow in a 0.5-/.tm      Whenever a FP number cannot be exactly represented,
CMOS process. The size of the multiplier is 1.09 x 1.15 sq mm.                     the number is rounded, introducing an error that is less than
                                                                                   the value of the least significant bit (depending on rounding
                                                                                   method). Because this error can be significant, especially for
FP multiplier. To reduce power dissipation, we should focus our
                                                                                   small numbers or when accumulated over a series of compu-
efforts here. And, if we agree to interpret our data a bit more
                                                                                   tations, the IEEE FP standard specifies four rounding modes
closely, the rounding unit is always the next most significant
                                                                                   for programmers to choose from. The default rounding mode
power consumer. We conclude that reducing power dissipation
                                                                                   is "round to nearest/even," which means always round to the
in these two units (multiplier, rounder) should be our priority.
                                                                                   nearest representable number, and in the case of a tie, round
In the following sections, we examine different power reduction
                                                                                   to the even representation. This rounding mode often involves
techniques specifically targeted at these two functional blocks.
                                                                                   a carry propagate addition that lies in the critical path of most
                                                                                   FP operations. The other three optional modes are: "round to
 IV. ATTACKING FP POWER DISSIPATION AT A SYSTEM LEVEL                              plus infinity," "round to minus infinity," and "chopped" (i.e.,
                                                                                   round-to-zero) which is equivalent to truncation. The hardware
   Considering the IEEE representation of FP numbers as de-
                                                                                   required to support the first two optional rounding modes
scribed in Fig. 1, there are four dimensions that we can explore
                                                                                   is similar to the default "round to nearest," so there is little
to reduce power dissipation, which are enumerated in Table II.
                                                                                   tradeoff in terms of power among these three rounding modes.
We regard this as a rough taxonomy of format versus power
                                                                                      Chopped-mode (i.e., truncation), however, is an excellent
tradeoffs. The question we seek to address is: what are the quan-
                                                                                   candidate for potential power reduction. As Table I shows, the
titative tradeoffs between program accuracy and the power con-
                                                                                   rounding unit (using the default rounding mode) consumes
sumption for the FP unit?
                                                                                   about one sixth of the FP multiplier's total power when run-
                                                                                   ning operands from a speech recognition benchmark. Using
A. Change ofImplied Radix                                                          chopped-mode would eliminate almost all of this power con-
   The implied radix of the IEEE 754 standard is two. Never-                       sumption. However, truncating all results could compromise
theless, a different implied radix, usually a higher radix that is                 the final output accuracy of a program. As a simplistic initial
a power of two, can be used. For example, historically, the IBM                    experiment to assess the impact that chopped-mode has on
360 mainframes used a radix of 16 to reduce the complexity of                      accuracy, we evaluated the output of the SPEC95 benchmark
shift logic [25].                                                                  suite [27), [28) compiled to use "chopped" rounding mode.
   From a power perspective, a higher radix means less types                       Somewhat surprisingly, results show that seven out of the eight
of shifts and (potentially) fewer normalization shifts. There are                  SPEC95fp double-precision benchmarks are independent of
basically two types of shift operations in FP operations: nor-                     the rounding modes used (Table III). Therefore, disabling the
malization shifts and prealignment shifts. Normalization shifts                    rounding unit (e.g., by clock gating) could reduce total power.
are needed after any arithmetic operations to put the final repre-                    Of course, we must emphasize that the effect of rounding will
sentation in a canonical format. Prealignment shifts are needed                    depend strongly on the input set and application. In mission crit-
only in FP additions and subtractions to ensure the two operands                   ical applications, a sensitive numerical analysis of the required
have the same exponent. Other researchers [7] have extensively                     precision will be required. However, the experiment does sug-
evaluated the best shifter configuration for doing prealignment                    gest that there may be situations where a program's output is
shifts.                                                                            insensitive to the rounding modes and thus rounding may be


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                                                                    TABLE I
                                                POWER CONSUMPTION OF SINGLE PRECISION FP MULTIPLIER


                                      hmelional !Uork                              Po\\l'I" l>is,ipation ( <,;    ol total)

                           Mantissa Multiplier                                                       81.2

                           Rounding Unit                                                             17.9

                           Exponent Unit                                                            0.833

                           Others (faceptlon handling etc.)                                         0.066



                                                                      TABLE II
                                                       DESIGN DIMENSIONS FOR FP REPRESENTATION


                      Dimension                                                        l>i:sniption

                Change of the implied          Increase the implied radix from 2 to 4 (or 16). This provides greater dynamic range
                radix                          but lower density of floating point numbers, potentially leading to power savings
                                               since fewer normalizing shifts are necessary.

                Simplification of round-       FuU support of all the rounding modes is very expensive in terms of power. Some
                ing modes                      programs may achieve an acceptable accuracy with a modified low power rounding
                                               algorithm.

                Reduction in mantissa          Reduce the numbe,r of mantissa bits ai the expense of precision.
                bitwidth

                Reduction in exponent          Reduce the number of exponent bits at the expense of a smal ler dynamic range.
                bitwidlh



                                                             TABLE III
EFFECTS OF NO ROUNDING ON SPEC95 PROGRAMS. THE SPEC95 FP APPLICATIONS WERE COMPILED ON DIGITAL UNIX 4 .0 USING f70 . AN EXTRA COMPILER
   FLAG "FPRM CHOPPED" Is ADDED so TRUNCATION Is PERFORMED INSTEAD OF ROUNDING. " RUNSPEC-DFP" Is USED TO CHECK THE OUTPUT RESULTS


                             lknehmark                    Inputs              # of Fl' opl·rations            ('urrl'l'I Output

                         mgrid                     mgrid.in                  52,692 M                       Yes

                         hydro2d                   hydro2d.in                18.739 M                       Yes

                         applu                     applu.in                  18,463 M                       Yes

                         turb3d                    turb3d.in                 35,596M                        Yes

                         fpppp                     natoms.in                 64,807 M                       Yes

                         wave5                     wave5.in                  11.435 M                       No
                         tomcatv                   tomcalv.in                14,332 M                       Yes

                         su2cor                    su2cor.in                 14,630M                        Yes


disabled-perhaps at the discretion of intelligent software con-                  ducing the operand bitwidth might provide huge opportunities
trol-to minimize power.                                                          in minimizing power.
                                                                                    Consider again a typical FP format: one sign bit, a relatively
                                                                                 large fractional mantissa field, a relatively smaller exponent
C. Reducing Exponent and Mantissa Bitwidth
                                                                                 field. Since the sign is only 1 bit, we only examine the pos-
   The most intuitive way ofreducing the complexity of FP op-                    sibility of reducing the number of bits used in the exponent
erations will be to reduce the number of bits in the FP represen-                and the mantissa. As the following sections reveal, reduction in
tation. According to [1] and [9], a multiplier's power consump-                  the mantissa bitwidth is the most effective means of reducing
tion decreases rapidly with the operand bitwidth. Therefore, re-                 power dissipation in FP datapath elements.

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                                                                       TABLE IV
                                                              DESCRIPTION OF FP WORKLOADS

             \\urkload                            I>c~rriplion                                         \(Tlll'~ll"~   \kasun•m(·nt
            Sphinx Ill       CMU's-speech recognition program based on fully             Accuracy is estimated by dividing the number of
                             continuous hidden Markov models. The i'npul set             words recognized correctly by the total number of
                             is taken from the DARPA evaluation test set which           words in the input set.
                             consists of spoken sentences from the Wall Street
                             Journal . {JO]
                             Source code size: 15,623 lines.
            ALYINN           Taken from SPECfp92. A neural network trainer        The input set consists of 50 road scenes and the
                             using backpropagatioo. Designed to take input        .accuracy is measured as the number of correct
                             sensory data fro m a video came ra and a laser range travel direction dec isions made by the network.
                             finder and guide a vehicle on the road.
                             Source code size : 314 lines.
            PCASYS           A pattern-level finger print classification program         The input set consists of 50 different finger print
                             developed at NlST. The program classifies images            images and the classification result is measured as
                             of fingerprints into six pattern-level classe.s using a     percentage error ln putting the image in the wrong
                             probabi listic neural network.                              class. The accuracy of the recognition is simply
                             Source code size: 11,424 lines.                             ( I • percentage error).
            Bench22          An image processing benchmark which warps a                 Percentage deviation from the original outputs is
                             random image, and then compares the warped                  used as a measure of accuracy.
                             image with the original one.
                             Source code size: 926 lines.
            Fast OCT         A direct implementation of both 2-dimensional                100 random blocks or8x8 pixels are transformed
                             forward Discrete Cosine Transform (DCT) and                 by forward OCT and then recovered by inverse
                             inve rse DCT on blocks of 8x8 pixels.                       OCT. Accuracy measured as pe rcentage of cor-
                             Source code size: 1059 lines.                               rectly recovered pixels.



      V. MINIMIZING POWER VIA BITWIDTH REDUCTION                                      Original     for (k = O; k <= LOOP : k++)
                                                                                       Code           error += (taach[kl - outpu([kl) • (teach[k) - inpul[kl) :
   It is obvious that power dissipation in an FP unit can be re-
duced by using fewer bits in the FP representation. However,
fewer bits reduces precision and might result in a less accu-                     Annotated        for (k = O; k <~ LOOP : k++)
                                                                                  with calls to        error = taod(error, fmu lt( fsub (leaoh[k), output[k)) ,
rate output. In this section, we first measure empirically the                     emulato r                                       lsub (leach [k) , tnput[kl)) );
bitwidth requirements of several real programs, then suggest
techniques for minimizing power dissipation by using smaller
                                                                                 Fig. 5. FP emulation by annotating the source code.
bitwidth functional units.

A. Workloads and Methodology                                                     B. Results
   To study the relationship between program accuracy and                           Fig. 6 plots the accuracy for each of the five programs across
number of bits in FP representation, we have collected a set                     a range of mantissa bitwidths. None of the workloads display a
of five signal processing applications. These programs mainly                    noticeable degradation in accuracy when the mantissa bitwidth
deal with human sensory data such as digitized images and                        is reduced from 23 to 11 bits. For ALVINN and Sphinx III the
speech. All of them are single-precision FP programs and they                    results are even more promising; the accuracy does not change
are described in Table IV. As can be seen in the table, these                    significantly with as few as 5 mantissa bits.
range in complexity from single-purpose kernels to complete                         Fig. 7 shows that each program's accuracy has a similar trend
applications.                                                                    when the exponent bitwidth is varied. With seven or more expo-
   To determine the impact of different mantissa and exponent                    nent bits, the error rates remain quite stable. Once the exponent
bitwidths, we emulated in software different bitwidth FP units                   bitwidth drops below six, the error rates increase dramatically
by replacing each FP operation with a corresponding function                     and in some cases the programs could not finish properly.
call to our FP software emulation package that initially imple-                     These results clearly demonstrate that not all programs need
ments the IEEE-754 standard (Fig. 5). Careful modifications to                   the precision provided by generic FP hardware. The reason be-
the FP emulation package allowed us to emulate different man-                    hind this result is that many programs dealing with human in-
tissa and exponent bitwidths. Then, each program was run using                   terfaces process sensory data with intrinsically low resolutions.
the modified FP package, and the results were compared to de-                    Raw input data with 4-10 bits of precision is rather common
termine application accuracy.                                                    in these applications. While intermediate results often require


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                                       100.00%
                                                                                                                -+-Al\1nn
                                        90.00%                                                                  -a- Bench22
                                        80.00%                                                                  - . - Fast OCT
                                 >,     70.00%                                                                  ~      PCASYS
                                 u
                                 I!                                                                             ---¾- Sphin x
                                 ::J    60.00%
                                 8
                                 < 50.00%
                                 e
                                 I!     40.00%
                                 !
                                 a. 30.00%
                                        20.00%
                                        10.00%
                                         0.00%
                                                 23 2 1 19 17 15 13            11    9    7    5     3
                                                                   Mantissa Bltwldth

Fig. 6. Program accuracy across various mantissa bitwidths.


            100.00%                                                                 metic offers. Simply using fixed-point representation without
                                                          -+-- ALVINN
            90.00%                                                                  additional (usually manual) scaling will not resolve the problem.
                                                          --- Bench22
       >    80.00%                                                                     It should be noted that these complex applications were
                                                          -.--Fast OCT
      i... 70.00%                                         ...... PCASYS             aggressively tuned by various software designers to achieve
      =
      8 60.00%                                                                      good performance using full IEEE representation. However,
      <     50.00%
                                                                                    Figs. 6 and 7 show that significantly smaller bitwidth FP units
      E
      !!    40.00"k
      CII
                                                                                    can be used without compromising the necessary accuracy. For
      e 20.00%
      a.
        30.00°/4
                                                                                    instance, certain FP constants in the Sphinx III code required
                                                                                    more than 10 bits of mantissa to represent, but we modified
            10.00%
                                                                                    those numbers so they could be represented using fewer bits
             0.OO"k
                      8      7            6       5       4
                                                                                    during our experiment. Nevertheless (and perhaps somewhat
                                                                    3
                                                                                    surprisingly), these reductions in precision had little impact on
                                      Exponent Bltwldth
                                                                                    the overall speech recognition accuracy. We believe that if the
Fig. 7. Program accuracy across various exponent bitwidths. Figs. 6 and 7           numerical behavior of these applications were tuned explicitly
show that we can reduce both the mantissa and exponent bitwidth without             to a smaller bitwidth FP unit, we could obtain even better
affecting the accuracy of the programs. This effect is especially prominent in      performance.
the mantissa. This reduction ofbitwidth can be turned into a reduction in power
dissipation with the use of appropriate arithmetic circuits.
                                                                                    C. Different Bitwidth Requirements Within a Single
more dynamic range than is available with small bitwidth fixed-                     Application
point computation, the programs do not require vastly more                             The results in the previous section assumed a single custom
precision. This is different from scientific programs such as                       FP format used across all FP operations. Clearly, this is a rather
large-scale computational fluid dynamics or electrical circuit                      strict assumption. This section analyzes changing bitwidth re-
simulation, which not only require a huge amount of precision                       quirements within a single program. Clearly, different subrou-
and dynamic range but also delicate rounding modes to preserve                      tines within one program may require different bitwidths to pro-
the accuracy of the results. What is quite clear from these exper-                  duce the expected results. To illustrate this, we use the Fast DCT
iments is that the FP format provides essential dynamic range                       program as an example.
(we can reduce, but not reduce dramatically, the number of ex-                         The Fast DCT program naturally divides into two subpro-
ponent bits) but the fine precision of the 23-bit mantissa is not                   grams: the forward DCT and the inverse DCT. Forward DCT
essential (half as many bits often suffice).                                        converts a block of 8 x 8 pixels into a block of transform coef-
   For programs that do not need the dynamic range or the pre-                      ficients, which represents the spatial frequency components of
cision of FP arithmetic, the use of fixed-point arithmetic will                     the original block. Inverse DCT converts these coefficients back
reduce chip area, operation latency, and power consumption. In-                     to a block of 8 x 8 pixels.
deed, common design practice for these applications is to proto-                       Fig. 8 shows the mantissa bitwidth requirements for forward
type software in FP, then translate into a suitable "finite" fixed-                 DCT, inverse DCT, and the entire Fast DCT program. When the
point representation [26]. But for the workloads in Table IV,                       mantissa bitwidth in the Forward DCT section is varied, we keep
three programs require 6 bits or more in the exponent to pre-                       the mantissa bitwidth in the inverse DCT section at 23 bits. Re-
serve a reasonable degree of accuracy, which means they need                        sults show that both the forward DCT and the entire Fast DCT
more than the typical 32 bits of precision that fixed point arith-                  program require 11 bits of mantissa to maintain 100% accuracy


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                                                                                      size of the digit-serial architecture does not have to be fixed. We
                   90. 00%                                                            chose a digit size of 8 bits because most processors support bus
                   80.00%                                                             widths which are multiples of eight. It is already well understood
          >- 70.00%
          u                                                                           that digit-serial arithmetic offers some power advantages (e.g.,
          I!!
          :::,                                                                        [14] offers a comparative analysis of power consumption among
          u        60.00%
          u                                                                           different digit-serial architectures). Hence, digit-serial multipli-
          c(       5(100%
          E                                                                           cation seems well suited to our application.
          I! 40.00%
          1:11
                                                                                         To perform accurate comparisons, a complete 24 x 8 digit-se-
          0 30.00%                                                                    rial multiplier was modeled in Verilog and then taken to layout
          Go
                   20.00%                                                             using our previously described ASIC design flow, using a stan-
                                                                                      dard 0.5-µm CMOS process. Synopsys' Design Compiler tool
                   10.00%
                                                                                      was used to synthesize the multiplier's control logic; the com-
                    0.00%             I  I                                            plete physical design was done using Duet's Epoch layout tool.
                             23 21   19 17 15 13 11    9   7     5   3     1
                                                                                         We compare our variable bitwidth multiplier with a baseline
                                        Mantissa Bltwldth
                                                                                      fixed-width 24 X 24 bit Wallace tree multiplier. The layout of
Fig. 8.          Program accuracy versus mantissa bitwidth for Fast DCT.              this Wallace tree multiplier was generated by Epoch's proce-
                                                                                      dural cell generator in the same 0.5-µm process used in the de-
                                                                                      sign of the digit-serial multiplier. The two multipliers are de-
while the inverse DCT requires only 9 bits. All three programs                        scribed in Table V. Cycle time is estimated using Epoch's static
(or subprograms) have exactly the same behavior (same pro-                            timing analysis tool, Tactic, and is rounded to the nearest 5-ns
gram accuracy) when the exponent bitwidth is varied from 7 to                         interval for simplicity. The lower precision digit-serial design
3 bits.                                                                               is slightly larger, since it includes control logic, and was also
   Even though the mantissa bitwidth requirements of forward                          created in an ASIC style, in contrast to the larger Wallace tree,
DCT and inverse DCT are almost the same, the result shows                             which is from an optimized layout compiler. Nevertheless, the
that different sections of a program may indeed have different                        digit-serial design is considerably faster, since the lowered pre-
bitwidth requirements. This can be exploited to reduce power                          cision (8 x 24 versus 24 x 24) creates shallower logic.
dissipation: when forward DCT is being executed on a pro-                                To compare energy or power, we need to make several as-
cessor, an 11-bit mantissa multiplier/adder is required, while a                      sumptions. Assuming to first order that the multiplier core itself
9-bit mantissa multiplier/adder will be enough for inverse DCT                        is the dominant energy consumer, we will focus here. Also, we
operations.                                                                           do not consider here any global cycle-time impacts. Clearly, if
   Since both the forward DCT and inverse DCT use the same                            we replace a 24 x 24 multiplier with a faster 8 x 24 multiplier,
basic algorithm, their bitwidth requirements differ only a little.                    for 8- and 16-bit operands, our FP multiplier may well consume
For programs that integrate a wider portfolio of different algo-                      less of the overall cycle time. We might be able to shorten the
rithms, we expect a wider range in the bitwidth requirements                          cycle time if the FP multiplier is on the critical path, and ifwe
within the program.                                                                   know that 24 x 24 multiplications are rare, we can simply man-
                                                                                      date an extra cycle. (Note again from Table V that the digit se-
D. Exploiting a Variable Bitwidth Multiplier                                          rial multiplier is only advantageous for precisions less than full
   Our results show that different FP programs exhibit differing                      24 x 24 bit multiplication.) But, an alternative scenario is to
requirements for mantissa and exponent bitwidths. Hence, by                           leave the cycle time constant, and simply slow down the lower
reducing either precision or range from 32 to fewer bits, we                          precision multiplier (via circuit redesign, e.g., [29]) to the same
should be able to create custom FP hardware which has lower                           delay as the full-precision multiplier. Operating at lower pre-
power simply because of the bit reductions. For a narrow, ap-                         cision and lower speed, this multiplier will consume even less
plication-specific task, a single custom FP format may be a vi-                       power. We choose for now to avoid these questions and tradeoffs
able option. However, to be more generally useful, we need to                         and simply focus on the multiplier cores themselves. To sidestep
consider arithmetic architectures which can scale to different                        these cycle time issues, we choose to focus on multiplier en-
FP formats. Even though we may be able to assume that most                            ergy/operation as our metric of comparison.
of our operands can be computed successfully in limited pre-                             Our specific goal is a first-order analysis of the energy impact
cision, it appears inevitable that some fraction of our operands                      of reducing mantissa precision. To do this, we look first at en-
will require full IEEE-standard precision. As one potential so-                       ergy/operation as the comparison metric and assume each mul-
lution, we explore in this section one architecture for a variable                    tiplier simply operates at the speeds determined via static timing
bitwidth FP multiplier to reduce power consumption. To support                        analysis in Table V. For each design, a SPICE netlist was gen-
variable bitwidth multiplications (up to 24 x 24 bit), we con-                        erated from layout and used to estimate energy/operation, using
sidered a 24 x 8 bit digit-serial architecture similar to the one                     the same statistical methodology as was used for the baseline FP
described in Hartley and Parhi [12]. The 24 x 8 bit architecture                      multiplier in Section III (i.e., 95% confidence intervals, stimuli
(see Fig. 9) allows us to perform 8-, 16-, and 24-bit multipli-                       from the Sphinx III speech workload).
cation by passing the data once, twice, or three times though                            Fig. 10 plots the energy/operation and latency/operation
the serial multiplier. A finite state machine is used to control                      for the digit-serial multiplier. Both the energy/operation and
the number of iterations through the core multiplier. The digit                       latency/operation increase linearly with the operand bitwidth.


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                                                                    FLLP FLOPS


                   24                           8
                               Control
                                                                       24x8                                              8   Low order 8 bits

                                                                   CSA MULTIPLIER
                      24




                                                                                                            .------~ 8                High orders bits
                                                              PARALLEUSERIAL                                     8 bit
                                                              CONVERTERS                                         Adder


Fig. 9.       Block diagram of a 24 x 8 digit-serial multiplier.


                                                                TABLE V
TIMING AND AREA OF THE Two MULTIPLIERS. TO PERFORM 16-BIT MULTIPLICATION USING THE DIGIT-SERIAL MULTIPLIER, Two CYCLES ARE NEEDED WHICH
                    INCREASES THE TOTAL DELAY/Op TO 30 ns. SIMILARLY, 24-BITMULTIPLICATION TAKES THREE CYCLES (45 ns)




                                 Digit-Serial (24x8)          .804 square mm



     2500                  Energy/Op (pJ)                                 50                       2500                                     I
                                                                                                                                            l!il Digit Seri~IJ
                           Latency/Op (ns)                                                                                                  , ~ Wa~lace Tree.J
     2000                                                                 40
                                                                               0.
                                                                                                   2000
0.
                                                                              0
~ 1500                                                                    30 ,;.            ::;-
~                                                                              I)
                                                                               C            .B 1500
~
C    1000                                                                 20 .!!             0.
w                                                                            j
                                                                                            ~01
     500                                                                  10                 .
                                                                                             Q)
                                                                                             C:
                                                                                                   1000 -

          0                                                               0                 w
                      8 bits             16 bits             24 bits                               500

                                   Operand Bitwidth
                                                                                                      0
                                                                                                            AIVINN    Fasl OCT    Bench22    PCASYS     Sphinx
Fig. 10. Performance of the digit-serial multiplier. Both energy/op and
latency/op of the digit-serial multiplier increase linearly with the operand
                                                                                                                                 Programs
bitwidth. Digit-serial architecture allows us to perform variable bitwidth
arithmetic and save power when the bitwidth requirement is less than that            Fig. 11. Estimated multiplier energy reduction using digit-serial multiplier. A
specified in the IEEE standard.                                                      reduction ofup to 66% in energy/op is attainable for Sphinx and ALVINN with
                                                                                     the use of a digit-serial multiplier. Both Sphinx and ALVINN need only 5 bits
                                                                                     of mantissa to be 90% accurate, and thus an 8-bit operand bitwidth is used for
This is due in part to the fact that we use a Wallace-tree                           the digit-serial multiplier. PCASYS requires 11 bits of mantissa while Bench22
                                                                                     requires 9 bits, and thus a 16-bit operand bitwidth is used which results in a 30%
structure, rather than an array multiplier [9] (for which energy                     energy/op reduction.
savings are more dramatic as bitwidth decreases). Also, we
require extra random logic for control of the multiple passes                        does consume 19% more energy when performing 24-bit mul-
through the digit serial structure for larger width operands.                        tiplication due to the overhead circuitry.
This additional energy is the penalty we pay for the flexibility                        Fig. 11 shows a simple estimate of the potential energy sav-
of doing variable bitwidth multiplication.                                           ings in the FP multiplier for our five programs ifwe use the digit-
   For 8-bit multiplication, the digit-serial multiplier consumes                    serial multiplier as the mantissa multiplier. The data is based on
78% less energy than the 24 x 24 Wallace tree multiplier (in the                     the estimate that a 24-bit Wallace tree multiplier consumes 80%
case of Sphinx and ALVINN). When 9-16 bits of the mantissa                           of the total energy in a single-precision FP multiplier. (We have
are required (in the case of Fast DCT, PCASYS and Bench22),                          taken the data from Table I and simply rounded the multiplier
the digit-serial multiplier still consumes 32% less energy than                      core's contribution to 80%.) A reduction of 66% in multiplica-
the 24 x 24 Wallace tree multiplier. The digit-serial multiplier                     tion energy/op is attainable for Sphinx and ALVINN with the


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   Set Birwidth = B; (where B; is the lower bound 011 data bitwidt/1)             knowledge of its algorithms, a compiler can be used to annotate
                                                                                  the source code and find at least the approximate bitwidth
                do (
                                                                                  requirement automatically, assuming a comprehensive data set
                          R1111 th e program with 8 1                             is available.
                          Error =Run Resull - Expected Result
                                                                                     To demonstrate the possibility of compiler assisted bitwidth
                                                                                  reduction, we added a compiler pass to the SUIF research com-
                          J11crcnse 8 1                                           plier [30] to help us find the bitwidth requirement of FP pro-
                I while(Error > Error Threshold)                                  grams. SUIF was developed at Stanford with the objective of
                                                                                  providing a research vehicle that allows compiler researchers to
Fig. 12.   Calculating necessary FP bitwidth for an arbitrary program.            implement their ideas without having to write a new compiler
                                                                                  from scratch. After every step in the SUIF compilation process,
use of a digit-serial multiplier. Both Sphinx and ALVINN need                     a standard format is written out. This allows us to insert any op-
only 5 bits of mantissa to be 90% accurate, and thus an 8-bit                     timization in a separate compiler pass.
operand bitwidth is used for the digit-serial multiplier. PCASYS                     We modified SUIF by inserting a pass that annotates the
requires 11 bits of mantissa while Bench22 requires 9 bits, and                   source code of FP programs. For every FP operation, the
thus a 16-bit operand bitwidth is used; this results in a 30% en-                 input operands were masked with the desired bitwidth. This is
ergy/op reduction.                                                                analogous to what we have done manually in Section IV-B. Of
   These comparison results, though still clearly approximate,                    course, masking is an unsubtle approach to precision reduction:
do suggest that significant energy savings are achievable by                      by zeroing low-order mantissa bits, we prevent the rounding
using lower precision arithmetic. Of course, our digit-serial                     mechanisms from correctly propagating bits up into the higher
multiplier was designed using an ASIC approach and was not                        order bits we retain. Nevertheless, as an experiment this does
as heavily optimized physically as the Wallace tree multiplier,                   provide some flavor of the sorts of optimizations we believe
which was compiled/optimized for the process, and digit-serial                    should be possible given a more diverse arithmetic substrate.
arithmetic is only one architectural alternative here. Given the                  Starting from the original bitwidth specified in the IEEE stan-
decreasing cost of silicon area, and the small size of a reduced                  dard, the program was executed using a representative input
precision FP unit, one might imagine simply including both                        set. The output was then compared with the expected result. If
full and reduced precision FP units, and using appropriate                        the results match, the bitwidth was reduced and the program
sleep-mode circuit techniques to shut down the unused unit.                       was again executed using the same input set. This iterative
Assuming a richer, less homogenous arithmetic substrate for                       process continues until the minimum bitwidth that can satisfy
power-optimized computation naturally suggests opportunities                      the output requirement is found. All of the above steps can
for compiler support, i.e., exposing a more diverse set of preci-                 be automated using a simple script. As a simple but concrete
sion/speed/power tradeoffs and allowing software developers                       experiment here, we used the SUIF-generated code for the Fast
to choose appropriately. We briefly treat this idea in Section VI.                DCT program and found the same bitwidth requirement as we
                                                                                  did with the methodology described in Section IV-C.
E. Software-Assisted Bitwidth Reduction                                              Modem compilers are capable of performing sophisticated
   Since different applications require different algorithms to                   techniques of code optimization to improve program perfor-
determine program accuracy, software support is desirable in                      mance. Global compile-time optimization of the necessary pre-
order to harness the benefits of this bitwidth reduction tech-                    cision/range for arithmetic operands may be feasible ifwe inte-
nique. This can be done by the programmer-but can be assisted                     grate variable-precision units, or a collection of mixed-precision
greatly by the compiler.                                                          arithmetic units in our hardware.
   There are two approaches that the programmer can take. For
applications where the bitwidth requirement is known in ad-
                                                                                                          VI. RELATED RESEARCH
vance, the programmer can annotate the source code explic-
itly or modify the declaration of the data types. For instance,                      Substantial work on low-power datapath design techniques
since Sphinx requires only 5 bits of mantissa and 6 bits of expo-                 has been done at the circuit level. In particular, there have
nents to maintain 90% ofrecognition accuracy, the programmer                      been many studies on low-power multiplier designs due to
can simply choose an appropriate, available lower precision FP                    the prevalence of multiplication in DSP-type applications
format. Given this information, the compiler can then optimize                    [17]-[19]. However, there have been few published studies
the object code for power. In applications where there is no prior                targeting power reduction techniques for FP multipliers or the
knowledge of the required bitwidth, the programmer can insert                     entire FP unit at the system or architectural level.
an error analysis procedure [15] which adjusts the data bitwidth                     The basic principle behind our proposed technique is to avoid
during data profiling (analogous to self-adjusting bit-precision                  unnecessary or useless work in the hardware. This principle has
techniques applied in low-power digital filters [16]). This is il-                been applied in other work to either improve performance [20]
lustrated in Fig. 12. The final Bi will be the minimum bitwidth                   or reduce power consumption [21]. For example, [20] proposes
that can satisfy the accuracy requirement for that specific data                  the use of "memoing" to accelerate multimedia processing. By
set.                                                                              saving the input and output of previous calculations and using
   In situations where the error analysis routine is too com-                     the output if the inputs are encountered again, the authors report
plicated or where the program users have no comprehensive                         an average computational speed up of more than 20%. In [21],

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                                                                     APPX01485
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                             to                                     zero
                         reg-ist.ers                                                                                    ·o•
                                             64
                              zi,;ro48     Clk and zcro48 - ----.
                               !rpm
                             registers
                                                                                               Resultl5-0
                                                                                                                              Zero
                           O~rand A               64       A63-l6                                                             Detect
                              from                                      A
                            registers                                 Latch
                                                                      High



                                                                                                  lntegar
                                                                                                 Functional
                                                                                                    Unit
                                                                                                                       Result63- I 6
                                          Clk and zero48



                           O~rand B               64        863-16
                               from
                            registers




                                                                     Latcht---~
                                                                     Low

Fig. 13. Clock gating architecture proposed in [24].



the idea of reusing computation results stored in a cache-like                       However, [24] does not include data on FP programs.
structure was proposed. But the design parameters of the struc-                   Since our work focuses primarily on FP operations, we have
ture ("execution cache" coined by the authors) are optimized                      performed a similar analysis on SPECfp95 applications. In this
for power minimization instead of just improving the execution                    case, we define an operation as a narrow bitwidth operation
speed. They reported energy savings up to 60% in the integer                      when both of its operands have mantissa values that can be
unit.                                                                             packed in 16 bits or less (the lower bits of the mantissa are all
   Furthermore, the idea of reducing bitwidth to save power has                   "zeros"). One obvious difference here is that we are looking at
also been employed in other areas of low-power research. [22]                     the most significant 16 bits of the mantissa instead of the least
showed that an average of more than 4 bits of pixel resolution                    significant bits as in integer operations.
can be dropped during motion estimation to obtain a power re-                        Also, our methodology for measuring the power savings
duction of 70%. To reduce energy consumption at the 1/0 pins,                     is different. Instead of looking at the percentage of narrow
[23] proposes sending only those address bits that have changed.                  bitwidth operations, we estimate the power saving by evaluating
For integer applications that do not need 32 bits of precision, the               the percentage of narrow bitwidth operations preceded by a
Intel MMX instructions allow arithmetic operations on multiple                    nonnarrow bitwidth operation (or wide bitwidth operations). It
narrow subfields of a data word simultaneously.                                   is well known that power dissipation in CMOS circuits is pro-
   A closely related approach was proposed by Brooks and                          portional to the switching activity of the circuits. For instance,
Martonosi [24]. In that paper, the authors found that across                      if the narrow bitwidth operations tend to cluster together, then
the SPECint95 benchmarks, over half of the integer operations                     for consecutive operations using the same functional unit, the
require 16 bits or less. They proposed to reduce processor                        upper bits of the inputs remain at "zeros" or "ones" all the
power consumption by using aggressive clock gating to tum                         time which should then generate fewer transitions in the upper
off portions of integer arithmetic units when the full width of a                 portion of the datapath circuits.
functional unit is not required (see Fig. 13). By evaluating the                     To estimate the power reduction by clock gating the input
percentage of narrow bitwidth operations, they reported that                      operands, we need to count the number of transitions from wide
the optimization results in an over 50% reduction in the integer                  bitwidth operations to narrow bitwidth operations (Fig. 14). We
unit's power consumption.                                                         used the instrumentation program ATOM to instrument eight

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                                                                     APPX01486
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ltlstructi011 #             Opera11dA                   Operaftd B
                                                                                                  ,oo
                            Ox7 ff ff ff f              Ox7 fffff ff ~        A
 2                      Ox0000006e                      Ox0000006e        ~               (/)      ,0
                                                                                          C
 3                   B~Ox0000007f                       Ox0000007f                        0
                                                                                         ti
 4                          Ox0000003d                  Ox0000003d                       g(/)

 s                          o.~s r r f r f ff           OxS f ff f ff f                  -=
                                                                                         D.       o.,
                                                                                         LL
Fig. 14. Estimation of power reduction via clock gating. The figure shows                0
a set of consecutive integer add operations for a 32-bit machine. Assume                 #-      0,01
for illustration that narrow bitwidth operations are defined as instructions
where both operands use less than 8 bits. Transition A (instr 1 -+ instr 2)
is a transition from wide bitwidth operation to narrow bitwidth operation.                      0.001
Transition B (instr 2 -+ instr 3) is a transition from narrow bitwidth to narrow                        ALV!NN Bench22 Fast OCT PCASYS Sphinx Ill
bitwidth operation. With clock gating, we only save power in transition A, but
not transition B.                                                                                                     Benchmark

                                                                                   Fig. 16.     Percentage of narrow bitwidth operations in our workload.
              70
                               ■ Narrow Op
        (/)
              60
        C
                              Ii Narrow Op Preceded by Wide Op
                                                                                   allow compile-time optimizations that simply omit the unnec-
       .2 50                                                                       essary bits and computations on them, and by exposing these
       u
        2 40                                                                       variable precision possibilities to the compiler, a wide range of
       ui
       .!: 30                                                                      further system-level optimizations may be feasible .
       D.
       LL
       0 20
       ::,g
       0
                                                                                                                 VII. CONCLUSION
              10

               0                                                                      Many mobile/portable electronics applications will ulti-
                   mgrid        applu           lpppp          tomcatv             mately need to process human-sensory data such as speech or
                                        Benchmarks                                 video imagery. This data is often acquired at relatively low bit
                                                                                   resolutions, e.g., 4-10 bits of precision. Nevertheless, many
Fig. 15.      Percentage of narrow bitwidth operations in SPECfp95.                signal processing algorithms are more easily and efficiently
                                                                                   coded assuming an FP representation, which liberates de-
SPECfp95 programs (Table III) and count the number of tran-                        velopers from concerns over either the precision or range of
sitions from wide bitwidth operations to narrow bitwidth oper-                     the intermediate results. Common design practice is then to
ations.                                                                            translate these FP algorithms into fixed precision arithmetic.
   The results of the experiments are shown in Fig. 15.The per-                    The intuition underlying this study is that many of these
centage of narrow bitwidth instructions that are preceded by                       applications-especially those that process low-resolution data
wide bitwidth instructions varies from 8 to 20%. Taking into                       and render as a result a decision, such as speech and image
account the power consumed in the overhead logic (latches and                      recognition-may be better served with a custom, reduced FP
zero detection circuits), actual power reduction is approximately                  format.
5-10%.                                                                                By annotating source code to replace FP operators with calls
   Furthermore, we examined the occurrence of narrow width                         to emulation routines, we were able to systematically vary the
FP operands among the five programs in Table IV to see how                         FP format across a set of speech and image processing tasks.
a clock gating scheme might save power for these programs.                         Analysis of these FP programs shows that they suffer no loss
Fig. 16 shows the result (notice that the y-axis is in log scale).                 of accuracy, even with a significant reduction in bitwidth, thus
For Sphinx and Alvinn, the percentage of narrow width oper-                        confirming our intuition. Most FP programs in our benchmark
ations is less than 1% of the total FP operations. These results                   suite maintain the same output even when the mantissa bitwidth
suggest that arithmetic unit clock gating schemes, which can                       is reduced by half. Exponents can likewise be reduced, but not
leverage the relatively high frequency of consecutive narrow                       as dramatically. In hindsight, this result is reasonable: these
bitwidth operands in integer datapaths, are less viable in the sort                codes require more dynamic range than can be achieved with
ofhuman-sensory FP signal-processing workloads we think will                       fixed-width integers, but not dramatically more precision in in-
be important in portable/mobile electronics. In general, these                     termediate results.
sorts of "dynamic" suppression techniques are very attractive                         This FP bitwidth reduction can deliver a significant energy
because of their transparency: the hardware appears to the pro-                    savings through the use of a variable bitwidth FP unit. By cre-
gram to be doing a typical arithmetic operation at full preci-                     ating and comparing ASIC-style fixed-width and variable-width
sion, yet at circuit level, useless transitions are suppressed. But                (reduced-width) FP multipliers, we estimated that a reduction of
based on our observations of FP workloads, we believe there                        up to 66% in multiplier energy/operation can be achieved in the
is merit in making explicit the fact that some operands always                     FP unit without sacrificing any program accuracy. As a result of
need more/fewer bits than others. Our initial experiments sug-                     these experiments, we suggest that the fact that some operands
gest that the availability of reduced-precision arithmetic could                   need different bitwidths should be exposed to compilers. This

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                                                                          APPX01487
                     Case: 22-1866                   Document: 50-2                    Page: 32              Filed: 02/03/2023
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                                                                    APPX01488
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                                                                                                                                           US005689677A
United States Patent c191                                                                                    [111          Patent Number:                                  5,689,677
MacMillan                                                                                                    [451          Date of Patent:                               Nov. 18, 1997

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                                                                                                      Attorney, Agent, or Finn-Benman Collins & Sawyer
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The Illiac IV Computer, George H. Barnes, Richard M.                                                  A circuit for modifying an instruction stream comprises a
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Aug. 1968; pp. 746--757.                                                                              circuit also includes a dynamic memory circuit which is
Illiac IV Software and Application Prograrnrning, David J                                             responsive to the first logic and a dynamic memory means.
Kuck, IEEE Transactions on Computers, vol. C-17, No. 8,                                               The first logic circuit is capable of causing a refresh of the
Aug. 1968; pp. 758-770.                                                                               dynamic memory means by inserting a refresh instruction
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First Annual Symposium on Computer Architecture,
Aorida, Dec. 1973; pp. 61-65.                                                                                                      2 Claims, 6 Drawing Sheets

                                                                                                                                                           NEAREST
                                                                                                                                                           NEIGHBOR
                                                         ······························................................................................... CONNECTIONS
                                TO INTERCONNECT          l                                                                              308              j TO ADJACENT
                                    ROUTER               l ~-------------<........,                                                                        i
                                                                                                                                                           SIMD·RAMS


                                  SIMD BUS


                              TO LOCAL BUS 32 DATA, j
                              ACCELERATOR 4 PARITY       i                                                                                                 ·i
                            TO PCI, CACHE &                                                                                              4 PARITY.          i
                                                                                                                                         16ADDRESS i
                             MEMORY CONTROLLER
                                           CONTROL
                                                                                                                                         &CONTROL          !
                                           LINES &                                                                                        32DATA,          j
                                           20ADDR
                                                                                                                                          ;:t~giiEssl


                                                             ~~--:,~:~w~~:~~=-                                                                             I
                                                         ·:...................................... -254 ................................................... ::
                                                                                                                                                                            Google Exhibit 1009
                                                                                                                                                                            Google v. Singular




                                                                              APPX01490
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                   16
                  rJ                                  12
                                                  rJ
              PERIPHERAL
               DEVICE(S)                    HOST CPU

                  I                               I


                        HOSTBUS        14
                                     .IV                                            ~
                                                                                            z0
                                                                  '                         ;<
                                                                                            ....
                                                                                            ~~
                                                                                            ....
                                18                                                          ~
                                                                                            -.J

                              .IV
                         DRAM                                   DRAMS                       VJ
                                                                                            (I>
                      CONTROLLER                                                            (I>




APPX01491
                      AND BUFFERS                                                           -s,.=-...
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                                            FIG. 1                                          -....l
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            Case: 22-1866     Document: 50-2                   Page: 36                      Filed: 02/03/2023




                  16'                                                               102
                                         12'
             PERIPHERAL                                           SIMD
              DEVICE(S)             HOST CPU
                                                               CONTROLLER


                   HOST BUS
                               14'



                                        1001'--1
                              18'
                                                                                          104
                                                                   SIMD-
                      DRAM
                                                                   RAMS
                   CONTROLLER




APPX01492
                   AND BUFFERS                                                                                     106


                                                                                           INTERCONNECT
                                                                                              ROUTER
                                               ........... ......... ........ ... .. .. .... .............. ........ .. .. .. .. .

                                               FIG. 2
            Case: 22-1866              Document: 50-2                   Page: 37                    Filed: 02/03/2023




                                                 208                                                                    ~
                           232
               ,-----,1-                                ········--· ......................... ..                        .00
                CACHE             386, 486 OR PENTIUM                          252
                (SRAM)
                                                                                               j 250
                                    OR EQUIVALENT         -----'-.;.....---,                   V"
                                                               SIMD
                                                            CONTROLLER

                                                          240


                                           214              SIMD BUS
                                                                                      254
                                 PCI, CACHE &                     SIMD-                               LOCAL BUS
                                   MEMORY                         RAMS                              ACCELERATOR
                                 CONTROLLER
                                                  218

                                        LBACONTROL
                                                                                        256
                                                         INTERCONNECT




APPX01493
                                                            ROUTER

                PCIBUS
                             210

                                 212                                                                224

                  PCI DEVICE(S)

                                                                                                          ISA BUS

                                                                 200
                                                        FIG. 3
            Case: 22-1866      Document: 50-2               Page: 38      Filed: 02/03/2023




                                                                                              d
                               208                                                     252    .00
                             /V                                                       /V


                HOST CPU                                           SIMD CONTROLLER




             INTR   NMI   HOLD HLDA                                INTR     NMI HOLD HLDA
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APPX01494
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                                                               .
                                             ·.....
                                       HOST BUS
                                                                          230
                                                                       ""
                                             FIG.4
            Case: 22-1866                  Document: 50-2                                             Page: 39                              Filed: 02/03/2023




                                                                                                                                                                  NEAREST
                                                                                                                                                                  NEIGHBOR
                                     •• •• •·•••• ·••• •·· •· •· •••• •••••· •· •· ••••· •••· •· •••• •··· · ·••· ·· ·••••·· •• ·.•••· •· ••· •· •• •··· ••· ••   CONNECTIONS
              TO INTERCONNECT                                                                                                            308                      TO ADJACENT
                  ROUTER                                                                                                                                          SIMD-RAMS
                                                                                      ROUTING LOGIC

                SIMD BUS
                                                                                                                                       302
             TO LOCAL BUS 32 DATA,
             ACCELERATOR 4 PARITY
                                                                                                                                       32 DATA,
            TO PCI, CACHE &                                                                                                            4PARITY,
            MEMORY CONTROLLER                                                                                                          16ADDRESS
                                                                                                                                       &CONTROL
                       CONTROL
                       LINES &                                                                                               32 DATA,
                       20ADDR                                                                                      - - - - - 4 PARITY,
                                                                                                                 306         16 ADDRESS




APPX01495
                                                                                                                    - - &CONTROL
                                        RAM                     RAM                     RAM                           RAM
                                        BANK                    BANK                    BANK                         BANK
                                          0                       1                       2                            15



                                               304         304         304              304
                                                RAL = RAM ACCESS LOGIC ( INCLUDES REFRESH CONTROL)

                                     ······································™···················································
                                                                               FIG. 5
            Case: 22-1866          Document: 50-2       Page: 40   Filed: 02/03/2023




                PENTIUM AND SIMD          CORRESPOND
                  CONTROLLER                TO:PE                  ON PE#
                ADDRESSES OF:             ADDRESSES



                    0THRU 3                 0THRU 3                     0


                    4 THRU 7                0 THRU 3                    1



                    • • •                   • • •                  •    • •

                  1020 THRU 1023             0THRU 3                   255




APPX01496
                  1024 THRU 1027             4 THRU 7                   0


                  1028 THRU 1031             4 THRU 7                   1




                                          FIG. 6
       Case: 22-1866                   Document: 50-2                   Page: 41             Filed: 02/03/2023




                                                         5,689,677
                             1                                                                  2
             CIRCUIT FOR ENHANCING                                 with higher performance, on SIMD systems. The following
       PERFORMANCE OF A COMPUTER FOR                               discussion is directed towards SIMD systems.
                     PERSONAL USE                                     The advantages of SIMD include easier program devel-
                                                                   opment and debugging, since SIMD programs use a single
                FIELD OF THE INVENTION                          5 execution thread and easily-coded parallel data structures. In
                                                                   many cases, inner loops of existing FOIITRAN and C
   The present invention relates generally to the field of data
                                                                   programs can be quickly converted to data parallel SIMD
processing, and more particularly relates. to computer sys-
                                                                   code, resulting in immediate performance improvements.
tems for personal use.
                                                                      SIMD MIPs are inherently less costly than MIMD MIPs
                                                                10 since each SIMD processing element only requires data-path
           BACKGROUND OF THE INVENITON
                                                                   logic, not a complete processor including program counters,
   The history of computing shows that as computers at a           interrupt logic, and stack pointers.
given price level become more powerful, the volwne of                 The SIMD architecture can be scaled to tens of thousands
machines sold increases.                                           of processors or more, with excellent processor utilization
    Personal computers (PCs) today typically have perfor- 15 for many programs. Moreover, this scalability can generally
mance up to about 300 million instructions per second              be achieved without the need for reprogramming. In
(MIPs). This is much less than supercomputers, which may           contrast, scaling MIMD execution across more than a few
provide performance of 5,000 MIPs or more. The perfor-             tens of processors has proven difficult, typically requiring
mance of supercomputers is expensive, however, since these         major algorithm changes, re-programming, and performance
machines typically cost $100,000 or more. If supercomput- 20 tuning.
ing performance could be achieved in low cost computers,               A number of computers have been proposed and devel-
such as personal computers, this could dramatically expand         oped with SIMD architectures, including 11..LIAC IV, the
the market for personal computers.                                 Goodyear MPP, BLifZEN, ICL's DAP, Thinking Machines
    A personal computer with supercomputer performance             CM-1 and CM-2, and MasPar's MP-1 and MP-2. These
                                                                25
could stimulate development of new software applications.          machine architectures suffer from a number of shortcomings
There are many applications that could benefit from super-         which will be generally described hereunder.
computer performance in a personal computer. Examples of               A first limitation is that many SIMD designs have rela-
these applications are signal processing, data compression         tively slow execution dates for data words containing mul-
and decompression, phased-array radars, cryptography, pat-
                                                                30 tiple bits. It is also difficult to program these machines for
tern recognition, optimization, genetic algorithms, neural         operations on data words with multiple bits. These problems
nets, decision support, database mining, statistical analysis,     are partly due to the use of Processor Elements (PEs)
text retrieval and categorization, simulation and modeling,        designed to operate bit-serially. With these machines, opera-
medical imaging, medical signal processing, data                   tions on multiple-bit data words required either cascading
visualization, optical character recognition, audio
                                                                35 PEs together, or having each PE loop serially through each
processing, voice synthesis and recognition, speech analysis,      data bit of its multi-bit word. With cascading, programing is
vision systems, video processing, multimedia, virtual reality,     more difficult, since the programmer must track the width of
and CAD/CAM.                                                       each word. As word widths change, the number of groups of
    Today's fastest uniprocessor-based personal computers          cascaded processors changes, complicating programming
are limited to about 300 MIPs. Moreover, it appears that 40 and making the algorithm much more difficult to conceptu-
factors such as clock skew, inter-chip signal delays, on-chip      alize. Interprocessor communication is also more complex
wiring delays, dinlinishing returns from additional super-         to program and conceptualize when words span multiple
 scalar execution units, and the complexities of heavily           processors and the number of groups of cascaded processors
pipelined design all conspire to limit the maximum perfor-         must be tracked. With looping, multiple clock cycles are
mance that may be achieved from uniprocessors. For these 45 required to process a multi-bit word, which can reduce
reasons, a personal computer providing supercomputer per-          performance.
 formance should use a parallel computing architecture.                A second limitation is that many SIMD designs have a
    Parallel computers with over 5,000 MIPs performance are         bottleneck between the chips used to hold PEs and the chips
readily achievable, as demonstrated by their availability          used to provide memory storage. Each time data is moved
 from a number of vendors, although at high prices. A wide 50 between the memory and PE logic it must make an inter-chip
range of parallel architectures have been developed. Most           crossing. This takes time, which decreases performance. Pin
 efforts can be broadly categorized as either Multiple Instruc-     count limitations can create a further bottleneck between the
 tion Multiple Data (MIMD) or Single Instruction Multiple           separate memory and PE logic chips. When there are a
 Data (SIMD).                                                      limited number of pins for the PE to memory interface,
    MIMD machines are particularly useful when there are a 55 multiple clock cycles may be required to transfer data for all
 number of independent programming threads to be                    PEs during a load or store operation. To overcome this pin
 executed, as found in multi-tasking and multi-user environ-        bottleneck, some SIMD designs have a large register set on
 ments. For example, MIMD systems appear to work well               each PE, allowing temporary results to remain local to the
 with Online Transaction Processing. However, MIMD pro-             PE, thereby reducing the number of loads and stores needed.
 grams have high overhead when a large number of short 60 However, this increases die area per PE, resulting in higher
 execution paths must be spawned, processed and then syn-           costs per PE.
 chronized. This can occur, for example, when inner loops are          Adding pins can reduce the PE-to-memory bottleneck, but
 coded in parallel. MIMD systems are also difficult to code         leads to increased packaging costs. It may also require
 and debug when the problem has a large number of threads           tighter geometries or increased numbers of layers on printed
 with complex data dependencies or complex synchroniza- 65 circuits boards, further increasing costs. Furthermore, add-
 tion requirements. Applications with the above characteris-        ing pins increases the number of output drivers needed. This
 tics are often easier to code and debug, and often execute         increases die area, which can rapidly increase costs due to




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the two factors of fewer gross die per wafer and lower yields      the use of static random access memory (SRAM), rather
for larger die. Adding output buffers to drive increased pin       than dynamic random access memory (DRAM), which is
counts also increases power dissipation and hence power            higher density, less expensive per bit, bit which must be
supply capacity and cost. Increased power dissipation may          periodically refreshed. This use of SRAM increases system
also require increased space between chips or circuit boards s costs or forces use of smaller memories than would other-
for better cooling, leading to larger, more costly cabinets.       wise be possible.
   A third limitation of many SillD designs is that they are          A fifth limitation of some SThlD systems is that they have
a separate subsystem. A limitation resulting from this is that     high system cost in some SIMD systems, a significant part
they may have up to three kinds of data memory and up to           of this cost is due to the use of expensive host systems.
two kinds of program memory. Specifically, many SIMD 10 Expensive systems sell in lower volumes than less costly
designs have separate data memory for the Host CPU, the            systems. Also, selling expensive systems requires a longer,
SillD Controller, and the PE array. In addition, there are         more costly sales cycles. When system costs are high, the
often separate program memories for the Host CPU and the           systems must typically be shared by many different users,
SillD Controller.                                                  reducing the computing power available to any individual
   Consider the issues for separate data memory first.             user. If insufficient users are available, the system purchase
                                                                15
Typically, the user is connected to the host system, not to the    may not be able to be justified. High system costs also makes
SillD Controller or PE array. Generally, the user provides         it more difficult to cost-justify running any specific appli-
input data to the host and receives output data from the host.     cation on the system. All these factors can reduce the
Accordingly, if the data memories ate separate, an explicit        number of machines sold. A small installed base can reduce
step is required to transfer input data from the host to the       the attractiveness of the platform for software developers,
SillD Controller or PE memory array. Similarly, on output,      20
                                                                   thereby reducing the number of software applications avail-
an explicit step is needed to transfer data from the PE array      able for the system. This can further reduce the market
or SThlD Controller to the host. These steps take time and
                                                                   acceptance of the system. Finally, when the host system is an
impact performance. A further problem is that in purchasing
a system, a user must (a) purchase enough host data memory         expensive mainframe, it may have to be justified as a
for the application with the greatest requirement for host 25 worthwhile investment in its own right, independent of the
data memory, (b) purchase enough SThlD Controller data             SThlD subsystem. This can further reduce system sales
memory for the application with the greatest requirement for       volume and slow sales cycles.
SillD Controller data memory, and (c) purchase enough PE               A sixth limitation of some SIMD designs is that they
data memory for the application with the greatest require-         require complex data movements between multiple disks to
ment for PE data memory. Generally, each of these three 30 process data. This limitation arises because these systems
requirements will come from different applications.                use different disk systems for the host system and SThlD
   It can be seen that when data memory locations are              array. The user is typically connected to the host system and
separate for the host, SThlD Controller and PEs, it is not         must usually provide input data and output data, which often
sufficient to simply buy a given total amount of data              resides on disk. This data must be explicitly transferred
memory-one must have the enough of each of the three 35 between the host disk and the PE array disk before it can be
kinds for the applications which will be run. The estimate of      processed by the SIMD system. This takes time and reduces
how much memory of each type to buy is further compli-             performance, particularly for very large data sets. Large data
cated if the system is to support many users through               sets are common in SThlD systems since this is what they
timesharing, since there must be enough memory to support          process best. The PE arrays disk may be limited in size due
all applications that are to run concurrently. It can be seen 40 to technology or cost factors. In may instances, data must be
that having separate data memories adds to system cost since       swapped between the host's disk and the PE array disk,
each type of data memory must be large enough for the worst        further reducing performance.
case requirements. Separate data memories also makes it               The swapping might arise from a specific problem with a
more difficult for the user or manufacturer to specify the         data set larger than the PE array disk, or in the case of
required system size to meet the users performance goals 45 multiple batch or timeshared jobs, whose collective disk
and run the required applications. This can delay sales            storage needs exceed that of the PE array's disk. The latter
cycles, since a user may be hesitant to purchase a system          case can be tougher to anticipate and manage. Timesharing
until a clear understanding is achieved of how much of each        between users whose applications are swapping data
type of memory is needed, so as to neither purchase more           between the host disk and PE array disk could result in a
nor less than needed.                                           50 horrendous performance penalty. As with the case of sepa-
   A similar problem exists when program storage for the           rate memories discussed earlier, there is a cost issue in
host and SThlD Controller are separate. In such cases, there       separate disk systems, since each must be large enough to
must be sufficient host program memory for the application         handle the worst-case requirements. In addition, it makes it
with the greatest requirement for host program memory, and         more difficult to estimate how large a system to buy.
sufficient SThlD Controller program memory for the appli- 55           A further problem with this sixth limitation is that when
cation with the greatest requirement for SillD Controller          special disk arrays are used for the PE array, they may not
program memory. It is not sufficient to have enough overall        enjoy the same rate of decrease of costs that the host disks
program memory-one must have enough of each type for               experience. Typically, a host computer will be used in many
the applications that are to run. Timesharing complicates the      non-SIMD installations. Accordingly, the total number of
estimate of how much program memory of each type is 60 host disks and controllers sold will generally greatly exceed
needed. Having separate program memories increases sys-            the number of PE array disk and controllers sold. Without
tem costs since each type of memory must be large enough           the same volumes being manufactured, due to the well-
for the worst case requirements. As in the data memory case,       documented learning curve effect, the PE array disks and
having to estimate the amount of each type of program              controllers will not experience the same rate of cost
memory can delay sales cycles.                                  65 decreases as host disks and controllers.
   A fourth limitation of some SThlD systems is that their             Over time the ratio of cost of a Megabyte of PE disk
memories have high cost and low density. This is a result of        storage to cost of a Megabyte of host disk storage will rise.




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1bis negatively impacts the price/performance of the STh1D ·          Another aspect of the invention is that it shows how
system when compared to a uniprocessor alternative. 1bis           parallel STh1D processing can be added inexpensively to
negative impact may be corrected by frequently redesigning         existing system architectures. This cost-effective addition of
the PE array disks to take advantage of the latest technolo-       parallel processing can be made to popular, low cost com-
gies used for the hosts disks and controllers. However, 5 puter systems running popular operating systems, such as
frequent redesigns will only be effective in reducing cost if      Microsoft Windows based personal computers (including
the volume of PE arrays sold is sufficient to absorb the           Windows 3.1, Windows Nf and Windows 95), Awle-
amortized development costs and still result in a significant      compatible personal computers, and UNIX-based systems
cost decrease.                                                     (including those by Sun Microsystems, Silicon Graphics,
   In many instances, where hosts sell in the thousands to 10 Hewlett Packard, and Digital Equipment Corporation).
hundreds of thousands of systems per year, and SIMD                   Another aspect of the present invention is that it allows
systems sell in the tens of units per year, it may not be          parallel processing performance to be boosted simply by
possible to reduce this growing gap through either volume          adding additional shared memory, thereby providing scal-
efficiencies or more frequent redesigns. In such cases, the        able performance at various price points.
alternatives include a price/performance ratio that continues 15
                                                                      Another aspect of the present invention is that it elimi-
to deteriorate relative to uniprocessors with accompanying
                                                                   nates the Von-Neumann bottleneck between the processing
slowing of sales, or an infusion of outside capital to start a
                                                                   elements and memory by placing both on the same chip.
new design (perhaps as a financial restructuring). If left
                                                                   This results in faster performance and reduced interconnec-
unchecked, this factor and other problems cited earlier above
                                                                   tions. Simplifying the interconnections reduces system cost,
could lead to a STh1D vendor's inability to raise funding or 20
                                                                   makes it easier to scale performance by adding memory.
to sell systems at an appealing price/performance ratio.
                                                                   Since interconnections are a high failure element in a
   SThfD architectures have some qualities that make them          system, the invention improves reliability.
attractive candidates for adding supercomputer performance
to a computer for personal use. However, as a result of the           Another aspect of the present invention is that it permits
limitations described above, present SThfD architectures are 25 use of a conventional, low cost cache memory with the host
much higher cost than computer systems for personal use.           processor.
To provide supercomputer performance in a computer for                Another aspect of the present invention is that it can be
personal use requires improving SIMD' s price/performance          used with either static or dynamic main memory.
ratio, decreasing SIMD cost, simplifying SIMD
                                                                      Another aspect of the present invention is that it teaches
programming, streamlining the issues involved in estimating 30
                                                                   a novel method for ensuring refresh of STh1D memory based
memory and disk requirements, and expanding STh1D usage.
                                                                   on dynamic storage technologies, when the DRAM control-
The difficulties in achieving this are illustrated by the fact
                                                                   ler is disabled.
that many STh1D computer system vendors, competing in
the supercomputer segment, have experienced financial dif-            Another aspect of the present invention is that it allows
ficulties resulting in bankruptcy or restructuring, partly as a 35 part of the host system's main memory to be conventional
result of the high cost and limited usage of their machines.       memoxy and part to be shared SThfD memory.
1binking Machines and Active Memory Technologies are                  Another aspect of the present invention is that it allows a
two examples of this. Overcoming the above limitations             SIMD computing capability to be added to an existing
would allow supercomputing performance to be provided in           MIMD system through the use of SIMD memory.
a low cost computer system for personal use, dramatically 40
expanding the potential market for systems with supercom-             Another aspect of the present invention is that it is highly
puter performance. To meet the cost objectives, the SThfD          beneficial in providing cost effective, scalable, high perfor-
capabilities should not add significant complexity to the          mance within embedded systems dedicated to a specific
architecture of a computer system for personal use. The            task, general pwpose computing systems, and other systems
                                                                45 known today and developed in the future.
present invention addresses the above needs.

            SUMMARY OF THE INVEN'TION                                     BRIEF DESCRJPfION OF THE DRAWINGS
   The present invention comprises a computer system to              FIG. 1 is a block diagram of a conventional personal
which has been added a Single Instruction Multiple Data 50 computer architecture.
(STh1D) parallel processing capability. The computer
system, to which the SIMD capability has been added, could           FIG. 2 is a block diagram of a first embodiment of a single
be a computer system for personal use or other computer           instruction multiple data (SIMD ) computer system, in
system.                                                           accordance with the present invention, which is based on a
                                                                  personal computer architecture.
   A first aspect of the present invention is that it provides 55
shared memory for data and programs that can be used by              FIG. 3 is a block diagram of a second embodiment of a
both the host computer system and the parallel STh1D              single instruction multiple data (SIMD ) computer system,
system. The invention of this shared memory results in            in accordance with the present invention, which is based on
lower system cost and more flexibility in using memory both       a personal computer architecture.
within a given program. and in the case of timeshared 60             FIG. 4 is a block diagram showing the interaction of the
execution of different programs.                                  STh1D Controller with the Host CPU for interrupts and bus
   Another aspect of the present invention is that it provides    control in accordance with the present invention.
a convenient mechanism for mapping data structures
                                                                     FIG. 5 is a block diagram of a SIMD-RAM device in
between the scalar host processor and parallel processing
arrays. The invention teaches how to use this mapping to 65       accordance   with the present invention.
efficiently pass data between the host and processing ele-           FIG. 6 is a table showing the mapping of the memory of
ments.                                                            the personal computer architecture of FIG. 3.




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         DESCRIPTION OF THE PREFERRED                               A "SIMD Controller" is the part of a SIMD system that
                 EMBOD1MENTS                                     contains the program counter used to step through the list of
                                                                 instructions that may include instructions to be executed by
Definitions
                                                                 the PEs. This list of instructions may also include instruc-
   "Atomic operations" are operations that can be executed 5 tions to be executed by other circuitry, including the STh1D
in a single step by a PE, without requiring looping through      Controller itself, the host computer, and other circuitry.
multiple data values or cascading of two or more PEs. For        Depending on the architecture, the SIMD Controller may
example, a 32-bit wide data path could perform atomic            also include branching logic, subroutine stack logic, refresh
operations on data values up to 32 bits wide, including bits,    control, interrupt logic, bus control logic, registers, a data
bytes, 16-bit words and 32-bit words. However, it would
                                                              10 path, and possibly other circuitry.
have to either cascade two data paths, or cycle multiple            A "host computer" is an optional part of a STh1D computer
times through its 32-bit wide data path, to process 64-bit       system. When present, a host computer is identified by
words. According to the definition, these 64-bit operations      having one or more program counters that are different from
would not be atomic.                                             that of the SIMD controller. The host computer system may
   "A computer system for personal use" is a system that is 15 also include, depending on its architecture, branching logic,
designed primarily for use by an individual or for a specific    subroutine stack logic, refresh control, interrupt logic, bus
application, including embedded applications. A computer         control logic, registers, a data path, multiple processors,
system for personal use includes personal computers              co-processors, special data paths, superscalar execution
(including, but not limited to, those that are IBM-compatible    units, memory, 1/0 capabilities, networking capabilities, and
and Apple-compatible), workstations (including, but not 20 possibly other circuitry.
limited to, those that use RISC technology or that use the          A ''memory storage location" retains information, which
UNlX operating system), embedded computers (including,           may be programs and which may be data, and which can be
but not limited to, computer-based equipment used for            implemented in any memory technology, including, but not
telecommunications, data communications, industrial              limited to, static random access memory (SRAM), dynamic
control, process control, printing, settop boxes, signal 25 random access memory (DRAM), flash random access
processing, data compression or decompression, data              memory, read-only memory (ROM), erasable programmable
transformation, data aggregation, data extrapolation, data       read-only memory (EPROM), electrically erasable program-
deduction, data induction, video or audio editing or special     mable read-only memory (EEPROM), programmable read
effects, instrumentation, data collection or analysis or         only memory (PROM), write only memory (WOM), or
display, display terminals or screens, voice recognition, 30 ferromagnetic memories. ROM, PROM, EPROM, and
voice processing, voice synthesis, voice reproduction, data      EEPROM may be particularly useful in embedded
recording and playback, music synthesis, animation, or           applications, although their usefulness is not restricted to
rendering), laptops, palmtops, personal digital assistants,      embedded applications.
notebooks, subnotebooks, and video games.                           "DRAM technology" means a technology for implement-
   "A Single Instruction Multiple Data computer system" (or 35 ing memory storage locations which requires periodic
"STh1D computer system") is a computer system which              refresh operations to avoid the loss of memory contents.
provides a means for a single instruction to operate on          Description
multiple data items in parallel. A SThlD computer system            The present invention relates to an improvement in the
may also include any other types of computing capability.        overall speed of a personal computer architecture through
For example, a SIMD computer system may include a 40 the addition of a parallel processing capability. The follow-
uniprocessor. As another example, a SIMD Computer sys-           ing description is presented to enable one of ordinary skill in
tem may include a host processor. A further example is that      the art to make and use the invention as provided in the
a STh1D computer system may include a Digital Signal             context of a particular application and its requirements.
Processor (DSP). Another example is that a STh1D computer        Various modifications to the preferred embodiments will be
system may include a systolic array. Another example is that 45 readily apparent to those skilled in the art, and the generic
a SThlD computer system may include a Multiple Instruction       principles defined here may be applied to other embodi-
Multiple Data (MilvlD) capability, where MilvlD is defined       ments. Thus, the present invention is not intended to be
as a computer system which provides a means for multiple         limited to the embodiments shown, but is to be accorded the
instructions to operate on multiple data items in parallel.      widest scope consistent with the principles and novel fea-
Another example is that a SIMD computer system may 50 tures disclosed herein.
include special functions, including, but not limited to, any       It has been discovered that the architecture of a computer
mix of the above and following: networking,                      system for personal use can be modified to add a single
telecommunications, data communications, data display,           instruction multiple data (STh1D) computing capability,
data acquisition, data transformation, data aggregation, data    resulting in much higher performance computing at moder-
extrapolation, data deduction, data induction, and signal 55 ate cost.
processing.                                                         To more clearly see the advantages of the present
   "PC" means personal computer.                                 invention, refer to F1G. 1, which is a block diagram of a
   "IBM" means International Business Machines.                  conventional personal computer architecture 10. This per-
   "PE" means Processor Element. A PE is a single data path      sonal computer architecture 10 includes a Host CPU 12
in a SIMD computer system and is generally the smallest 60 which is coupled to a Host Bus 14. The computer architec-
data path with a unique identity. For example, multiple PEs      ture 10 includes one or more Peripheral Devices 16, such as
cascaded together are a number of PEs, not a single larger       a disk, a printer and the like, which communicate via the
PE. As another guide to identifying a single PE, most SIMD       system to the Host CPU 12. Finally, as is well known in the
systems provide communication between individual PEs. As         art. there is main DRAM memory 20, which is connected to
yet another guide, some SThlD systems provide an Active 65 th~ Host Bus 14. and connected to a DRAM controller and
Bit to determine whether a PE is included or excluded from       buffers 18. The ·DRAM Controller and buffers 18 is also
a specific instruction.                                          connected to the Host Bus 14.




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   As has been mentioned before, a uniprocessor system            devices, and these variations would be within the spirit and
such as that of FJG. 1 has limited processing performance.        scope of the present invention.
FIG. 2 shows one embodiment of the invention, which adds          The SThiD Controller 252
more performance to the system of FIG. 1.                            In this einbodiment, the SIMD Controller 252 includes
   The system architecture shown in FIGS. 2 is based on a         the program counter, branching logic, subroutine stack logic,
traditional IBM-compatible personal computer design.              SThiD-RAM refresh control, and interrupt management
However, a system could be built in accordance with the           logic for the SIMD subsystem 250. It also includes a 32-bit
invention for a wide variety of personal computing envi-          data path for processing scalar values. Using the SThiD bus
ronments including, but not limited to, an Apple-compatible,      240, the SThiD Controller 252 globally broadcasts data
RISC-based, or an embedded computing system.                   10 values and opcodes to the SIMD-RAMs 254 and can accept
   In FJG. 2, the SThiD subsystem 100 includes a SThiD            data values from a specific PE within the SThiD-RAMs 254.
Controller 102, one or more SThiD-RAM devices 104, and            The SIMD bus 240 also includes an open-collector driven
an Interconnect Router 106. The SIMD-RAM devices 104              global-ORed result signal for parallel boolean operations.
are coupled to the SIMD Controller 102, the Host Bus 14',         Using DeMorgan's theorem, this can also be used to provide
the DRAM Controller and buffers 18' and the interconnect 15 a global-AND capability. Other variations of SIMD Con-
router 106. The SIMD Controller 102 is also coupled to the        troller could also be used.
Host Bus 14' This SIMD subsystem 100 adds parallel                   One variation that might be employed is to have the SIMD
processing capabilities to the personal computer, resulting in    Controller interface to the SIMD-RAMs by connecting the
substantial performance improvements.                             SIMD-RAMs to the host bus 230, so as to eliminate the
   An additional embodiment of the present invention is 20 SIMD bus 240 and minimize the pin count on the SThiD-
shown in FIG. 3. This includes a personal computer system         RAMs. The global-OR function could be implemented using
200, which includes a SIMD subsystem 250, in accordance           open-collector drivers on the SIMD-RAMs, by polling, or
with the present invention. The SThiD subsystem 250 com-          through other means.
prises a SIMD Controller 252, one or more SThiD-RAM                  In the embodiment of FIG. 3, the Host CPU 208 and
devices 254 and Interconnect Router 256. (For further 25 SIMD system 250 could run under a variety of operating
details of the basic PC architecture without the SIMD             systems, including, but not limited to, Windows 95 and
capability, see the data book "82430 PCiset Cache/Memory          Windows NT. SIMD programs can be compiled as subrou-
Subsystem", Intel Corporation, April 1994, Order Number           tines using a compiler and then linked to traditional Host
290478-003.)                                                      CPU 208 programs. Using this convention, all SIMD pro-
   In this embodiment of FJG. 3, the Host CPU 208 is a 386, 30 cessing would be initiated from a uniprocessor program.
486 or PentiumTM processor. As previously mentioned, other        This uniprocessor program will be referred to as the parent
processors could be substituted by one skilled in the art,        uniprocessor program. Under this convention, once a SThiD
including, but not limited to, those from the 68000 family,       program was activated, it could subsequently call other
SPARC family, Alpha family, MIPS family, or PowerPC               SThiD routines or call a Host CPU 208 program. Further
family. Another variation is that multiple ·microprocessors 35 calls could be made between the Host CPU 208 program and
could be included in the personal computer system 200,            SIMD system 250, resulting in multiple levels of nesting of
thereby providing a MThiD capability plus the SIMD system         subroutine calls on both the Host CPU 208 and SIMD
250. The host CPU 208 is connected to the host bus 230.           system 250.
   In the embodiment of FIG. 3, fast J/0 is provided through         Note that other conventions could also be used. For
the Peripheral Component interconnect bus (PCI bus) 210. 40 example, the roles could be reversed, with all processing
The PCI, cache and memory controller 214 connects to the          initiated by a parent program on the SIMD subsystem 250.
PCI bus 210, the host bus 230, and the cache memory 232.             FIG. 4 shows a more detailed block diagram of the
One or more local bus accelerators 216 connect to the             relationship between the SIMD Controller 252 and the Host
SIMD-RAMs 254, the host bus 230, and the PCI bus 210. A           CPU 208. Consider the situation where the Host CPU 208 is
LBA control signal 218 connects the local bus accelerator 45 executing a uniprocessor program. At this point, the SIMD
216 to the PCI, Cache and memory controller 218. The PCI          Controller 252 is idle. When the uniprocessor program
bus 210 can support up to 133 Mbytes/second peak transfer         reaches a point where SIMD program execution is to begin,
rate in its current 32-bit version. PCI Devices 212 such as       the uniprocessor program calls a system routine to start
striped conventional disk sets, high performance RAID             SIMD Controller execution. This system routine could start
arrays, and/or HiPPI channels could be placed on the PCI 50 the SIMD Controller 252, for example, by a write by the
bus 210 for high bandwidth disk J/0 and communications.           Host CPU 208 to an YO port on the SThiD Controller 252.
   The Industry Standard Architecture bus (ISA bus) 220           Alternatively, a read or other mechanism could be used to
connects to the PCI bus 210 through the system YO con-            initiate processing by the SIMD Controller 252.
troller 224. The ISA bus 220 allows use of the wide variety          When the SIMD Controller 252 is started, it requests
of ISA devices 222 that are designed for the ISA bus, such 55 control of the Host Bus 230 from the Host CPU 208. This
as disk controllers, multimedia boards, and networking            could be implemented as shown in FIG. 4 through a HOLD/
boards.                                                           IIl.,DA handshake with the Host CPU 208, or through other
   Aside from the three new device types--the SIMD Con-           bus control protocols, including, but not limited to, bus
troller 252, SIMD-RAM devices 254 and interconnect router         control protocols implemented by a chip or chips other than
256-the computer 200 uses standard PC components.              60 the Host CPU 208. In the HOLD/HLDA protocol connection
   The following discussion will describe each of the new         shown in FIG. 4, the SThiD Controller 252 asserts HOLD to
devices in detail. It should be understood that although the      request bus control from the Host CPU 208. The Host CPU
following discussion will be in terms of the system shown in      208 completes its current activity and relinquishes the bus,
FIG. 3, the present invention can be utilized in a variety of     signaling this by asserting IIl.,DA.
environments and architectures, and that use would be 65             At this point, bus control transfers to the SIMD Controller
within the spirit and scope of the present invention. Also,       252. The SIMD Controller 252 then executes the SIMD
variations can be made in the design of each of the three new     program. When the SIMD program is complete, the SIMD




                                                     APPX01501
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                             11                                                                  12
Controller 252 de-asserts HOLD to signal it is done with the       completed execution; It would be the responsibility of the
bus. The Host CPU 208 then regains bus control, and signals        SIMD Controller program i:o set a bit in this status register
this by de-asserting HLDA. At this point, execution is             to signal completion as its last step in any called routine.
returned to the Host CPU 208 and the SIMD Controller 252           Alternatively, the status register could contain a unique
goes idle.                                                       5 process ID or other data value, rather than a bit. In any event,
   In most systems, itis desirable to allow the Host CPU 208       the Host CPU 208 world loop on ·.the test until the status
to service any interrupts as soon as possible, even if they        register read signaled completion of the SIMD Controller
occur during SIMD processing. This can be accomplished,            252. The process of reading of this register by the Host CPU
for example, by having the SIMD Controller 252 monitor all         208 would require bus access by the Host CPU 208. When
of the Host CPU's 208 interrupt lines, including both 10 no interrupts otcurred, the bus access would not haPPen
maskable and non-maskable interrupts. This can be done as          until the SIMD Controller 252 was completed and released
shown in FIG. 4 , by connecting the SIMD Controller 252            the bus. In these cases, the read would always indicate.the
directly to the Host .CPU's 208 non-maskable (NMI) and             SIMD Controller 252 had completed. However, if there was
maskable (lNTR) interrupt lines. When an interrupt .occurs,        an interrupt, the Host CPU 208 might perform the read after
the SiMD Controller 252 detects this and releases bus 15 the return from the e,n d of the interrupt service processing.
control back to the Host CPU 208. This allows the Host CPU         Seeing that the SIMD Controller 252 was not completed, the
208 to respond quickly to the interrupt.                           Host CPU 208. could then write to the SIMD ·I/O port to
   In the case of maskable intetrupts, the interrupt may be        reinitiate the taking of bus control by the SIMD Controller
masked by a register within the Host CPU 208 that is not           252. The .Host CPU 208 would theri attempt to read the J/O
visible to the SIMD Controller 252. In such a case, the 20 port to detect completion, as it had before.
system must properly handle receipt of am asked interrupt.            Although the above description assumes use of an J/O
Tiris could be handled by providing a similar masking              port to start and flag completion of SIMD Controller 252
register (not shown) on the SIMD Controller 252 that is set        execution, a memory location could also be used. When
or cleared, as needed; by an I/O port write whenever the host      rising a memory location, it is important to ensure that it is
program calls a SIMD routine, or alternatively whenever 25 non-cached, or that the write to the cache is also written to
software detects or makes changes to the status of the Host        memory in the case of a data write by the Host CPU 208, to
CPU's 208 masking register. This SIMD Controller masking           ensure that the SIMD Controller saw the written value in a
register would prevent the SIMD Controller 252 from                timely manner. Similarly, in the case of a read of a memory-
releasing bus control back to the Host CPU 208 if am asked         mapped status register on the SIMD Controller 252 by the
interrupt is received. Alternatively, maskable interrupts 30 Host CPU 208, it is important to ensure that the Host CPU
could be handled by always returning bus control to the Host       208 is not just reading an out-of-date cached value. Flushing
CPU 208 on any interrupt, masked or otherwise, and letting         the cache prior to any bus transfer to the SIMD Controller
the Host CPU's 208 system software either return process-          is another method of handling these cache issues.
ing back to the SIMD Controller 252 immediately for the            SIMD-RAMs 254
masked interrupt case, or service the interrupt and then 35           FIG. 5 shows a block diagram of a SIMD-RAM device in
return control, for the unmasked or non-maskable case.             accordance with the present invention. The SIMD-RAM
   With some processors, such as the Pentium processor,            device 254 shows a plurality of memory devices, in this
internal instruction execution of the uniprocessor program         case, dynamic random access memory (DRAM) 304, which
will continue from the internal caches following the point         are coupled to a plurality of processing elements (PE' s) 302
when bus control has been relinquished through HOLD/ 40 via random access logic 306. The PEs 302 in turn are
HLDA handshaking. In such cases, it may be necessary to            coupled to Routing Logic 308. The Routing Logic 308 in
provide a safeguard to ensure that execution of this unipro-       turn is coupled to the Interconnect Router 256 (FIG. 3). The
cessor program does not proceed until the SIMD Controller          PE's 302 are also connected to the SIMD bus 240. The
252 is done processing and returns bus control. This safe-         DRAMs 304 can be directly accessed by the lines connect-
guard will ensure that the Host CPU 208 does not use data 45 ing to the PCI, cache and memory controller 214, and the
values in its cache that are invalid copies of data in the         lines connecting to the local bus accelerator 216.
SIMD-RAMs 254. The cache copies could be invalid due to               Each PE contains a 32-bit wide data path and can perform
modification of the SIMD-RAM 254 contents by the SIMD              atomic operations on bits, bytes, 16-bit words, and 32-bit
program.                                                           words. Operations on 64-bit words and block operations
   It is also necessary to provide a safeguard against further 50 could be performed by looping through two or more data
execution of the suspended uniprocessor program for the            values-these would not be atomic operations.
case when the Host CPU 208 services an interrupt in the               Since each DRAM 304 is independently addressed by its
middle of execution of a SIMD Controller 252 program.              PE, autonomous indirect addressing can be performed,
When the Host CPU 208 is completed with the interrupt, the         which allows each PE to use different pointers or array
SIMD Controller 252 should regain bus control until the 55 indexes while accessing its DRAM 304. Integer and floating
SIMD program is done, rather than the Host CPU 208                 point accelerators could be included in each PE. Execution
proceeding with execution of the suspended uniprocessor            autonomy is provided, in which specific PEs can be
program.                                                           excluded from executing specific instructions by using IF
   These safeguards can be provided, for example, by the           statements.
system routine that was called by the uniprocessor program 60         The architecture of the SIMD-RAM 254 allows scaling to
to start SIMD processing. This system routine started SIMD         higher or lower density chips with more or fewer PEs 302,
processing with, in the above example, an I/O write. To            more or less memory 304, and different amounts of memory
provide the required safeguards, it could, as a next step (after   per PE. If the memory-per-PE ratio (64 kbytes-per-PE in the
perhaps a few no-operation instructions (NOPs) if needed to        above example) is maintained, lower or higher density
allow the SIMD Controller 252 to get the bus), perform a 65 SIMD-DRAM 254 chips could be used without software
read of a status register from an I/O port on the SIMD             changes. With this approach, an application program would
Controller 252 to test whether the SIMD Controller 252 has         see no difference, for example, between a system imple-




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mented with sixteen SIMD-RAM 254 chips, each having 1             event there are more elements than PEs, wraparound auto-
Mbyte DRAM and 16 SIMD PEs, and a system imple-                   matically occurs from the highest-numbered PE to the next
mented with a single SIMD-RAM 254 chip containing 16              word in PE 0.
Mbytes of DRAM and 256 PEs.                                          It is more difficult to map arrays with data elements of
   The embodiment of FIGS. 2, 3, and 5 show the invention 5 other sizes, such as char variables, strings, doubles, and data
with dynamic random access memory (DRAM) technology               structures. These require special handling to ensure that
used to implement the memory storage locations in the             successive values are properly placed in PE address space,
SIMD-RAM 254. It is within the spirit and scope of the            despite the fact they are not 32-bit entities.
invention to use other technologies to implement the                  As an example, consider an array of 8-byte double words
memory storage locations.                                      10 in CPU memory. To move this into the correct PE mapping,
Memory Mapping & Data Structures                                  each 8-byte double word must be split in half and stored in
   The SIMD Controller can pass data values to and from the       contiguous locations in the address space for a given PE.
Host CPU through the shared SIMD-RAM memory.                      This is equivalent to moving the two 4-byte words into
   When SIMD processing is not being performed, the               non-contiguous locations in CPU address space. Note, for
SIMD Controller 252 is idled and the DRAM 304 on the 15 example, in FIG. 6, that an 8-byte double word occupying
SIMD-RAM device 254 is usable by the Host CPU 208 as              addresses Othrough 7 in PE Oactually appears as two 32-bit
if it were conventional DRAM memory. In this mode, each           words in CPU address space-the first is at CPU addresses
SIMD-RAM 254 provides 1 Mbyte of storage to the Host              0 to 3, and the second is at addresses 1024 through 1027. The
CPU 208.                                                          next double word, which is mapped to PE 1 at addresses 0
   The DRAMs 304 are shared by the Host CPU 208, the 20 through 7, appears to the CPU as two 32-bit words-the first
SIMD Controller 252, and the PEs 302. The Host CPU 208,           at CPU addresses 4 through 7, and the second at CPU
SIMD Controller 252, and PEs 302 can each access the              addresses 1028 through 1031.
memory in each access cycle as bits, bytes, 16-bit words, or          Because of the special handling needed to pass parameters
32-bit words. The SIMD Controller 252 has the same view           that are not 32-bits in size, special library routines could be
of memory as the Host CPU 208--as a linear address space 25 provided to pass parallel parameters between CPU and
of addressable bytes organized, in this example, as 256k by       SIMD programs. These routines could execute block trans-
36 bits (32 data, 4 parity) per SIMD-RAM chip. The Host           fers between memory allocated to the CPU and PEs. The
CPU 208 and SIMD Controller 252 can both use the                  routines would accept arguments of a starting CPU address,
memory for program instructions and data. The Host CPU            a starting PE address, a data element size, and a data element
208 and SIMD Controller 252 will use the same physical 30 count. Using this information, the block transfer routines
address to access a given byte in memory, in order to             could activate the Interconnect Routers to distribute data
facilitate the sharing of pointers by both devices. The PEs       items as needed, with the correct alignment, typically start-
302 use a different address mapping since, in this example,       ing with PE 0. Alternatively, the routines could shuffle data
each PE sees just 16k words x36 bits (32 data, 4 parity).         by executing a program on the Host CPU 208. Either way,
Since the PEs operate under the control of the SIMD 35 since the data elements are already located in DRAM, this
Controller and do not directly execute instructions from          operation is always some kind of data shuffle. This solves the
memory, they can use memory only for holding data.                alignment problem for any arbitrary element size for parallel
   FIG. 6 compares the address map of the Host CPU 208 to         data. Note that this data shuffling is only used for parallel
that of the PEs 302 for a system with 256 PE's (as might be       parameters which need to be mapped across the PEs. Scalar
provided by sixteen SIMD-RAM chips, each with sixteen 40 parameters can be passed as part of the SIMD function call
PEs ). By sequentially stepping through contiguous Host           using conventional parameter-passing protocols, since the
CPU 208 32-bit words, access is made to words appearing           SIMD Controller and CPU see the same address map.
at identical addresses in successively numbered PEs. Wrap-          - If the Host CPU 208 has a cache, it is important to ensure
around occurs from the 32-bit word at byte N in the highest       that any writes performed by the Host CPU 208 have been
number PE (here PE 255) to the 32-bit word at byte N+4 in 45 transferred to the SIMD-RAM prior to passing the bus to the
PE 0. Within 32-bit words, either little-endian or big-endian     SIMD Controller 252, if the SIMD Controller 252 or PEs
byte ordering could be used. The PEs could also be designed       might access those written data values. One approach to
to support both big-endian or little-endian, in order to be       ensure that this transfer occurs is to flush the cache prior to
used without modification in a variety of different systems.      transferring control of the bus to the SIMD Controller 252.
   The reason for stepping across PEs as one steps up in Host 50 Another approach is to mark those memory areas that will be
CPU 208 words is so that when a block of SIMD-RAM is              accessed by the SIMD Controller and PEs as non-cacheable.
allocated from Host CPU . 208 memory space to SIMD                    In some cases, it may be desirable to limit the locations
processing, it will include memory that is mapped to all PEs.     that the STh1D Controller and PEs access. To provide
It also ensures that the span encompasses the same addresses      protection between the address spaces of different programs,
for every PE. The 32-bit step size was chosen because it is 55 the SIMD Controller 252 and each PE 302 could include
convenient for mapping integers to PEs, and because the PEs       address limit registers indicating the range of DRAM
are 32-bit devices. It should be understood, however, that        addresses each may use, along with allowed access types,
other step sizes could be used and would be within the spirit     such as read, write or execute. In such cases, if an access
and scope of the present invention.                               were made outside of the allowable limits or if the access
    A key issue in memory mapping is how data arrays and 60 was of the wrong type, a program trap would be issued to the
structures are passed between CPU programs and SIMD               SIMD Controller 252 or Host CPU 208, resulting in an error
routines. Since the memory mapping was chosen to occur on         routine being executed.
32-bit boundaries, transferring an array of 32-bit elements is    Refresh
easy. The array simply needs to have its starting element             Llke ordinary DRAMs, SIMD-RAMs implemented with
aligned to a memory word that is mapped to PE 0. Succes- 65 dynamic memory technologies must be refreshed to main-
sive words will then be automatically mapped to successive        tain data integrity. During Host CPU 208 processing, the
PEs, which is what is desired for parallel execution. In the      SIMD-RAM responds to the refresh controller on the PCI,




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cache and memory controller 214. As will be discussed            could also contain logic for nearest neighbor interconnec-
below, it is advantageous to use a CAS-before-RAS refresh        tions. This facilitates rapid up/down/left/right shifts of data
method. As with traditional DRAMs, during this CAS-              between PEs, as is common, for example, in image and
before-RAS refresh, the SIMD-RAMs are responsible for            signal processing.
providing their own refresh address using on-chip Refresh 5         The use of am Interconnect Router 256 provides high
Address Registers.                                               speed interprocessor communication. It is possible to use the
   During SIMD execution, the refresh controller on the PCL      described invention without an Interconnect Router 256 by
cache and memory controller 214 is disabled. To maintafu         using only the nearest neighbor interchip communications of
data integrity, the SThfD Controller 252 assumes responsi-       tlle SIMD-RAM chip 254, and tlle data movement capabili-
bility for refresh. In some systems, the RAS and CAS signal 10 ties of tlle Host CPU 208 and SThfD Controller 252,
outputs on the PCI, cache and memory controller 214 may          although such an implementation may reduce the perfor-
not be tristate. In addition, these signals have tight loading   mance of interprocessor communications.
and timing specifications. For these reasons, it may not be      Conclusion
practical to have the SThfD Controller drive RAS and CAS            A system in accordance with the present invention sig-
directly. Accordingly, another approach, using special 15 nificantly increases the computing power of computer sys-
refresh commands, can be used.                                   tems for personal use (including personal computers) by
   These special refresh commands are similar to normal          adding a SIMD computing capability. The architecture
executable instructions in that they are issued by the SIMD      replaces some or all of the personal computer's conventional
Controller 252 over the instruction bus to the SThfD-RAM         main memory, resulting in a cost saving that helps offset the
254. They differ from normal instructions in that they cause 20 added cost of the new components. The architecture is easily
the SThfD-RAMs 254 to perform a refresh cycle, rather than       scaled across a range of performance simply by adding
processing data. The SThfD Controller 252 generates refresh      SThfD-RAM chips. The low cost nature of this architecture
commands at a frequency sufficient to provide necessary          helps generate a high volume of sales, maximizing the
refreshing. When these commands are issued, the SIMD             architecture's appeal to software developers. Finally, the
Controller 252 skips incrementing its Program Counter, so 25 system in accordance with the present invention is useful in
that the correct executable instruction sequence can resume      increasing the performance of embedded computing sys-
after the refresh. During these refreshes, the SIMD-RAMs         tems.
254 use their Refresh Address Registers just as they did with       Although the present invention has been described in
refreshes initiated by the Host CPU 208's CAS-before-RAS         accordance with the embodiments shown in the figures, one
refresh cycle. This ensures that the refresh address sequence 30 of ordinary skill in the art recognizes there could be varia-
is maintained as program execution moves back and forth          tions to the embodiments and those variations would be
between the Host CPU 208 and tlle SThfD Controller 254.          within the spirit and scope of the present invention.
The Interconnect Router 256                                      Accordingly, many modifications may be made by one of
   The Interconnect Router 256 provides high speed inter-        ordinary skills in the art without departing from the spirit
processor communications. I't could be implemented as a 35 and scope of present invention, the scope of which is defined
wormhole router, or a crossbar. An alternative approach          by tlle appended claims.
would be to use hypercube interconnections, at the cost of          I claim:
potentially more inter-chip wiring complexity. A variety of          1. A circuit comprising:
possible interconnect architectures are well documented in          a first logic circuit means capable of issuing instructions;
the literature, including papers such as "Study of Multistage 40    a second logic circuit means responding to the instruc-
SThfD Interconnection Networks", Howard Jay Siegal and                  tions; and
S. Dianne Smith, Purdue University, Proceedings of the 5th          a dynamic memory means, the first logic circuit means
Annual Symposium on Computer Architecture, 3-5 Apr.                     capable of causing a refresh of the dynamic memory
1978, Palo Alto, Calif., USA, IEEE, New York, N.Y., USA,                means by inserting a new refresh instruction into a
p. 223-229, and 'The Universality of Various Types of 45                sequence of instructions.
SThfD Machine Interconnection Networks", Howard Jay                 2. The circuit of claim 1, further including a program
Siegal, 4th Annual Symposium on Computer Architecture,           counter means in the first logic circuit means, wherein the
23-25 Mar. 1977, Silver Spring, Md., USA, IEEE, New              program counter's value is the same before and after the first
York, N.Y., USA, p. 70-79.                                       logic circuit means inserts a refresh instruction into a
   A serial communications scheme could be used to further 50 sequence of instructions.
reduce wiring complexities. In addition to global intercon-
nections provided by the Interconnect Router 256, each PE                                 * * * * *




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(19)United States
02) Patent Application Publication (10) Pub. No.: US 2007/0266071 Al
        Dockser et al.                                                                            (43) Pub. Date:                         Nov. 15, 2007

(54)    MODE-BASED MULTIPLY-ADD RECODING                                                  (57)                          ABSTRACT
        FOR DENORMAL OPERANDS
                                                                                          In a denormal support mode, the normalization circuit of a
(76)    Inventors: Kenneth Alan Dockser, Cary, NC                                         floating-point adder is used to normalize or denormalized
                                                                                          the output of a floating-point multiplier. Each floating-point
                   (US); Pathik Sunil Lall , Raleigh, NC
                                                                                          multiply instrnction is speculatively converted to a multiply-
                   (US)                                                                   add instruction, with the addend forced to zero. This pre-
                                                                                          serves the value of the product, while normalizing or denor-
        Correspondence Address:                                                           malizing the product using the floating-point adder's
        QUALCOMM INCORPORATED                                                             normalization circuit. When the operands to the multiply
        5775 MOREHOUSE DR.                                                                operation are available, they are inspected. If the operands
        SAN DIEGO, CA 92121 (US)                                                          will not generate an unnorrnal intermediate product or a
                                                                                          denonnal fina l product, the add operation is suppressed,
(21)    Appl. No.:              11/382,525                                                such as by operand-forward ing. Additionally, each non-
                                                                                          fused floating-point multiply-add instruction is replaced
(22)    Filed:                  May 10, 2006                                              with a multiply-add instrnction having a zero addend, and a
                                                                                          floating-point add instrnction having the addend of the
                      Publication Classification                                          original multiply-add instrnction is inserted into the instruc-
                                                                                          tion stream. Upon inspection of the operands, if an unnormal
(5 1)   Int. Cl.                                                                          intermediate result or a denormal final result will not occur,
        G06F 7138                     (2006.01)                                           the addend may be restored to the multiply-add instrnction
(52)    U.S. CI. .............................................................. 708/495   and the add instruction converted to a NOP.




                                                                                                 50


                                                                                AUGEND
                                                                                                   37




                                                                                                              64         62
                                                   1-------
                                                   1
                                                   I
                                                   I
                                                   I
                                                   I
                                                   I
                                                   I


                                          52~




                                                                                                                                                   Google Exhibit 1010
                                                                                                                                                   Google v. Singular




                                                                            APPX01505
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                                                                                10

      PROCESSOR




                       14      PIPELINE.,,.-12a      .,,.-12b

             CONTROL          ~16 ~16
      15
                              ~16 ~16
                                                                    ~26
      28
               GPR
                              W1a W1a
                              ~16~16
                                                                      0$
                                                                           24


      38
                1/0
                1/F           ~16~16

                                                                      MEMORY 1/F
                                                             34


                                                                                     36

                         40           2                                MEMORY




                                    FIG. 1




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                                                     50     FLOATING POINT
                                                              MULTIPLIER

                                   AUGEND
                                                      37




                                                              64        62
               ,-------
               1                  54
               I
               I
               I
               I     ALIGNMENT
               I
               I
               I
         52~




                                                58

                                NORMALIZE


                                                60

                                  ROUND




                                       FIG. 2



                                   APPX01507
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                                                                         70
                                DECODE INSTRUCTION




                         NO




                         NO



                                             YES

                                                                         76
                     SUBSTITUTE F.P. MUL T-ADD INSTRUCTION
                            WITH ZERO FOR ADDEND




                        NO



                                             YES

                                                                         82
                              SUPPRESS ADD OPERATION
                              BY OPERAND FORWARDING



                                                                         86
                            PROCESS INSTRUCTIONS
                      BY CONVENTIONAL PIPELINE OPERATION




                                    FIG. 3



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                                                                     90
                               DECODE INSTRUCTION




                        NO




                        NO




                                                                     96
                          SUBSTITUTE ZERO FOR ADDEND
                          IN F.P. MULT-ADD INSTRUCTION


                                                                     98
                        INSERT F.P. ADD INSTRUCTION WITH
                          ORIGINAL ADDEND FOLLOWING
                           F.P. MULT-ADD INSTRUCTION




                         NO




                                                                     102
                         SUBSTITUTE ORIGINAL ADDEND
                     FOR ZERO IN F.P. MULT-ADD INSTRUCTION


                                                                     104
                      CONVERT F.P. ADD INSTRUCTION TO NOP




                                                                     106
                            PROCESS INSTRUCTIONS
                      BY CONVENTIONAL PIPELINE OPERATION


                                  FIG. 4



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US 2007/0266071 Al                                                                                         Nov. 15, 2007



 MODE-BASED MULTIPLY-ADD RECODING FOR                            cand in the range 0<significand<l, and the exponent -126.
         DENORMAL OPERANDS                                       A denormal floating-point number has a significand of the
                                                                 form 0.fraction, with the number of leading zeros in the
                           FIELD                                 fraction ranging from zero to the width of the fraction- I.
                                                                 A denormal number effectively utilizes bit positions in the
[0001]   The present disclosure relates generally to the field
                                                                 fractional portion of a normal significand to achieve a "left
of processors and in particular to a mode-based method of
                                                                 shift" of the binary point in excess of 126 bit positions-at
recoding floating-point multiply instructions to floating-
                                                                 the cost of loss of precision, as fewer bits remain to
point multiply-add instructions to account for denormal
                                                                 accurately represent the numerical value. Denormal num-
operands.
                                                                 bers represent values very close to zero, and may be used to
                                                                 implement gradual underflow, allowing a calculation to lose
                     BACKGROUND
                                                                 precision slowly when the result is very small.
[0002] Microprocessors perform computational opera-              [0006]   In the case of a floating-point multiplier circuit,
tions on numerical values in a wide variety of applications.     denormal products may arise in several ways. Either the
High execution speed, low power consumption and small            multiplier or the multiplicand may be a denormal number. In
size are important goals for processor designers, particularly   this case the significand of the intermediate product will
in embedded applications such as portable electronic             commonly be unnormal (i.e., less than one) while the final
devices. Modem processors employ a pipelined architecture,       rounded product may be a normal or denormal number,
where sequential instructions, each having multiple execu-       depending on the numerical values of the operands. If both
tion steps, are overlapped in execution. In a pipelined          the multiplier and the multiplicand are denormal numbers,
architecture, each instruction is executed in a series of        the final rounded product will be zero or the smallest
execution stages, such as Fetch, Decode, Execute, and            representable denormal number.
Write-Back, each of which may comprise a plurality of pipe
stages. A pipe stage consists of a storage element and logic     [0007] Additionally, the product of two normal numbers
that executes all or part of an instruction execution stage.     may be a denormal number if the exponents are small and
Instructions flow sequentially through the pipeline. The         would yield a normalized number requiring an exponent less
Execute stage performs the arithmetical, logical, or memory      than -126 (for single-precision). Note that this case is
access operation specified by the instruction, and in particu-   distinct from the common situation in which an intermediate
lar may perform a variety of arithmetical operations on          value of the multiplication assumes a "non-normal" form. A
numerical values.                                                normal significand may assume any value in the range
                                                                 [1,2)-that is, from exactly one to almost two (1.0000 to
[0003]    Digital processors represent numerical values in       1.1111, for a hypothetical 5-bit significand). The product of
either fixed-point or floating-point format. A floating-point    two normal significands may assume a value in the range
number comprises a fixed-point significand (also known as        [1,4)-that is, from exactly one to almost four. This inter-
a mantissa) multiplied by the base 2 raised to an integer        mediate product significand thus may assume the form
exponent. In some formats, such as the IEEE 7 54 standard,       I .fraction or Ix.fraction, the latter for values from two to
incorporated herein by reference, the floating-point repre-      almost four (10.0000 to 11.1111 ). Floating-point multipliers
sentation additionally includes a sign bit. Multiplying the      adjust this intermediate result by shifting the binary point
significand by 2 raised to an integer exponent is the binary     left and incrementing the exponent by one, as a routine
analog to scientific notation in the base 10 system. That is,    incident of floating-point multiplication. Such a "non-nor-
the value of the exponent determines the number of bit           mal" intermediate result is not herein considered a denormal
positions, and the direction, that the binary point in the       number, and is not explicitly addressed by the present
significand should be shifted to realize the actual numerical    disclosure.
value-hence the term, floating point.
                                                                 [0008]   In common processor applications, such as some
[0004]    When the significand is in the range 1<=signifi-       embedded processors, denormal numbers need not always
cand<2 and the exponent is within its defined range, the         be supported. For example, denormal values may simply be
floating-point value is referred to as a "normal" number. The
                                                                 represented as zero without significant loss of accuracy.
significand of a normal floating-point number is thus of the     However, the Java® programming language specifies sup-
form I .fraction, where "fraction" is a binary value repre-
                                                                 port for denormal numbers. Accordingly, processors that
senting the fractional portion of the significand greater than   support direct execution of Java code to accommodate
one. The value of the exponent effectively shifts the binary     denormal floating-point numbers, at least during a Java
point left (for a negative exponent) or right (for a positive    execution mode.
exponent). In the IEEE 754 standard, the value of the
exponent for a single-precision floating-point number ranges     [0009] Denormal floating-point numbers may be sup-
from -126 to 127. When encoding the number in IEEE 754           ported in software by generating an exception upon detect-
single-precision format, a bias of 127 is added to the raw       ing a denormal number, and processing the denormal num-
exponent so that all encoded exponents are positive.             ber in a software routine. This process is slow and incurs a
                                                                 large degree of overhead, which reduces system perfor-
[0005]   A floating-point value that is represented with a
                                                                 mance and increases power consumption.
significand that is less than one, i.e., 0<significand<l, with
any exponent, is referred to herein as an "unnormal" num-        [0010] Denormal numbers may be supported in hardware
ber. One subset of unnormal floating-point numbers of            by adding denormal detection and normalization circuits to
particular interest is "denormal" numbers (also known as         each floating-point computational element. For example,
subnormal numbers). Denormal floating-point numbers rep-         denormal numbers may be "normalized" by shifting the
resent values smaller than 1.0x2- 126 by utilizing a signifi-    significand to a normal position (i.e., I.fraction), and allow-




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ing a (non-standard) value of the exponent smaller than                instruction execution pipeline 12 according to control logic
-126 (for the single-precision case). Likewise, the results            14. The control logic 14 includes one or more registers, such
may be "denormalized" by shifting the significand to a                 as status register 15, which define various operating modes.
denormal position (i.e., 0.fraction) so that the exponent              The pipeline 12 may be a superscalar design, with multiple
becomes -126 (for the single precision case). However, such            parallel pipelines such as 12a and 12b.Each pipeline 12a,
additional circuits increase silicon area, increase latency, and       12b includes various registers or latches 16, organized in
introduce throughput delay, potentially increasing the mini-           pipe stages, and one or more Arithmetic Logic Units (ALU)
mum cycle time and hence reducing the maximum operating                18. Pipe stage registers or latches 16 andALUs 18 may read
frequency. Additionally, denormal numbers are rarely                   operands from and/or write results to registers in a General
encountered, and optimizing performance for the rare case at           Purpose Register file 28.
the expense of the common case reduces overall processor
                                                                       [0019] The pipelines 12a, 12b fetch instructions from an
performance.
                                                                       Instruction Cache (I-Cache or I$) 20, with memory address-
                         SUMMARY                                       ing and permissions managed by an Instruction-side Trans-
                                                                       lation Lookaside Buffer (ITLB) 22. Data is accessed from a
[0011] Floating-point adders include circuits to align                 Data Cache (D-Cache or D$) 24, with memory addressing
addends, and to normalize and round the sum. According to              and permissions managed by a main Translation Lookaside
one or more embodiments, in a denormal support mode the                Buffer (TLB) 26. In various embodiments, the ITLB 22 may
normalization circuit of a floating-point adder is utilized to         comprise a copy of a portion of the TLB 26. Alternatively,
normalize or denormalize results from a floating-point mul-            the ITLB 22 and TLB 26 may be integrated. Similarly, in
tiplier. Each multiply instruction is speculatively replaced           various embodiments of the processor 10, the I-cache 20 and
with a multiply-add (also known as multiply-accumulate)                D-cache 24 may be integrated, or unified. Misses in the
instruction with the addend forced to zero. This directs the           I-cache 20 and/or the D-cache 24 cause an access to main
multiplier output through the adder circuit without altering           (off-chip) memory 36, under the control of a memory
its value, but utilizing the normalization circuit of the adder        interface 34.
to normalize or denormalize the product. If it is determined
that neither the intermediate product will be unnormal nor             [0020] The processor 10 may include an Input/Output
the final product will be a denormal number, the add portion           (I/O) interface 38, controlling access to various peripheral
of the operation may be suppressed, such as by operand                 devices 40, 42. Those of skill in the art will recognize that
forwarding. Often this determination can be made early in              numerous variations of the processor 10 are possible. For
the multiply execution by operating on the exponents of the            example, the processor 10 may include a second-level (L2)
multiply instruction operands.                                         cache for either or both the I and D caches. In addition, one
                                                                       or more of the functional blocks depicted in the processor 10
[0012] One embodiment relates to a method of executing                 may be omitted from a particular embodiment.
a floating-point multiply instruction to account for an unnor-
mal intermediate significand or a denormal final product.              [0021] In one or more embodiments, the processor 10
The floating-point multiply instruction is converted to a              operates in a denormal support mode, which may, for
floating-point multiply-add instruction operative to perform           example, be indicated by a denormal support bit in the status
a floating-point multiply operation and a floating-point add           register 15. In particular, the denormal support mode may be
operation, and one addend of the floating-point add opera-             entered whenever the processor 10 directly executes Java
tion is forced to zero.                                                code, and at other such times as programmers elect to
                                                                       support denormal floating-point numbers.
[0013] Another embodiment relates to a processor. The
processor includes one or more instruction execution pipe-             [0022] In denormal support mode, the processor 10 specu-
lines, including a floating-point multiply-accumulate unit,            latively converts each floating-point multiply instruction to
having a normalization circuit. The processor additionally             a multiply-add (or multiply-accumulate) instruction, with an
includes a pipeline controller operative to normalize or               addend of zero. A multiply-add operation may be of the
denormalize an unnormal intermediate significand or a                  fused or non-fused type. In a fused multiply-add operation,
denormal floating-point product output by the floating-point           the full width of the intermediate product (twice the width of
multiplier using the normalization circuit of the floating-            the input) is passed to the adder without an intermediate
point adder.                                                           rounding. In a non-fused multiply-add operation, the inter-
                                                                       mediate product of the multiply operation is rounded (often
         BRIEF DESCRIPTION OF DRAWINGS                                 to the input precision) prior to the add operation being
                                                                       performed.
[0014]   FIG. 1 is a functional block diagram of a processor.
                                                                       [0023] In one embodiment, each floating-point multiply
[0015] FIG. 2 is a functional block diagram of a floating-             instruction is speculatively replaced with a fused multiply-
point adder fed by a floating-point multiplier.                        add instruction with the addend forced to zero. This instruc-
[0016] FIG. 3 is a flow diagram of a method of executing               tion stream alteration is commonly performed early in the
a floating-point multiply instruction.                                 relevant pipeline 12a, 12b, such as in a Decode stage, or in
                                                                       any event, prior to an Execute stage. By normal processor
[0017] FIG. 4 is a flow diagram of a method of executing               operation, in the Execute stage of the fused multiply-add, the
a floating-point multiply-add instruction.                             output of a floating-point multiplier will be directed to the
                                                                       input of a floating-point adder, as depicted in FIG. 2. A
                DETAILED DESCRIPTION
                                                                       floating-point adder that supports a fused multiply-add
[0018] FIG. 1 depicts a functional block diagram of a                  instruction has an input width sufficient to receive the
processor 10. The processor 10 executes instructions in an             intermediate product from a floating-point multiplier.




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[0024]    FIG. 2 is a functional block diagram depicting the          if the final result will be normal. If the output of the
output of a floating-point multiplier 50 directed to an input         floating-point multiplier 50 will be in a normal form and the
of a floating-point adder 52. The floating-point adder 52             final result will be a normal floating-point number the add
includes an alignment circuit 54 for aligning floating-point          operation may be suppressed. In this case, the output of the
addends, an add circuit 56 for calculating a floating-point           floating-point multiplier 50 may bypass the floating-point
sum, a normalization circuit 58 for normalizing (or denor-            adder 52 by operand forwarding, as depicted in FIG. 2 by the
malizing) the sum, and a rounding circuit 60 for rounding             path 62. This allows subsequent instructions, which are
the shifted sum. The multiplier (MR) and multiplicand (MD)            dependent on the result, to consume this data without
inputs to the multiplier 50, and the addend input(s) to the           waiting for it to pass through the adder. In some cases, such
floating-point adder 52 may be registered values, such as             as when the result is barely denormal, it is difficult to
those stored in the GPR file 28. Augand 37 multiplexes into           determine early if the result will be denormal. In these cases,
floating-point adder 52 in order to utilize floating-point            the add operation will be performed so that if the final
adder 52 in normal support mode.                                      product is denormal, it will be denormalized.
[0025] To preserve the value of the output of the floating-           [0028] The floating-point multiplication operation of a
point multiplier 50, while normalizing or denormalizing the           multiply-add instruction may similarly generate a denormal
number, the addend of the floating-point add operation is             or unnormal number as an intermediate product. In a denor-
forced to zero. This may be implemented in numerous ways.             mal support mode, a non-fused multiply-add instruction is
For example, a value of zero may be multiplexed into the              altered to add the value zero to the product of the multiply
alignment circuit 54, as depicted in FIG. 2. Alternatively, the       operation, and an add instruction is inserted into the instruc-
value zero may be stored to a GPR register 29, to be                  tion stream following the multiply-add instruction, with the
retrieved by the floating-point multiply-add instruction as           addend of the original multiply-add instruction. That is, the
part of normal execution. As yet another example, the output          full-width product of the floating-point multiply operation is
of a GPR register 29 may be gated with control logic that             added to zero prior to performing an add operation with the
includes the denormal support mode bit, gating off the                original addend. As discussed above with respect to multiply
register value and presenting a zero in denormal support              instructions converted to multiply-add instructions, the
mode. In any event, the value zero is applied to the floating-        floating-point adder should be modified to accept the wider
point adder 52 as one addend, and the double-width output             intermediate product, or this product should be directed to
of the floating-point multiplier 50 is applied as the other           the normalizer. Also, a leading zero count should be main-
addend. The addition to zero in the add circuit 56 does not           tained for significant bits of the product, which is used to
alter the value of the number. The number is then normal-             control the normalize circuit. In this manner, the add opera-
ized/denormalized in the normalization circuit 58, and                tion of the multiply-add instruction is used to perform any
rounded in the rounding circuit 60. In this manner, the               normalization (or denormalization) of the product, without
processor 10 utilizes existing hardware in a floating-point           changing its value, prior to performing the addition opera-
adder 52 to accommodate unnormal outputs of a floating-               tion via a separate floating-point add instruction. Logic that
point multiplier 50, and denormal final results.                      implements fused multiply-add instructions can handle the
                                                                      unnormal or denormal intermediate product without the
[0026] In another embodiment, such as where the instruc-
                                                                      necessity of inserting a subsequent add instruction.
tion set architecture supports only non-fused multiply-add
operations, each floating-point multiply instruction is specu-        [0029] As depicted in FIG. 2, the output of the floating-
latively replaced with a non-fused multiply-add instruction.          point multiplier 50 is directed to one input of the floating-
In this case, the intermediate full-width product should be           point adder 52, and a zero is forced at the other input to the
routed to the adder normalization logic 58 without rounding.          floating-point adder 52. The add circuit 56 does not alter the
This can be achieved in a variety of ways. For example, the           value of the intermediate product, which is normalized/
product may bypass the add circuit 56 and be routed directly          denormalized in the normalization circuit 58 and rounded in
into the normalization logic 58, as depicted at multiplexer           the rounding circuit 60, as described above. The normalized
57. While not shown, the floating-point adder 52 may be               (or denormalized) number is then routed to one input of the
implemented as a pipelined unit with intermediate registers.          floating-point adder 52, as indicated by the path 64. The
In such a case, the data routed to the normalization logic            addend of the original multiply-add instruction, stored in
could also be pipelined to match. Alternatively, the floating-        GPR register 29, is directed to the other input of the
point adder input logic may be modified to accept the full            floating-point adder 52, and the floating-point add instruc-
width of the intermediate product. In either case, the add            tion is executed. In this manner, outputs of the floating-point
circuit 56 and the normalizer 58 are already wide enough for          multiplier 50 are normalized/denormalized utilizing circuits
the data. Also, in the case of a non-fused multiply-add               in the floating-point adder 52, prior to performing the
operation, a leading zero count should be performed on the            addition operation of the original non-fused multiply-add
upper half of the intermediate product. This count should be          instruction.
routed to the normalization logic for control and to the
                                                                      [0030] Here again, the insertion of an add instruction into
exponent logic for exponent generation (not shown).
                                                                      the instruction stream and the alteration of the multiply-add
[0027] Generally, the values of the multiplier (MR) and               instruction to substitute a zero addend are commonly per-
multiplicand (MD) are not known until deep in the pipeline,           formed early in the pipeline, such as in a Decode stage.
such as in an Execute stage. As a soon as the MR and MD               When the values of the multiplier (MR) and multiplicand
values are known, they all are inspected to determine if they         (MD) become known, such as in an Execute stage, they may
are both normal values and thus will generate a normalized            be inspected and the exponents operated on to determine
significand from floating-point multiplier. In parallel, opera-       whether the multiply operation could possibly generate an
tions may be performed on the exponent values to determine            intermediate unnormal output, or if the final result will be




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denormal. If not, the alteration of the multiply-add instruc-           operation. First, the value zero is substituted for the addend
tion may be reversed, or "undone," by substituting the                  in the floating-point multiply-add instruction (block 96). A
original addend for the addend of zero. Additionally, the               floating-point add instruction with the original addend is
floating-point add instruction that was inserted may be                 then inserted into the instruction stream following the modi-
converted to a NOP (no operation), which may be removed                 fied floating-point multiply-add instruction (block 98).
by conventional pipeline optimization.
                                                                        [0036] When the operands for the floating-point multiply
[0031] FIG. 3 depicts operation of the processor 10 when                operation are available, such as in an Execute stage, they are
processing floating-point multiply instructions in denormal             inspected to determine whether the floating-point multiply
support mode. An instruction is fetched (such as from the               operation is guaranteed to produce normal intermediate and
instruction cache 20) and decoded (block 70). If the proces-            final results. If the floating-point multiply operation might
sor is not operating in a denormal support mode (block 72),             produce an unnormal intermediate or a denormal final result
it processes instructions by conventional pipeline operation            (block 100), the modified multiply-add and additional add
(block 86). If the processor is in denormal support mode                instructions are processed by conventional pipeline opera-
(block 72), the decoded instruction is inspected to determine           tion (block 106), normalizing/denormalizing the product
whether it is a floating-point multiply instruction (block 74).         using the normalization circuit 58 of the floating-point adder
If not, the instruction is executed conventionally (block 86).          52, prior to performing the floating-point add operation, as
                                                                        described above.
[0032] If the instruction is a floating-point multiply
instruction, the processor 10 substitutes a floating-point              [0037] If it is determined that the floating-point multiply
multiply-add instruction with a zero addend for the floating-           operation will produce a normal intermediate and final
point multiply instruction (block 76). When the operands for            product (block 100), the product normalization is sup-
the floating-point multiply operation are available, they are           pressed. The original addend is substituted for zero in the
inspected to determine if the floating-point multiply opera-            floating-point multiply-add instruction (block 102), and the
tion is guaranteed to produce a normal output. If the float-            additional floating-point add operation is suppressed by
ing-point multiply operation might produce an unnormal                  converting the floating-point add instruction to a NOP (block
intermediate output or the final result might be denormal               104). Instruction processing then continues by conventional
(block 80), the substituted multiply-add instruction is pro-            pipeline operation (block 86).
cessed by conventional pipeline operation (block 86), nor-
                                                                        [0038] According to one or more embodiments, interme-
malizing or denormalizing the intermediate product using
                                                                        diate unnormal outputs of floating-point multiply operations
the normalization circuit 58 of the floating-point adder 52, as
                                                                        and denormal final results are normalized/denormalized
described above. In the case of a fused multiply-add instruc-
                                                                        utilizing normalization circuits 58 in a floating-point adder
tion, no further control is necessary. In the case of a
                                                                        52. This obviates the need to add normalization circuits to
non-fused multiply-add instruction, while the adder circuit
                                                                        the output of the floating-point multiplier 50, which would
56 is wide enough to handle the intermediate product, the
                                                                        add latency and delay, increase silicon area, and increase
floating-point adder 52 needs to be modified to properly
                                                                        power consumption.
route the bits to the adder. Alternatively, the intermediate
product is routed directly, potentially including intervening           [0039] Although the present invention has been described
state elements, to the normalize circuit 58 of the floating-            herein with respect to particular features, aspects and
point adder 52, as depicted in FIG. 2.                                  embodiments thereof, it will be apparent that numerous
                                                                        variations, modifications, and other embodiments are pos-
[0033] If it is determined that the floating-point multiply
                                                                        sible within the broad scope of the present invention, and
operation will produce normal intermediate and final results
                                                                        accordingly, all variations, modifications and embodiments
(block 80), the "add to zero" operation may be suppressed,
                                                                        are to be regarded as being within the scope of the disclo-
such as by operand forwarding (block 82). This avoids the
                                                                        sure. The present embodiments are therefore to be construed
performance penalty of performing an "add to zero" opera-
                                                                        in all aspects as illustrative and not restrictive and all
tion where normalization/denormalization of the floating-
                                                                        changes coming within the meaning and equivalency range
point multiplier 50 output is not necessary.
                                                                        of the appended claims are intended to be embraced therein.
[0034] FIG. 4 depicts operation of the processor 10 when
processing floating-point multiply-add instructions in denor-           What is claimed is:
mal support mode. An instruction is fetched (such as from                  1. A method of executing a floating-point multiply
the instruction cache 20) and decoded (block 90). If the                instruction to account for denormal inputs and/or a denormal
processor is not operating in denormal support mode (block              product, comprising:
92), it processes instructions by conventional pipeline opera-
tion (block 106). If the processor is in denormal support                 converting the floating-point multiply instruction to a
mode (block 92), the decoded instruction is inspected to                    floating-point multiply-add instruction operative to per-
determine whether it is a non-fused floating-point multiply-                form a floating-point multiply operation and a floating-
add instruction (block 94). If the instruction is not a floating-           point add operation; and
point multiply-add instruction or is a fused multiply-add                  forcing one addend of the floating-point add operation to
instruction, the instruction is executed conventionally (block                zero.
106).
                                                                           2. The method of claim 1 wherein the method steps are
[0035] If the instruction is a non-fused floating-point mul-            performed only in a denormal support mode.
tiply-add instruction (block 94), the processor normalizes/                3. The method of claim 1 wherein converting the floating-
denormalizes intermediate products of the floating-point                point multiply instruction to a floating-point multiply-add
multiply operation prior to performing the floating-point add           instruction occurs prior to an execution pipeline stage.




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   4. The method of claim 3 wherein converting the floating-              a pipeline controller operative to normalize or denormal-
point multiply instruction to a floating-point multiply-add                  ize a floating-point product output by the floating-point
instruction occurs in a decode pipeline stage.                               multiplier using the normalization circuit of the float-
   5. The method of claim 1 wherein the floating-point                       ing-point adder.
multiply-add instruction is non-fused, and further compris-               14. The processor of claim 13 wherein the pipeline
ing routing the output of a floating-point multiplier to a             controller normalizes or denormalize the floating-point
normalization circuit of a floating-point adder.                       product only in a denormal support mode.
   6. The method of claim 5 wherein routing the output of a               15. The processor of claim 13 wherein the pipeline
floating-point multiplier to a normalization circuit of a              controller normalizes or denormalizes the floating-point
floating-point adder comprises routing the output of the               product by directing the pipeline to convert each floating-
floating-point multiplier directly to the normalization circuit.       point multiply instruction to a floating-point multiply-add
   7. The method of claim 5 wherein routing the output of a            instruction operative to perform a floating-point multiply
floating-point multiplier to a normalization circuit of a              operation and a floating-point add operation; and forcing one
floating-point adder comprises routing the output of the               addend of the floating-point add operation to zero.
floating-point multiplier to the normalization circuit through            16. The processor of claim 15 wherein the pipeline
one or more pipeline memory elements.                                  controller directs the pipeline to convert each floating-point
   8. The method of claim 1 further comprising:                        multiply instruction to a floating-point multiply-add instruc-
  inspecting a multiplier and multiplicand of the floating-            tion prior to an execution pipe stage.
    point multiply instruction;                                           17. The processor of claim 16 wherein the pipeline
                                                                       controller directs the pipeline to convert each floating-point
  determining, based on the inspection, that the product of            multiply instruction to a floating-point multiply-add instruc-
    the multiply operation will not be a denormal number               tion in a decode pipe stage.
    and that the multiply operands are not denormal; and                  18. The processor of claim 13 wherein the pipeline
   in response to such determination, suppressing the float-           controller is further operative to predict whether the float-
      ing-point add operation.                                         ing-point multiplier could possibly produce an unnormal
   9. The method of claim 8 wherein inspecting the multi-              intermediate product or a denormal final product by inspec-
plier and multiplicand occurs in an execute pipeline stage.            tion of a multiplier and multiplicand prior to performing a
   10. The method of claim 8 wherein suppressing the                   floating-point multiply operation, and if not, suppress nor-
floating-point add operation comprises operand-forwarding              malization or denormalization of the output of the floating-
the output of a floating-point multiplier so that it may be            point multiplier.
consumed by subsequent instructions.                                      19. The processor of claim 18 wherein the pipeline
   11. The method of claim 1 wherein the floating-point                controller suppresses normalization or denormalization of
multiply instruction is a non-fused floating-point multiply-           the output of the floating-point multiplier by operand-for-
add instruction, and wherein converting the floating-point             warding the product so that it may be consumed by subse-
multiply instruction comprises:                                        quent instructions.
                                                                          20. The processor of claim 13 wherein the pipeline
  substituting the value zero for the addend of the floating-
                                                                       controller normalizes or denormalizes the denormal float-
    point multiply-add instruction; and
                                                                       ing-point product by:
  inserting after the floating-point multiply-add instruction
     a floating-point add instruction having the addend of               directing the pipeline to convert each non-fused floating-
    the original floating-point multiply-add instruction.                   point multiply-add instruction to a floating-point mul-
  12. The method of claim 11 further comprising:                            tiply-add instruction with an addend of zero; and

  inspecting a multiplier and multiplicand of the floating-               insert after the floating-point multiply-add instruction a
    point multiply-add instruction;                                          floating-point add instruction having the addend of the
                                                                             original floating-point multiply-add instruction.
  determining, based on the inspection, that the product of               21. The processor of claim 20 wherein the pipeline
    the multiply operation will not be a denormal number;              controller is further operative to predict whether the float-
    and                                                                ing-point multiplier could possibly produce an unnormal
  determining, based on the inspection, that the inputs to the         intermediate product or denormal final product by inspection
    multiply operation are not denormal numbers; and                   of a multiplier and multiplicand prior to performing a
                                                                       floating-point multiply operation, and if not, suppress nor-
  in response to such determination, replacing the zero                malization of the output of the floating-point multiplier.
    addend with the addend of the original multiply-add                   22. The processor of claim 21 wherein the pipeline
    instruction, and converting the floating-point add                 controller suppresses normalization or denormalization of
    instruction to a NOP.                                              the output of the floating-point multiplier by replacing the
  13. A processor, comprising:
                                                                       zero addend with the addend of the original multiply-add
  one or more instruction execution pipelines;                         instruction, and converting the floating-point add instruction
                                                                       to a NOP.
  a floating-point multiplier;
  a floating-point adder having a normalization circuit; and                                  * * * * *




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Trials@uspto.gov                                                  Paper 16
571-272-7822                                         Entered: May 12, 2021


       UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            GOOGLE LLC,
                              Petitioner,
                                   v.
                   SINGULAR COMPUTING LLC,
                         Patent Owner.


                           IPR2021-00155
                         Patent 10,416,961 B2



Before JUSTIN T. ARBES, KRISTI L. R. SAWERT, and
JASON M. REPKO, Administrative Patent Judges.
PER CURIAM.


                               DECISION
               Granting Institution of Inter Partes Review
                             35 U.S.C. § 314




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IPR2021-00155
Patent 10,416,961 B2

                            I.   INTRODUCTION
      Google LLC (“Petitioner”) filed a petition to institute inter partes
review of claims 1–5, 10, 13, 14, 21, and 23–25 of U.S. Patent No.
10,416,961 B2 (Ex. 1001, “the ’961 patent”). Paper 2 (“Pet.”). Singular
Computing LLC (“Patent Owner”) filed a Preliminary Response. Paper 7
(“Prelim. Resp.”).
      To institute an inter partes review, we must determine “that there is a
reasonable likelihood that the petitioner would prevail with respect to at least
1 of the claims challenged in the petition.” 35 U.S.C. § 314(a). For the
reasons discussed below, Petitioner has shown a reasonable likelihood that it
would prevail with respect to all claims challenged in the Petition. And we
have not been provided a sufficient reason to exercise our discretion to deny
institution. Thus, we institute an inter partes review.


                             A. Related Matters
      According to the parties, the ’961 patent has been asserted in Singular
Computing LLC v. Google LLC, No. 1:19-cv-12551-FDS (D. Mass.). See
Pet. xi; Paper 6, 1 (Mandatory Notices).
      According to the parties, the ’961 patent is also challenged in
IPR2021-00154. See Pet. x; Paper 6, 1. The parties also identify the
following inter partes reviews as related: IPR2021-00164 and IPR2021-
00165 (U.S. Patent No. 9,218,156 B2); and IPR2021-00178 and IPR2021-
00179 (U.S. Patent No. 8,407,273 B2). See Pet. xi; Paper 6, 1.




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                              B. The ’961 Patent
      The ’961 patent, entitled “Processing with Compact Arithmetic
Processing Element,” issued on September 17, 2019. Ex. 1001, code (45).
The ’961 patent relates to “computer processors or other devices which use
low precision high dynamic range (LPHDR) processing elements to perform
computations (such as arithmetic operations).” Id. at 5:58–62.
      According to the ’961 patent, conventional CPU chips make
inefficient use of transistors as a tradeoff for delivering the high precision
required by many applications. Id. at 2:62–3:10. For example, conventional
CPU chips “perform[] exact arithmetic with integers typically 32 or 64 bits
long and perform[] rather accurate and widely standardized arithmetic with
32 and 64 bit floating point numbers,” but require “on the order of a million
transistors to implement the arithmetic operations.” Id. at 3:3–10. According
to the ’961 patent, “many economically important applications . . . are not
especially sensitive to precision and . . . would greatly benefit, in the form of
application performance per transistor, from the ability to draw upon a far
greater fraction of the computing power inherent in those million
transistors.” Id. at 3:11–17. But “[c]urrent architectures for general purpose
computing fail to deliver this power.” Id. at 16–17.
      The ’961 patent is therefore “directed to a processor or other device,
such as a programmable and/or massively parallel processor or other device,
which includes processing elements designed to perform arithmetic
operations . . . on numerical values of low precision but high dynamic range
(‘LPHDR arithmetic’).” Id. at 1:66–2:15. According to the ’961 patent,
“‘low precision’ processing elements perform arithmetic operations which
produce results that frequently differ from exact results by at least 0.1%.” Id.



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at 2:16–19. In addition, “high dynamic range” processing elements “are
capable of operating on inputs and/or producing outputs spanning a range at
least as large as from one millionth to one million.” Id. at 2:23–27. Figure 6,
reproduced below “is an example of an LPHDR arithmetic unit according to
one embodiment” of the ’961 patent.
                             r--rm,,
                   A INPUT                                                      408
                                                                             ~
                  HAN VALUE                                    NAN VALUE




                                                                       G08

       412b .

       ""'
       "'"
   CONrnot.
    SIGNAl.S

                                        NA.I-./ VALUE
                                                 602e
                                         OUTPUT,---


       FIG. 6 provides “an example design for an LPHDR arithmetic
       unit according to one embodiment of” the ’961 patent. Ex. 1001,
       2:44–45.
       As shown in Figure 6, LPHDR arithmetic unit 408 receives two
inputs: A input (602a) and B input (602b), and produces output 602c. Id. at
12:55–56. The LPHDR arithmetic unit “is controlled by control signals
412a-d, coming from the CU 106, that determine which available arithmetic
operation will be performed on the inputs 602a-b.” Id. at 12:62–65.
According to the ’961 patent, Figure 6 illustrates an embodiment where “all
the available arithmetic operations are performed in parallel on the inputs
602a-b by adder/subtractor 604, multiplier 606, and divider 608.” Id. at
12:65–13:1. Finally, multiplexers (MUXes) 610a and 610b choose and send
the desired result from among the outputs of the adder/subtractor, multiplier,


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and divider to output 602c. Id. at 13:5–14. The ’961 patent provides that
“[t]he computing architecture literature discusses many variations which
may be incorporated into the embodiment illustrated in FIG. 6.” Id. at
13:12–14.
      According to the ’961 patent, the “computational tasks” that the
LPHDR arithmetic units can perform “enable a variety of practical
applications.” Id. at 17:30–33. The ’961 patent provides, as examples,
applications including “finding nearest neighbors,” id. at 17:41–21:43,
“distance weighted scoring,” id. at 21:45–22:35, and “removing motion blur
in images,” id. at 22:37–23:48.


                                  C. Claims
    Of the claims challenged by Petitioner, claims 1, 10, and 21 are
independent. Claim 1 is reproduced below.
            1. A device comprising:
              at least one first low precision high dynamic range
      (LPHDR) execution unit adapted to execute a first operation on
      a first input signal representing a first numerical value to produce
      a first output signal representing a second numerical value,
              wherein the dynamic range of the possible valid inputs to
      the first operation is at least as wide as from 1/65,000 through
      65,000 and for at least X=10% of the possible valid inputs to the
      first operation, the statistical mean, over repeated execution of
      the first operation on each specific input from the at least X % of
      the possible valid inputs to the first operation, of the numerical
      values represented by the first output signal of the LPHDR unit
      executing the first operation on that input differs by at least
      Y=0.2% from the result of an exact mathematical calculation of
      the first operation on the numerical values of that same input; and




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               at least one first computing device adapted to control the
         operation of the at least one first LPHDR execution unit.
Ex. 1001, 30:17–37.
                                    D. Evidence
      Name                        Reference                        Exhibit No.
    Dockser     US 2007/0203967 A1, published Aug. 30,             1007
                2007
    Tong et al. “Reducing Power by Optimizing the                  1008
    (“Tong”)    Necessary Precision/Range of Floating-Point
                Arithmetic,” IEEE Transactions on Very
                Large Scale Integration (VLSI) Systems, Vol.
                8, No. 3 (June 2000)
    MacMillan US 5,689,677, issued Nov. 18, 1997                   1009


                                E. Asserted Grounds
         Petitioner asserts that claims 1–5, 10, 13, 14, 21, and 23–25 are
unpatentable on the following grounds listed in the table below. Pet. 4.
     Claims Challenged            35 U.S.C. §          Reference(s)/Basis
    1, 2, 4, 5, 10, 13, 14    pre-AIA 103(a)1      Dockser
    1, 2, 4, 5, 10, 13, 14,
                              pre-AIA 103(a)       Dockser, Tong
    21, 24, 25
    1–5, 10, 13, 14           pre-AIA 103(a)       Dockser, MacMillan
    1–5, 10, 13, 14, 21,
                              pre-AIA 103(a)       Dockser, Tong, MacMillan
    23–25


                                   II. ANALYSIS
                        A. Level of Ordinary Skill in the Art
         According to Petitioner,

1
  Congress amended §§ 102 and 103, among other sections, when it passed
the Leahy-Smith America Invents Act (AIA). Pub. L. No. 112–29, § 3(c),
125 Stat. 284, 287 (2011). Here, Petitioner’s challenges are based on pre-
AIA statutes. See Pet. 4.

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        A [person of ordinary skill in the art (“POSA”)] in 2009 would
        have had at least a bachelor’s degree in Electrical Engineering,
        Computer Engineering, Applied Mathematics, or the equivalent,
        and at least two years of academic or industry experience in
        computer architecture.
Pet. 9 (citing Goodin Decl. 2 ¶ 43).
        Patent Owner does not address the level of ordinary skill in the art in
its Preliminary Response. Based on the record presented, including our
review of the ’961 patent and the types of problems and solutions described
in the ’961 patent and cited prior art, we agree with Petitioner’s proposed
definition of the level of ordinary skill in the art with one exception.
Arguably, the term “at least” creates unnecessary ambiguity. Thus, we delete
that term from Petitioner’s definition, and otherwise apply Petitioner’s
definition for purposes of this Decision. See, e.g., Ex. 1001 1:14–62
(describing in the “Background” section of the ’961 patent various
conventional methods of computation and their alleged deficiencies).


                            B. Claim Construction
        We need only construe terms that are in controversy and only to the
extent necessary to resolve the controversy. Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017).
        Petitioner states that the terms of the challenged claims should be
“given their ordinary and customary meaning as understood by a [person of
ordinary skill in the art] in accordance with the specification and prosecution
history,” but does not propose any express interpretations. Pet. 9. Patent
Owner disputes the construction of “low precision high dynamic range


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    The declaration of Richard Goodin, P.E. (“Goodin Decl.”) is Exhibit 1003.

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(LPHDR) execution unit” that Petitioner proposed in the related district
court case (i.e., “low precision and high dynamic range processing element
designed to perform arithmetic operations on numerical values”), arguing
that Dockser does not teach an LPHDR execution unit because “the
processing element itself must be fairly characterized as ‘low precision’”
and cannot be an execution unit “whose subprecision can be selectively
reduced.” Prelim. Resp. 13–14 (citing Ex. 2001, 13–17) (emphasis omitted).
We conclude that no terms require express interpretation at this time, and
address the parties’ arguments regarding whether Dockser teaches the
recited LPHDR execution unit below. See infra § II.C.


                       C. Obviousness over Dockser
      Dockser discloses performing floating-point operations with a
floating-point processor having selectable precision. Ex. 1007, code (57).
Figure 1 of Dockser is reproduced below.




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                                                                                                       '       FPP
                                                                               v-110
                  FPR
                       I REGI f'-115-1                                                                     1 130
                              rt
                           REG2         15-2                                            CTL
                       1
                            .
                            ..                                                 d~
                       I REGN r-I 15-N                                                                 ~
                                 138~                            .,...135
               139"-                                ..,...136               l-r-134

                                                                                       FPO
                                                                                             ,,.-140

                                           ,
                                               I       SHF
                                                                   I
                                        \ J o 1 41
                                                   D

                                               l l              142


                       ~ MUL                               I
                                                           I
                                                   '-144


                                                                                                            ,tso
                                                                                                SCREEN/
                                                                                               KEYBOARD/
                                                                                                 MOUSE
                                                   FIG. 1
Figure 1 depicts floating-point processor (FPP) 100 including floating-point
register file (FPR) 110 for storing floating-point numbers, floating-point
controller (CTL) 130 “used to select the subprecision of the floating-point
operations using a control signal 133,” and floating-point mathematical
operator (FPO) 140 with components “configured to perform the floating-
point operations,” such as floating-point adder (ADD) 142 and floating-point
multiplier (MUL) 144. Id. ¶¶ 15, 18, 19.
      Figure 2 of Dockser is reproduced below.




                                                          9
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                        i - - - - --     - -32 BITS - - - - - . . . . . !

              200

              200




                    •
                                                      206
                                                      A



                                             322                324
                                                                 A
                                                       r
             260                            MANTISSA
                                           xxxxxxxx       xxxxxxxx
                                       I,.           23 BITS
                                 204
                                       .. PRECISION
                                          SELECTED
                                                          Ill




                          110/
                                            FIG. 2
Figure 2 depicts an exemplary data structure for floating-point register file
110 including 16 addressable register locations 200, each “configured to
store a 32-bit binary floating-point number” as “a 1-bit sign 202, an 8-bit
exponent 204, and a [23-bit] fraction 206.” Id. ¶ 17.
      “[F]or each instruction of a requested floating-point operation, the
relevant computational unit . . . receive[s] from the floating-point register
file 110 one or more operands stored in one or more of the register
locations” and executes the instruction “at the subprecision selected by the
floating-point controller 130.” Id. ¶¶ 23–24. The precision of the
floating-point operation can be reduced by “caus[ing] power to be removed
from the floating-point register elements for the excess bits of the fraction
that are not required to meet the precision specified by the subprecision
select bits” written to the control register. Id. ¶¶ 6, 25–26. For example, “if

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each location in the floating-point register file contains a 23-bit fraction, and
the subprecision required for the floating-point operation is 10-bits, only the
9 commonly significant bits (MSBs) of the fraction are required; the hidden
or integer bit makes the tenth.” Id. ¶ 26. “Power can be removed from the
floating-point register elements for the remaining 14 fraction bits.” Id.
         Alternatively, power can be removed in elements of “the logic in the
floating-point operator 140 that remains unused as a result of the
subprecision selected.” Id. ¶¶ 7, 27, 29, 32, Fig. 2 (depicting mantissa
fraction 206 as having portion 322 for powered bits and portion 324 for
unpowered bits). Figures 3A and 3B of Dockser show such removal of
power to the floating-point operator logic for a floating-point addition and
floating-point multiplication operation, respectively. Figure 3B of Dockser is
reproduced below.

                                                          k-BIT 1\,1\JI.,TIJ>L)CANO             k-BI TMUL,TIPLJER



                    N UNPOWERED B ITS
                                      '- - - - - - - - t~ -- -
                                                        i .---412:---
                                                                                      --+-l-+-+➔-t-l--'-4 1 0-1
                                                                                      - - + - l -+-+-+--t-,.,.-410-2


                                                                                      -..-4-    1--1--1-_,.. 410-n,
 PAR'flAI.,
PRODUCTS

                               )(
                            )( )E )( )e: )E )E )E
                       )(   )( )(   )( )( ) (   )(   )(

                ~   ,X X X X X X X X X
          430                                                                            (N - M .,_ I) UNJ>OWERE:O BITS
                                           Zk-81T
                                        OUTPUT V AL,U£
                                                                  405
              FIG. JB                                             SELECTED PRECISION


Figure 3A depicts k-bit multiplicand 402 and k-bit multiplier 404 to be
multiplied together “using a shift-and-add technique,” where the
multiplication occurs in stages 410-1 through 410-m. Id. ¶¶ 30–31. A partial


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product 420-i is generated for every bit in multiplier 404 at corresponding
stage 410-i and then left-shifted “as a function of the multiplier bit with
which it is associated, after which the operation moves on to the next stage.”
Id. ¶ 31. The partial products are eventually added together to generate
output value 430. Id. “[P]ower may be removed from the logic used to
implement the stages to the right of the line 405” indicating the selected
subprecision. Id. ¶¶ 32–33.
                                   1. Claim 1
     a) Petitioner’s Mapping of Dockser to the Limitations of Claim 1
         Petitioner argues that Dockser teaches or suggests all the limitations
of claim 1. Pet. 10–39. Petitioner contends that Dockser teaches a “device”
(i.e., computing system) comprising a “low precision high dynamic range
(LPHDR) execution unit” (i.e., the FPP). 3 Id. at 13–15. With respect to the
“low precision” aspect of the limitation, Petitioner argues that the FPP is
“low precision” because “‘the precision’ of operations in the FPP is
‘reduced’” and because the FPP “operates with the minimum imprecision”
required by the subsequent language in claim 1. Id. at 15 (quoting Ex. 1007
¶ 14). With respect to the “high range” aspect of the limitation, Petitioner
asserts that the FPP “uses an 8-bit floating-point exponent . . . that provides
an even higher dynamic range” than the 6-bit floating-point exponent
disclosed in the ’961 patent. Id. (citing Ex. 1007 ¶ 17; Ex. 1001, 14:61–
15:3).


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  Petitioner also provides an “alternative mapping” where “the floating-point
operator (FPO) inside Dockser’s FPP” constitutes an LPHDR execution unit.
Pet. 14–15, 19, 38. We need not evaluate those arguments at this time, as we
determine that Petitioner has made a sufficient showing on the current record
that the FPP is an LPHDR execution unit.

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      Petitioner argues that Dockser’s FPP is adapted to execute a “first
operation” (e.g., “reduced-precision multiplication”) on a “first input signal
representing a first numerical value” (i.e., input electrical signal representing
an operand received at the registers) to produce a “first output signal
representing a second numerical value” (i.e., output electrical signal
representing an operand sent to a register and then main memory), where the
FPP “performs operations on the[] inputs via the FPP’s data paths 134–139
and components 140–144.” Id. at 15–19. Petitioner further argues that “the
dynamic range of the possible valid inputs to the first operation is at least as
wide as from 1/65,000 through 65,000,” as recited in claim 1, because the
FPP “operates on IEEE-754 32-bit single-format numbers having 8-bit
exponents” and, therefore, the dynamic range of normal operands would be
“from around 2-126 (much smaller than 1/65,000) to around 2127 (much larger
than 65,000).” Id. at 20.
      The next limitation of claim 1 is that
      for at least X= 10% of the possible valid inputs to the first
      operation, the statistical mean, over repeated execution of the
      first operation on each specific input from the at least X % of the
      possible valid inputs to the first operation, of the numerical
      values represented by the first output signal of the LPHDR unit
      executing the first operation on that input differs by at least
      Y=0.2% from the result of an exact mathematical calculation of
      the first operation on the numerical values of that same input.
We refer to this as “the imprecision limitation.” With respect to the
“statistical mean” aspect of the imprecision limitation, Petitioner argues that
a person of ordinary skill in the art would have understood the limitation
      in the context of the ’961 patent’s stated intent to claim not only
      “repeatable” deterministic embodiments like digital circuits that
      always produce the same output when repeating an operation on
      the same input, but also analog embodiments that are


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      non-deterministic because they “introduce noise into their
      computations, so the computations are not repeatable.”
Id. at 22 (quoting Ex. 1001, 3:63–4:2). Specifically, for “non-deterministic
embodiments,” the statistical mean would be the average of “the different
outputs produced by the same operation on the same input.” Id. For
“deterministic digital embodiments” like Dockser, though, the statistical
mean is “the same as the numerical value of the first output signal for any
individual execution of the first operation on each specific input, because
that output is always the same for any specific input.” Id. at 23.
Consequently, repeatedly executing a multiplication operation using
Dockser’s floating-point multiplier “on the same input (i.e., pair of
operands) with the same precision level yields the same result for every
execution; therefore, the statistical mean of the outputs is the same as the
output for any single execution.” Id.
      With respect to the “exact mathematical calculation” aspect of the
imprecision limitation, Petitioner argues that because Dockser performs a
reduced-precision multiplication, the result of the operation differs from
what would be the exact mathematical result of the operation, namely “the
(>32-bit) product that would result if the pair of input 32-bit operands were
multiplied without reducing precision.” Id. at 24 (emphasis omitted).
      Petitioner further explains how Dockser teaches that “for at least
X=10% of the possible valid inputs to the first operation,” the statistical
mean of the results of executing the first operation “differs by at least
Y=0.2%” from the result of the exact mathematical calculation. Id. at 24–39.
The “possible valid inputs” in Dockser are “the set of possible normal IEEE-
754 32-bit single-format numbers forming pairs of operands in input signals
to the execution unit that can be multiplied together to produce an output


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representing a numerical value (rather than, e.g., an overflow/underflow
exception).” Id. at 25. Petitioner argues that Dockser’s FPP operates at a
precision level meeting the claimed X and Y percentages for such input
pairs, pointing to Dockser’s description of retaining only some of the bits of
a mantissa fraction (e.g., the 9 most-significant bits of a 23-bit fraction,
as shown in Figure 2 above) and dropping the remaining “excess bits” (e.g.,
the other 14 bits). Id. Dockser teaches dropping the excess bits to reduce
precision by either (1) “removing power from storage elements in the FPP’s
registers that correspond to the excess (dropped) mantissa bits,” or
(2) “removing power from elements within the multiplier logic that
computes the product of the operand mantissas.” Id. at 26. Petitioner
contends that both techniques, used either individually or in combination,
teach the recited imprecision. Id. at 27–39. We determine that Petitioner has
made a sufficient showing on the current record with respect to the first
precision-reducing technique, and need not evaluate Petitioner’s alternative
arguments at this time.
      Relying on the first technique and Dockser’s example of retaining
9 mantissa bits and dropping 14 mantissa bits, Petitioner argues that a person
of ordinary skill in the art “would have understood the output of unpowered
storage elements would be tied to zero voltage (e.g., ground), making those
14 ‘excess’ bits zeroes.” Id. at 29. Multiplying two operands with excess bits
dropped results in an output with reduced precision from the exact product,
where the amount of error depends on the number of mantissa bits dropped.
Id. at 30–31. Petitioner contends that an ordinarily skilled artisan would have
understood, by “straightforward math” described in Appendix I.A to the
Petition, that “the relative error (the claimed ‘Y’ percentage) of any floating-



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point number output from Dockser’s reduced-precision multiplication is the
same as the relative error of its mantissa, independent of its exponent and
sign.” Id. at 31.
       Petitioner provides a detailed explanation as to why a person of
ordinary skill in the art would have understood Dockser as teaching the
recited X and Y percentages of claim 1. Id. at 32–35.
       First, Petitioner states that “[g]iven the massive number of possible
inputs to Dockser’s FPP (including over 70 trillion possible pairs of normal
IEEE-754 single-format mantissas), a [person of ordinary skill in the art]
would have performed Dockser’s FPP operation in software to determine the
fraction X of all possible valid inputs that produce at least the claimed
relative error Y when a given number of mantissa bits are dropped.” Id. at
32. Petitioner states that Mr. Goodin wrote such a program to perform
reduced-precision multiplication retaining 9 mantissa bits and dropping the
14 excess bits as in Dockser that tested all possible valid mantissa pairs and
“produce[d] at least Y=0.2% relative error for 14.6% of possible valid inputs
(greater than X=10%).” Id. at 33, 66–68 (citing Goodin Decl. ¶¶ 412–426,
464–469).
       Second, Petitioner argues that a person of ordinary skill in the art
“would also have understood algebraically that Dockser’s register bit-
dropping technique meets [the limitation] when performed at certain selected
precision levels by examining the absolute minimum relative error produced
by zeroing certain mantissa bit positions.” Id. at 33. Petitioner explains how
over 12% of possible input operands “have a zero as their most-significant
(leftmost) mantissa fraction bit and ones as their eighth and ninth fraction
bits,” such that retaining only 7 mantissa bits of operands would result in



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“every input in that 12% produc[ing] at minimum 0.39% relative error.” Id.
at 33, 68–72 (citing Goodin Decl. ¶¶ 427–444).
      Claim 1 further recites, “at least one first computing device adapted to
control the operation of the at least one first LPHDR execution unit.”
Petitioner asserts that Dockser’s main processor meets the computing device
limitation because the processor writes subprecision select bits to the FPP’s
control register. Pet. 39. Petitioner asserts that, this way, Dockser’s main
processor is adapted to control the FPP’s operation by specifying its
precision level. Id. (citing Ex. 1007 ¶¶ 15, 18, 25, 35; Goodin Decl. ¶ 310).
      Petitioner’s contentions regarding claim 1 are supported by the
testimony of Mr. Goodin. See id. at 13–39; Goodin Decl. ¶¶ 183–310.


                        b) Patent Owner’s Arguments
      Patent Owner makes two arguments in its Preliminary Response
disputing Petitioner’s contentions regarding claim 1. Prelim. Resp. 7–23.


                         (1) LPHDR Execution Unit
      First, Patent Owner argues that Dockser’s FPP is not a “low precision
high dynamic range (LPHDR) execution unit” because it is also “capable of
operating at full precision.” Prelim. Resp. 11–12. According to Patent
Owner, “Dockser discloses a 32-bit FPP that includes all of the circuitry
needed for full precision arithmetic on data in IEEE 32-bit format, and also
having additional circuitry allowing for selectable subprecisions.” Id. at 11.
As support for this reading of Dockser, Patent Owner points to statements in
Dockser that precision “may” be reduced and that certain applications
require “greater precision.” Id. at 11–12 (citing Ex. 1007 ¶¶ 3, 14, 26, 28).



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Patent Owner also argues that Petitioner incorrectly focuses on whether the
FPP is “capable of performing a few operations that are ‘low precision’” in a
“9-bit subprecision mode,” rather than “whether the execution unit itself can
be fairly characterized as being ‘low precision.’” Id. at 12–13. Patent Owner
asserts that Dockser’s FPP is “a full precision processor that—even when
performing operations in a reduced precision mode—includes all of the
circuitry and capability needed to perform full precision operations.”
Id. at 13.
       We disagree based on the current record. Patent Owner’s position is
that, to be an LPHDR execution unit, the execution unit must be capable of
low-precision operations and nothing else. We are not persuaded that the
claim language is so limiting. Claim 1 recites a “device comprising . . . at
least one first low precision high dynamic range (LPHDR) execution unit.”
The only limitations on the execution unit recited in the claim are that the
execution unit be “low precision,” “high dynamic range,” and “adapted to
execute a first operation” meeting certain criteria specified in the
imprecision limitation (i.e., a minimum relative error Y for a minimum
fraction X of possible valid inputs in a specified dynamic range). As
Petitioner points out, the claim does not recite any structural characteristics
of the execution unit and does not include any negative limitation precluding
the execution unit from performing other types of operations. See Pet. 31;
Reply 1. The recitation of “a first operation” in claim 1 further requires only
one or more first operations (that meet the low precision criteria specified in
the claim); it does not say that “every” operation must be low precision or
exclude other capabilities for other operations. See KCJ Corp. v. Kinetic
Concepts, Inc., 223 F.3d 1351, 1356 (Fed. Cir. 2000) (“This court has



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repeatedly emphasized that an indefinite article ‘a’ or ‘an’ in patent parlance
carries the meaning of ‘one or more’ in open-ended claims containing the
transitional phrase ‘comprising.’”). On this record, we see no reason why the
claim precludes the execution unit from having additional circuitry for
performing other types of operations, as long as the execution unit is capable
of performing the recited first operation and meeting the criteria set forth in
the imprecision limitation.
      Petitioner has provided sufficient evidence at this stage that Dockser
performs operations at the precision level specified in the imprecision
limitation. Dockser’s FPP “perform[s] certain mathematical operations,”
such as “multiplication,” at “reduced precision.” Ex. 1007 ¶¶ 1, 30–32.
Specifically, Petitioner expressly identifies “reduced-precision
multiplication” as the “first operation” in Dockser. Pet. 15–19. And
Petitioner calculates the relative error for multiplication of all possible input
operands when the operands have 9 retained mantissa bits and 14 dropped
mantissa bits.4 Id. at 25, 30–31. That is consistent with Dockser, which
discloses a specific example of multiplying 23-bit operands having
9 retained mantissa bits and 14 dropped mantissa bits. See Ex. 1007 ¶¶ 26,
29.
      Importantly, as Patent Owner acknowledges, Dockser’s example of
9-bit precision multiplication is a distinct operation from multiplication at
other levels of precision. See Prelim. Resp. 20 (arguing that Dockser can
“perform an addition operation a+b in full precision mode, 22-bit mode,


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 Accordingly, we do not agree with Patent Owner that Petitioner improperly
made a new argument in its Reply that “multiplying two input values in a
way that reduces precision down to 9 mantissa bits” constitutes a “first
operation.” Sur-Reply 2.

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21-bit mode, etc.” and that “[e]ach of these operations is distinct, and
generally produces different outputs, with some being more precise than
others”). Dockser describes exactly how such multiplication is performed,
and the functionality of the FPP differs depending on which level of
precision multiplication is selected. See, e.g., Ex. 1007 ¶¶ 30–34, Fig. 3B;
Pet. 24–36. On this record, we find the fact that Dockser is capable of
performing other, different operations (e.g., 23-bit full precision) does not
detract from Dockser’s disclosure of a specific example meeting the “low
precision” requirements of the claim.
      Patent Owner further argues that Petitioner fails to show that it would
have been obvious to modify Dockser’s FPP to be an LPHDR execution
unit. Prelim. Resp. 14–17. Patent Owner contends that Dockser teaches
away from such a unit because
      rather than committing itself to performing low precision
      operations on a very high percentage of all possible valid inputs
      (in order to shrink the size of the execution unit), Dockser
      specifically teaches that its selectable precision (which means
      supporting full precision and programmability, both of which
      increase the size of the execution unit) is the key feature of the
      Dockser FPP.
Id. at 14–15 (citing Ex. 1007 ¶ 3). Dockser’s FPP “is more complex than
conventional 32-bit microprocessors, not less,” so an ordinarily skilled
artisan would not be motivated to “reverse course” and make it only capable
of low precision operations according to Patent Owner. Id. at 16–17
(emphasis omitted). As explained above, however, we disagree on this
record with Patent Owner’s position that an LPHDR execution unit must be
incapable of anything other than low precision operations, and thus do not
agree that a modification to Dockser in that respect is necessary. We find
Petitioner’s analysis as to why a person of ordinary skill in the art would

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have understood Dockser’s FPP to be an LPHDR execution unit, supported
by the testimony of Mr. Goodin, sufficient at this early stage.


                          (2) Imprecision Limitation
      Second, Patent Owner argues that Dockser does not teach or suggest
the imprecision limitation because Petitioner fails to show that Dockser’s
output over all “possible valid inputs” meets the limitation. Prelim. Resp.
17–23. According to Patent Owner, “[t]he range of possible valid inputs for
Dockser” includes all possible IEEE 32-bit values “across the entire range of
the possible subprecision select bits,” not just operands with 9 retained
mantissa bits and 14 dropped mantissa bits as Petitioner discussed in the
Petition. Id. at 19–20. Patent Owner argues that Mr. Goodin’s software
program addresses “only a small subset of Dockser’s possible valid inputs”
because it fails to account for “whether the imprecision limitation is met for
subprecision select bits corresponding to any implementation where fewer
than 14 bits are dropped.” Id. In Patent Owner’s view, the analysis of
Dockser needs to take into account operations at “full precision mode, or 22-
bit mode, etc.” Id. at 20–21.
      We disagree based on the current record. The imprecision limitation
recites that “for at least X=10% of the possible valid inputs to the first
operation, the statistical mean, over repeated execution of the first operation
on each specific input from the at least X % of the possible valid inputs to
the first operation,” “executing the first operation on that input differs by at
least Y=0.2% from the result of an exact mathematical calculation of the
first operation on the numerical values of that same input.” Ex. 1001, 30:23–
34 (emphases added). The relevant inquiry thus looks at all possible valid



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inputs to the first operation—not all possible valid inputs to the LPHDR
execution unit overall, or all possible valid inputs to other operations. Again,
in its mapping of Dockser to claim 1, Petitioner expressly identifies
“reduced-precision multiplication” as “the first operation.” Pet. 15–19.
Dockser discloses a specific example of multiplying operands having
9 retained mantissa bits and 14 dropped mantissa bits. Ex. 1007 ¶¶ 26, 30–
34, Fig. 3B. The relevant possible valid inputs for assessing the imprecision
limitation, therefore, are the inputs to that operation. On this record, we see
no reason why the analysis of Dockser also needs to account for other
operations, such as “full precision” multiplication, which Patent Owner
acknowledges are “distinct” operations. See Prelim. Resp. 20.
      Patent Owner also challenges Mr. Goodin’s analysis as
“impermissibly applying hindsight and using the claims as a roadmap”
because “he opines that a [person of ordinary skill in the art] would operate
Dockser with the express goal of dropping enough bits from the mantissa to
meet the imprecision limitation.” Id. at 16 (citing Goodin Decl. ¶ 280). We
disagree based on the current record. The precision level of 9 retained
mantissa bits and 14 dropped mantissa bits that Mr. Goodin analyzes is not
chosen with the goal of meeting the imprecision limitation, but rather is the
specific example described in Dockser. See Goodin Decl. ¶¶ 254, 268–269,
273, 275. Mr. Goodin describes the calculations performed by his software
program and explains why he believes that a person of ordinary skill in the
art would have understood Dockser’s description of multiplication at the 9-
bit precision level teaches the imprecision limitation. See id. ¶¶ 281–283,
412–426. Further, Mr. Goodin cites extensively to language in Dockser
describing reduced-precision multiplication in support of his opinions. See



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id. ¶¶ 247–258. Patent Owner has not presented any evidence at this stage
indicating that Mr. Goodin’s calculations for Dockser’s 9-bit precision level
are factually incorrect. As for Petitioner’s theory based on retaining 9
mantissa bits, we have reviewed that supporting testimony and are
persuaded, based on the current record, that a person of ordinary skill in the
art would have understood Dockser to teach the imprecision limitation of
claim 1.
      As for Petitioner’s theory based on retaining 7 mantissa bits (Pet. 33–
35), Patent Owner argues that “Petitioner uses a hindsight analysis to posit
that it would have been obvious to select 7-bit precision in Dockser because
7-bit precision would meet the imprecision limitation.” Prelim. Resp. 21.
Patent Owner argues that the 7-bit precision mode is one of at least 17
distinct subprecision modes, and the number of the operations performed at
7-bit precision is less than one percent of the possible valid inputs overall.
Id.
      We invite the parties to address whether the Petition contains a
sufficient explanation why a person of ordinary skill in the art would have
selected the 7-bit mode over other precision modes in Dockser. See, e.g.,
Pet. 10–39. The parties are also invited to discuss Petitioner’s choice to
analyze the 9-bit case using a software program, but analyze the 7-bit case
algebraically. Compare id. at 68 (analyzing 9 and 5 retained fraction bits),
with id. at 72 (analyzing 7 and 5 retained fraction bits).




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                                c) Conclusion
      On this record, we are persuaded that Petitioner has shown a
reasonable likelihood of prevailing on its assertion that claim 1 is
unpatentable over Dockser.


                       2. Claims 2, 4, 5, 10, 13, and 14
      We have reviewed Petitioner’s contentions regarding claims 2, 4, 5,
10, 13, and 14 and are persuaded that Petitioner has made a sufficient
showing at this stage for those claims as well. See Pet. 40–41. Petitioner
explains how each limitation of the dependent claims is taught or rendered
obvious by the disclosure of Dockser. Id. For example, claim 2 recites that
“the at least one first computing device comprises at least one of a central
processing unit (CPU), a graphics processing unit (GPU), a field
programmable gate array (FPGA), a microcode-based processor, a hardware
sequencer, and a state machine.” Ex. 1001, 30:38–42. Dockser discloses a
general purpose processor. Ex. 1007 ¶ 35; see Pet. 40. Petitioner’s
contentions are supported by the testimony of Mr. Goodin and are
persuasive based on the current record. See id. at 36–38; Goodin Decl.
¶¶ 311–312. Patent Owner does not argue the challenged dependent claims
separately, only disputing Petitioner’s arguments regarding independent
claim 1. See Prelim. Resp. 7–23. We disagree with Patent Owner’s
arguments based on the current record for the reasons explained above. See
supra § II.C.1.
      On this record, we are persuaded that Petitioner has shown a
reasonable likelihood of prevailing on its assertion that claims 2, 4, 5, 10, 13,
and 14 are unpatentable over Dockser.



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                  D. Obviousness over Dockser and Tong
                                   1. Tong
      Tong is an IEEE journal article entitled “Reducing Power by
Optimizing the Necessary Precision/Range of Floating-Point Arithmetic.”
Ex. 1008, 273. Tong teaches reducing power consumption by minimizing
the bitwidth representation of floating-point data. Id. According to Tong,
using a variable bitwidth floating-point unit saves power. Id.


                                  2. Claim 1
      Petitioner asserts that “Tong, like Dockser . . . , confirms that the
number of mantissa bits used in a high-dynamic-range floating-point
execution unit was a well-known result-effective variable impacting power
consumption and precision.”5 Pet. 43 (citing Ex. 1008, 273–278, Goodin
Decl. ¶¶ 323–325). Petitioner relies on Tong’s Figure 6, reproduced below
with Petitioner’s annotations. Id. at 44.




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  Petitioner presents sufficient evidence on the current record to establish a
reasonable likelihood that Tong is a prior art printed publication under
35 U.S.C. § 102(b). See Pet. 42–43 (citing Ex. 1025 ¶¶ 8–11; Ex. 1026, 27;
Ex. 1027, 27).

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Tong’s Figure 6, above, is a line graph showing program accuracy, from 0%
to 100%, on the vertical axis and mantissa bitwidth, from 1 to 23, on the
horizontal axis. Id. at 43–44. The figure shows this data for five programs:
ALVINN, Bench22, Fast DCT, PCASYS, and Sphinx. Id. The programs
implement different signal-processing tasks. See, e.g., Ex. 1008, 278 (Table
IV). ALVINN, for example, is a neural network trainer that uses
backpropagation. Id. And Sphinx is a speech-recognition program. Id.
       For the ALVINN and Sphinx line plots in Tong’s Figure 6, Petitioner
added a dashed red line extending vertically through the data points with a
mantissa bitwidth of 5. Pet. 44. Petitioner asserts that, for these programs,
Tong teaches that “the accuracy does not change significantly with as few as
5 mantissa [fraction] bits.” Id. (quoting Tong 278, § V.B.). In Petitioner’s
view, Tong omits unnecessary bits to reduce waste and power consumption.


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Id. Petitioner characterizes Tong as “[h]aving empirically determined the
minimum number of mantissa bits necessary to maintain acceptable
accuracy of particular applications.” Id. (citing Tong 273, 274, 279, 284).
      Petitioner concludes that “Tong’s teaching that a precision level
retaining 5 mantissa fraction bits is sufficient in some applications
(including ALVINN and Sphinx[]) would have motivated a POSA to
configure Dockser’s FPP . . . to operate at a selected precision level retaining
as few as 5 mantissa fraction bits.” Id. at 45. According to the Petition, one
of ordinary skill in the art would have done so “to conserve power when
running those applications, or others empirically determined (using Tong’s
techniques) to not require greater precision.” Id. (citing Goodin Decl. ¶ 333).
Petitioner also concludes that determining the “optimum range of
imprecision to achieve the best power reduction without sacrificing accuracy
for a particular application” was a matter of routine optimization of a result-
effective variable. Id. at 46–47.
      Patent Owner argues that Dockser is deficient for the same reasons
discussed in connection with the challenge based on Dockser alone (Ground
1), and Tong does not remedy those deficiencies. Prelim. Resp. 23–24. In
Patent Owner’s view, Petitioner’s Dockser-Tong analysis, like the analysis
of Dockser alone, accounts for “only a cherry-picked subset of the ‘possible
valid inputs.’” Id. at 24 (citing Pet. 46). Patent Owner argues that
Petitioner’s analysis ignores the remaining possible valid inputs across all
subprecision selections. Id.
      Yet Patent Owner’s argument about all subprecision selections
(Prelim. Resp. 23–24) does not squarely address Petitioner’s obviousness
rationale—i.e., that one of ordinary skill in the art would have been



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motivated to configure Dockser’s FPP at a “selected precision level”
according to Tong (Pet. 45). Specifically, Petitioner’s rationale proposes
using a selected precision level “retaining as few as 5 mantissa fraction bits.”
Pet. 45. Instead of addressing the analysis of Dockser at this selected
precision level, Patent Owner’s arguments focus on Dockser alone. See
Prelim. Resp. 23–24.
      Petitioner’s relative-error analysis of the Dockser-Tong combination,
though, is different from the one in the ground based on Dockser alone. See
Pet. 45–46. In particular, Petitioner used a software program to determine
the relative error when retaining 5 mantissa fraction bits—i.e., the number of
bits that Dockser would use under Petitioner’s proposed combination with
Tong. Id. at 46 (citing Goodin Decl. ¶ 335). Also, the algebraic analysis
cited by Petitioner uses 5 mantissa fraction bits. Id. (citing Goodin Decl.
¶ 336). Because Petitioner’s rationale relies on modifying Dockser with
Tong to have a particular precision level, we are not persuaded at this stage
that Petitioner’s relative-error analysis is deficient for not considering all
possible subprecision selections. See Prelim. Resp. 23–24; supra § II.C
(explaining why Petitioner’s asserted ground based on Dockser alone is not
deficient for failing to address all possible IEEE 32-bit values, rather than
just operands with 9 retained mantissa bits and 14 dropped mantissa bits).
      We find Petitioner’s analysis, supported by the Goodin Declaration,
sufficient to show a reasonable likelihood of prevailing on its assertion that
claim 1 is unpatentable over Dockser and Tong.




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                3. Claims 2, 4, 5, 10, 13, 14, 21, 24, and 25
      We have reviewed Petitioner’s contentions regarding claims 2, 4, 5,
10, 13, 14, 21, 24, and 25. See Pet. 42–49 (citing id. at 40–41). We are
persuaded that Petitioner has made a sufficient showing at this stage for
those claims as well. Petitioner explains how each limitation of the
dependent claims is taught or rendered obvious by the disclosure of Dockser
and Tong. Id. at 40–49. Petitioner’s contentions are supported by the Goodin
Declaration and are persuasive based on the current record. See id. Patent
Owner does not argue the claims separately. See Prelim. Resp. 23–24. We
disagree with Patent Owner’s arguments based on the current record for the
reasons explained above. See supra § II.D.2.
      On this record, we are persuaded that Petitioner has shown a
reasonable likelihood of prevailing on its assertion that claims 2, 4, 5, 10, 13,
14, 21, 24, and 25 are unpatentable over the Dockser-Tong combination.


               E. Obviousness over Dockser and MacMillan
                                1. MacMillan
      MacMillan is a U.S. Patent entitled “Circuit for Enhancing
Performance of a Computer for Personal Use.” Ex. 1009, code (54).
MacMillan teaches using Single Instruction Multiple Data (SIMD) parallel-
processing architectures for adding supercomputer performance to personal-
use computers. See id. at 5:22–54. MacMillan’s computer system comprises
a “Host CPU” (i.e., “a 386, 486 or Pentium[] processor”) and SIMD-random
access memory (SIMD-RAM) device. Id. at 9:30–31, Figs. 3, 5. MacMillan
describes an example architecture where the SIMD-RAM device has 256
processing elements (PEs), but states that the disclosed architecture “allows



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scaling to higher or lower density chips with more or fewer PEs.” Id. at
12:60–13:4, 13:39–41, 16:20–22.


                                 2. Claim 1
      In this ground, Petitioner cites MacMillan for its teachings about
multiple floating-point execution units and concludes that it would have
been obvious to implement a device with multiple Dockser FPPs operating
in parallel. Pet. 51–53.
      Patent Owner argues that MacMillan does not remedy Dockser’s
deficiencies. Prelim. Resp. 24–27. Apart from this argument, Patent Owner
does not present arguments specifically analyzing MacMillan as it is used in
Petitioner’s challenge to claim 1. See id. Rather, Patent Owner refers to the
arguments about the challenge based on Dockser alone. See id. at 25
(“MacMillan does not remedy the deficiency of Dockser as set forth in
Sections III.A.2 and III.A.3 above[, which discuss the ground based on
Dockser alone].”). Thus, for the reasons discussed in connection with
Dockser alone (Ground 1), and because we conclude that Petitioner has
made a sufficient showing of obviousness based on the combination with
MacMillan, we determine that Petitioner has established a reasonable
likelihood of prevailing with respect to the ground based on Dockser and
MacMillan challenging claim 1.


                                 3. Claim 3
      Claim 3 recites, in part, “wherein the number of LPHDR execution
units in the device exceeds by at least one hundred the non-negative integer
number of execution units in the device adapted to execute at least the



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operation of multiplication on floating point numbers that are at least 32 bits
wide.” Ex. 1001, 30:42–48.
      As for claim 3, Petitioner asserts that MacMillan teaches 256
processing elements (PEs), and the Dockser-MacMillan combination would
have “a single Host CPU and at least one FPP in each PE (of which there are
at least 256).” Pet. 54 (citing Goodin Decl. ¶¶ 372–373). Under Petitioner’s
obviousness rationale, the “number (256 or more) of LPHDR execution units
(Dockser FPPs) exceeds by over 100 its number (one) of traditional-
precision execution units (the single Host CPU floating-point unit).” Id. at
54–55 (citing Goodin Decl. ¶ 377). Petitioner asserts that, in this way, the
Dockser-MacMillan combination addresses the limitation that “the number
of LPHDR execution units in the device exceeds by at least one hundred the
non-negative integer number of” the other execution units. Ex. 1001, 30:43–
48 (emphasis added).
      Patent Owner argues that “Dockser and MacMillan cannot possibly
disclose the limitation of claim 3, even if one were to assume the Dockser
FPP to be an LPHDR execution unit.” Prelim. Resp. 26. Patent Owner
argues that, because (1) Petitioner asserts that MacMillan’s processor is the
only claim 3 execution unit (EU) and (2) Dockser’s FPPs are designed to
perform multiplication on 32-bit numbers, “the number of claim 3 32-bit
EUs in the Dockser/MacMillan combination must always be greater than or
equal to the number of ‘LPHDR’ Dockser FPPs.” Id. (emphasis in original).
      But, under Petitioner’s theory, the 32-bit EUs in claim 3 (i.e.,
“execution units in the device adapted to execute at least the operation of
multiplication on floating point numbers that are at least 32 bits wide”) are
different from what Petitioner identifies as the LPHDR execution units (i.e.,



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a Dockser FPP in each of the 256 PEs of MacMillan). See Pet. 54. So, under
Petitioner’s rationale, Dockser’s FPPs do not count toward the number of
32-bit EUs in the Dockser-MacMillan combination. See id. Specifically,
Petitioner has shown, on this preliminary record, that the claimed “LPHDR
execution unit” at least encompasses Dockser’s FPP. See supra § II.C.1.
Petitioner asserts that the ’961 patent describes the LPHDR execution units
as “sometimes” producing results that are different from the correct result, in
contrast to 32-bit EUs, which the ’961 patent describes as “‘traditional
precision’ execution units that do not ‘sometimes’ produce results different
from the correct traditional-precision result.” Pet. 54. Thus, if the proposed
combination has 256 FPPs (LPHDR execution units) and one host CPU (the
32-bit EUs), the number of LPHDR execution units is greater than the
number of 32-bit EUs by the amount recited in claim 3.
      Petitioner supports its contentions with respect to claim 3 with
citations to the ’961 patent. We preliminarily agree with Petitioner that the
cited parts of the patent distinguish between the two sets of units. For
example, the patent describes the 32-bit arithmetic elements as “traditional”
precision: “‘arithmetic elements . . . designed to perform . . . floating point
arithmetic with a word length of 32 or more bits’ are ‘designed to perform . .
. arithmetic of traditional precision.’” Id. (citing Ex. 1001, 28:9–16). As for
the LPHDR units, the paragraph cited by Petitioner explains how the
precision may vary across implementations. See Ex. 1001, 26:63–27:16. We
preliminarily agree with Petitioner that all of these embodiments, unlike the
32-bit arithmetic elements, are described as producing results that are
“sometimes” or “all of the time” not closer than a certain amount to the
correct result. Pet. 54 (citing Ex.1001, 26:61–27:4). Thus, Petitioner’s



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distinction between the 256 FPPs and one host CPU in the proposed
combination is consistent with the language of claim 3 and adequately
supported on this preliminary record.
      We find Petitioner’s analysis, supported by the Goodin Declaration,
sufficient to show a reasonable likelihood of prevailing on its assertion that
claim 3 is unpatentable over Dockser and MacMillan.


                       4. Claims 2, 4, 5, 10, 13, and 14
      We have reviewed Petitioner’s contentions regarding claims 2, 4, 5,
10, 13, and 14. See Pet. 49–55 (citing id. at 40–41). We are persuaded that
Petitioner has made a sufficient showing at this stage for those claims as
well. Petitioner explains how each limitation of the dependent claims is
taught or rendered obvious by the disclosure of Dockser and MacMillan. Id.
Petitioner’s contentions are supported by the Goodin Declaration and are
persuasive based on the current record. See id. Patent Owner does not argue
claims 2, 4, 5, 10, 13, and 14 separately. See Prelim. Resp. 24–27. We
disagree with Patent Owner’s arguments based on the current record for the
reasons explained above. See supra §§ II.E.2–3.
      On this record, we are persuaded that Petitioner has shown a
reasonable likelihood of prevailing on its assertion that claims 2, 4, 5, 10, 13,
and 14 are unpatentable over the Dockser-MacMillan combination.


            F. Obviousness over Dockser, Tong, and MacMillan
                  1. Claims 1–5, 10, 13, 14, 21, and 23–25
      Petitioner asserts that it would have been obvious to operate the FPPs
in the Dockser-MacMillan combination at Tong’s precision levels. Pet. 56



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(citing Ex. 1008, 278, Table IV). Petitioner concludes that using Dockser’s
FPP with Tong’s precision levels in MacMillan’s multiple PEs would have
achieved “supercomputer performance” while conserving power. Id. (citing
Goodin Decl. ¶ 384).
      Patent Owner argues that “Petitioner relies on the same flawed
reasoning as discussed [in the Preliminary Response] with respect to
Dockser and Tong” but does not present separate arguments directed to the
combination of Dockser, Tong, and MacMillan. See Prelim. Resp. 27. We
disagree with Patent Owner’s arguments based on the current record for the
reasons explained above. See supra § II.C. On this record, we are persuaded
that Petitioner has shown a reasonable likelihood of prevailing on its
assertion that claims 1–5, 10, 13, 14, 21, and 23–25 are unpatentable over
the combination of Dockser, Tong, and MacMillan.


       2. Petitioner’s Alternative Interpretation of Claims 3 and 23
      Claim 3 recites, in part, “wherein the number of LPHDR execution
units in the device exceeds by at least one hundred the non-negative integer
number of execution units in the device adapted to execute at least the
operation of multiplication on floating point numbers that are at least 32
bits wide.” Ex. 1001, 30:42–48 (emphasis added). Claim 23 similarly recites
that “the number of LPHDR execution units in the second device exceeds by
at least one hundred the non-negative integer number of execution units in
the second device adapted to execute at least the operation of multiplication
on floating point numbers that are at least 32 bits wide. Id. at 32:62–67
(emphasis added).




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      Petitioner provides an alternative interpretation of the italicized
adapted-to clause. Pet. 59–60. In particular, Petitioner argues that a unit
could meet the adapted-to clause if it is capable of 32-bit multiplication in
some configurations. Id. Under this interpretation, Dockser’s FPP would not
be such a unit because it has registers and multiplier with less than 32 bits,
and thus is not capable of 32-bit multiplication in the proposed
combination—rather, only the host CPU floating-point unit would meet the
adapted-to clause in claim 3. Id. at 60 (citing Goodin Decl. ¶ 398).
According to Petitioner, “POSA would have been motivated to customize
Dockser’s FPPs in MacMillan’s PEs to only operate at precision levels lower
than full FP 32-bit operations, in view of Tong’s teachings that ‘the fine
precision of the 23-bit mantissa is not essential.’” Id. at 58.
      Patent Owner argues that Petitioner does not provide a specific level
of precision for its combination. Prelim. Resp. 30–31 (citing Pet. 58–59).
Patent Owner argues that “Tong suggests 11 bits of precision for certain
signal processing applications, and Petitioner provides no analysis of
whether 11 bits of precision would meet the imprecision limitation.”
Id. at 29. Also, Patent Owner argues that Petitioner does not show that, for
example, one bit lower than full 32-bit operation would meet the claimed
imprecision limitation. Id. at 31.
      We disagree with Patent Owner on this record. Petitioner states that
“the selected precision levels are unchanged from Grounds 1–3.” Pet. 59. In
Ground 2 based on Dockser and Tong, for example, Petitioner states that
“Tong’s teaching that a precision level retaining 5 mantissa fraction bits is
sufficient in some applications (including ALVINN and Sphinx[]) would
have motivated a POSA to configure Dockser’s FPP . . . at a selected



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                                     APPX04006
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precision level retaining as few as 5 mantissa fraction bits.” Id. at 45.
Petitioner also used a software program determine the relative error when
retaining 5 mantissa fraction bits—i.e., the number of bits that Dockser
would use under Petitioner’s proposed combination with Tong. Id. at 46
(citing Goodin Decl. ¶ 335). In at least this way, Petitioner has adequately
explained, for the purpose of institution and on this preliminary record,
which of Tong’s precision levels would be used in the proposed
combination.
      Patent Owner also argues that each reference teaches away from the
proposed combination. Prelim. Resp. 29–30. In particular, Patent Owner
argues that (1) Dockser teaches away because “Dockser is directed entirely
to selectable precision; and disparages the use of non-selectable precision
units,” (2) Tong teaches away because “Tong devotes much of its discussion
to the benefits of variable or selectable precision,” and (3) MacMillan
teaches away because “MacMillan is primarily concerned with providing
increased performance without increased cost.” Id.
      At this stage and on this record, we preliminarily determine that the
references do not teach away from the claimed devices. The mere disclosure
of more than one alternative does not constitute a teaching away. In re
Fulton, 391 F.3d 1195, 1201 (Fed. Cir. 2004). Specifically, Patent Owner
points to a statement that Tong makes about power savings: “This FP
bitwidth reduction can deliver a significant power savings through the use of
a variable bitwidth FP unit.” Prelim. Resp. 30 (quoting Ex. 1008, 273). Yet
Tong’s statement does not discredit, criticize, or otherwise discourage the
claimed invention’s approach so as to teach away from it. See Fulton, 391




                                     36
                                   APPX04007
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F.3d at 1201. Instead, the statement merely explains the benefits provided by
Tong’s alternative approach. Ex. 1008, 273.
      Likewise, although Patent Owner argues the combination with
MacMillan would increase manufacturing costs, Patent Owner does not
provide sufficient evidence to support this position. See Prelim. Resp. 30.
Even assuming MacMillan warns against the costs, Patent Owner’s
argument is unsupported by any specific cost analysis. Id. To be sure, Patent
Owner may introduce evidence that supports this argument during trial. We
also note that “[t]hat a given combination would not be made by
businessmen for economic reasons does not mean that persons skilled in the
art would not make the combination because of some technological
incompatibility,” for example. In re Farrenkopf, 713 F.2d 714, 718 (Fed.
Cir. 1983). But, at this stage and on this record, Patent Owner’s argument is
unpersuasive.
      On this record, we are persuaded that Petitioner has shown a
reasonable likelihood of prevailing on its assertion that claims 3 and 23 are
unpatentable over the combination of Dockser, Tong, and MacMillan.


                             III. CONCLUSION
      Based on the arguments presented in the Petition, we conclude that
Petitioner has demonstrated a reasonable likelihood of prevailing with
respect to at least one claim of the ’961 patent challenged in the Petition.
Accordingly, we institute a trial on all claims and all grounds asserted in the
Petition. The Board has not made a final determination under 35 U.S.C.
§ 318(a) with respect to the patentability of the challenged claims.




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                                 IV. ORDER
       It is
       ORDERED that, under 35 U.S.C. § 314(a), an inter partes review of
claims 1–5, 10, 13, 14, 21, and 23–25 of the ’961 patent is instituted for all
grounds in the Petition; and
       FURTHER ORDERED that, under 35 U.S.C. § 314(a), inter partes
review of the ’961 patent is instituted on this Decision’s entry date, and
under 35 U.S.C. § 314(c) and 37 C.F.R. § 42.4, notice is given of the trial’s
institution.




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         APPX04049; APPX04051-4059
    HAVE BEEN OMITTED PURSUANT
           TO PROTECTIVE ORDER
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                     APPX04061
      HAS BEEN OMITTED PURSUANT
           TO PROTECTIVE ORDER
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                APPX04081; APPX04086
     HAVE BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                APPX04094; APPX04098
     HAVE BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                      APPX04113
      HAS BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                      APPX04131
      HAS BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                      APPX04161
      HAS BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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multiplying together the mantissa portions of the two input numbers. The IEEE fp32, IEEE fp16 and
bfloat16 formats need 576 full adders, 121 full adders, and 64 full adders, respectively. Because
multipliers for the bfloat16 format require so much less circuitry, it is possible to put more multipliers in the
same chip area and power budget, thereby meaning that ML accelerators employing this format can have
higher flops/sec and flops/Watt, all other things being equal. Reduced precision representations also
reduce the bandwidth and energy required to move data to and from memory or to send it across
interconnect fabrics, giving further efficiency gains.



The Challenge of Uncertainty in a Fast Moving Field

One challenge for building machine learning accelerator hardware is that the ML research field is moving
extremely fast (as witnessed by the growth and absolute number of research papers published per year
shown in Figure 4). Chip design projects that are started today often take 18 months to 24 months to
finish the design, fabricate the semiconductor parts and get them back and install them into a production
datacenter environment. For these parts to be economically viable, they typically must have lifetimes of
at least three years. So, the challenge for computer architects building ML hardware is to predict where
the fast moving field of machine learning will be in the 2 to 5 year time frame. Our experience is that
bringing together computer architects, higher-level software system builders and machine learning
researchers to discuss co-design-related topics like “what might be possible in the hardware in that time
frame?” and “what interesting research trends are starting to appear and what would be their implications
for ML hardware?” is a useful way to try to ensure that we design and build useful hardware to accelerate
ML research and production uses of ML.

Machine Learning for Chip Design
One area that has significant potential is the use of machine learning to learn to automatically generate
high quality solutions for a number of different NP-hard optimization problems that exist in the overall
workflow for designing custom ASICs. For example, currently placement and routing for complex ASIC
designs takes large teams of human placement experts to iteratively refine from high-level placement to
detailed placement as the overall design of an ASIC is fleshed out. Because there is considerable human
involvement in the placement process, it is inconceivable to consider radically different layouts without
dramatically affecting the schedule of a chip project once the initial high level design is done. However,
placement and routing is a problem that is amenable to the sorts of reinforcement learning approaches
that were successful in solving games, like AlphaGo. In placement and routing, a sequence of placement
and routing decisions all combine to affect a set of overall metrics like chip area, timing, and wire length.
By having a reinforcement learning algorithm learn to “play” the game of placement and routing, either in
general across many different ASIC designs, or for a particular ASIC design, with a reward function that
combines the various attributes into a single numerical reward function, and by applying significant
amounts of machine-learning computation (in the form of ML accelerators), it may be possible to have a
system that can do placement and routing more rapidly and more effectively than a team of human
experts working with existing electronic design tools for placement and routing. We have been exploring
these approaches internally at Google and have early preliminary-but-promising looking results. The
automated ML based system also enables rapid design space exploration, as the reward function can be
easily adjusted to optimize for different trade-offs in target optimization metrics.




                                                    Singular's Exhibit No. 2011, IPR2021-00155
                                                                                      Page 009
                                               APPX04182
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                      APPX04286
      HAS BEEN OMITTED PURSUANT
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                                                         IPR2021-00155
                                                         PATENT NO. 10,416,961

        UNITED STATES PATENT AND TRADEMARK OFFICE
                     __________________

          BEFORE THE PATENT TRIAL AND APPEAL BOARD
__________________________________________________________________



                            GOOGLE LLC,

                               Petitioner,

                                   v.

                    SINGULAR COMPUTING LLC,

                             Patent Owner.


                          Patent No. 10,416,961
                      Filing Date: October 30, 2018
                     Issue Date: September 17, 2019

                        Inventor: Joseph Bates
          Title: PROCESSING WITH COMPACT ARITHMETIC
                      PROCESSING ELEMENT


__________________________________________________________________

                   PATENT OWNER’S RESPONSE

                       Case No. IPR2021-00155
__________________________________________________________________




                                APPX04578
              Case: 22-1866     Document: 50-2     Page: 108    Filed: 02/03/2023

                                                          IPR2021-00155
                                                          PATENT NO. 10,416,961
               2.     Dockser and MacMillan Fail to Disclose the
                      “exceeds” Limitation

         Even if the teachings of Dockser and MacMillan were combined to produce

a device with, for example, 256 Dockser units operating in parallel, such a device

would fail to meet the “exceeds” limitation of claim 3. Khatri, ¶ 84.

         The “exceeds” limitation requires that the “number of LPHDR execution

units in the device exceeds by at least one hundred the non-negative integer

number of execution units in the device adapted to execute at least the operation of

multiplication on floating point numbers that are at least 32 bits wide.” 2 Id., ¶ 85.

As shown below, Dockser’s FPP is adapted to execute at least the operation of

multiplication on floating point numbers that are at least 32 bits wide. Id.

Therefore, even if Dockser’s FPP were an LPHDR execution unit (which it is not,

under the proper proposed construction of that term) the Dockser/MacMillan

combination cannot meet claim 3’s “exceeds” limitation, because those same

“Dockser LPHDR execution units” would also be “adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits




2
    For clarity, Patent Owner refers to “execution units in the device adapted to

execute at least the operation of multiplication on floating point numbers that are at

least 32 bits wide” as “full-precision multiplication execution units.”


                                          28
                                         APPX04616
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wide,” meaning that the number of LPHDR execution units will never exceed the

number of full-precision multiplication execution units. Id., ¶ 86.

                       (a)   Dockser’s FPP Is a Claim 3 EU Because It Is
                             Adapted to Execute at Least the Operation of
                             Multiplication on Floating Point Numbers That
                             Are at Least 32 Bits Wide

         There is no dispute that Dockser is an execution unit. Pet., 13. And there

can be no reasonable dispute that Dockser is adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits wide

under the plain meaning of the term.3 Goodin Dep. 23:17-22; Khatri ¶¶ 90-91.

         Dockser discloses that its FPP takes input operands that are 32 bits wide and

stores them in IEEE-754 format. See e.g., Dockser, ¶ [0017] (“Each register

location 200 is configured to store a 32-bit binary floating-point number, in an

IEEE-754 32-bit single format.”) Khatri, ¶ 92. Dockser also discloses that its FPP

includes “a floating-point multiplier (MUL) 144 configured to execute floating-

point multiply instructions.” Dockser, ¶ [0019]; Khatri, ¶ 92. These points are not




3
    Petitioner and Patent Owner agree that “adapted to execute at least the operation

of multiplication on floating point numbers that are at least 32 bits wide” means

that the execution unit performs multiplication in “traditional”—i.e., full—

precision. Pet., 54.


                                          29
                                         APPX04617
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in dispute; Petitioner and its expert both admitted as much. Reply at 2; Goodin

Dep. at 36:16-21; 38:18-39:15.

      Nothing more is required for a Dockser FPP to be “adapted to execute at

least the operation of multiplication on floating point numbers that are at least 32

bits wide.” See In re Man Machine, 822 F.3d 1282, 1286 (Fed. Cir. 2016) (“[T]he

phrase ‘adapted to’ generally means ‘made to,’ ‘designed to,’ or ‘configured to,’

though it can also be used more broadly to mean ‘capable of’ or ‘suitable for.’”);

Khatri, ¶ 92.

      Therefore, even if Dockser’s FPP is an “LPHDR execution unit” (as

Petitioner incorrectly argues), the Dockser/MacMillan device would still fail to

satisfy the “exceeds” limitation. Khatri, ¶ 93. In one example, the

Dockser/MacMillan device would have 256 LPHDR execution units (counting

each Dockser FPP as an “LPHDR execution unit”). However, because each

Dockser FPP is also “adapted to execute at least the operation of multiplication on

floating point numbers that are at least 32 bits wide,” the Dockser/MacMillan

device would therefore also have at least 256 execution units “adapted to execute

at least the operation of multiplication on floating point numbers that are at least 32

bits wide.” Id. As a result, the Dockser/MacMillan would not meet the “exceeds

limitation.” Id.




                                        30
                                       APPX04618
              Case: 22-1866      Document: 50-2     Page: 111    Filed: 02/03/2023

                                                               IPR2021-00155
                                                               PATENT NO. 10,416,961
                      (b)    Petitioner’s Interpretation of “adapted to
                             execute at least the operation of multiplication
                             on floating point numbers that are at least 32
                             bits wide” Is Inconsistent with the Specification
                             and Wrong

         Petitioner attempts to put Dockser’s FPP outside of the “exceeds” limitation

by arguing that units are full-precision multiplication execution units only if they

are “‘traditional precision’ execution units that do not ‘sometimes’ produce results

different from the correct traditional-precision result.” Pet., 54. The Board

preliminarily accepted this argument.

         Petitioner’s implicit construction of “adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits wide”

is inconsistent with the plain and ordinary meaning of the claim and at odds with

the specification. Khatri, ¶¶ 94-95. The Board should thus reject it.

         A POSA would understand this term to include all units in the device that

are designed to perform “multiplication on floating point numbers that are at least

32 bits wide,” even if those units can perform other operations as well. 4 Id., ¶ 95.


4
    While the term at issue here includes the phrase “adapted to,” Patent Owner’s

construction does not depend on any particular construction of this term.

Depending on context, “adapted to” can be construed broadly (to mean “capable

of”) or narrowly (to mean “designed to”). See In re Giannelli, 739 F.3d 1375,



                                           31
                                          APPX04619
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                                                               IPR2021-00155
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      First, Petitioner’s interpretation directly contradicts the claim language itself

which encompasses every execution unit adapted to perform “at least” the

operation of 32-bit multiplication. Khatri, ¶ 96. Petitioner not only ignores this

inclusive language, but also proposes a construction that would explicitly exclude

units adapted to perform additional operations. Id.

      Second, Petitioner’s interpretation contradicts the teachings of the

specification. Id., ¶ 97. For example, while the specification does not disclose an

execution unit that can be both a full-precision multiplication execution unit and an

LPHDR execution unit, it does disclose an execution unit that can be both a full-

precision multiplication execution unit and a unit (which is not an LPHDR

execution unit, as explained below) that ‘sometimes’ produces results different

from the correct traditional-precision result:

      “When a graphics processor includes support for 16 bit floating point,
      that support is alongside support for 32 bit floating point . . . That is,
      the 16 bit floating point format is supported for those applications that


1379 (Fed. Cir. 2014); see also In re Man Machine Interface Techs. LLC, 822 F.3d

at 1286 (citations omitted). In this situation, both of these constructions boil down

to the same thing: if a unit is “capable of” performing 32-bit multiplication, then it

is “designed to” perform 32-bit multiplication––the ability to perform full-

precision multiplication is not something that happens by accident.


                                         32
                                        APPX04620
            Case: 22-1866      Document: 50-2     Page: 113     Filed: 02/03/2023

                                                            IPR2021-00155
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      want it, but the higher precision formats also are supported because
      they are believed to be needed for traditional graphics applications
      and also for so called “general purpose” GPU applications. Thus,
      existing GPUs devote substantial resources to 32 . . . bit arithmetic
      and are wasteful of transistors . . . .”

’961 Patent, 5:23-33; Khatri, ¶ 97.

      A POSA would understand that the “graphics processor” described in the

passage above includes multiple execution units operating in parallel, each of

which can be configured to perform both full-precision (“32 bit floating point”)

and half-precision (“16 bit floating point”) operations. Khatri, ¶ 98. Such

execution units are both “adapted to execute at least the operation of multiplication

on floating point numbers that are at least 32 bits wide” and “capable of

performing “operations that ‘sometimes’ produce results different from the correct

traditional-precision result” (i.e., half-precision operations that produce results in

the “16 bit floating point” format often referred to as “fp16,” which is not to be

confused with the earlier-mentioned bfloat16/bf16 (brain float 16) format used by

Google’s products). Id.

      As the passage explains, these execution units are “wasteful of transistors”

because, like the execution units of Dockser and Tong, they retain the capability of

performing 32-bit multiplication, even if they can be configured to “sometimes”

operate at lower precisions. Id., ¶ 99. A POSA would understand that such



                                         33
                                        APPX04621
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conventional execution units having full-precision capability (whether or not they

execute other precision operations) are precisely what the “adapted to execute at

least the operation of multiplication on floating point numbers that are at least 32

bits wide” limitation of claim 3 is intended to capture, and more importantly,

precisely what distinguishes these conventional execution units from “LPHDR

execution units” that perform only low-precision arithmetic operations (and thus

use “a small amount of resources”) in claim 3. ’961 Patent, 8:1-9; Khatri, ¶ 99.

      More generally, the specification describes full-precision multiplication

execution units only by reference to their “high dynamic range arithmetic of

traditional precision.” See ’961 Patent at 28:32-37; see also id. at 28:32-29:20;

Khatri, ¶ 100. Nowhere does the specification ever preclude full-precision

multiplication execution units from being able to produce incorrect results. Id.

Petitioner imports that requirement from a completely different section of the

patent, taken completely out of context. See Pet., 54 (citing ’961 Patent, 26:61-

27:4); Khatri, ¶ 100. That section uses “sometimes” to describes the imprecision

limitation of an LPHDR execution unit, as expressed in the X=5% limitation of the

Challenged Claims. That section says nothing about full-precision multiplication

execution units. See ’961 Patent, 26:61-27:4; Khatri, ¶ 100.

      Petitioner’s argument tacitly hinges on the idea that if a component is an

LPHDR execution unit (i.e., the Dockser FPP as construed by Petitioner, not as


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construed by Patent Owner), it cannot also be a full-precision multiplication

execution unit. Pet., 54. That is, Petitioner tacitly argues that one device—the

Dockser FPP—cannot meet two limitations in a claim. But the law is clear that the

same structure can meet two limitations. See, e.g., Applied Med. Res. Corp. v. U.S.

Surgical Corp., 448 F.3d 1324, 1333 n.3 (Fed. Cir. 2006) (“[T]he use of two terms

in a claim requires that they connote different meanings, not that they necessarily

refer to two different structures.”) (emphasis in original). Therefore, even if the

Dockser FPP were an “LPHDR execution unit” (which it is not), it would still be a

full-precision multiplication execution unit for the reasons explained above.
                    (c)
                          A POSA Would Not Combine Dockser with
                          MacMillan

      Even if the combination of Dockser and MacMillan had all the elements of

the Challenged Claims – which it does not, for the reasons explained above – a

POSA would not make that combination because it would not be operable for its

intended purpose. Khatri, ¶ 101.

      Dockser is focused on the objective of reducing power consumption and is

not in any way concerned with the objective of achieving high compute scale,

while MacMillan is focused on a parallel architecture that increases computational

power, and not focused on reducing power consumption (indeed, MacMillan’s

only reference to power consumption relates to heat dissipation inside the

“cabinet” of a workstation). See MacMillan, 3:4-6; Khatri, ¶ 102.


                                        35
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      Incorporating Dockser’s FPPs into MacMillan would also defeat

MacMillan’s stated objective of achieving a high-scale SIMD computer

architecture at “lower system cost.” See MacMillan, 5:58-59 (“The invention of

this shared memory results in lower system cost . . . .”); Khatri, ¶ 103. As

explained above, Dockser’s FPPs are even larger than traditional full-precision

execution units because of the control circuitry needed to implement the selectable

subprecision modes. Id.; Goodin Dep. 70:6-12 (explaining that Dockser does not

reduce space compared to conventional units), 43:21-45:9 (additional circuitry

required to reduce precision). As a result, replacing the full-precision execution

units of MacMillan with Dockser FPP units would require additional circuitry and

chip space and would therefore increase costs, while providing no benefit. Khatri,

¶ 104. A POSA would not be motivated to destroy the objectives of the prior art.

Trivascular, Inc. v. Samuels, 812 F.3d 1056, 1068 (Fed. Cir. 2016); Chemours Co.

FC, LLC v. Daikin Indus., Ltd., No. 2020-1289, 2021 WL 3085514, at *4-*5 (Fed.

Cir. July 22, 2021).

             3.    Dockser/MacMillan Fails to Disclose or Render
                   Obvious “at least one first computing device adapted
                   to control the operation of the at least one first
                   LPHDR execution unit”
      Claim 1 (and therefore its dependent claims) require “at least one first

computing device adapted to control the operation of the at least one first LPHDR

execution unit.” Claim 2 further requires that the computing device “comprises at


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                                       APPX04624
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least one of a central processing unit (CPU), a graphics processing unit (GPU), a

field programmable gate array (FPGA), a microcode-based processor, a hardware

sequencer, and a state machine.” Petitioner identifies MacMillan’s “Host CPU” as

the “computing device adapted to control the operation of the at least one first

LPHDR execution unit.” Pet., 52-53; Khatri, ¶ 87.

      However, MacMillan makes clear that the SIMD Controller, not the Host

CPU, controls the operation of the PEs. MacMillan, 13:35-36 (“Since the PEs

operate under the control of the SIMD Controller . . . .”); 8:1-10 (explaining that

SIMD Controller “contains the program counter used to step through the list of

instructions that may include instructions to be executed by the PEs”); 10:65-11:5

(“The SIMD Controller 252 then executes the SIMD program.”); 10:3-16; Khatri,

¶ 88. Indeed, while the PEs are executing, the SIMD Controller takes control of

the host bus; thus there is no way for the Host CPU to control (or even

communicate with) the PEs. MacMillan, 10:53-11:5; Goodin Dep. 126:3-129:6;

142:14-143:21; Khatri, ¶ 88. Not only is the Host CPU not disclosed as controlling

the PEs, it is merely optional. Goodin Dep., 116:6-18; Khatri, ¶ 88.

      Petitioner’s expert, Mr. Goodin, agreed that the SIMD Controller controls

the operation of the PEs.

         Q. And MacMillan says that the processor elements are controlled by
         the SIMD controller?



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           A. Yes, that’s correct, that the processing elements are controlled by
           the SIMD controller 252.
Goodin Dep., 124:18-22.
      Since Petitioner has provided no other argument with respect to the

“computing device adapted to control” limitation as recited in claim 1, Petitioner

has failed to show that claim 1 and its dependent claims are obvious over Dockser

and MacMillan. See Pet., 52-53, 56-57. Khatri, ¶ 89.

      D.      Ground 4: Claims 1-5, 10, 13-14, 21, and 23-25 Are Not
              Obvious Over Dockser in View of Tong and MacMillan
      As discussed above with respect to Grounds 2 and 3, the combination of

Dockser, Tong, and MacMillan does not disclose or render obvious an LPHDR

execution unit. Similarly, as set forth with respect to Ground 3, the combination

does not disclose or render obvious the “at least one first computing device”

limitation. Finally, as set forth with respect to Ground 2, Tong does not teach

using only 5 bits of mantissa. Petitioner sets forth no further argument or evidence

with respect to any of these limitations.

              1.    The Dockser/MacMillan System as Modified by
                    Tong Would Not Meet the “Exceeds” Limitation

              Even under Petitioner’s construction of “LPHDR execution unit,” the

combination of Dockser, MacMillan, and Tong would still fail to satisfy the

“exceeds” limitation. As explained above, each Dockser FPP, even when

operating at 5-bit precision, is an “execution unit[] adapted to execute at least the



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operation of multiplication on floating point numbers that are at least 32 bits

wide.” Thus, even under Petitioner’s construction, a device with 256 (or any

number) Dockser FPPs operating at 5-bit precision would have at least as many

full-precision units as “LPHDR execution units.” Khatri, ¶¶ 105-06.

             2.    A POSA Would Not Combine Tong, Dockser, and
                   MacMillan

      A POSA would not be motivated to combine the teachings of Dockser,

MacMillan, and Tong. As explained above, a person of ordinary skill in the art

would not have been motivated to incorporate Dockser’s FPP into MacMillan, nor

to combine Dockser with Tong. Khatri, ¶ 107. Tong supplies no additional

motivation to combine the teachings of Dockser and MacMillan.

             3.    Petitioner’s “Alternative” Argument Regarding
                   Claims 3 and 23 Fails
      Recognizing that a system with Dockser’s FPPs can never meet the

“exceeds” limitation, Petitioner posits that it would be obvious to completely

redesign Dockser’s FPP to carve out all support for its basic and default mode,

namely full-precision operation (see supra Section VI.A.1). Specifically,

Petitioner posits that it would be obvious to cleave off parts of Dockser’s 32-bit

register file to achieve some unspecified lesser bit-width, and further perform some

unspecified modification to Dockser’s multiplier logic “to have only as many logic




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and Tong happen to mention “signal processing.” Khatri, ¶¶ 108-09. Petitioner

concocted this convoluted and implausible scenario in an attempt to sidestep the

Dockser FPP’s full-precision capabilities.

                    (a) A POSA Would Not Be Motivated to Combine
                    Dockser, MacMillan, and Tong under Petitioner’s
                    “Alternative” Argument

      Petitioner’s assertion that a POSA would have been motivated by Tong to

remove the full-precision capabilities of Dockser is wholly without merit.

      Petitioner’s argument is based on a fragment of a sentence in Tong, taken

out of context to insinuate that full-precision operation “is not essential” to the

functioning of a Tong or Dockser system. Pet., 58.

      In fact, Tong teaches the opposite. Khatri, ¶¶ 110-111. Tong admits that

there are “scientific programs” that “require a huge amount of precision” (Tong,

279), and broadly teaches that “it appears inevitable that some fraction of our

operands will require full IEEE-standard precision.” Tong, 280; Khatri, ¶ 111.

Instead, like Dockser, Tong teaches systems that always have both full- and

reduced-precision capabilities. See, e.g., Tong, 282 (even when describing a

device that has reduced precision units, it describes that system as “including both

full and reduced precision FP units and using appropriate sleep-mode circuit

techniques to shut down the unused unit.”); Khatri, ¶ 111. With this teaching in

hand, a POSA would not cleave off parts of Dockser’s 32-bit register file to



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achieve some unspecified lesser bit-width smaller execution unit, without also

importing the Tong “full precision FP.” See generally Tong; Khatri, ¶ 111.

      In view of the above, it is clear that a person of ordinary skill would not be

motivated by Tong to remove the full-precision capabilities of the Dockser units.

Khatri, ¶ 112. On the contrary, Tong would only have reinforced the teaching of

Dockser that, while reduced-precision might be a viable option in certain

circumstances, an execution unit should retain the ability to operate at full-

precision because many applications require full precision. See, e.g., Dockser,

¶ [0003]; Khatri, ¶ 112. Similarly, Petitioner’s “alternative” argument runs

contrary to the teachings of Dockser and MacMillan.

      Specifically, Dockser’s objectives are fundamentally directed away from

Petitioner’s proposed “alternative” combination. As discussed above, it is

undisputed that Dockser is devoted solely to a general processor with selectable

precision. Khatri, ¶ 113.

      Nowhere, however, does Dockser teach, or even suggest, removing its full-

precision capabilities. Khatri, ¶ 114; Goodin Dep. 38:3-8. A Dockser FPP is

described as always needing to support a range of selectable precisions including

full precision. Adjusting Dockser by removing its full-precision capacity violates a

central tenet of Dockser—to always be able to execute full-precision operations.

Khatri, ¶ 114; Dockser, ¶ [0003]. Indeed, Mr. Goodin explained that “Dockser


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requires selectable subprecision.” Goodin Dep. at 56:2-12; 57:4-12. See also id.

at 38:3-8 (“I don't believe Dockser discloses any embodiments without floating-

point – without selectable precision.”). Mr. Goodin also explained that he did not

provide any opinions where Dockser was limited to a single subprecision. Id.

69:17-70:18 (“That certainly isn’t part of my opinions in my declaration.”). It is

not obvious to remove a reference’s inventive concept—in this case supporting a

range of selectable precisions including full precision—in an attempt to meet a

challenged claim. Chemours Co., 2021 WL 3085514, at *5 (reversing Board

judgment of obviousness where proposed combination “would necessarily involve

altering the inventive concept” of the prior art reference). Cleaving off circuitry

from Dockser in an alleged combination with Tong contradicts the inventive

concept of Dockser (as well as of Tong, as described in the previous subsection)

and could only be the product of impermissible hindsight. Khatri, ¶ 114.

      As for MacMillan, it warns that “[t]o meet the cost objectives, the SIMD

capabilities should not add significant complexity to the architecture of a

computer system for personal use.” MacMillan, 5:42-44. Petitioner’s proposed

combination, which requires special, customized registers, logic elements,

arithmetic units, and programming models (see next subsection), would increase

manufacturing costs and goes directly against the teachings of MacMillan which




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relies on operating with conventional components to reduce cost. See Khatri,

¶ 115. E.g., MacMillan, 6:24-26, 34-36.

                          (b) Google Has Failed to Show That the
                          “Alternative” Combination Would Meet the
                          Imprecision Requirements of Claims 3-8
      Petitioner has not even attempted to show that the resulting combination

would meet the imprecision limitations. Petitioner merely states that the “selected

precision levels are unchanged from Grounds 1-3.” Pet., 59. However, as shown

above, Tong suggests 11 bits of precision for specific signal processing

applications, and Petitioner provides no analysis of whether 11 bits of precision

would meet the imprecision limitation. See id. Khatri, ¶ 116.

                            (c) POSA Would Not Have Recognized the
                            Utility of Petitioner’s “Alternative”
                            Combination of Dockser, MacMillan, and Tong
      Finally, a POSA would not have recognized the utility of Petitioner’s

“alternative” combination of Dockser, MacMillan, and Tong because the combined

prior art references do not teach or suggest that it would be possible to write

programs that run efficiently on a Dockser/MacMillan/Tong device. Khatri, ¶ 117.

      As the ’961 Patent explains, “programmers have come to think in terms of

high precision and to develop algorithms based on the assumption that computer

processors provide such precision . . . .” ’961 Patent, 5:48-55. The notion that

low-precision computers can be programmed “is not obvious, and in fact has been



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VII. OBJECTIVE INDICIA OF NON-OBVIOUSNESS SUPPORT
     THE VALIDITY OF THE CLAIMS

      Overwhelming evidence of objective indicia of non-obviousness—including

skepticism, praise, unexpected results, commercial success, and outright copying

of the claimed invention—confirms that the challenged claims are not obvious over

the prior art references cited by Petitioner.

      A.     Legal Standard

      “The objective indicia of non-obviousness play an important role as a guard

against the statutorily proscribed hindsight reasoning in the obviousness analysis.”

WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1328 (Fed. Cir. 2016). “[W]e have

repeatedly stressed that objective considerations of non-obviousness must be

considered in every case.” Id. Indeed, “[s]econdary considerations evidence can

establish that ‘an invention appearing to have been obvious in light of the prior art

was not’ and may be ‘the most probative and cogent evidence in the record.’”

Apple Inc. v. Int’l Trade Comm’n, 725 F.3d 1356, 1366 (Fed. Cir. 2013).

      Objective indicia of non-obviousness include skepticism, praise, unexpected

results, copying, and commercial success. See Kinetic Concepts, Inc. v. Smith &

Nephew, Inc., 688 F.3d 1342, 1367 (Fed. Cir. 2012); see also Mintz v. Dietz &

Watson, Inc., 679 F.3d 1372, 1379 (Fed. Cir. 2012).

      “For secondary considerations to have probative value, the decision maker

must determine whether there is a nexus between the merits of the claimed


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invention and the secondary considerations.” Ashland Oil, Inc. v. Delta Resins &

Refractories, Inc., 776 F.2d 281, 306 n.42 (Fed. Cir. 1985).

      B.     Google’s Initial Skepticism of the Invention Shows Non-
             Obviousness

      “Evidence of industry skepticism weighs in favor of non-obviousness. If

industry participants or skilled artisans are skeptical about whether or how a

problem could be solved or the workability of the claimed solution, it favors non-

obviousness. Doubt or disbelief by skilled artisans regarding the likely success of

a combination or solution weighs against the notion that one would combine

elements in references to achieve the claimed invention.” WBIP, 829 F.3d at 1335-

36; see also e.g., Neptune Generics, LLC v. Eli Lilly & Co., 921 F.3d 1372, 1377-

78 (Fed. Cir. 2019) (“Evidence of industry skepticism is a question of fact that

weighs in favor of non-obviousness.”).




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         CONFIDENTIAL
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                      APPX04638
       CONFIDENTIAL
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                        50-2 Page:REDACTED
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                      APPX04639
                  CONFIDENTIAL
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                             is evidence that the Challenged Claims are not

obvious. There is a clear nexus between these statements and the Challenged

Claims. Khatri, ¶ 123. They were written in response to Dr. Bates’s disclosure of

the invention, as explained above. Id. Further, they express skepticism about

utility of the low-precision arithmetic performed by the large numbers of low-

precision execution units, which is a key feature of the ’961 Patent claims.

      C.     Praise From Leaders in the Field Shows Non-Obviousness
      Praise of the invention by others is another objective indicator of non-

obviousness. Mintz, 679 F.3d at 1379.

      As Dr. Bates’ ideas circulated more broadly




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      There is a clear nexus between the praise cited above and the Challenged

Claims. It relates directly to




      D.     The Invention Is Not Obvious Because It Yields
             Unexpected Results

      Unexpected results are further evidence of non-obviousness. See Ortho-

McNeil Pharm., Inc. v. Mylan Labs., Inc., 520 F.3d 1358, 1365 (Fed. Cir. 2008)

(“Of particular importance beyond the prima facie analysis, this court also detects

evidence of objective criteria showing nonobviousness. Specifically, the record

shows powerful unexpected results . . . .”); see also Neptune, 921 F.3d at 1377-78;

Kao Corp. v. Unilever U.S., Inc., 441 F.3d 963, 970 (Fed. Cir. 2006).




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                       APPX04642
         CONFIDENTIAL
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                      APPX04643
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      The fact that these results were unexpected is further confirmed by
                                                                           -
      Similarly, Dr. David Patterson of Google candidly remarked that he was

“genuinely surprised” that the bfloat16 format provided useful results and

improved performance, scaling, and power use. Ex. 2012. Dr. Patterson is a

“skilled artisan” and acclaimed expert in the field of computer science and

computer architecture. Dr. Patterson’s comments have a nexus to the ’961 Patent

because, as shown below, the TPUv2 product is coextensive with the claims.

Moreover, his comments further have a nexus because they are directed exactly to

the key features of the ’961 Patent claims: low precision high dynamic range

arithmetic.

      The fact that the ’961 Patent’s invention produces unexpected results is

further supported by Dockser and Tong. For example, as explained above,

Dockser teaches that for “general purpose processors, however, the common

situation is that . . . a greater precision may be needed.” Dockser, [0003]; Khatri,

¶¶ 124-25. Similarly, Tong notes that in order to be “generally useful,” an

execution unit must be capable of full-precision arithmetic. Tong, 280; Khatri,

¶¶ 124-25.

      The fact that the prior art references cited by Petitioner in this proceeding

teach that an execution unit without full-precision capability is not “generally


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useful,” and Google’s initial reaction to the ‘961 Patent’s invention, shows that the

high performance of the ’961 Patent’s invention across a wide variety of

applications was unexpected. Id. This unexpected result weighs toward non-

obviousness.

      E.     Google’s Copying of the Invention Shows Non-
             Obviousness

      “The fact that a competitor copied technology suggests that it would not

have been obvious.” WBIP, 829 F.3d at 1336.

      As Dr. Bates was interacting with Google in 2013-14, Google had identified

a “daunting and scary” problem: in order to use artificial intelligence for speech

recognition, it would need to “double the computing footprint of Google just to

support, like, a slightly better speech recognition model for a modest fraction of

[its] users.” Ex. 2034, 6.

      Despite



                             Google solved this problem by copying Dr. Bates’

invention. Specifically, Google adopted the invention in their TPUv2 and TPUv3

products, which are coextensive with the Challenged Claims (see Section VIII,

infra). Indeed, Dr. Bates’s invention is central to the operation of the TPUv2 and

TPUv3 products, which use execution units designed to perform operations using a




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low-precision “floating point format called bfloat16” in order to achieve increased

parallelism and scale:

      Because multipliers for the bfloat16 format require so much less
      circuitry, it is possible to put more multipliers in the same chip area
      and power budget, thereby meaning that ML accelerators employing
      this format can have higher flops/sec and flops/Watt, all other things
      being equal.

Ex. 2011 at 9; Khatri, ¶¶ 126-27.

      Google describes the computing enabled by the bfloat16 format as “[t]he

secret to high performance on Cloud TPUs,” noting that “Cloud TPU v2 and Cloud

TPU v3 primarily use bfloat16 in the matrix multiplication unit (MXU)” and that

“inside the MXU, multiplications are performed in bfloat16 format.” Ex. 2041 at

2. The bfloat16 format maintains high dynamic range by keeping the same 8 bit

exponent as found in 32-bit IEEE floating point. Id. However, it reduces precision

significantly by using only a 7-bit mantissa, as opposed to the 23-bit mantissa of

IEEE 32-bit floating point, which is why it requires less circuitry. Id.




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                                                                                                          PATENT NO. 10,416,961
            (a) fp32: Single-precision IEEE Floating Point Format                                                  Range: -1 e· 31 to ~Je"'

               •        E.>ll)ooont:.-8 btts       ~ ~------                       Mantissa (Signmcand): 23 bits
            lie £         EE       E    E£         E   M   MM      MM      MU      UM    MUMM~•••              MM     MM     MM     II   II




            (b) fp16: Half-precision IEEE Floating Point Format                                                    Range: ~5.96e·• to 65504

               ...i®001tf'lt_SJ),t&_.          M!lotlm (~ig~n<I): ~ bllL.....
            II [ [        E   [    C    M      M M     M   u u M M M M


                                                                                                                               31         38
            (c) bfloat16: Brain Floating Point Format                                                              Range: -1 e· to -Je
                           l!20011:..U!ti_ ~(~gnJll@.o!!)u..Jllls
            ■ E     E     E   E    E    E      £   E   U   U   U   U   U   U   U




Id. at 1. A nexus with the claimed invention is presumed for secondary

considerations relating to Google’s TPUv2 and TPUv3 products, because these

products are coextensive with the Challenged Claims, as demonstrated in detail in

Section VIII, infra. See WBIP, 829 F.3d at 1329 (“[T]here is a presumption of

nexus for objective considerations when the patentee shows that the asserted

objective evidence is tied to a specific product and that product ‘is the invention

disclosed and claimed in the patent.’”).

      A nexus between Google’s products and the claimed invention is further

demonstrated




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      Google’s copying therefore provides clear evidence that the Challenged

Claims are not obvious. E.g., Liqwd, Inc. v. L’Oreal USA, Inc., 941 F.3d 1133,

1139 (Fed. Cir. 2019) (disclosure of patented method and later adoption of

technology supported finding of copying); see also Power Integrations, Inc. v.

Fairchild Semiconductor Int’l, Inc. 711 F.3d 1348, 1369 (Fed. Cir. 2013).

      F.    The Commercial Success of Google’s TPUv2 and TPUv3
            Shows Non-Obviousness
      Commercial success is an objective indicator of non-obviousness. See, e.g.,

id. at 1368. The commercial success of Google’s TPUv2 and TPUv3 products,

which are coextensive with the Challenged Claims, supports a finding of non-

obviousness.

      Since the release of TPuv2 in 2017, and TPUv3 in 2018, Google has

leveraged the abundance of processing power made available by Dr. Bates’

invention—its “secret to high performance” over its competitors—to power all of




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its major products and services, including Search, Translate, Photos, Assistant, and

Gmail. Ex. 2018. See also Exs. 2040, 2015.

      Using hundreds of thousands of these low-precision TPU v2 and v3 devices

to provide these AI services in its data centers throughout the U.S., Google has

saved at least $10 billion dollars. Ex. 2017. Thus, Google’s use of Dr. Bates’ low-

precision computer throughout its data centers has resulted in enormous

commercial success for Google.

      This commercial success is directly tied to the claimed invention. Google’s

TPUv2 and TPUv3 products are coextensive with the Challenged Claims, as

demonstrated in detail in Section VIII, infra. Further, the success of these products

in the marketplace is due in large part to their use of the claimed invention, which

allows them to achieve increased performance and parallelism. See, e.g., Ex. 2016

(“BF16 delivers a rare combination: reducing hardware and energy while

simplifying software by making loss scaling unnecessary;” see also Ex. 2011

(touting the increased efficiency and performance achieved by using low-precision

multipliers).

VIII. GOOGLE’S TPUV2 AND TPUV3 ARE COEXTENSIVE WITH
      THE CHALLENGED CLAIMS

      Google’s TPUv2 and TPUv3 are coextensive with at least claims 1-5, 10,

and 13-14 of the ’961 Patent. Set forth below is an analysis mapping the claims to

the TPUv2 and TPUv3 devices; a more fulsome analysis as to claims 4 and 13 is


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also provided in Singular’s district court infringement contentions. Exs. 2021;

2022, 23-40. Accordingly, a nexus is presumed between secondary considerations

relating to the TPUv2 and TPUv3 and the ’961 Patent. WBIP, 829 F.3d at 1329

(“[T]here is a presumption of nexus for objective considerations when the patentee

shows that the asserted objective evidence is tied to a specific product and that

product ‘is the invention disclosed and claimed in the patent.’”).

      A.     Claim 1

             1.    “A device comprising:”
      Each of the TPUv2 boards and TPUv3 boards are devices. Khatri, ¶¶ 129-

30.




      TPUv2 Board - Ex. 2016.




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      TPUv3 Board Ex. 2016.

             2.    “at least one first low precision high dynamic range
                   (LPHDR) execution unit adapted to execute a first
                   operation on a first input signal representing a first
                   numerical value to produce a first output signal
                   representing a second numerical value”
      Each of the TPUv2 and TPUv3 boards include at least one first low

precision high dynamic range (LPHDR) execution unit adapted to execute a first

operation (multiplication) on a first input signal representing a first numerical

value to produce a first output signal representing a second numerical value (the

product of the first numerical value multiplied by another value). Khatri, ¶ 131.

Both versions include at least one Matrix Multiply Unit (MXU) that contains

128x128 = 16,384 execution units that each execute the operation of

multiplication. Exs. 2016; 2011 (“the main computational capacity in each core

provided by a large matrix multiply unit that can yield the results of multiplying a

pair of 128x128 matrices each cycle”).




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       Figure 2. Block diagram of a TensorCore (our internal development name for a TPU core,
       and not related to the Tensor Cores of NVIDIA GPUs).

                                                                                                                 MXUs
                                                                 TensorCore                                    containing
                                             r---------------------,
                                             :I:==::::::;-- -;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;;.iI:
                                             I
                                                               Core Sequencer
                                                                                                                128x128
                                                                                                               execution
                                             I
                                             I
                                                                                                               units each
                                                                           Matrix Multiply
                                                                               (MXU)
                             HBM                  Vector                                                      I nterconnect
                          Memory                   Unit                    Matrix Multiply                        Router
            Host
                          (8/16 GiB)              (VPU)                        (MXU)                              (! CI )
          Queues                                                            TPUv3onl
         (over PCie)
                                                                             Transpose
                                                                            Permute Unit




                               Ex. 2016 (annotations added).


                       HBM                                                                              HBM
                       8GB
                                          cor-e                          oo re
                                                                                                        8GB
                                       scalar/vector              scalar/vector
                                           units                      units

                                                                         tt
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                                                  ••••••••
                                           MXU                           MXU
                                        128x128                       128x1 28


       Figure 5: A block diagram of Google's Tensor Processing Unit v2 (TPUv2 )

                                             Ex. 2011.

      Each of the bfloat16 execution units in the MXU require “less circuitry”

than either FP32 or FP16 multipliers. Ex. 2011, 9; Khatri, ¶ 132. Accordingly,


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each of the multipliers within the MXU is only able to perform low-precision,

bfloat16 operations and lacks the circuitry to perform, for example, perform FP16

or FP32 operations. Khatri, ¶ 132.

             3.    “wherein the dynamic range of the possible valid
                   inputs to the first operation is at least as wide as
                   from 1/65,000 through 65,000 and”

      The dynamic range of the valid inputs to the multiplication operation in the

TPUv2 and TPUv3 is governed by the number of exponent bits (8) in the floating

point 32 format. Khatri, ¶¶ 133-34; Pet., 20-21; Ex. 1003, ¶ 231. These inputs are

supplied by the “scalar/vector units,” also known as Vector Processing Unit

(VPUs). E.g., Exs. 2016; 2049, 3-4. As Google admits, 8 bits of exponent allow

for a dynamic range of from roughly 2-126 (smaller than 1/65,000) through 2127

(larger than 65,000). Khatri, ¶134; Pet., 20-21; Ex. 1003, ¶ 232.

                     4. “for at least X=10% …;”
      Google’s TPUv2 and TPUv3 boards meet this element by performing

multiplication on 32-bit numbers at bfloat16 precision, which uses 7 bits for the

mantissa. Exs. 2041, 7; 2011, 8; 2049; Khatri, ¶ 135. Google states that utilizing 7

bits of mantissa in multiplication operations results in a minimum of 12% of valid

floating point 32 inputs producing at least 0.39% relative error compared to the

exact mathematical calculation of a full-precision multiplication on those same




                                       66
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                                                           IPR2021-00155
                                                           PATENT NO. 10,416,961
inputs. Pet., 33-34, 72; Khatri, ¶¶ 135-36. Accordingly, the TPUv2 and TPUv3

meet this element.

            5.       “at least one first computing device adapted to
                     control the operation of the at least one first LPHDR
                     execution unit.”
      Google’s TPUv2 and TPUv3 devices meet this limitation as well. Each TPU

device is controlled by a Core Sequencer (which, in turn, is controlled by a Host

Virtual Machine that is a program running on a CPU). The Core Sequencer is a

computing device, and by issuing VLIW instructions to the MXU, it controls the

operation of the LPHDR execution units within the MXUs. Ex. 2016, 4-5. The

CPU is a computing device, and by running the Host VM and issuing commands to

the Core Sequencer, it controls the operation of the LPHDR execution units within

the MXUs. Ex. 2016, 4; Khatri, ¶¶ 137-38.


          Cloud TPU: a TPU board and host VM
                                     I Slide content I         CloudTPU

                                                                          "TPU board" = 8 TPU cores
                                    HostVM
                                     CPUs
                                                         PCl v3x 32
                 Network




                                                                          OneTPU
              YourVM                                                        core

                               Runs data feed code                                 Runs training code


                                     Ex. 2045, 2.



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                                                                                                     IPR2021-00155
                                                                                                     PATENT NO. 10,416,961
              Die sizes are adjust ed by the square of t he t echnology, as t he semiconduc•
              t or t echnology for TPUs is similar but larger and older than t hat of t he GPU.
              We picked 15nm for TPUs based on the information in Table 3. Ther m al
              Design Power (TOP) is for 16 -chip systems. TPUs come w ith a host CPU.
              This GPU price adds price of a nl-standard -16 CPU.



                                                             Ex. 2011.


                                                                                     TensorCore
                                                                   r---------------------,
                                                                    I
                                                                              quencer
                                                                    I
                                                                    I
                                                                    I                                           I
                                                                    I                                           I
                                                                    I
                                                                                              Matrix Mult,pty   I
                                                                    I                             (MXU)         I
                                                                    I                                           I
                                              HBM                   I   Vector                                  I
                                                                                                                I
                                                                                                                        Interconnect
                                                                    I
                                                                                              Matrix Multiply
                Host                        Memory
                                           (8/16Gi8)              ~
                                                                         Unit
                                                                        (VPU)                     IMXU)
                                                                                                                :,.--     Router
                                                                                                                           (ICI)
               Que11es ~                                            I
                                                                                               TPUv3only
                                                                                                                I
                                                                    I                                           I
             (over PCie)                                            I                                           I
                                                                    I                            Transpose      I
                                                                    I                                           I
                                                                    I                          Permute Unrt     I
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            nsv-r,: ¥ . llod ~ <Jf• TcllllOrC,on ( VIA' ln1ttnal ~&opt11.n1tnam~ for • TJ'U w ~ . llOd
            a ot rcllltcd to Ullc T -Cott11 of X\"IUIA Cf'\h;).




                                        Ex. 2016, (annotations added)

      B.    Claim 2

            1.           “The device of claim 1, wherein the at least one first
                         computing device comprises at least one of a central
                         processing unit (CPU), a graphics processing unit
                         (GPU), a field programmable gate array (FPGA), a
                         microcode-based processor, a hardware sequencer,
                         and a state machine.”

      As discussed above, the Host VMs run on a CPU. The Core Sequencer is

also a hardware sequencer and a state machine. Ex. 2016, 4; Khatri, ¶ 140. The

Core Sequencer and the CPU, independently and acting in concert, satisfy the

additional requirement imposed by claim 2. Khatri; ¶¶ 139-41.

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                                                                                                        IPR2021-00155
                                                                                                        PATENT NO. 10,416,961
      C.      Claim 3
              1.          “The device of claim 2, wherein the number of
                          LPHDR execution units in the device exceeds by at
                          least one hundred the non-negative integer number
                          of execution units in the device adapted to execute at
                          least the operation of multiplication on floating point
                          numbers that are at least 32 bits wide.”
      Google’s TPUv2 and TPUv3 boards meet this limitation. As discussed

above, each MXU contains 128x128 execution units: a total of 16,384 LPHDR

execution units in total per MXU. Khatri, ¶ 142. The TPUv2 board includes 1

MXU per core, with 2 cores in a chip, and 4 chips on a board. Ex. 2016. Thus, the

TPUv2 board contains 131,072 LPHDR execution units.


                                               '
                                                          TPUv2 Chip                                         I --- --- --- --- --- --- -- - -- - -- --------- --- ---

                                                                                                               ''
           Scalar                    CoreO '''                                                                      Core 1                           Scalar
                                                         D                                                   '''
            Unit                                 '
                                               '''
                                                              ■
                                                              = Compute           = Host                     ''                                       Unit
                                                                                                              ''
              I                                  ''
                                                  ''     D    D
                                                              = Memory            = Interconnect                ''
                                                                                                                 ''
                                                                                                                                                         I
                                                   ''
                                 Matrix                                                                                  Matrix



           Vector
                     I+----      Multiply
                                  Unit        k           16,384
                                                        LPHDR units


                                                             ""
                                                             .!:
                                                                      }-
                                                                       ""!:
                                                                                                 16,384
                                                                                               LPHDR umts


                                                                                                ""
                                                                                                            ft         Multiply
                                                                                                                        Unit
                                                                                                                                           f----->




                                                                                                                                                     Vector
                                                             _J        _J                       _J
            Unit
                     I+----+   Transpose I
                               Permute Unit
                                                                              ~                 s                   Transpose I
                                                                                                                    Permute Unit          -           Unit


                                                         T T                               j
                                                                                                             '
                                                                                                             '
        ------l----------------------------__: '
                                                                      Interconnect
                                                                                                             :--------------------------------1-------
                                                                         Router
                        HBM                   ~
                                                                                                                                      HBM


             I                                                                                                                                            I
            PCle                                                                                                                                      PCle
           Queues                                                                                                                                    Queues



                               TPUv2 Board – Ex. 2046 (annotations added)




                                                                   69
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                                                      IPR2021-00155
                                                      PATENT NO. 10,416,961
      The TPUv3 board contains 2 MXUs per core, 2 cores per chip, and 4 chips

per board. Ex. 2016. Thus, a single TPUv3 board contains 262,144 LPHDR

execution units. Khatri, ¶ 143.
        - ------ ------ --- ----- - -- ------ ------ --- ,                                              1- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -



             Scalar                 TPU Core 0                                                          i TPU Core 1                                                 Scalar
              Unit                                                D=     Compute   ■ =Host                                                                            Unit

                 I                                                D                D                                                                                       I
                              -         Matrix
                                                                        = Memory       = Interconnect
                                                                                                                       Matrix                      -
                                       Multiply                                                                       Multiply
                                       Unit (2x)                                                                      Unit (2x)
                                                     I                                                          I
              Vector                                                                                                                                                 Vector


                          H
               Unit                                                                                                                                                   Unit
                                   Transpose /                                                                      Transpose /
                                   Permute Unit                                                                     Permute Unit
                               ~




                                                                               Interconnect
                                                                                  Router
                             HBM                         I+---------+                                                                         HBM


                 I                                                                                                                                                          I
             PCle                                                                                                                                                     PCle
            Queues                                                                                                                                                   Queues




                                  TPUv3 Board – EX. 2046 (annotations added).

      The MXU execution units perform multiplication only at bfloat16 precision

and are thus not adapted to execute multiplication on floating point numbers that

are at least 32 bits wide. Khatri, ¶ 144.

      Each core (whether TPUv2 or TPUv3) contains a VPU. Id. Each VPU

contains an array of 128x8x2 32-bit arithmetic logic units (ALUs), for a total of

2048 ALUs per core. Exs. 2016; 2046. 32-bit ALUs are adapted to perform the

operation of multiplication on 32-bit numbers. Id., ¶ 145. With two cores per chip




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                                                       IPR2021-00155
                                                       PATENT NO. 10,416,961
and 4 chips per board, each TPUv2 or TPUv3 board contains 16,384 execution

units that are adapted to perform multiplication on 32-bit numbers. Id., ¶ 146.

      Each TPUv2 board thus contains 131,072 LPHDR execution units and

16,384 VPUs. Khatri, ¶¶ 146-47. Each TPUv3 board contains 262,144 LPHDR

execution units and 16,384 VPUs. Id. Accordingly, in each board “the number of

LPHDR execution units in the device exceeds by at least one hundred the non-

negative integer number of execution units in the device adapted to execute at least

the operation of multiplication on floating point numbers that are at least 32 bits

wide” and each board therefore meets claim 3. Id.

     D.      Claim 4
             1.    The device of claim 1, wherein the dynamic range of
                   the possible valid inputs to the first operation is at
                   least as wide as from 1/1,000,000 through 1,000,000
      As discussed above, the bfloat16 format used in the TPUv2 and TPUv3

boards contains 8 bits of exponent, which provides a dynamic range of from

roughly 2-126 (smaller than 1/1,000,000) through 2127 (larger than 1,000,000).

Khatri ¶ 148.

      E.     Claim 5

             1.    The device of claim 1, wherein the first operation is
                   multiplication
      As discussed above, the MXUs within the TPUv2 and TPUv3 boards

perform multiplication. Khatri ¶ 149.



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                                                               IPR2021-00155
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         F.    Claim 10
         Claim 10 recites a device comprising a plurality of components comprising

at least one LPHDR execution unit with the same dynamic range and imprecision

requirements as claim 1. The discussion of claim 1 above explains how those

specifications are met in the TPUv2 and TPUv3 boards. Khatri, 150-51.

         As explained above, each TPUv2 and TPUv3 board comprises a plurality of

components, such as multiple MXU LPHDR execution units, VPUs, and other

components.

         G.    Claim 13
               1.     The device of claim 10, wherein the dynamic range
                      of the possible valid inputs to the first operation is at
                      least as wide as from 1/1,000,000 through 1,000,000
         As discussed above, the bfloat16 format used in the TPUv2 and TPUv3

boards contains 8 bits of exponent, which provides dynamic range from roughly 2-
126
      (smaller than 1/1,000,000) through 2127 (larger than 1,000,000). Khatri, 152.

         H.    Claim 14

               1.     The device of claim 10, wherein the first operation is
                      multiplication.
         MXUs within the TPUv2 and TPUv3 boards perform multiplication. Khatri,

¶ 153.




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                      APPX04671
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                      APPX04673
      HAS BEEN OMITTED PURSUANT
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                      APPX04682
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                      APPX04687
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                      APPX04688
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•
•
        Google Al with Jeff Dean                                                          Download MP3 :!:
                                                                                          Top ics: Al. Machine Learning. TPU and
        Jeff Dean, the lead of Google Al, is on the podcast this week to talk             Pa rallel Processing
        with Melanie and Mark about Al and machine learning resea rch, his
        upcoming talk at Deep l earning lndaba and his educational pursuit of
        parallel processing a nd computer systems was how h is career path
                                                                                          000
        g ot him into Al. We covered topics from his tea m's work with TPUs
        and TensorF low, the impact computer visio n and speech recognition
        is having on Al advancements and how simulations are being used to
        help advance science in areas like quantum chemistry. We also
        d iscussed his passion for the dev elopment of Al talent in the cont ent
        of Africa and the opening o f Google Al Ghana. It's a full episode
        where we cover a lot of ground . One piece of advice he left us with,
        ·the way to do interesting things is to partner with people who know
        thing s you don't.·

        listen for the end of the podcast where our colleague, Gabe Weiss,
        helps us a nswe r the question of the week about how to get data from
        loT core to display in rea l time o n a web front end.



        Jeff Dean
        Jeff Dean jo ined Google in 1999 a nd is curre ntly a Google Senio r
        Fellow, leading Google Al and related research e fforts. His teams are
        working on systems for speech re cognition, computer vision,
        language understand ing, and various other machine learning tasks.
        He has co-desig ned/impleme nted many generations of Google's
        crawling, indexing, and query serving systems, and co-
        designed/implemented major pieces of Google 's initial advertising
        and AdSense for Content systems. He is also a co-designer and co-
        implementor o f Google's dist ributed computing infrastructure,
        including the MapReduce, BigTable and Spanner systems, protocol
        buffers, the open-source TensorFlow system for m achine learning, and
        a variety of internal and exte rnal libraries and developer tools.

        Jeff received a Ph.D. in Computer Science from the University of
        Washington in 1996, working with Craig Chambers on whole- progra m
        optimization techniques for object-o riented langu ages. He received a
        B.S. in computer science & econo mics from the Univers ity of
        Minnesota in 1990. He is a member of the National Acad emy o f
        Eng ineering, and of the American AC'3demy of Arts and Sciences, a
        Fellow o f the Association for Computing Machinery (ACM), a Fe ll ow o f
        the American Association for the Advancement of Sciences (AAAS),
        and a winner o f the ACM Prize in Computing.



        Cool things of the week
              Google Dataset Search is in bet a site
              Expand ing our Pu blic Datasets for geospatia1and ML-based analytics


                                                                     Singular's Exhibit No. 2034, IPR2021-00155
              blog
                 o Zip Code Tabulation Area (ZCTA) site


                                                                                                       Page 001
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    to derive better insights.

    And so having more computation is generally a good thing in
    computing. And around the time of maybe 201 1, 2012, when the
    Google Brain Project that I co+founded was just getting started, we
    started to collaborate with a number of different product teams at
    Google to use deep learning in some of the products.

    And the ones we collaborated with most closely with were the speech
    recognition team to replace kind of the older style machine-learning
    model that they we re using for speech recognition with a deep
    learning-based model for the acoustic portion of it, the part of the
    model that goes from a very small audio recording to a part of a
    word. Is it a "buh" o r "fff" or a "sss"?

    MELANIE: Yeah.

    JEFF: And then there was another model that we d id n't focus on
    initially, kind of after that state of the processing. But replacing the
    acoustic model with a deep learning-based acoustic model gave a lot
    of gains in recognition accuracy. And so we could tell that as speech
    recognition gets better, people a re going to use it more a nd more.

    And so I started to do some "back of the envelope" calculations of,
    like, well, what happens if people start talking to their phone three
    minutes a day, right? Because they're going to draft all their e mails, a
    speech, or something. And at the time, we had, you know, j ust lots
    and lots of CPUs in our data center.

    And if you looked at how much computation that would be required
    if 100 million of our users started to do that, that was actually kind of
    daunting and scary. We would have to essentially dou ble the
    computing footprint of Google just to support, like, a slightly better
    speech recognition model for modest fraction of o ur users.

    MELANIE: Seems legit.

    JEFF: Yeah. So it seems a little scary. But it's clear we want to deploy
    that to our users because the gains in recognition accu racy are
    actually quite significant. And so we started to look at what could we
    do for these kinds of deep-learning models that would be more
    computationally efficient. And there are two rea lly nice properties that
    deep-learning models have.

    So first, they are very tolerant of reduced precision. So essentially, if
    you do that precisions to like one decimal digit of accuracy, that's
    actually perfectly fine for these models. You don't need six or seven
    d igits of precision like you would in floating point computations or
    even more in double computations.

    And the second property they have is that all the algorithms are made
    up of, like, different compositions of handful of build ing blocks,
    essentialty matrix multiply, vector dot products, linear algebra-style
    operations. So if you can build hardware that is only designed to
    accelerate low-precision linear algebra, you're golden.

    And that enables you to the n really tailor the hardware to do only
    that. It doesn't need to do twisty, branchy, C++ code of all the kinds
    of arbitrary things, pointer dereferences, just low-precision linear
    algebra. Then suddenly you can rethink how you would completely
    design a computer to do only that.

    MARK: Since it's focused in exactly what it is it can do, does that
    mea n there are certain applications that are better or worse for a TPU
    that you might use something else for? Or how does that work?

    JEFF: Right. So this is one of the double-edged swords of
    specialization is if you over-specialize, then it's not generally
    applicable. But if you make something very generally applicable, then
    it doesn't get all the performance benefits you could get from
    specialization.

    And we actually chose, I think. a pretty good balance for TPUs. They're
    essentialty designed to accele rate exactly the kinds of operations you
    find in deep-learning models. So they' re not general purpose sort of
    computational devices. But they are not tailored to a particular model.

    They are tailored to all the kinds of operations you generally find in
    deep-learning models. And so you can run vision models on them.
    You can run speech models. You can run recurrent language models.

    The first TPU, TPU vl, was targeted at only inference, where you
    actually need even less precision than the training process. And that
    was our most pressing problem. That was how we could get the
    speech recognition model out to the world without doubling Google's
    data center footprint.

    And then the second TPU was really both-- was targeted a t both

                                                               Singular's Exhibit No. 2034, IPR2021-00155
    tra ining and inference. And the reason we didn't bite that off first was
    that trainina is a much more comolex hardware desian oroblem,

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                      APPX04706
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                        A l & MACHINE LEARN I NG




                        Build and train machine learning models on
                        our new Google Cloud TPUs




                        Jeff Dean                           We're excited to announce that our second-generation Tensor Processing Units (TPUs)
                        Goog'e Senior fetlow
                                                            are coming to Google Cloud to accelerate a wide range of machine learning workloads,
                        Urs HOlzle                          including both training and inference. We call them Cloud TPUs, and they will initially be
                        Senior Vice President, Google       available via Google Compute Engine
                        Cloud Infrastructure
                                                            We've witnes sed extraordinary advances in machine learning (ML) over the past few
                        MayF.2017
                                                            years. Neural networks have dramatically improved the quality of Google Translate,
                                                            played a key role in ranking Google Search results and made n more convenient to find
                                                            the photos you want with Google Photos. Machine learning allowed DeepMind's AlphaGo
                        Try GCP                             program to defeat Lee Sedol. one of the world's top Go players. and also made It possible
                        Start bu ld1ng on Google Cloud      for software to generate natural-looking sketches
                        wit h $300 n free cred ts and 20+
                        always free products                These breakthroughs required enormous amounts of computation, both to train the
                                                            undertying machine learning models and to run those models once they're trained (this is


                        EMIHHM                              called "inference1 . We've designed, built and deployed a family of Tensor Processing
                                                            Units, or TPUs, to allow us to support larger and larger amounts of machine learning
                                                            computation, first internally and now externally

                                                            While our first TPU was designed to run machine learning models quickly and efflciently-
                                                            to translate a set of sentences or choose the next move in Go- those models still had to
                                                            be trained separately. Training a machine learning model is even more difficult than
                                                            running it, and days or weeks of computation on the best available CPUs and GPUs are
                                                            commonly required to reach state-of-the-art levels of accuracy.

                                                            Research and engineering teams at Google and elsewhere have made great progress
                                                            scaling machine learning training using read1ly-ava1labte hardware_However, this wasn't
                                                            enough to meet our machine learning needs, so we designed an entirely new machine
                                                            learning system to eliminate bottlenecks and maximize overall performance_ At the heart
                                                            of this system is the second-generation TPU we're announcing today, which can both train
                                                            and run machine learning models.




                                                                                                   Singular's Exhibit No. 2037, IPR2021-00155
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                        A l & MACHINE L EARN I NG




                        Google's scalable supercomputers for
                        machine learning, Cloud TPU Pods, are now
                        publicly available in beta
                        Zak Stone
                        Senior Product Manager for
                                                            To accelerate the largest•scale machine learning (ML} applications deployed today and                    IJ
                                                            enable rapid development of the ML applications of tomorrow, Google created custom
                        Cloud TPUs, Googe Brain
                        Team                                silicon chips called Tensor Processing Units (TPUs). When assembled into multi-rack ML
                                                            supercomputer s called Cloud TPU Pods, these TPUs can complete ML workloads in
                        May72019
                                                            minutes or hours that previously took days or weeks on other systems. Today, for the first
                                                            time, Google Cloud TPU v2 Pods and Cloud TPU v3 Pods are publicly available in beta to
                                                                                                                                                                     Im
                                                            help ML researchers, engineers, and data scientists iterate faster and train more capable
                        Try GCP                             machine learning models.

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                        with $300 1n free cred,ts and 20+   Delivering business value
                        always free product s

                                                            Google Cloud is comm itted to providing a full spectrum of ML accelerators. including both

                        EMIHHM                              Cloud GPUs and Cloud TPUs. Cloud TPUs offer highly competitive performance and cost,
                                                            often training cutting-edge deep learning models faster while delivenng significant
                                                            savings. If your ML team is building complex models and training on large data sets, we
                                                            recommend that you evaluate Cloud TPUs whenever you require:

                                                                 Shaner time to insights-it erate faster while training large ML models

                                                                 Higher accuracy-train more accurate models using larger datasets {millions of labeled
                                                                 examples; terabytes or petabytes of data)

                                                                 Frequent model updates- retrain a model daily or weekly as new data comes in

                                                             • Rapid proro1yping-start quickly with our optimized, open-source reference models ,n
                                                                 image segmentation, object detection, language processing, and other major
                                                                 application domains

                                                            While some custom silicon chips can only perform a single function, TPUs are fully
                                                            programmable, which means that Cloud TPU Pods can accelerate a wide range of state-
                                                            of-the-art ML workloads, including many of the most popular deep learning models. For
                                                            example, a Cloud TPU v3 Pod can train ResNet•S0 (image classific ation) from scratch on
                                                            the lmageNet dataset in just two minutes or BERT (NLP) in just 76 minutes.

                                                            Cloud TPU customers see significant speed·ups in workloads spanning visual product
                                                            search, financial modeling, energy production, and other areas. In a recent case
                                                            study, Recursion Pharmaceuticals iteratively tests the v1ablllty of synthesized molecules
                                                            to treat rare illnesses. What took over 24 hours to train on their on·prem cluster
                                                            completed 1n only 15 minutes on a Cloud TPU Pod.


                                                            What's in a Cloud TPU Pod
                                                            A single Cloud TPU Pod can include more than 1,000 individual TPU chips which are
                                                            connected by an ultra.fast. two-dimensional toroidal mesh network. as illustrated below
                                                            The TPU software stack uses this mesh network to enable many racks of machines to be
                                                            programmed as a single, giant ML supercomputer via a variety of flexible, high--tevel APls.

                                                            The latest-generation Cloud TPU v3 Pods are liquid-cooled for maximum performance,
                                                            and each one delivers more than 100 petaFLOPs of computing power_In terms of raw
                                                            mathematical operations per second, a Cloud TPU v3 Pod is comparable w ith a top 5
                                                            supercomputer worldwide (though it operates at lower numerical precision)

                                                            It's also possible to use smaller sections of Cloud TPU Pod s called "slices: We often see
                                                            ML teams develop their initial models on individual Cloud TPU devices (which are
                                                            generally available) and then expand to progressively larger Cloud TPU Pod slices via both
                                                            data parallelism and model parallelism to achieve greater training speed and model scale.

                                                            You can learn more about the underlying architecture of TPUs in this blog post or this
                                                            interactive website, and you can learn more about individual Cloud TPU devices and
                                                            Cloud TPU Pod slices here.


                                                            Gettingi started
                                                                                                    Singular's Exhibit No. 2038, IPR2021-00155
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                      APPX04718
      HAS BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                      APPX04730
      HAS BEEN OMITTED PURSUANT
            TO PROTECTIVE ORDER
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                     Richard Goodin· REVISED AS TO DATE
                                July 30, 2021

· · · · UNITED STATES PATENT AND TRADEMARK OFFICE

· · · · ·BEFORE THE PATENT TRIAL AND APPEAL BOARD

· · · · · · · · · · ·_______________

· · · · · · · · · · · · GOOGLE LLC

· · · · · · · · · · · ·Petitioners,

· · · · · · · · · · · · · · v.

· · · · · · · · · SINGULAR COMPUTING LLC

· · · · · · · · · · · ·Patent Owner

· · · · · · · · · · ·_______________

· · · · · · · · ·Case Nos. IPR2021-00155

· · · · · · · · · · · · · ·IPR2021-00165

· · · · · · · · · · · · · ·IPR2021-00179
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                                                July 30, 2021




· · · · · · · · · Patent Nos. 10,416,961
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· · · · · · · · · · · · · · · 9,218,156

· · · · · · · · · · ·_______________

· · · · VIDEOTAPED DEPOSITION OF RICHARD M. GOODIN

· · · · · · ·Friday, July 30, 2021· 9:07 a.m.

· · · · · · · Wolf, Greenfield & Sacks P.C.

· · · · · 600 Atlantic Avenue, Boston, MA 02210

·

· · ·Reported by:

· · ·Janet McHugh, RMR, CRR, CLR

· · ·JOB NO. 2021-802910
                              Singular's Exhibit No. 2043, IPR2021-00155
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                             APPX04732
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·1· ·APPEARANCES:                                                                                             ·1· · · · · · · · P R O C E E D I N G S
·2· ·WOLF, GREENFIELD & SACKS P.C.                                                                            ·2· · · · · · ·THE VIDEOGRAPHER:· We are on the
·3· ·600 Atlantic Avenue                                                                                      ·3· ·record.· This is the videographer speaking, Shawn
·4· ·Boston, Massachusetts 02210                                                                              ·4· ·Budd, with U.S. Legal Support.
·5· ·BY:· ANANT K. SARASWAT, ESQ.                                                                             ·5· · · · · · ·Today's date is July 30, 2021, and the
·6· ·Anant.Saraswat@WolfGreenfield.com                                                                        ·6· ·time is 9:07 a.m.· We are here to take the
·7· ·- and -                                                                                                  ·7· ·remote -- the video deposition of Richard Goodin
·8· ·WOLF, GREENFIELD & SACKS P.C.                                                                            ·8· ·in the matter of Google versus Singular Computing
·9· ·Attorneys for Petitioner, GOOGLE                                                                         ·9· ·LLC.
10· ·605 Third Avenue                                                                                         10· · · · · · ·Will counsel please introduce
11· ·New York, New York 10158                                                                                 11· ·themselves for the record.
12· ·BY:· ELISABETH H. HUNT, PH.D., ESQ.                                                                      12· · · · · · ·MR. SARASWAT:· Anant Saraswat of Wolf,
13· ·Elisabeth.Hunt@WolfGreenfield.com                                                                        13· ·Greenfield for Petitioner Google.
14                                                                                                            14· · · · · · ·With me is Elisabeth Hunt, also of Wolf
15· ·FABRICANT LLP                                                                                            15· ·Greenfield for Petitioner.
16· ·Attorneys for Respondent SINGULAR                                                                        16· · · · · · ·MR. LAMBRIANAKOS:· Peter Lambrianakos
17· ·411 Theodore Fremd Road, Suite 206 South,                                                                17· ·and Richard Cowell of Fabricant, LLP on behalf of
18· ·Rye, New York· 10580                                                                                     18· ·the patent owner, Singular Computing LLC.
19· ·BY:· PETER LAMBRIANAKOS, ESQ.                                                                            19· · · · · · ·THE VIDEOGRAPHER:· And the court
20· ·plambrianakos@fabricantllp.com                                                                           20· ·reporter is Janet McHugh.
21· ·BY:· RICHARD COWELL, ESQ.                                                                                21· · · · · · ·Would you please swear in the witness.
22· ·rcowell@fabricantllp.com                                                                                 22· · · · · · · · ·RICHARD M. GOODIN,
23· ·ALSO PRESENT:                                                                                            23· ·having been duly sworn, deposes and says as
24· ·Shawn Budd, Videographer                                                                                 24· ·follows:
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·1· · · · · · · · · · · I N D E X                                                                             ·1· · · · · · · · · DIRECT EXAMINATION
·2· ·WITNESS· · · · · · DIRECT· · CROSS· · REDIRECT                                                           ·2· ·BY MR. LAMBRIANAKOS:
·3· ·Richard M. Goodin                                                                                        ·3· · · · Q.· ·Please state your full name.
·4· ·By Mr. Lambrianakos· ·4                                                                                  ·4· · · · A.· ·Richard Mark Goodin.
·5                                                                                                            ·5· · · · Q.· ·Have you ever given a deposition as an
·6                                                                                                            ·6· ·expert?
·7                                                                                                            ·7· · · · A.· ·Yes.
·8                                                                                                            ·8· · · · Q.· ·How many times?
·9· · · · · · (No new exhibits were marked.)                                                                  ·9· · · · A.· ·Approximately 25.
10                                                                                                            10· · · · Q.· ·So you're familiar with the deposition
11                                                                                                            11· ·process?
12                                                                                                            12· · · · A.· ·Yes, I am.
13                                                                                                            13· · · · Q.· ·Any reason you can't give truthful and
14                                                                                                            14· ·accurate testimony here today?
15                                                                                                            15· · · · A.· ·No reason.
16                                                                                                            16· · · · Q.· ·Are you under any medication that would
17                                                                                                            17· ·prevent you from giving truthful and accurate
18                                                                                                            18· ·testimony?
19                                                                                                            19· · · · A.· ·No, I'm not.
20                                                                                                            20· · · · Q.· ·Now, you understand we're here in a
21                                                                                                            21· ·deposition for three IPR proceedings:· IPR
22                                                                                                            22· ·2021-155, -165 and -179.· Is that your
23                                                                                                            23· ·understanding?
24                                                                                                            24· · · · A.· ·Yes, that's my understanding.
                                       Singular's Exhibit No. 2043, IPR2021-00155
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·1· ·binary floating-point number in an IEEE-754      ·1· ·32-bit binary floating-point numbers?
·2· ·32-bit single format."                                                                                ·2· · · · · · ·MR. SARASWAT:· Objection.· Form.
·3· · · · Do you see that?                                                                                 ·3· · · · A.· ·Yes, I believe one of ordinary skill in
·4· · · · A.· ·Yes, I do.                                                                                  ·4· ·the art would believe that reading this section
·5· · · · Q.· ·Have you ever seen that sentence                                                            ·5· ·from Dockser.
·6· ·before?                                                                                               ·6· · · · Q.· ·Dockser says that in general purpose
·7· · · · A.· ·Yes, I have.                                                                                ·7· ·processors, you may have some applications that
·8· · · · Q.· ·And you reviewed that before you wrote                                                      ·8· ·require high precision and others that require a
·9· ·your declaration?                                                                                     ·9· ·lower precision; isn't that right?
10· · · · A.· ·That's correct.                                                                             10· · · · · · ·MR. SARASWAT:· Objection.· Form.
11· · · · Q.· ·And you know -- and you know this                                                           11· · · · A.· ·Could I have you repeat your question?
12· ·reference very well; right?                                                                           12· · · · Q.· ·Dockser says that in general purpose
13· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            13· ·processors, you may have some applications that
14· · · · A.· ·As I said earlier, I'm familiar with                                                        14· ·require high precision and others that require a
15· ·the reference.                                                                                        15· ·lower precision; isn't that right?
16· · · · Q.· ·So you knew that the register locations 16· · · · · · ·MR. SARASWAT:· Objection.· Form.
17· ·in the register store 32-bit binary                                                                   17· · · · A.· ·So Dockser says, in Paragraph 3, "The
18· ·floating-point number without having to read from 18· ·performance of floating-point arithmetic
19· ·your declaration; isn't that right?                                                                   19· ·operations can entail computational inefficiency
20· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            20· ·because floating-point processors are commonly
21· · · · A.· ·Yes, that's correct.· But as I say, I                                                       21· ·limited to the precision provided by either the
22· ·wanted to give you the most complete answer, and                                                      22· ·single format or both the single and double
23· ·that was from my declaration.                                                                         23· ·format.· While some applications may require
24· · · · Q.· ·So if I ask you -- when I asked you     Richard Goodin· REVISED AS TO DATE
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                                                                                                           24· ·these types of precisions, other applications may

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·1· ·whether or not the registers stored 32-bit binary ·1· ·not."
·2· ·floating-point numbers, you couldn't answer "yes" ·2· · · · Q.· ·Does Dockser teach that if a processor
·3· ·based on what you see in Paragraph 17, which                                                          ·3· ·is always using high precision, even if only a
·4· ·you've read 20 times?                                                                                 ·4· ·lower precision is required for an application,
·5· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·5· ·that this causes power to be wasted?
·6· ·Argumentative.                                                                                        ·6· · · · · · ·MR. SARASWAT:· Objection.· Form.
·7· · · · A.· ·I prefer the answer that I gave.                                                            ·7· · · · A.· ·So the statement that I just read you
·8· · · · Q.· ·So you'd agree, based on the sentence                                                       ·8· ·talks about computational inefficiency, which
·9· ·that I just read in the record, that the answer                                                       ·9· ·could also mean power.· But I don't remember any
10· ·to my question was "yes"?                                                                             10· ·explicit disclosure in Dockser about power
11· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            11· ·savings.
12· ·Argumentative.                                                                                        12· · · · Q.· ·So you've read Dockser 20 times, and
13· · · · A.· ·I would agree that Dockser here                                                             13· ·you cannot, sitting here today, recall Dockser
14· ·discloses the statement each register identify -- 14· ·ever talking about power savings?· Is that your
15· ·or identify 200 is configured to store a 32-bit                                                       15· ·testimony, sir?
16· ·binary floating-point number in an IEEE-754                                                           16· · · · · · ·MR. SARASWAT:· Objection.· Form.
17· ·32-bit single format.                                                                                 17· · · · Q.· ·Just sitting here today right now, is
18· · · · Q.· ·So you agree that you read that                                                             18· ·that your testimony?
19· ·sentence into the record?· That's it?                                                                 19· · · · · · ·MR. SARASWAT:· Objection.· Form.
20· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            20· · · · A.· ·Just sitting here right now, without
21· · · · A.· ·I think I was answering your question.                                                      21· ·rereading the entire section, I don't remember
22· · · · Q.· ·Would a person of ordinary skill in the 22· ·Dockser talking about power savings.
23· ·art understand from reading that sentence that                                                        23· · · · Q.· ·What is your understanding of what
24· ·Dockser discloses that its registers stored                                                           24· ·Dockser believes were the advantages of the
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·1· ·processor he discloses in this application --    ·1· ·anything but the power reduction benefits.
·2· ·publication?                                                                                          ·2· · · · Q.· ·Is it your understanding that the
·3· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·3· ·Dockser processor would use less area than a
·4· · · · A.· ·I'm sorry, I believe my previous answer ·4· ·traditional 32-bit floating-point processor?
·5· ·was incorrect.                                                                                        ·5· · · · · · ·MR. SARASWAT:· Objection.· Form.
·6· · · · If you look at Section 251 of my                                                                 ·6· ·Scope.
·7· ·declaration, I talk about removing power from one ·7· · · · A.· ·I don't believe that the Dockser
·8· ·or more components in the floating-point                                                              ·8· ·processor would use less area than -- in other
·9· ·processor that would otherwise be used to store                                                       ·9· ·words, Dockser -- there is really no area
10· ·or process one or more excess bits and performing 10· ·advantage in using Dockser's method to create the
11· ·the floating-point operation with power removed                                                       11· ·processor.
12· ·from the one or more components.                                                                      12· · · · Q.· ·Looking at Paragraph 3 of Dockser, do
13· · · · So I was incorrect when I answered earlier                                                       13· ·you recall reading the first sentence of Dockser
14· ·that Dockser did not consider power.                                                                  14· ·into the record a few minutes ago?
15· · · · Q.· ·Does Dockser disclose that using more                                                       15· · · · A.· ·Yes --
16· ·than a certain amount of precision that is                                                            16· · · · · · ·MR. SARASWAT:· Objection.· Form.
17· ·required by an application results in unnecessary 17· · · · A.· ·-- I recall that.
18· ·power consumption?                                                                                    18· · · · Q.· ·Had you ever read Paragraph 3 before
19· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            19· ·you just read it into the record?
20· · · · A.· ·I'm sorry, could you repeat your                                                            20· · · · A.· ·Yes, I have.
21· ·question?                                                                                             21· · · · Q.· ·How do you know that?
22· · · · Q.· ·Does Dockser disclose that using a                                                          22· · · · · · ·MR. SARASWAT:· Objection.· Form.
23· ·higher level of precision than is necessarily                                                         23· · · · A.· ·Because, as I testified previously, I
24· ·required by an application results in unnecessary 24· ·read Dockser in its entirety about 20 times.
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·1· ·power consumption?                                                                                    ·1· · · · Q.· ·And when is the last time you read
·2· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·2· ·Dockser?
·3· · · · A.· ·So Dockser in Paragraph 14 says, "By                                                        ·3· · · · · · ·MR. SARASWAT:· Objection.· Scope.
·4· ·selecting the subprecision of the floating-point                                                      ·4· · · · A.· ·Probably a week and a half ago.
·5· ·format to that needed for a particular operation, ·5· · · · Q.· ·What did you do to prepare for today's
·6· ·thereby reducing the power consumption of the                                                         ·6· ·deposition?
·7· ·floating-point processor to support the selected                                                      ·7· · · · A.· ·I --
·8· ·subprecision, greater efficiency, as well as a                                                        ·8· · · · · · ·MR. SARASWAT:· And actually, I'm going
·9· ·significant power savings, can be achieved."                                                          ·9· ·to caution the witness not to reveal anything
10· · · · Q.· ·Does Dockser recite any advantages to                                                       10· ·that might implicate attorney-client privilege.
11· ·his processor other than power savings?                                                               11· · · · A.· ·I read my declarations and some of the
12· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            12· ·references.· I met with Mr. Saraswat and Ms. Hunt
13· · · · A.· ·I believe Dockser discloses that                                                            13· ·and basically did deposition prep with them.
14· ·principally power savings is a benefit, but one                                                       14· · · · Q.· ·Did you read the Dockser reference in
15· ·of ordinary skill in the art would also                                                               15· ·connection with your preparation for today?
16· ·appreciate that area savings would be an                                                              16· · · · A.· ·That was when I read it, about a week
17· ·additional benefit.                                                                                   17· ·and a half ago, yes.
18· · · · · · ·MR. LAMBRIANAKOS:· Object to that                                                           18· · · · Q.· ·You haven't read it in the last week
19· ·answer as not responsive.                                                                             19· ·and a half?
20· · · · Q.· ·Does Dockser recite any advantages to                                                       20· · · · A.· ·That's correct.
21· ·its processor other than power savings?                                                               21· · · · Q.· ·Do you see about six lines down in
22· · · · · · ·MR. SARASWAT:· Objection.· Form.· Asked 22· ·Paragraph 3, it says, "For example, some graphics
23· ·and answered.                                                                                         23· ·applications may require -- may only require a
24· · · · A.· ·I do not believe that Dockser recites                                                       24· ·16-bit mantissa.· For these graphics
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·1· ·applications, any accuracy beyond 16 bits of     ·1· · · · Q.· ·So you agree that the 23 bits provides
·2· ·precision tends to result in unnecessary power                                                        ·2· ·the full level of precision for a standard 32-bit
·3· ·consumption"?                                                                                         ·3· ·operation?
·4· · · · Do you see that?                                                                                 ·4· · · · · · ·MR. SARASWAT:· Objection.· Form.
·5· · · · A.· ·Yes, I see that.                                                                            ·5· · · · A.· ·I'm not sure what you mean in that by
·6· · · · Q.· ·And he says, "This is of particular                                                         ·6· ·the "full level of precision."
·7· ·concern in battery-operated devices where power                                                       ·7· · · · Q.· ·Does 23 bits of mantissa in a standard
·8· ·comes at a premium, such as wireless telephones,                                                      ·8· ·32-bit floating-point number provide the maximum
·9· ·personal digital assistants, PDA, laptops, game                                                       ·9· ·precision that can be obtained in an operation?
10· ·consoles, pagers, and cameras, just to name a                                                         10· · · · · · ·MR. SARASWAT:· Objection.· Form.
11· ·few"?                                                                                                 11· · · · A.· ·No, I think I disagree with that.
12· · · · Do you see that, sir?                                                                            12· · · · There are numerous operations, particularly
13· · · · A.· ·Yes, I see that.                                                                            13· ·in graphics, where an input may be a single
14· · · · Q.· ·And then further down in that                                                               14· ·precision floating-point number, but the
15· ·paragraph, he says, "Accordingly, there is a need 15· ·operation itself may have much higher precision.
16· ·in the art for a floating-point processor in                                                          16· · · · Q.· ·Does Dockser include a full precision
17· ·which the reduced precision or subprecision of                                                        17· ·mode that uses all 23 bits of mantissa?
18· ·the floating-point format is selectable."                                                             18· · · · · · ·MR. SARASWAT:· Objection.· Form.
19· · · · Do you see that?                                                                                 19· · · · A.· ·I believe that Dockser does disclose an
20· · · · A.· ·Yes, I see that.                                                                            20· ·embodiment that uses all 23 bits of mantissa in
21· · · · Q.· ·So you'd agree that the purpose                                                             21· ·IEEE-754 unit.
22· ·disclosed here in Dockser for using reduced                                                           22· · · · Q.· ·And you agree that in that embodiment,
23· ·precision would be to obtain power savings;                                                           23· ·Dockser discloses that the processor can use 23
24· ·right?                                            Richard Goodin· REVISED AS TO DATE
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                                                                                                           24· ·bits of mantissa or it can operate at a lower

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·1· · · · · · ·MR. SARASWAT:· Objection.· Form.       ·1· ·selected precision?
·2· · · · A.· ·Yes, in those sections that you just                                                        ·2· · · · · · ·MR. SARASWAT:· Objection.· Form.
·3· ·quoted, Dockser is describing power savings for                                                       ·3· · · · A.· ·So in Paragraph 13, it says, "In at
·4· ·using its method.                                                                                     ·4· ·least one embodiment of the floating-point
·5· · · · Q.· ·Do you see in the middle of that                                                            ·5· ·processor, the precision for one or more
·6· ·paragraph, it says, "If it is known that an                                                           ·6· ·floating-point operations may be reduced from
·7· ·application always requires a certain reduced                                                         ·7· ·that of the specified format precision."
·8· ·precision, the floating-point processor can be                                                        ·8· · · · Q.· ·So is the answer to my question "yes"?
·9· ·designed and built to that reduced precision"?                                                        ·9· · · · A.· ·Could you repeat your question?
10· · · · A.· ·Yes, I see that line.                                                                       10· · · · Q.· ·And you agree that in that embodiment,
11· · · · Q.· ·So Dockser is teaching that a                                                               11· ·Dockser discloses that the processor can use 23
12· ·floating-point processor with selectable                                                              12· ·bits of mantissa or it can operate at a lower
13· ·precision would be unnecessary if it's known that 13· ·selected precision?
14· ·an application always requires a certain reduced                                                      14· · · · · · ·MR. SARASWAT:· Objection.· Form.
15· ·precision; isn't that right?                                                                          15· · · · A.· ·I believe in at least one embodiment of
16· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            16· ·Dockser it can operate on a selectable precision,
17· · · · A.· ·I don't know I would agree that Dockser 17· ·including the full 23 bits.
18· ·is teaching this.· This was well known in the art 18· · · · Q.· ·And in Dockser, one can select fewer
19· ·at the time of Dockser.                                                                               19· ·than 23 bits to perform operations; is that
20· · · · Q.· ·Do you agree that the number of                                                             20· ·right?
21· ·mantissa bits in a standard 32-bit floating-point 21· · · · · · ·MR. SARASWAT:· Objection.· Form.
22· ·number is 23?                                                                                         22· · · · A.· ·So as I just quoted at the time, in at
23· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            23· ·least one embodiment of the floating-point
24· · · · A.· ·Yes, I agree with that.                                                                     24· ·processor, the precision for one or more
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·1· ·floating-point operations may be reduced from    ·1· · · · Q.· ·Would you please review Paragraph 20
·2· ·that of the specified format.                                                                         ·2· ·and let me know whether Dockser discloses that it
·3· · · · Q.· ·Does Dockser disclose any embodiments                                                       ·3· ·uses conventional operators?
·4· ·without selectable precision?                                                                         ·4· · · · · · ·MR. SARASWAT:· Objection.· Form.
·5· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·5· · · · A.· ·So in Paragraph 20, it says that it
·6· · · · A.· ·I don't believe Dockser discloses any                                                       ·6· ·uses standard arithmetic operations.
·7· ·embodiments without floating-point -- without                                                         ·7· · · · Q.· ·Is that your characterization of what
·8· ·selectable precision.                                                                                 ·8· ·it says?
·9· · · · Q.· ·Does Dockser disclose any differences                                                       ·9· · · · A.· ·So the exact quote from Paragraph 20
10· ·between the way it performs full precision                                                            10· ·is:· "The adder 142 may be a conventional
11· ·operations and the way that a standard 32-bit                                                         11· ·floating-point adder configured to perform
12· ·floating-point processor performs those same                                                          12· ·standard arithmetic operations in a
13· ·operations?                                                                                           13· ·floating-point format."
14· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            14· · · · Q.· ·And it goes on to say, "The multiplier
15· · · · A.· ·The whole purpose of Dockser is its                                                         15· ·144 may be a conventional floating-point
16· ·description of bit propping in both registers                                                         16· ·multiplier"; right?
17· ·and/or the logic of the multiplier.                                                                   17· · · · · · ·MR. SARASWAT:· Objection.· Form.
18· · · · Q.· ·Would the result of a full precision                                                        18· ·Mischaracterizes.
19· ·multiplication operation in Dockser be different                                                      19· · · · A.· ·So the next sentence is:· "The
20· ·than the result in a standard 32-bit                                                                  20· ·multiplier 144 may be a conventional
21· ·floating-point processor?                                                                             21· ·floating-point multiplier configured to perform
22· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            22· ·floating-point multiplication."
23· · · · A.· ·By "full precision," do you meaning                                                         23· · · · Q.· ·So you agree, then, that Dockser
24· ·full precision input or full precision functional 24· ·discloses that it uses a conventional multiplier?
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·1· ·operation?                                                                                            ·1· · · · · · ·MR. SARASWAT:· Objection.· Form.· Asked
·2· · · · Q.· ·Both.                                                                                       ·2· ·and answered.
·3· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·3· · · · A.· ·So as it says here in Dockser, it's a
·4· · · · A.· ·So using a full precision input and a                                                       ·4· ·conventional floating-point multiplier configured
·5· ·full precision functional operation, it will                                                          ·5· ·to perform floating-point multiplication.
·6· ·produce a full precision IEEE-754 output.                                                             ·6· · · · Q.· ·So you agree, then, that Dockser
·7· · · · Q.· ·And that output would be the same that                                                      ·7· ·discloses a conventional multiplier?
·8· ·you would expect in a non-selectable --                                                               ·8· · · · · · ·MR. SARASWAT:· Objection.· Form.· Asked
·9· ·non-subprecision selectable 32-bit floating-point ·9· ·and answered.
10· ·processor?                                                                                            10· · · · A.· ·Once again, it talks about a
11· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            11· ·conventional floating-point multiplier configured
12· · · · A.· ·Yes.· If you compared the outputs                                                           12· ·to perform floating-point multiplication.
13· ·between a normal IEEE-754 multiplier and Dockser                                                      13· · · · Q.· ·So you, as a person of ordinary skill
14· ·configured as a -- with a 23-bit mantissa, it                                                         14· ·in the art, would conclude that Dockser discloses
15· ·would produce the same numerical output.                                                              15· ·using a conventional multiplier?
16· · · · Q.· ·Dockser discloses that it uses                                                              16· · · · · · ·MR. SARASWAT:· Objection.· Form.· Asked
17· ·conventional operators; right?                                                                        17· ·and answered.
18· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            18· · · · A.· ·I can only go with what Dockser says,
19· · · · A.· ·I don't remember that exactly from                                                          19· ·and that is a floating-point multiplier
20· ·Dockser.                                                                                              20· ·configured to perform floating-point
21· · · · Can you point me to where Dockser says that? 21· ·multiplication.
22· · · · Q.· ·Looking at Paragraph 20 of Dockser,                                                         22· · · · Q.· ·So you can't provide conclusions about
23· ·have you read Paragraph 20 before?                                                                    23· ·what a person of ordinary skill in the art would
24· · · · A.· ·Yes, I have.                                                                                24· ·understand by reading Dockser; correct?
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·1· · · · · · ·MR. SARASWAT:· Objection.· Form.       ·1· · · · · · ·MR. SARASWAT:· Objection.· Form.
·2· · · · A.· ·No, that's not correct.                                                                     ·2· ·Scope.
·3· · · · Q.· ·But you said that you could only go                                                         ·3· · · · A.· ·Well, certainly, there would be
·4· ·with what Dockser says, and you can't provide an                                                      ·4· ·circuitry that would cause power to be removed
·5· ·opinion of what a person of ordinary skill in the ·5· ·from a floating-point register elements for the
·6· ·art would understand.· Isn't that what you just                                                       ·6· ·excess bits of the fraction.
·7· ·testified?                                                                                            ·7· · · · Q.· ·Does Dockser disclose any other methods
·8· · · · · · ·MR. SARASWAT:· Objection.                                                                   ·8· ·for saving power by permitting a user or an
·9· ·Mischaracterizes testimony.                                                                           ·9· ·application to select subprecision?
10· · · · A.· ·No, that isn't what I just testified                                                        10· · · · · · ·MR. SARASWAT:· Objection.· Form.
11· ·to.                                                                                                   11· · · · A.· ·So in Paragraph 7 of Dockser, it talks
12· · · · Q.· ·Would a person of ordinary skill in the 12· ·about a different embodiment.· "The
13· ·art conclude that Dockser discloses using a                                                           13· ·floating-point controller is further configured
14· ·conventional multiplier?                                                                              14· ·to remove power, a portion of the lodge that
15· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            15· ·would otherwise be used to process one or more
16· · · · A.· ·No.· I believe one of ordinary skill in 16· ·excess bits."
17· ·the art would conclude that Dockser uses a                                                            17· · · · And I refer to that as "the logic
18· ·conventional floating-point multiplier configured 18· ·bit-dropping" embodiment.
19· ·to perform floating-point multiplication.                                                             19· · · · · · ·MR. SARASWAT:· Counsel, just real
20· · · · Q.· ·So a person of ordinary skill in the                                                        20· ·quickly, we've been going for about an hour.· Can
21· ·art would only conclude the words on the page in                                                      21· ·we take a break soon?
22· ·Dockser.· Is that what you're saying?                                                                 22· · · · · · ·MR. LAMBRIANAKOS:· Sure.
23· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            23· ·BY MR. LAMBRIANAKOS:
24· ·Mischaracterizes.                                 Richard Goodin· REVISED AS TO DATE
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                                                                                                           24· · · · Q.· ·Does Dockser disclose that circuitry is

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·1· · · · A.· ·You asked me what a person of ordinary ·1· ·required to remove power to the logic in the
·2· ·skill would conclude, and, as I said, I believe a ·2· ·floating-point operator that remains unused as a
·3· ·person of ordinary skill would conclude that it                                                       ·3· ·result of the subprecision selected?
·4· ·is a conventional floating-point multiplier                                                           ·4· · · · · · ·MR. SARASWAT:· Objection.· Form.
·5· ·configured to perform floating-point                                                                  ·5· ·Scope.
·6· ·multiplication.                                                                                       ·6· · · · A.· ·I believe that Dockser does disclose
·7· · · · Q.· ·How does Dockser save power by                                                              ·7· ·circuitry that would remove power from the logic
·8· ·permitting a user or an application to select a                                                       ·8· ·in the floating-point operation in the logic
·9· ·subprecision?                                                                                         ·9· ·bit-dropping case.
10· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            10· · · · · · ·MR. LAMBRIANAKOS:· We can take that
11· · · · A.· ·So Dockser, in Paragraph 26, says, "The 11· ·break.
12· ·precision select bits may be used to reduce the                                                       12· · · · · · ·MR. SARASWAT:· Thanks.
13· ·precision of a floating-point operation.· This                                                        13· · · · · · ·THE VIDEOGRAPHER:· The time is 10:04.
14· ·may be achieved in a variety of ways.· In one                                                         14· ·We're off the record.
15· ·embodiment, the floating-point controller 130 may 15· · · · · · · · (A recess was taken.)
16· ·cause power to be removed from the floating-point 16· · · · · · ·THE VIDEOGRAPHER:· We are back on the
17· ·register elements for the excess bits of the                                                          17· ·record.· The time is 10:21.
18· ·fraction that are not required to meet the                                                            18· ·BY MR. LAMBRIANAKOS:
19· ·precision specified by the subprecision select                                                        19· · · · Q.· ·Mr. Goodin, the Bates patents do not
20· ·bits."                                                                                                20· ·disclose a selectable precision processor, do
21· · · · Q.· ·Does the processor of Dockser require                                                       21· ·they?
22· ·circuitry to power off the bits representing the                                                      22· · · · · · ·MR. SARASWAT:· Objection.· Form.
23· ·portions of the mantissa that aren't going to be                                                      23· ·Scope.
24· ·used in the operation?                                                                                24· · · · A.· ·So in the abstract of the Bates patent,
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·1· · · · A.· ·At least, yes.                                                                              ·1· · · · · · ·MR. SARASWAT:· Objection.· Form.
·2· · · · Q.· ·Good.· So would you read this patent                                                        ·2· · · · A.· ·It's my opinion that Dockser meets the
·3· ·claim and let me know whether a person of                                                             ·3· ·claim elements of the Bates patent and that
·4· ·ordinary skill in the art would conclude that it                                                      ·4· ·Dockser requires selectable precision.
·5· ·requires a processor to have selectable                                                               ·5· · · · Q.· ·Have you given an opinion in your
·6· ·precision?                                                                                            ·6· ·declaration regarding whether the Bates patent
·7· · · · · · ·MR. SARASWAT:· Objection.· Scope.                                                           ·7· ·claims require a selectable precision processor?
·8· ·Asked and answered.                                                                                   ·8· · · · · · ·MR. SARASWAT:· Objection.· Asked and
·9· · · · A.· ·The issue isn't reading just the patent ·9· ·answered.
10· ·claim.· The issue is there's more information.                                                        10· · · · A.· ·My opinion is that Dockser meets the
11· ·You have to read the patent claim in view of the                                                      11· ·Bates claims and that Dockser requires selectable
12· ·specification.· You have to take into account the 12· ·precision.· That's my opinion.
13· ·file history.                                                                                         13· · · · Q.· ·Didn't you refuse to tell me whether or
14· · · · And I'm not going to do that sort of                                                             14· ·not Claim 1 requires that the processor have
15· ·analysis here on the fly in a deposition.                                                             15· ·selectable precision because you haven't done
16· · · · Q.· ·You know you're here to answer my                                                           16· ·that analysis?
17· ·questions; right?                                                                                     17· · · · · · ·MR. SARASWAT:· Objection.
18· · · · A.· ·That's correct.                                                                             18· · · · Q.· ·Didn't you just do that, sir?
19· · · · · · ·MR. SARASWAT:· Objection.· Scope.                                                           19· · · · · · ·MR. SARASWAT:· Objection.
20· ·Argumentative.                                                                                        20· ·Mischaracterizes testimony.
21· · · · Q.· ·Does Claim 1 include within its scope                                                       21· · · · A.· ·No.· I told you that determining the
22· ·the requirement that the processor have                                                               22· ·requirement that anything with selectable
23· ·selectable precision?                                                                                 23· ·precision or not would meet the claim elements,
24· · · · · · ·MR. SARASWAT:· Objection.· Asked and    Richard Goodin· REVISED AS TO DATE
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                                                                                                           24· ·that I was not prepared to undertake that

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·1· ·answered.                                                                                             ·1· ·analysis here in the deposition.
·2· · · · A.· ·As I've said, I'm not going to undergo                                                      ·2· · · · Q.· ·Well, perhaps you misunderstood my
·3· ·that sort of an analysis.· I spent hundreds of                                                        ·3· ·question.
·4· ·hours doing that analysis for Dockser and the                                                         ·4· · · · My question is:· Do the claims of the Bates
·5· ·other grounds.· I'm not going to off the cuff                                                         ·5· ·patents require selectable precision?
·6· ·perform that analysis here in my deposition.                                                          ·6· · · · · · ·MR. SARASWAT:· Objection.· Asked and
·7· · · · Q.· ·You spent hundreds of hours analyzing                                                       ·7· ·answered.
·8· ·Dockser?                                                                                              ·8· · · · A.· ·And perhaps I don't understand your
·9· · · · · · ·MR. SARASWAT:· Objection.                                                                   ·9· ·question because my answer is the same as before,
10· ·Mischaracterizes testimony.                                                                           10· ·which is, you know, my opinion is the claimed --
11· · · · A.· ·I spent hundreds of hours producing my                                                      11· ·is the patent claims read on Dockser and that
12· ·declarations.                                                                                         12· ·Dockser requires selectable precision.
13· · · · Q.· ·Despite those hundreds of hours, you                                                        13· · · · Q.· ·Do the patent claims require selectable
14· ·couldn't answer a question about Dockser without                                                      14· ·precision?
15· ·reading from Dockser; isn't that right?                                                               15· · · · · · ·MR. SARASWAT:· Objection.· Asked and
16· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            16· ·answered.
17· ·Mischaracterizes testimony.                                                                           17· · · · A.· ·As I've said before, that's an analysis
18· · · · A.· ·No, that's not correct.· I said I                                                           18· ·I'm not willing to undertake here sitting in a
19· ·preferred reading from Dockser because that was                                                       19· ·deposition.
20· ·the best answer I could give you at the time.                                                         20· · · · Q.· ·And you haven't done that analysis up
21· · · · Q.· ·So it's your position that you have not 21· ·to this time; correct?
22· ·given an opinion in your declaration regarding                                                        22· · · · A.· ·I have not done the analysis whether
23· ·whether the claims of the Bates patent require                                                        23· ·any or all elements falling within the Bates
24· ·selectable precision processors?                                                                      24· ·patent claims have selectable precision.
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·1· · · · I came to an understanding of the scope of  ·1· ·have an understanding of the full scope of the
·2· ·the Bates claims as part of my analysis of                                                            ·2· ·Bates patent claims?
·3· ·Dockser.· But I don't think my understanding of                                                       ·3· · · · · · ·MR. SARASWAT:· Objection.· Asked and
·4· ·those claims is limited by Dockser.                                                                   ·4· ·answered.
·5· · · · Q.· ·So in the process of conducting your                                                        ·5· · · · A.· ·As I said before, I don't believe I had
·6· ·analysis for these proceedings, did you come to                                                       ·6· ·an understanding of the theoretical full scope of
·7· ·an understanding of what the scope of the claims                                                      ·7· ·the Bates patent claims.
·8· ·in the Bates patents are in the view of a person                                                      ·8· · · · Q.· ·In doing your analysis, did you come to
·9· ·of ordinary skill in the art?                                                                         ·9· ·a conclusion regarding whether or not the Bates
10· · · · A.· ·I did come to a partial understanding                                                       10· ·patent claims required that an LPHDR execution
11· ·of the scope of the claims in the Bates patent.                                                       11· ·unit have selectable precision?
12· · · · Q.· ·But you didn't come to a full                                                               12· · · · · · ·MR. SARASWAT:· Objection.· Asked and
13· ·understanding of what the patent scope was; is                                                        13· ·answered.
14· ·that right?                                                                                           14· · · · A.· ·So in doing my analysis of the Bates
15· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            15· ·patent -- or -- sorry -- of Dockser and MacMillan
16· · · · A.· ·I didn't perform an analysis beyond my                                                      16· ·and Tong, I came to an understanding of the scope
17· ·analysis of Dockser in my declaration.                                                                17· ·of the Bates patent as it relates to those
18· · · · Q.· ·What do you mean that you didn't                                                            18· ·references, but I didn't undertake to have an
19· ·perform an analysis beyond your analysis of                                                           19· ·understanding of other hypothetical solutions
20· ·Dockser?· What does that mean?                                                                        20· ·that would -- might possibly fall beneath those
21· · · · A.· ·In other words, when I did my analysis                                                      21· ·claims.
22· ·of Dockser, I needed to come to a conclusion                                                          22· · · · Q.· ·So if Dockser only operated at a single
23· ·about the scope of the claims.                                                                        23· ·subprecision, below 23 mantissa bits, would it
24· · · · And I did come to a conclusion that the      Richard Goodin· REVISED AS TO DATE
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                                                                                                           24· ·change your analysis regarding whether Dockser

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·1· ·scope of the claims included at least Dockser.   ·1· ·and Dockser in combination with the other
·2· ·But I didn't come to a complete understanding of                                                      ·2· ·references renders the Bates patents obvious?
·3· ·all possible hardware that could fall within the                                                      ·3· · · · · · ·MR. SARASWAT:· Objection.· Form and
·4· ·scope of the claims.                                                                                  ·4· ·scope.
·5· · · · Q.· ·So your understanding of the scope of                                                       ·5· · · · A.· ·I didn't undertake that analysis.
·6· ·the claims was done in the context of                                                                 ·6· · · · Q.· ·Sitting here today, would it change
·7· ·understanding whether or not Dockser renders                                                          ·7· ·your analysis if Dockser only operated at a
·8· ·those claims obvious; is that right?                                                                  ·8· ·single subprecision below 23 mantissa bits?
·9· · · · A.· ·I believe that's partially true.· My                                                        ·9· · · · · · ·MR. SARASWAT:· Objection.· Scope.
10· ·understanding was beyond the scope of Dockser but 10· · · · A.· ·I believe I would have to perform an
11· ·did not extend to the point of all possible                                                           11· ·additional analysis for that embodiment.
12· ·hardware that might fall within the scope of the                                                      12· · · · Q.· ·So you can't answer that question?
13· ·claims.                                                                                               13· · · · · · ·MR. SARASWAT:· Objection.
14· · · · Q.· ·So when you say your analysis was                                                           14· ·Mischaracterizes.
15· ·beyond the scope of Dockser, did it include also                                                      15· · · · A.· ·As I said, I would have to perform an
16· ·your understanding of the scope of Tong and                                                           16· ·additional analysis for that embodiment.
17· ·MacMillan as well as Dockser when understanding                                                       17· · · · Q.· ·Are you incapable of performing an
18· ·the claims?                                                                                           18· ·analysis sitting here today regarding whether
19· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            19· ·Dockser, if it were limited only to a single
20· · · · A.· ·It's true that I did perform the                                                            20· ·subprecision, and whether that would change your
21· ·analysis in my declaration of how Tong and                                                            21· ·analysis of obviousness?
22· ·MacMillan in combination with Dockser would meet                                                      22· · · · · · ·MR. SARASWAT:· Objection.· Scope and
23· ·the claims of the Bates patent.                                                                       23· ·argumentative.
24· · · · Q.· ·And did you -- in so doing, did you                                                         24· · · · A.· ·That certainly isn't part of my
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·1· ·opinions in my declaration.                                                                           ·1· ·sir?
·2· · · · Q.· ·Are you capable of performing the                                                           ·2· · · · A.· ·Yes, I have.
·3· ·analysis now?                                                                                         ·3· · · · Q.· ·This reference was provided to you by
·4· · · · · · ·MR. SARASWAT:· Objection.· Scope.                                                           ·4· ·counsel originally?
·5· · · · A.· ·I believe I'm capable of performing the ·5· · · · · · ·MR. SARASWAT:· Objection.
·6· ·analysis.· I don't believe I'm capable of                                                             ·6· · · · · · ·I'm just going to caution the witness
·7· ·performing it now in this deposition.                                                                 ·7· ·not to reveal anything that would be
·8· · · · Q.· ·So let's say that Dockser were limited                                                      ·8· ·attorney-client privileged.
·9· ·to an embodiment where it considered operations                                                       ·9· · · · A.· ·As I said earlier, I don't remember
10· ·only with five mantissa bits.· Would it still be                                                      10· ·whether this was one I found or the attorneys
11· ·your opinion that Dockser and Dockser in                                                              11· ·found.
12· ·connection with the other references renders the                                                      12· · · · Q.· ·But you remember having read this
13· ·Bates patent claims obvious?                                                                          13· ·before.
14· · · · · · ·MR. SARASWAT:· Objection.· Form and                                                         14· · · · A.· ·Yes, that's correct.
15· ·scope.                                                                                                15· · · · Q.· ·And you are very familiar with the
16· · · · A.· ·I don't think I undertook an analysis                                                       16· ·content of the Tong reference?
17· ·of any version of Dockser that had a fixed number 17· · · · · · ·MR. SARASWAT:· Objection.· Form.
18· ·of calculation bits.                                                                                  18· · · · A.· ·Yes, I'm familiar with the content of
19· · · · Q.· ·Does Dockser teach selectable dynamic                                                       19· ·the Tong reference.
20· ·range?                                                                                                20· · · · Q.· ·You've read this reference dozens of
21· · · · A.· ·I don't believe Dockser has an                                                              21· ·times; is that right?
22· ·embodiment which features a reduced exponent or                                                       22· · · · A.· ·Probably more like a dozen times.
23· ·dynamic range.                                                                                        23· · · · Q.· ·And you're prepared today to testify
24· · · · Q.· ·Does Dockser state that the processor   Richard Goodin· REVISED AS TO DATE
                                                                 July 30, 2021
                                                                                                           24· ·regarding what Tong discloses?

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·1· ·disclosed in his patent publication is smaller   ·1· · · · A.· ·That's correct.
·2· ·than a standard 32-bit floating-point processor?                                                      ·2· · · · Q.· ·Does Tong teach that for certain types
·3· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            ·3· ·of applications, the processor can effectively
·4· · · · A.· ·What do you mean by "smaller"?                                                              ·4· ·use fewer mantissa bits and exponent bits than
·5· · · · Q.· ·Occupies less area.                                                                         ·5· ·required in a 32-bit IEEE standard floating
·6· · · · So I'll ask the question:· Does Dockser                                                          ·6· ·point?
·7· ·state that the processor disclosed in his patent                                                      ·7· · · · · · ·MR. SARASWAT:· Objection.· Form.
·8· ·publication occupies a smaller area than a                                                            ·8· · · · A.· ·So from Paragraph 273 of Tong, it says,
·9· ·standard 32-bit floating-point processor?                                                             ·9· ·"We study experimentally the relationship between
10· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            10· ·the accuracy of floating-point programs and the
11· · · · A.· ·I don't believe Dockser discloses an                                                        11· ·number of bits used in the representation of the
12· ·embodiment which reduces space for the FPP.                                                           12· ·data.· Our central results demonstrate that many
13· · · · Q.· ·Does Dockser teach that the processor                                                       13· ·programs which manipulate human sensory inputs,
14· ·that he discloses could be implemented in a                                                           14· ·e.g., speech and image recognition, suffer no
15· ·system where there are numerous such processors                                                       15· ·loss of accuracy with reduced bitwidth in the
16· ·in parallel?                                                                                          16· ·mantissa or the exponent."
17· · · · · · ·MR. SARASWAT:· Objection.· Form.                                                            17· · · · Q.· ·And what is the purpose of Tong's study
18· ·Scope.                                                                                                18· ·of using fewer mantissa and exponent bits?
19· · · · A.· ·I don't believe Dockser, by itself,                                                         19· · · · · · ·MR. SARASWAT:· Objection.· Form.
20· ·discloses implementations of multiple FPUs, but I 20· · · · A.· ·I'm not sure what you mean by what the
21· ·also don't think it precludes it.                                                                     21· ·purpose of this study was.
22· · · · Q.· ·Let's turn to the Tong reference.                                                           22· · · · Q.· ·Have you ever read Tong before, before
23· ·That's Exhibit 1008.                                                                                  23· ·you just read that paragraph right now?
24· · · · Have you ever seen this reference before,                                                        24· · · · A.· ·Yes, I have.
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                                          Tensor Processing Units for Financial Monte Carlo
                                                 Francois Belletti, Davis King, Kun Yang, Roland Nelet, Yusef Shafi, Yi-Fan Chen, John Anderson

                                                                                                Google Research
                                                                                               Mountain View CA
                                                                                                       USA
                                                                                              belletti@google.com


                                            Abstract—Monte Carlo methods are critical to many routines      filtration) supporting a q dimensional Brownian motion W and
                                         in quantitative finance such as derivatives pricing, hedging and   the Stochastic Differential Equation (SDE)
arXiv:1906.02818v5 [cs.DC] 27 Jan 2020




                                         risk metrics. Unfortunately, Monte Carlo methods are very
                                         computationally expensive when it comes to running simulations              dXt = µ(t, Xt )dt + σ(t, Xt )dWt , t ∈ [0, T ] .        (1)
                                         in high-dimensional state spaces where they are still a method
                                         of choice in the financial industry. Recently, Tensor Processing   The drift (µ) and volatility (σ) functions take values re-
                                         Units (TPUs) have provided considerable speedups and decreased
                                         the cost of running Stochastic Gradient Descent (SGD) in Deep
                                                                                                            spectively in Rp and Rp,q . By definition, a strong solution
                                                                                                                                                                   p
                                         Learning. After highlighting computational similarities between    (X)
                                                                                                            R T to Eq. (1) is a process taking     values in R such that
                                                                                                                                                2
                                         training neural networks with SGD and simulating stochastic         s=0
                                                                                                                  ||b(s, Xs )||2 + ||σ(s, Xs )||2 ds is almost surely finite
                                         processes, we ask in the present paper whether TPUs are            and
                                         accurate, fast and simple enough to use for financial Monte                      Z t                 Z t
                                         Carlo. Through a theoretical reminder of the key properties of
                                         such methods and thorough empirical experiments we examine          Xt = X0 +        b (s, Xs ) ds +      σ (s, Xs ) dWs , t ∈ [0, T ] .
                                                                                                                            0                   0
                                         the fitness of TPUs for option pricing, hedging and risk metrics
                                         computation. In particular we demonstrate that, in spite of the    Assuming that X0 is a random variable with finite variance
                                         use of mixed precision, TPUs still provide accurate estimators     independent of W , and that ||b(·, 0)||2 and ||σ(·, 0)||2 are
                                         which are fast to compute when compared to GPUs. We also show
                                                                                                            square integrable (as functions of t), the existence of a finite
                                         that the Tensorflow programming model for TPUs is elegant,
                                         expressive and simplifies automated differentiation.               Lipschitz constant K such that
                                            Index Terms—Financial Monte Carlo, Simulation, Tensor Pro-
                                         cessing Unit, Hardware Accelerators, TPU, GPU                        ||b(t, x) − b(t, y)||2 + ||σ(t, x) − σ(t, y)||2 ≤ K||x − y||2

                                                                                                            for all x, y ∈ Rp and t ∈ [0, T ] guarantees the existence of
                                                             I. INTRODUCTION                                such a strong solution on [0, T ]. More modern models typically
                                            The machine learning community has developed several            introduce jumps or stochastic volatility which adds realism to
                                         technologies to speed up Stochastic Gradient Descent algo-         the corresponding simulations but does not radically change
                                         rithms for Deep Learning [16], including new programming           the underlying computation patterns.
                                         paradigms, special-purpose hardware, and linear-algebra com-          2) Monte Carlo methods in finance and insurance: Monte-
                                         putation frameworks. This paper demonstrates that the same         Carlo methods rely on simulation and numerical integration
                                         techniques can accelerate Monte Carlo integration of stochastic    to estimate EP [f (XT )] or EQ [f (XT )] under the historical or
                                         processes for financial applications.                              risk-neutral probability (P and Q respectively) [15]. Some
                                                                                                            contracts defining financial derivatives may specify a path
                                         A. Monte Carlo estimation in finance and insurance                 dependent outcome—such as Barrier or Asian options—in
                                                                                                            which case the theory of Black, Scholes and Merton still
                                            A key problem when pricing a financial instrument — for         leads us to estimate EP [f (X0:T )] or EQ [f (X0:T )] where X0:T
                                         insurance or speculation — is to estimate an average outcome       denotes the observation of the process X on the interval [0, T ].
                                         defined by a probability space (Ω, F, P): EP [f (ω)], where E      In general, we thus seek an estimator for an expectation of the
                                         denotes the expectation. In the following we first provide a       type
                                         basic introduction to derivatives pricing. Namely, we focus
                                         on estimating expectations with the Monte Carlo method in                   E[f (X0:T )] where (Xt ) solves (1) on [0, T ].         (2)
                                         cases where random fluctuations are generated by stochastic
                                         processes. We describe how hardware accelerators compute           Monte-Carlo methods rely on numerical discretization and in-
                                         such estimators faster through parallelization.                    tegration to produce an estimator for (2) in
                                                                                                                                                      n the form of an em- o
                                                                                                            pirical mean over simulated trajectories X   e n |i = 1 . . . N :
                                            1) Stochastic processes in continuous time: Stochastic                                                        0,T
                                         processes remain the main abstraction employed to model                                            N
                                         financial asset prices. Consider a filtered probability space                                 1 X  en 
                                                                                                                                IbN = -     f X0,T .                         (3)
                                         (Ω, F, F, P) (where F = {Ft } is the corresponding canonical                                 N n=1




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                      APPX04949
      HAS BEEN OMITTED PURSUANT
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                                                        IPR2021-00155
                                                        PATENT NO. 10,416,961

        UNITED STATES PATENT AND TRADEMARK OFFICE
                     __________________

          BEFORE THE PATENT TRIAL AND APPEAL BOARD
__________________________________________________________________



                              GOOGLE LLC,
                                Petitioner,

                                     v.

                       SINGULAR COMPUTING LLC,
                             Patent Owner.


                            Patent No. 10,416,961
                        Filing Date: October 30, 2018
                       Issue Date: September 17, 2019

                         Inventor: Joseph Bates
          Title: PROCESSING WITH COMPACT ARITHMETIC
                       PROCESSING ELEMENT


__________________________________________________________________

            DECLARATION OF SUNIL P. KHATRI, Ph.D.

                       Case No. IPR2021-00155
__________________________________________________________________




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                                                        IPR2021-00155
                                                        PATENT NO. 10,416,961
       36.     I understand that I should perform my analysis from the viewpoint of

a person of ordinary skill in the art. I understand that this hypothetical person of

ordinary skill in the art is considered to have the normal skills of a person in a

certain technical field. I understand that factors that may be considered in

determining the level of ordinary skill in the art include, e.g., the types of problems

encountered in the art, prior art solutions to those problems, the sophistication of

the technology, and the education level of active workers in the field.

       37.     I agree with Petitioner’s proposed level of skill in the art, except that I

disagree that such a person would have more than two years of experience.

Therefore a POSA would be: a person with a Bachelor’s degree in Computer

Science, Electrical Engineering, or Applied Mathematics, with 2 years of academic

or industry experience in computer architecture. Pet. at 8-9.

       B.     The Claimed Invention Of The ’961 Patent

       38.     The ’961 Patent is entitled “Processing with Compact Arithmetic

Processing Element” and issued on September 17, 2019. The ’961 Patent claims

priority, through parent and grandparent applications, to U.S. Provisional Patent

Application No. 61/218,691, filed on Jun. 19, 2009. I have reviewed the ’961

Patent and its file history.

       39.     The inventor of the ’961 Patent, Dr. Bates, recognized that even

though then-modern conventional microprocessors contained about one billion



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                                                     IPR2021-00155
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transistors, they could perform only a handful of operations per clock cycle. ’961

Patent, 1:40-48. Dr. Bates explained that a large portion of this inefficiency comes

from using transistor-intensive full-precision arithmetic units:

      As described above, today's CPU chips make inefficient use of their
      transistors. …they deliver great precision, performing exact arithmetic
      … standardized arithmetic with 32 and 64 bit floating point numbers.
      Many applications need this kind of precision. As a result,
      conventional CPUs typically are designed to provide such precision,
      using on the order of a million transistors to implement the arithmetic
      operations.

’961 Patent, 2:62-3:10.

      40.    However, Dr. Bates realized that such full-precision, inefficient

components were not necessary for all applications, including many valuable ones:

      There are many economically important applications, however, which
      are not especially sensitive to precision and that would greatly benefit,
      in the form of application performance per transistor, from the ability
      to draw upon a far greater fraction of the computing power inherent in
      those million transistors. Current architectures for general purpose
      computing fail to deliver this power.

’961 Patent, 3:11-17.

      41.    The ’961 Patent is thus directed away from prior art computers based

on full-precision execution units that take up space and are wasteful of transistors.




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As Dr. Bates further explains in the specification, “[b]ecause LPHDR processing

elements are relatively small, a single processor or other device may include a very

large number of LPHDR processing elements, adapted to operate in parallel with

each other.” ’961 Patent, 6:47-52. As a result, “embodiments of the present

invention may be implemented as any kind of machine which uses LPHDR

arithmetic processing elements to provide computing using a small amount of

resources (e.g., transistors or volume) compared with traditional architectures.”

’961 Patent, 8:1-5.

      42.     By using a “very large number” of LPHDR execution units in parallel,

computer systems are able to achieve significantly better performance than prior

art systems. Because each LPHDR execution unit requires fewer resources (e.g.,

fewer transistors, less physical volume) than a full-precision execution unit, “there

is a large amount of arithmetic computational power per unit of resource. This

enables larger problems to be solved with a given amount of resource than does

traditional computer designs.” ’961 Patent, 23:57-64; see also id., 6:47-52. In

particular, the claimed systems “might perform tens of thousands of arithmetic

operations per cycle, as opposed to hundreds in a conventional GPU or a handful in

a conventional multicore CPU. ’961 Patent, 23:64-24:2.




                                         13
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      43.    In addition, the ’961 Patent also teaches computer systems in which

the number of LPHDR execution units exceeds the number of full precision

execution units:

      For certain devices … according to the present invention, the number
      of LPHDR arithmetic elements in the device (e.g., computer or
      processor or other device) exceeds the number, possibly zero, of
      arithmetic elements in the device which are designed to perform high
      dynamic range arithmetic of traditional precision (that is, floating
      point arithmetic with a word length of 32 or more bits).

’961 Patent, 28:9-16.

      44.    The increased level of compute parallelism and scale in such

computer systems is necessarily achieved at the cost of precision—the vast

majority of the high dynamic range floating-point operations performed by the

device must be performed at low precision. Dr. Bates was the first to understand

that sacrificing precision for increased parallelism/scale results in significant

performance gains per unit of resource over the prior art. In fact, Dr. Bates notes

that when certain applications are implemented using a device that uses LPHDR

execution units, the final application error is significantly lower than the error of

the LPHDR execution units themselves. ’961 Patent, 17:1-23:54.

V.    THE CITED REFERENCES

      A. Dockser



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      45.    I have reviewed U.S. Pat. Publ. 2007/0203967, titled “Floating-Point

Processor With Reduced Power Requirements For Selectable Subprecision”

(“Dockser”). Dockser discloses the use of a full-precision floating point processor

(FPP) that can selectably reduce precision in order to reduce its power draw. See,

e.g., Ex. 1007, Dockser ¶ [0026].

      46.    Dockser’s teaching of an execution unit that is always capable of

operating in both full-precision mode (its default) and reduced-precision modes is

motivated by the prevalent view in the prior art that while low-precision operation

might be acceptable for “certain applications,” for a general-purpose processor,

full-precision capability is “needed.” Dockser ¶¶ [0003, 0018], claims 1, 8, 15, 20.

As such, Dockser includes both full and reduced precision modes. See e.g.,

Dockser ¶¶ [0028], [0017], [0014], [0023], Fig. 2.

      47.    The components of Dockser’s FPP is shown in Figure 1, reproduced

below:




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                  FPR                                                                     v- 11 0

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                                                                                                             SCREEN/
                                                                                                            KEYBOARD/
                                                                                                              MOUSE



                                       Dockser, Fig. 1 (Annotated)
Dockser’s FPP has a register file (FPR 110, shaded in red) comprising registers

(red boxes) that hold IEEE 32-bit full-precision values. It also includes a controller

(CTL 130, shaded in green) with a control register (green box) that can store

“subprecision select bits” corresponding to the desired level of precision. Dockser,

Fig. 1; see also id., ¶¶ [0017-18]. The FPP performs arithmetic operations (e.g.,


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including addition and multiplication) at full-precision – or at the desired sub-

precision using values stored in the register file as operands. See id., ¶ [0019],

[0017], [0028].

      48.     If no sub-precision is selected, Dockser’s FPP performs arithmetic at

“maximum precision” (i.e., 32-bit IEEE full-precision). See Dockser, claims 1, 8,

15, 20; see also id., ¶ [0018] (“the floating-point controller 130 ---
                                                                   may be used to

select the sub-precision of the floating-point operations …”)). Otherwise, the

operation is performed at a reduced precision. In reduced-precision modes,

Dockser’s FPP reduces the mantissa size by powering-down some of the cells in

the register file that store the mantissa, and also powers down parts of the

arithmetic logic circuits (contained, e.g., within the multiplier, shaded in blue

above) that are not needed for the selected subprecision. Id., ¶¶ [0026-27].

      49.     Unlike the ’961 Patent, Dockser does not teach systems that include

multiple arithmetic units operating in parallel. Instead, Dockser discloses a single

floating-point execution unit in isolation. The absence of a parallel teaching is not

surprising, given that Dockser’s selectable low-precision unit is designed to

conserve power in “battery operated devices where power comes at a premium,

such as wireless telephones, personal digital assistants (PDA), laptops, game

consoles, pagers, and cameras.” Dockser, ¶ [0003]. A POSA would not understand

Dockser to disclose or suggest using its FPP units in parallel.


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      50.     Dockser discloses that it uses “conventional” arithmetic units to

perform operations, such as addition and multiplication. Dockser, ¶ [0020].

      51.     Because Dockser’s execution unit is capable of full-precision, and

uses conventional arithmetic units, a POSA would understand that it would have at

least as many transistors and take up at least as much space as a conventional full-

precision arithmetic unit, even when operating in a reduced-precision mode.

Indeed, because Dockser’s execution unit includes additional control circuits for

selecting reduced-precision modes, a POSA would expect it to be larger than a

conventional full-precision execution unit, making it unsuitable for scaling, and

therefore unsuitable for use in parallel processing arrays.

      B.     Tong

      52.     I have reviewed “Reducing Power by Optimizing the Necessary

Precision/Range of Floating-Point Arithmetic” by Jonathan Ying Fai Tong et al.

(“Tong”). Tong teaches that using lower-precision arithmetic can reduce power

consumption. See generally Tong, pp. 273-285. Tong is based on the commonly

held belief that some applications can only be performed using full-precision

arithmetic: “[e]ven though we may be able to assume that most of our operands

can be computed successfully in limited precision, it appears inevitable that some

fraction of our operands will require full IEEE-standard precision.” Id. (emphasis

added).



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      53.     Importantly, like Dockser, Tong is focused on reducing power

consumption, and does not teach parallel processing systems that include multiple

arithmetic units that operate simultaneously, let alone systems having much larger

numbers of low-precision units than full-precision units. Each low-precision unit

disclosed by Tong is either as large as a full-precision unit or paired with a full

precision unit on a 1:1 basis (Tong, 282).

      54.     For example, Tong teaches “simply including both full and reduced

precision FP units and using appropriate sleep-mode circuit techniques to shut

down the unused unit.” Tong, 282. In this approach, each low-precision unit is

paired with a full-precision unit in a 1:1 ratio, requiring more physical space than a

full-precision unit alone. Indeed, this approach is presented as an option in

situations where silicon real-estate is not at a premium. See Tong, 282 (“Given the

decreasing cost of silicon area …”).

      55.     In another example, Tong also teaches a “digit-serial” multiplication

circuit that, using control signals, is operable to perform a reduced-precision

operation in a single clock cycle. The result of this reduced-precision operation, in

which an 8-bit operand is multiplied with a 24-bit operand, can be combined with

other reduced-precision results over multiple clock cycles in a process called

“digit-serial multiplication,” yielding a full-precision result. When performing low-

precision operations, Tong’s digit-serial multiplier does consume less power than a


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traditional full-precision unit. However, it occupies more physical space than a

full-precision multiplier, because it “require[s] extra random logic for control of

the multiple passes through the digit serial structure.” Tong, 281; see also 280

(“The lower precision digit-serial design is slightly larger [than the full-precision

execution unit]”), Table V (showing that Tong’s digit-serial multiplier occupies

~3% more area than a conventional full-precision multiplier). Therefore, a POSA

would understand that like Dockser’s FPP, the execution units taught by Tong are

capable of reduced-precision operation, but are larger than a conventional full-

precision execution unit. A POSA would understand that this large size would

make them unsuitable for scaling, and therefore unsuitable for use in parallel

processing arrays.

      56.    A POSA would therefore understand that as with Dockser, Tong is

focused on power-savings, does not even mention increasing computational scale

and parallelism, and certainly does not teach a computer comprised of a much

larger number of low-precision units compared with full-precision units.

      C. MacMillan

      57.    I have reviewed U.S. Patent No. 5,689,677, titled “Circuit For

Enhancing Performance Of A Computer For Personal Use” (“MacMillan”).

MacMillan is directed to a computer system that includes a host processor and “a

plurality of processing elements.” Macmillan, 12:39. MacMillan does not describe



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the capabilities of each “processing element” (PE) in detail, noting only briefly that

“[i]nteger and floating point accelerators could be included in each PE.”

MacMillan, 12:55-56.

       58.     Regarding arithmetic precision/imprecision, MacMillan is silent. It

simply teaches that each PE can “perform atomic operations on data values up to

32 bits wide.” MacMillan, 7:8-9. A POSA would understand that unlike Dockser

and Tong, MacMillan is not focused on minimizing power consumption, and is not

specifically tailored for use in portable or mobile devices. Indeed, MacMillan’s

only reference to power consumption relates to heat dissipation inside the

“cabinet” of a workstation. See MacMillan, 3:4-6.

VI.    CLAIM CONSTRUCTION

       A. “Low Precision High Dynamic Range (LPHDR) Execution
          Unit”

       59.     In my opinion, the Board should construe the term “low precision

high dynamic range (LPHDR) execution unit” as “an execution unit that executes

arithmetic operations only at low precision and with high dynamic range, wherein

‘high dynamic range’ and ‘low precision’ are defined according to the numerical

requirements below.”1 A POSA would understand this as the plain meaning of the

term as read in light of the specification.


1 Where “below” refers to the remainder of the claim in which the term appears (e.g., the

numerical requirements that specify a minimum level of imprecision and a minimum dynamic
range).

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          85.     The “exceeds” limitation requires that the “number of LPHDR

execution units in the device exceeds by at least one hundred the non-negative

integer number of execution units in the device adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits

wide.”2 As I explain further below, a POSA would understand that Dockser’s FPP

is adapted to execute at least the operation of multiplication on floating point

numbers that are at least 32 bits wide.

          86.     Even if Dockser’s FPP were an LPHDR execution unit (which it is

not, in my opinion) the Dockser/MacMillan combination cannot meet claim 3’s

“exceeds” limitation, because those same “Dockser LPHDR execution units”

would also be “adapted to execute at least the operation of multiplication on

floating point numbers that are at least 32 bits wide,” meaning that the number of

LPHDR execution units will never exceed the number of claim 3 full-precision

floating point multiplication execution units. That is, even under Petitioner’s

incorrect argument that each Dockser FPP qualifies as an LPHDR execution unit, it

also qualifies as a claim 3 full-precision floating-point multiplication execution

unit. Therefore, no matter how many Dockser FPP’s are included in a device, the

number of LPHDR execution units in the device will at most equal to the number


2
    For clarity, I refer to “execution units in the device adapted to execute at least the operation of
    multiplication on floating point numbers that are at least 32 bits wide” as “claim 3 full-
    precision floating point multiplication execution units.”

                                                  33
                                                Singular's Exhibit No. 2051, IPR2021-00155
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                                                    IPR2021-00155
                                                    PATENT NO. 10,416,961
of claim 3 full-precision floating-point multiplication execution units – and will

never “exceed [it] by at least one hundred,” as claim 3 requires.

             3) Dockser/MacMillan Fails to Disclose or Render Obvious “at least
                one first computing device adapted to control the operation of the
                at least one first LPHDR execution unit”

      87.     The claims require “at least one first computing device adapted to

control the operation of the at least one first LPHDR execution unit.” Claim 2

further requires that that the computing device “comprises at least one of a central

processing unit (CPU), a graphics processing unit (GPU), a field programmable

gate array (FPGA), a microcode-based processor, a hardware sequencer, and a

state machine.” I understand that Petitioner identifies MacMillan’s “Host CPU” as

the “computing device adapted to control the operation of the at least one first

LPHDR execution unit.” Pet., 52-53. I disagree.

      88.     A POSA would understand that MacMillan makes clear that the

SIMD Controller, not the Host CPU, controls the operation of the PEs. MacMillan,

13:35-36 (“Since the PEs operate under the control of the SIMD Controller…”);

8:1-10 (explaining that SIMD Controller “contains the program counter used to

step through the list of instructions that may include instructions to be executed by

the PEs”); 10:65-11:5 (“The SIMD Controller 252 then executes the SIMD

program.”); 10:3-16; Indeed, a POSA would understand that while the PEs are

executing, the SIMD Controller has taken control of the host bus, and the Host



                                         34
                                       Singular's Exhibit No. 2051, IPR2021-00155
                                                                         Page 037
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                                                     PATENT NO. 10,416,961
      92.     Dockser discloses that its FPP takes input operands that are 32 bits

wide and stores them in IEEE-754 format. See e.g., Dockser, ¶ [0017] (“Each

register location 200 is configured to store a 32-bit binary floating-point number, in

an IEEE-754 32-bit single format.”). Dockser also discloses that its FPP includes

“a floating-point multiplier (MUL) 144 configured to execute floating-point

multiply instructions.” Dockser, ¶ [0019]. A POSA would therefore understand

that Dockser multiplies 32-bit operands when operating in full precision mode, and

therefore it is “adapted to” execute the operation of multiplication on numbers at

least 32 bits wide.

      93.     Therefore, even if Dockser’s FPP is an “LPHDR execution unit” (as

Petitioner incorrectly argues), the Dockser/MacMillan device would also satisfy

the “adapted to execute at least the operation of multiplication on floating point

numbers that are at least 32 bits wide” requirement, and would thus fail to satisfy

the “exceeds” limitation. If, for the sake of argument, we count each Dockser FPP

as an “LPHDR execution unit,” then in one example, the Dockser/MacMillan

device would have 256 LPHDR execution units. However, because each Dockser

FPP is also “adapted to execute at least the operation of multiplication on floating

point numbers that are at least 32 bits wide,” the Dockser/MacMillan device would

therefore also have at least 256 execution units “adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits


                                         36
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                                      APPX04988
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                                                          IPR2021-00155
                                                          PATENT NO. 10,416,961
wide.” As a result, in my opinion, the Dockser/MacMillan cannot meet the

“exceeds” limitation.

             5) Petitioner’s Interpretation of “adapted to execute at least the
                operation of multiplication on floating point numbers that are at
                least 32 bits wide” Is Inconsistent with the Specification

      94.     I understand that Petitioner argues that Dockser’s FPP does not meet

the “exceeds” limitation by arguing that units are claim 3 full-precision floating

point multiplication execution units only if they are “‘traditional precision’

execution units that do not ‘sometimes’ produce results different from the correct

traditional-precision result.” Pet., 54-55. I disagree.

      95.     A POSA would not understand “adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits wide”

to exclude units, like Dockser, which selectably operate at full precision, as

Petitioner claims. Pet., 54-55.

      96.     Instead, a POSA would understand this term to include any or all units

in the device that are designed to perform “multiplication on floating point

numbers that are at least 32 bits wide,” even if those units can perform other

operations as well. Petitioner’s (and Mr. Goodin’s) interpretation directly

contradicts the claim language itself, which encompasses every execution unit

adapted to perform “at least” the operation of 32-bit multiplication. If such an




                                          37
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                                       APPX04989
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’961 Patent at 28:32-37; see also id. at 28:32-29:20. The specification does not

preclude a claim 3 full-precision floating point multiplication execution unit from

being able to produce incorrect results. Petitioner imports that requirement from a

completely different section of the patent, taken completely out of context. See

Pet., 54 (citing ’961 Patent, 26:61-27:16); see also Goodin, ¶ 374. A POSA would

understand that that section uses “sometimes” to describes the imprecision

limitation of an LPHDR execution unit, as expressed in the X% limitation of the

Challenged Claims. That section says nothing about claim 3 full-precision floating

point multiplication execution units. See ’961 Patent, 26:61-27:16.

      D. A POSA Would Not Combine Dockser with MacMillan

      101. A POSA would not combine Dockser with MacMillan because it

would not be operable for its intended purpose.

      102. Dockser is focused on the objective of reducing power consumption

and is not in any way concerned with the objective of use in parallel processing

arrays, while MacMillan is focused on a parallel architecture that increases

computational capability, and not focused on reducing power consumption (indeed,

MacMillan’s only reference to power consumption relates to heat dissipation inside

the “cabinet” of a workstation). See MacMillan, 3:4-6.

      103. Incorporating Dockser’s FPPs into MacMillan would defeat

MacMillan’s stated objective of achieving a highly parallel SIMD computer



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                                      Singular's Exhibit No. 2051, IPR2021-00155
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                                                    PATENT NO. 10,416,961
architecture at “lower system cost.” See MacMillan, 5:58-59 (“The invention of

this shared memory results in lower system cost”). As explained above, Dockser’s

FPPs are even larger than traditional full-precision execution units because of the

control circuitry needed to implement the selectable subprecision modes.

      104. As a result, replacing the full-precision execution units of MacMillan

with Dockser FPP units would require additional circuitry and chip space and

would therefore increase costs, while providing no benefit. Combining Dockser

and MacMillan would thus sacrifice the benefits of both references, which a POSA

would not be motivated to do.

      E.    Ground 4: Claims 1-5, 10, 13-14, 21, and 23-25 Are Not
            Obvious Over Dockser in View of Tong and MacMillan

      105. As I explained above with respect to Grounds 2 and 3, the

combination of Dockser, Tong, and MacMillan does not disclose or render obvious

an LPHDR execution unit. Similarly, as set forth above with respect to Ground 3,

the combination does not disclose or render obvious the “at least one first

computing device” limitation. Finally, as set forth above with respect to Ground 2,

Tong does not teach using only 5 bits of mantissa. I understand that Petitioner’s

Ground 4 arguments do not address these deficiencies.

            1) The Dockser/MacMillan System as Modified by Tong Would Not
               Meet the “Exceeds” Limitation




                                        41
                                      Singular's Exhibit No. 2051, IPR2021-00155
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                                                     IPR2021-00155
                                                     PATENT NO. 10,416,961
      110. A POSA would not have been motivated by Tong to remove the full-

precision capabilities of Dockser and incorporate this modified Dockser FPP into

the systems taught by MacMillan. Petitioner’s argument is based on a fragment of

a sentence in Tong taken out of context, insinuating that Tong teaches that full-

precision operation “is not essential” to the functioning of a Tong or Dockser

system. Pet., 58. In my opinion, this interpretation of Tong is not correct.

      111. In fact, a POSA would understand that Tong teaches the opposite.

Tong admits that there are “scientific programs” that “require a huge amount of

precision” (Tong, 279), and broadly teaches that “it is inevitable that some fraction

of our operands will require full IEEE-standard precision.” Tong, 280 (emphasis

added). Instead, like Dockser, Tong teaches systems that always have both full-

and reduced-precision capabilities. See, e.g., Tong, 282 (even when describing a

device that has reduced precision units, it describes that system as “including both

full and reduced precision FP units, and using appropriate sleep-mode circuit

techniques to shut down the unused unit.”). With this teaching in hand, a POSA

would not cleave off parts of Dockser’s 32-bit register file to achieve some

unspecified lesser bit-width smaller execution unit, without also importing the

Tong “full precision FP.”. This is a convoluted, hindsight-driven modification to

the fundamental teachings of the cited references.




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                                                                        Page 047
                                     APPX04996
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                                                     IPR2021-00155
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      112. In view of the above, it is clear that a person of ordinary skill would

not be motivated by Tong to remove the full-precision capabilities of the Dockser

units. On the contrary, Tong would only have reinforced the teaching of Dockser

that, while reduced-precision might be a viable option in certain limited

circumstances, an execution unit should retain the ability to operate at full-

precision, as I explained below. See, e.g., Dockser, ¶ [0003].

      113. Dockser’s objectives are fundamentally directed away from

Petitioner’s proposed “alternative” combination. As discussed above, Dockser is

devoted solely to a general processor with selectable precision.

      114. Nowhere does Dockser teach, or even suggest, removing its full-

precision capabilities. As I explain above, a Dockser FPP is described as always

needing to support a range of selectable precisions including full precision.

Dockser, ¶ [0003]. Adjusting Dockser by removing its full-precision capacity

violates a central tenet of Dockser—to always be able to execute full-precision

operations. Dockser, ¶ [0003]. A POSA would not remove Dockser’s inventive

concept—supporting a range of selectable precisions including full precision.

Thus, excising the full-precision circuitry of Dockser runs contrary to the main

teaching and inventive feature of Dockser (as well as that of Tong, as I explain

above).




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                                      Singular's Exhibit No. 2051, IPR2021-00155
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                                     APPX04997
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                                                     PATENT NO. 10,416,961
      115. The removal of full-precision circuitry from the Dockser FPP also

goes against the teachings of MacMillan, which warns that “[t]o meet the cost

objectives, the SIMD capabilities should not add significant complexity to the

architecture of a computer system for personal use.” Id., 5:42-44. A POSA would

understand that Petitioner’s proposed hindsight-driven combination, which

requires special, customized registers, logic elements, arithmetic units, and

programming models (see below), would increase manufacturing costs and goes

directly against the teachings of MacMillan, which relies on operating with

conventional components to reduce cost. E.g., id., 6:24-26, 34-36. Further, as I

explain above, the Dockser FPP, due to its control circuitry, would likely require

more transistors than a conventional full-precision execution unit, further
----

increasing costs. Also, the modified Dockser FPP would result in modifications to

the programs that are run on the MacMillan system, which MacMillan seeks to

avoid. See MacMillan 2:15-16 (where avoiding “the need for reprogramming” is

emphasized).

               5)     Google Has Failed to Show That the “Alternative”
                      Combination Would Meet the Imprecision Requirements of
                      Claims 3-8

      116. I understand that Petitioner has not shown that the resulting

combination would meet the imprecision limitations. As discussed above, Tong

suggests 11 bits of precision for specific signal processing applications, and



                                        46
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                                                                        Page 049
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                      CONFIDENTIAL MATERIAL REDACTED
                                         IPR2021-00155
                                         PATENT NO. 10,416,961
      121. As I have stated supra, the modified Dockser FPP would result in

modifications to the programs that are run on the MacMillan system, which

MacMillan teaches against. See MacMillan 2:15-16 (where avoiding “the need for

reprogramming” is emphasized).

      122. Without these teachings of the ‘961 Patent, a POSA would not have

been motivated to combine MacMillan and Dockser with Tong according to

Petitioner’s “alternative” argument because it would not have been clear to a

POSA that it would be possible to program such a device to execute operations

efficiently and without accumulating errors.

VIII. OBJECTIVE INDICIA OF NON-OBVIOUSNESS

      123. I have reviewed




                                                                                       .

      124. It is my opinion that the experimental results obtained by Dr. Bates

using his invention

                      would have been unexpected to those of skill in the art at the

time. When the invention was filed, it was not known that a massively parallel

computer that includes almost exclusively low-precision execution units, (and very



                                          49
                                        Singular's Exhibit No. 2051, IPR2021-00155
                                                                          Page 052
                                       APPX05001
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                                                   IPR2021-00155
                                                   PATENT NO. 10,416,961
      128. Google’s TPUv2 and TPUv3 are coextensive with at least claims 1-5,

10, and 13-14 of the ’961 Patent. Set forth below is an analysis mapping the claims

to the TPUv2 and TPUv3 devices.

      A. Claim 1

           1) “A device comprising:”

      129. Each of the TPUv2 boards and TPUv3 boards are devices.




                            TPUv2 Board - Ex. 2016.




                             TPUv3 Board Ex. 2016.


                                       52
                                     Singular's Exhibit No. 2051, IPR2021-00155
                                                                       Page 055
                                    APPX05004
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                                                      IPR2021-00155
                                                      PATENT NO. 10,416,961
        130. A POSA would understand that the above photographs show that the

TPUv2 and TPUv3 boards are circuit boards coupled to hardware components such

as processors, heatsinks, I/O ports, interconnected with each other via wiring. Both

the TPUv2 and TPUv3 boards are “devices,” as a POSA would understand that

term.

            2) “at least one first low precision high dynamic range (LPHDR)
               execution unit adapted to execute a first operation on a first input
               signal representing a first numerical value to produce a first output
               signal representing a second numerical value”

        131. In my opinion, each of the TPUv2 and TPUv3 boards include at least

one first low precision high dynamic range (LPHDR) execution unit adapted to

execute a first operation (multiplication) on a first input signal representing a first

numerical value to produce a first output signal representing a second numerical

value (the product of the first numerical value multiplied by another value). Both

the TPUv2 and TPUv3 include at least one Matrix Multiply Unit (MXU) that

contains 128  128 (i.e., 16,384) execution units that each execute the operation of

multiplication. Ex. 2016; Ex. 2011 (“the main computational capacity in each core

provided by a large matrix multiply unit that can yield the results of multiplying a

pair of 128  128 matrices each cycle”).




                                          53
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                                                                          Page 056
                                       APPX05005
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                                                                                  PATENT NO. 10,416,961


                                                                  TensorCore                    containing
                                                                                                 128x128
                                                                 Core Sequencer
                                                                                                execution
                                                                                                units each
                                                                       Matrix Multiply
                                                                          (MXU)
                                   HBM                  Vector                                 I nterconnect
                                 Memory                  Unit          Matrix Multiply             Router
                    Host
                                (8/16 GiB)              (VPU)             (MXU)                     (I CI )
                  Queues
                                                                        TPUv3onl
                 (over PCie)
                                                                         Transpose
                                                                        Permute Unit




                                 Ex. 2016 (annotations added).
                               HBM
                                                                                    I    HBM
                                                 core                 core
                               8GB                                                       8GB
                                             rscalar/vector      rscaler/vector I
                                                  units               UMS




                                  ◄ -►
                                                !t   ........
                                                        tt
                                             -······ ·-·····
                                             •••••••• ,_                            _..
                                             =======
                                             ••••••••
                                             -······ ·-·····
                                                     ======•
                                             -······ ·-·····
                                                     ·-·····
                                                  MXU                MXU
                                                128><128            128x128
                               - - -                                                     --
               Figure 5: A block diagram of Google's Tensor Processing Unit v2 (TPUv2)

                                                     Ex. 2011.
      132. Google’s publications explain that each of the bfloat16 execution

units in the MXU require “less circuitry” than either FP32 or FP16 multipliers:

      The IEEE fp32, IEEE fp16 and bfloat16 formats need 576 full adders,
      121 full adders, and 64 full adders, respectively. Because multipliers
      for the bfloat16 format require so much less circuitry, it is possible to
      put more multipliers in the same chip area …
Ex. 2011, 9.
Each of the multipliers within the MXU is able to perform multiplication only at

low precision, using the bfloat16 format. They lack the circuitry to perform, for

example, perform FP16 or FP32 operations. Id. See also Ex. 2049 at 3-4.



                                                       54
                                                     Singular's Exhibit No. 2051, IPR2021-00155
                                                                                       Page 057
                                                   APPX05006
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                                                     PATENT NO. 10,416,961
           3) “wherein the dynamic range of the possible valid inputs to the first
              operation is at least as wide as from 1/65,000 through 65,000 and”

      133. As Google’s publications explain:

      While its inputs and outputs are 32-bit floating point values, the MXU
      typically performs multiplications at the reduced precision of bfloat16
      — a 16-bit floating point representation that provides better training
      and model accuracy than the IEEE half-precision representation for
      deep learning as it allocates more bits to the exponent and less to the
      mantissa.
Ex. 2049 at 3-4 (emphasis added).

      134. Thus, the dynamic range of the valid inputs to the multiplication

operation in the TPUv2 and TPUv3 is governed by the number of exponent bits (8)

in the floating point 32 (FP32) format. These inputs are supplied by the

“scalar/vector units”, also known as Vector Processing Unit (VPUs). As Google

admits, 8 bits of exponent allow for a dynamic range of from roughly 2 -126 (smaller

than 1/65,000) through 2127 (larger than 65,000). Pet., 20-21; Ex. 1003, ¶ 232. I

agree that the dynamic range of FP32 is at least this large. Indeed, in some of its

publications, Google admits that floating-point formats with 8 bits of exponent are

capable of representing an even wider range of values, from approximately 10 -38 to

3 x 1038. Ex. 2041 at 1.

           4) “ for at least X=10% of the possible valid inputs to the first
              operation, the statistical mean, over repeated execution of the first
              operation on each specific input from the at least X % of the
              possible valid inputs to the first operation, of the numerical values
              represented by the first output signal of the LPHDR unit executing
              the first operation on that input differs by at least Y=0.2% from the


                                         55
                                       Singular's Exhibit No. 2051, IPR2021-00155
                                                                         Page 058
                                      APPX05007
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                                                     IPR2021-00155
                                                     PATENT NO. 10,416,961
                result of an exact mathematical calculation of the first operation on
                the numerical values of that same input;”

      135. Google’s TPUv2 and TPUv3 boards meet this element. As I explain

above, the MXU’s inputs are “32-bit floating point” values, but they “perform[]

multiplications at the reduced precision of bfloat16.” See Ex. 2049 (“While its

inputs and outputs are 32-bit floating point values, the MXU typically performs

multiplications at the reduced precision of bfloat16”).

      136. Multiplication performed at bfloat16 precision uses 7 bits for the

mantissa. Ex. 2041 at 1; Ex. 2011 at 8. Petitioner states – and I agree – that

utilizing 7 bits of mantissa in multiplication operations results in a minimum of

12% of valid floating point 32 inputs, producing at least 0.39% relative error

compared to the exact mathematical calculation of a full-precision multiplication

on those same inputs. Pet., 33-34, 72. Accordingly, the TPUv2 and TPUv3 meet

this element.

           5) “at least one first computing device adapted to control the
              operation of the at least one first LPHDR execution unit.”

      137. Google’s TPUv2 and TPUv3 devices meet this limitation as well.

Each TPU device is controlled by a Core Sequencer (which in turn is controlled by

a Host Virtual Machine that is a program running on a CPU). The Core Sequencer

is a a computing device, and by issuing VLIW instructions to the MXU, it controls

the operation of the LPHDR execution units within the MXUs:



                                         56
                                       Singular's Exhibit No. 2051, IPR2021-00155
                                                                         Page 059
                                      APPX05008
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                                                                                                    IPR2021-00155
                                                                                                    PATENT NO. 10,416,961
      The Core Sequencer fetches VLIW (Very Long Instruction Word)
      instructions from the core’s on-chip, software-managed Instruction
      Memory … The 322-bit VLIW instruction can launch eight
      operations: two scalar, two vector ALU, vector load and store, and a
      pair of slots that queue data to and from the matrix multiply and
      transpose units.
Ex. 2016, 4-5.

      138. The CPU is a computing device, and by running the Host VM and

issuing commands to the Core Sequencer, it controls the operation of the LPHDR

execution units within the MXUs.

                                                                                  TensorCore
                                                                   ~---------------------,
                                                                                          M tnx Multiply
                                                                                              MXU)
                                              HBM                                                           Int roonnect
                                            M mory                                        M tnx Multiply      Rout r
                      Host                                                                    (MXU)
                   Queues +-+
                                           (8/16 G,B)                                                         (ICII
                                                                                            TPUv3only
                 (ov r PCie)




                 f'lp.re a. 8'°6. ~ of• T ~ (ou.r lntttnal cae-~ lop~ al name r« • TP'U core, and
             not rclatf!d to lhe T~Coru olNVlOIA OPU.).



                                             Ex. 2016 (annotations added).

             Di e sizes are adjusted by the squa re of the technology, as the semiconduc•
             tor technology for TPUs is simila r but Larger and older than that of the GPU.
             We picked 15nm fo r TPUs based on the information in Table 3. Thermal
             Design Power (T[)P ) is fo r 16-chip syst ems. TPUs come with a host CPU .
             This GPU price adds price of a nl-st andard-16 CPU.

                                                                    Ex. 2011.




                                                                     57
                                                                   Singular's Exhibit No. 2051, IPR2021-00155
                                                                                                     Page 060
                                                                  APPX05009
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                                                                   IPR2021-00155
                                                                   PATENT NO. 10,416,961

                 Cloud TPU: a TPU board and host VM
                                                        CloudTPU

                                                                   •rpu board .. • 8 TPU cores
                                  HostVM
                                   CPUs
                                                   PClv3x32




                   YourVM
                             Runs data feed code                         Runs trainin code

                                        Ex. 2045, 2.
      B.    Claim 2

            1) “The device of claim 1, wherein the at least one first computing
               device comprises at least one of a central processing unit (CPU), a
               graphics processing unit (GPU), a field programmable gate array
               (FPGA), a microcode-based processor, a hardware sequencer, and
               a state machine.”

      139. As discussed above, the Host VMs run on a CPU.

      140. A person of ordinary skill in the art would also understand that the

Core Sequencer described above is at least a “hardware sequencer” and a “state

machine,” based on the description of its function in Google’s own publication:

      The Core Sequencer fetches VLIW (Very Long Instruction Word)
      instructions from the core’s on-chip, software-managed Instruction
      Memory … The 322-bit VLIW instruction can launch eight
      operations: two scalar, two vector ALU, vector load and store, and a
      pair of slots that queue data to and from the matrix multiply and
      transpose units.
Ex. 2016, 4-5.

      141. Therefore, the Core Sequencer and the CPU, independently and acting

in concert, satisfy the additional requirement imposed by claim 2.

      C. Claim 3


                                              58
                                            Singular's Exhibit No. 2051, IPR2021-00155
                                                                              Page 061
                                           APPX05010
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                                                                                            IPR2021-00155
                                                                                            PATENT NO. 10,416,961
                1) “The device of claim 2, wherein the number of LPHDR execution
                   units in the device exceeds by at least one hundred the non-negative
                   integer number of execution units in the device adapted to execute
                   at least the operation of multiplication on floating point numbers
                   that are at least 32 bits wide.”

        142. Google’s TPUv2 and TPUv3 boards meet this limitation. As discussed

above, each MXU contains 128x128 execution units: a total of 16,384 LPHDR

execution units in total per MXU. The TPUv2 board includes 1 MXU per core,

with 2 cores in a chip, and 4 chips on a board. Ex. 2016, 6. Thus, the TPUv2 board

contains 128  128  2  4 = 131,072 LPHDR execution units.

                                                     TPUv2 Chip                                   ' -- - --- --- --- - -- ----- - -- - -- ---- -- ----- - ---
     Scalar                  Core O i                                                             i Core 1                                  Scalar
      Unit                              ''       0 = Compute ■ = Host                                                                        Unit
                                         ''                                                       ''
                                                                                                  ''
        I                                  '
                                         '''
                                                 D     = Memory        D   = Interconnect          '                                            I
                                                                                                  '''
                         Matrix           '                                                                  Matrix



     Vector
               I+-       Multiply
                          Unit         k           16384
                                                LPHDR l.<ll!s

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                                                                           -"'
                                                                           C:
                                                                                     16384
                                                                                   LPHDR urnts

                                                                                    -"'
                                                                                    .!:
                                                                                                 If          Multiply
                                                                                                              Unit
                                                                                                                                  f----0



                                                                                                                                            Vector
                                                      ::i        ::i       ::i      ...J
      Unit
               l+--o   Transpose /
                       Permute Unit
                                                  T T T T
                                                                                                         Transpose /
                                                                                                         Permute Unit           -            Unit



                                                                                                  :
                                        '                                                         '
  ------f----------------------------__ l                       Interconnect                      :--------------------------------I-------
                                                                   Router
                 HBM                  -                                                                                     HBM


        I                                                                                                                                        I
     PCle                                                                                                                                    PCle
    Queues                                                                                                                                  Queues




TPUv2 Board – Ex. 2046 (annotations added)




                                                                   59
                                                                 Singular's Exhibit No. 2051, IPR2021-00155
                                                                                                   Page 062
                                                                APPX05011
               Case: 22-1866                 Document: 50-2                 Page: 208                 Filed: 02/03/2023

                                                                                      IPR2021-00155
                                                                                      PATENT NO. 10,416,961
        143. The TPUv3 board contains 2 MXUs per core, 2 cores per chip, and 4

chips per board. Ex. 2016. Thus, a single TPUv3 board contains 128  128  2  2

 4 = 262,144 LPHDR execution units.
                                                                                         ,-- - - - ------ --- ------ --- -- - -- - ------ -- --- --
      Scalar               TPU Core 0                                                    i TPU Core 1                               Scalar
       Unit                                   ■ = Compute ■ = Host                       ''                                         Unit
                                                                                         '
         I                                    D                 D    = Interconnect      ''                                           I
                     -                               = Memory
                                                                                           '''                        -
                ---
                              Matrix                                                                   Matrix
                             Multiply                                                    '''          Multiply       1- ,-...
                                                 -                                       ''
                                                                                             '                            I+---<




                                                    § ~~
                             Unit (2x)                                                                Unit (2x)
                                                                                            ''
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      Vector                                          C
                                                                                         ''                                        Vector


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                                                     ::::;
       Unit                                                                              ''                                         Unit
                          Transpose I                                                     '          Transpose /
                                                                                         '''
                +----+I
                          Permute Unit                                                               Permute Unit
                                                 T T                                     '
                                                                                         ''
                                                                                         ''

  -------i------------------------------                     Interconnect                i --------- -----------------------{-------
                                                                Router
                   HBM                       ~
                                                                                                                    HBM


         I                                                                                                                             l
      PCle                                                                                                                          PCle
     Queues                                                                                                                        Queues




                                             TPUv3 Board – EX. 2046

        144. The MXU execution units perform multiplication at bfloat16

precision, and are not capable of performing full-precision multiplication, as I have

discussed above.

        145. Based on my review of Google’s public documents, and the

documents Google has produced in this IPR proceeding, each core (whether

TPUv2 or TPUv3) contains a Vector Unit (VPU). Id. Each VPU contains 128  8 




                                                                60
                                                              Singular's Exhibit No. 2051, IPR2021-00155
                                                                                                Page 063
                                                             APPX05012
            Case: 22-1866    Document: 50-2    Page: 209     Filed: 02/03/2023

                                                    IPR2021-00155
                                                    PATENT NO. 10,416,961
2 32-bit arithmetic logic units (ALUs), for a total of 2048 ALUs per core. Ex.

2046, 34.

      146. 32-bit ALUs are adapted to perform the operation of multiplication on

32-bit numbers. With two cores per chip and 4 chips per board, each TPUv2 or

TPUv3 board contains 2048  4  8 = 16,384 execution units that are adapted to

perform multiplication on 32-bit numbers.

      147. As I explain above, each TPUv2 board contains 131,072 LPHDR

execution units, and each TPUv3 board contains 262,144 LPHDR execution units.

Therefore, in both the TPUv2 and TPUv3 boards, “the number of LPHDR

execution units in the device exceeds by at least one hundred the non-negative

integer number of execution units in the device adapted to execute at least the

operation of multiplication on floating point numbers that are at least 32 bits wide”

and each board therefore meets the additional requirement imposed by claim 3.

      D. Claim 4

             1) The device of claim 1, wherein the dynamic range of the possible
                valid inputs to the first operation is at least as wide as from
                1/1,000,000 through 1,000,000.

      148. As discussed above, the bfloat16 format used in the TPUv2 and

TPUv3 boards contains 8 bits of exponent, which provides a dynamic range of

from roughly 2-126 (smaller than 1/1,000,000) through 2127 (larger than 1,000,000).

      E.     Claim 5



                                        61
                                      Singular's Exhibit No. 2051, IPR2021-00155
                                                                        Page 064
                                     APPX05013
           Case: 22-1866    Document: 50-2     Page: 210    Filed: 02/03/2023

                                                    IPR2021-00155
                                                    PATENT NO. 10,416,961
            1) The device of claim 1, wherein the first operation is multiplication

      149. As discussed above, the MXUs within the TPUv2 and TPUv3 boards

perform multiplication

      F.    Claim 10

      150. Claim 10 recites a device comprising a plurality of components

comprising at least one LPHDR execution unit with the same dynamic range and

imprecision requirements as claim 1. Thus, my discussion of claim 1 above

explains how those specifications are met in the TPUv2 and TPUv3 boards.

      151. As I explain above, each TPUv2 and TPUv3 board comprises a

plurality of components, such as multiple MXU LPHDR execution units, VPUs,

and other components.

      G. Claim 13
            1) The device of claim 10, wherein the dynamic range of the possible
               valid inputs to the first operation is at least as wide as from
               1/1,000,000 through 1,000,000.

      152. See my discussion of claim 4, above.

      H. Claim 14
            1) The device of claim 10, wherein the first operation is multiplication

      153. As discussed above, the MXUs within the TPUv2 and TPUv3 boards

perform multiplication.


X.    CONCLUSION



                                        62
                                      Singular's Exhibit No. 2051, IPR2021-00155
                                                                        Page 065
                                     APPX05014
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                                                    IPR2021-00155
                                                    PATENT NO. 10,416,961

      I hereby declare that all statements made herein of my own knowledge are

true and that all statements made on information and belief are believed to be true;

and further that these statements were made with the knowledge that willful false

statements and the like so made are punishable by fine or imprisonment, or both,

under Section 1001 of Title 18 of the United States Code.

Executed this 9th Day of August, 2021

Respectfully submitted,



___________________________

Sunil P Khatri, Ph.D.




                                      Singular's Exhibit No. 2051, IPR2021-00155
                                                                        Page 067
                                     APPX05016
          Case: 22-1866     Document: 50-2      Page: 212   Filed: 02/03/2023




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           UNITED STATES PATENT AND TRADEMARK OFFICE
                           _____________

            BEFORE THE PATENT TRIAL AND APPEAL BOARD
                           _____________

                                 GOOGLE LLC,
                                   Petitioner,

                                        v.

                        SINGULAR COMPUTING LLC,
                               Patent Owner.
                              _____________

                            Case No. IPR2021-00155
                             Patent No. 10,416,961
                                _____________


       PETITIONER’S REPLY TO PATENT OWNER’S RESPONSE1



1
 Emphases in this paper are added unless otherwise indicated, and internal
quotations, citations, and original alterations are omitted.




                                    APPX05031
          Case: 22-1866     Document: 50-2      Page: 213    Filed: 02/03/2023




      It is undisputed that Dockser’s unit is “high dynamic range.”

      Dockser’s unit also meets the “low precision” genus, because it performs

reduced-precision operations—the very purpose of Dockser’s design—and at least

one such “first operation” meets the species in claim 1’s “wherein” clause.

Petition, 15; Dockser, [0014] (“the precision…may be reduced” to achieve “greater

efficiency” and “significant power savings”); DI, 16 (“Petitioner…provides a

detailed explanation” how Dockser “teach[es] the recited X and Y percentages of

claim 1”); Ex. 1071 (“Goodin-Reply”), ¶¶ 5-6.

      Singular told the district court that “LPHDR execution unit” should be

construed identically to “execution unit” (Ex. 1065, 9), because “‘low precision

high dynamic range’ is defined in claim itself” (Ex. 1066, 12). After the Petition

demonstrated the claims unpatentable, Singular now alleges a narrow construction

of LPHDR execution unit is needed to avoid “render[ing] the limitation

meaningless.” POR, 16. But as shown below, Singular’s “construction” does not

give meaning to the “construed” claim term at all—it repeats every word of the

term verbatim and injects additional words (e.g., “only”).

Claim                      Singular’s Construction (POR, 15)

low precision              an execution unit that executes arithmetic operations
high dynamic range         only at low precision and with high dynamic range,
(LPHDR)                    wherein ‘high dynamic range’ and ‘low precision’ are
execution unit             defined according to the numerical requirements below




                                        2
                                     APPX05044
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27), fails because the Petition established that choosing any of those “precision

levels Tong teaches for particular applications” would have been obvious “when

running those applications, or others empirically determined (using Tong’s

techniques) to not require greater precision.” Petition, 45-47. Singular does not

dispute that even 9 mantissa bits in Dockser’s FPP meets the claimed low precision

(Ground 1); thus each of the 5-bit through 9-bit selections motivated by Tong are

low precision. Goodin-Reply, ¶ 29.

III.   GROUND 3 – SINGULAR’S ARGUMENTS AGAINST
       DOCKSER/MACMILLAN FAIL

       A.     Motivation to Combine
       Ground 3 uses Dockser’s FPPs as the floating-point accelerators in

MacMillan’s massively-parallel SIMD architecture, “to increase performance

speed as MacMillan teaches while lowering power consumption as Dockser

teaches,” which benefits battery-operated devices. Petition, 51-52. Singular’s

assertion that each reference individually is “not focused on” the benefit the other

undisputedly provides (POR, 35) fails to refute that the combination achieves both

benefits.

       Singular’s assertion that Dockser’s FPP would “increase costs” in

MacMillan’s system (POR, 36) rehashes a POPR argument and is “unsupported by

any specific cost analysis.” DI, 37. The conclusory expert testimony cited at POR,

36 “repeat[s] verbatim Patent Owner’s argument without additional facts or


                                         9
                                      APPX05051
            Case: 22-1866   Document: 50-2     Page: 215    Filed: 02/03/2023




data…[and thus] is entitled to little or no probative weight.” Tyco Fire Prods. v.

Victaulic, IPR2016-00279, Paper 40 at 22 (June 12, 2017). Singular presents no

evidence that Dockser’s FPP would increase cost. Even if it had, that would be

legally irrelevant because whether a “combination would not be made by

businessmen for economic reasons” is not probative of nonobviousness. DI, 37

(quoting In re Farrenkopf, 713 F.2d 714, 718 (Fed. Cir. 1983)). Goodin-Reply,

¶¶ 30-31.

      B.      “Computing Device”
      MacMillan’s Host CPU is a “computing device adapted to control the

operation of the…LPHDR execution unit[s]” as claimed, because it executes the

program that “initiat[es]” “all SIMD processing” by the processing elements (PEs)

containing Dockser’s LPHDR execution units. Petition, 52-53. The Host CPU

thus controls whether, when and how the LPHDR units operate, by “start[ing] the

SIMD Controller” that “executes the SIMD program” that is provided by the CPU

program and uses data provided by the CPU. MacMillan, 10:27-11:5, 13:12-62;

Petition, 52-53; Ex. 1003, ¶¶ 359-364; Goodin-Reply, ¶¶ 32-35.

      Singular’s argument that MacMillan’s Host CPU does not control the

operation of the PEs because the SIMD Controller also does so (POR, 37-38) fails.

The claims are not limited to direct control or controlling anything beyond

“operation of” the unit(s). In Singular’s own embodiment, a host computing



                                       10
                                     APPX05052
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device controls operation of the SIMD PEs by instructing an intermediate control

unit (CU). ’961 Patent, 8:10-29 (“Host computer 102” “is responsible for overall

control of the computing system”), 8:59-63 (“Host 102…load[s] the instructions

(the program) for the PEA 104 into the CU…, then instruct[s] the CU 106 to

interpret the program and cause the PEA 104 to compute according[ly]”); Goodin-

Reply, ¶¶ 36-37.

                                                                                    1()()

                                                                                 ,J
                                                                104
                                                             r-J

                       106
                    ~
                Control                               Processing Element
               Unit (CU)                                 Array (PEA)




                                                                   •
                           ~08


                                      Input/Output Unit (IOU)

                                  ' .                              '.
                                                                   '.
                                           102
                                  ' . r-J
                                                                        ~   10

                                                       --
                                 Host
                                              -               Peripherals




                                      ’961 Patent, Fig. 1




                                             11
                                          APPX05053
           Case: 22-1866     Document: 50-2     Page: 217     Filed: 02/03/2023




      Moreover, Singular alleges Google’s TPU meets the claimed “computing

device” via a CPU that “issu[es] commands to the Core Sequencer,” thereby

“control[ling] the operation of the LPHDR execution units.” POR, 67 (“Each TPU

device is controlled by a Core Sequencer (which, in turn, is controlled by…a

program running on a CPU).”). This is no different from MacMillan’s Host CPU

controlling PE operation by controlling the SIMD Controller. Goodin-Reply, ¶ 38.

      C.     “Exceeds” Claims
      Certain dependent claims (hereinafter “‘exceeds’ claims”) require “the

number of LPHDR execution units” to exceed the number of “execution

units…adapted to execute at least the operation of multiplication on floating point

numbers that are at least 32 bits wide” (hereinafter “32-bit EUs,” as in DI, 31-32).

Because the number of Dockser FPPs in Dockser/MacMillan exceeds the single

Host CPU, the “exceeds” claims are met.

      The Board correctly found “Dockser’s FPPs do not count toward the number

of 32-bit EUs” because Dockser’s FPPs are LPHDR execution units. DI, 31-32.

As the Board noted, the specification “distinguish[es] between the two sets of

units,” describing 32-bit EUs as “traditional precision” units (“arithmetic

elements…designed to perform…arithmetic of traditional precision”), whereas

LPHDR units allow “precision [to] vary across implementations” and “produc[e]

results that are ‘sometimes’ or ‘all of the time’ not closer than a certain amount to



                                        12
                                      APPX05054
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the correct result.” DI, 32 (citing ’961 Patent, 26:61-27:16, 28:9-16). The

“sometimes” at 26:61-27:16 is not tied to the claims’ “X” limitation (contrary to

POR, 34); that limitation (called “F” in the specification) has its own later

paragraph at 27:41-28:8. Goodin-Reply, ¶¶ 39-41. See also ’961 Patent, 27:17

(LPHDR units “hav[e] various possible degrees of precision”), 28:50-55 (“[T]he

number NL of LPHDR elements…and the number NH of elements designed to

perform…arithmetic of traditional precision…may be the total counts of the

respective elements within that physical device.”).

      Singular says Google’s (and the DI’s) interpretation ignores the “at least” in

the claim language. POR, 32. Not so. The “traditional precision” units that the

specification distinguishes from LPHDR units perform “arithmetic” operation(s)

on 32-bit numbers; Google’s interpretation gives meaning to “at least the operation

of multiplication” by encompassing other 32-bit arithmetic operations besides

multiplication. Goodin-Reply, ¶ 42.

      Singular’s assertion that the specification describes prior-art GPUs as having

“multiple execution units” that each “can be both a full-precision [32-bit]

multiplication execution unit and” perform low-precision operations (POR, 32-33)

is unsupported. “When a graphics processor [GPU] includes support for 16 bit

floating point, that support is alongside support for 32 bit floating point.” ’961

Patent, 5:23-33. NVIDIA’s GPU (id., 5:5), for example, had multiple parallel



                                        13
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streaming-processor (SP) cores that performed floating-point operations only at 32-

bit precision, and far fewer separate components that “support[ed]” 16-bit floating-

point data. Goodin-Reply, ¶¶ 43-53 (citing Ex. 1073 (“Lindholm”); Exs. 1074-

1075). 16-bit “support” conventionally meant inputs were 16-bit, and no evidence

establishes that this meets the low precision of any claim. Goodin-Reply, ¶ 46; see

supra § I.C; infra § V.B.4.b.




                                                                                                                            ,
                                                                                                                        ,                  TPC
                                                                                                                                  Geometry controller

                                                                                                                                           SMC
                                                                                                             ,
                                                                                                        ,'                        SM               SM
                                                                                                    ,
                                                                                                                                I cache          I cache

                                                                                                                                MT issue         MT issue
                                                                                       I
                                                                                           '                          ,,"'


                                                                                           _____ ____ _          ,,
                                                                                                                                                                ~ 32-bit-only units
       ,.......c::::;;::=i:=;===c:::::;;:::=s=:::i::::::;~:;;::::::,:::::::;,::::,,d




                                                                                   '
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                                                                                                '
                                                                                                    '




    Figure 2. Texture/processor cluster (TPC).




                                                                      Lindholm, Fig. 2 (annotated)



                                                                                                                   14
                                                                                                                 APPX05056
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      POSAs would have understood the specification’s statement that GPUs’

“substantial resources to 32…bit arithmetic” were “wasteful of transistors” refers

to the many traditional-precision-only units (e.g., SPs) in GPUs that could not

perform lower-precision operations. Goodin-Reply, ¶¶ 54-55.

      The specification is clear that the “exceeds” claims’ 32-bit EUs are separate

and distinguished from LPHDR units. Dockser’s FPP is the latter.

IV.   GROUND 4

      A.     Dockser/Tong/MacMillan’s Non-Customized Implementation
      Singular’s arguments against Ground 4’s non-customized implementation

rely entirely on the arguments “explained above” against Grounds 2-3 (POR, 38-

39), which fail as discussed supra §§ II-III.

      B.     Dockser/Tong/MacMillan’s Customized Implementation
      Ground 4 also established all challenged claims obvious over an alternative

implementation incorporating customized Dockser FPPs having no full-precision

capability in MacMillan’s architecture for use in “an embedded system designed

specifically for signal processing” that never uses full precision. Petition, 57-60.

This obvious implementation meets the “exceeds” claims even under Singular’s

interpretation. Singular’s arguments against this customized implementation fail.

      Tong’s alleged teaching that some “scientific programs” require full

precision (POR, 41-42) is irrelevant. Tong also says “not all programs need the

precision provided by generic FP hardware,” and for an “application-specific

                                         15
                                      APPX05057
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task”—like the applications used in Ground 4’s embedded signal-processing

system—a “custom FP format may be a viable option.” Tong, 278-280; Goodin-

Reply, ¶¶ 56-57. Likewise, full-precision capability is not a “central tenet” of

Dockser (contrary to POR, 42). As Petitioner noted and Singular did not dispute,

Dockser ([0017]) says the input “register file” can be “formatted differently from

IEEE 32-bit…, and/or may contain a different number of register locations.” That

is the customization Ground 4 applies for the “embedded applications” MacMillan

(7:15-34) describes. Petition, 57-59; Goodin-Reply, ¶¶ 58-59.

      Singular’s conclusory allegation that the combination “would increase

manufacturing costs” (POR, 43) is “unsupported by any specific cost analysis” (DI,

37) and legally irrelevant. See supra § III.A; Goodin-Reply, ¶ 60.

      Singular’s assertion that MacMillan “relies on…conventional components to

reduce cost” (POR, 43-44) is unsupported. MacMillan “permits”/“allows” some of

its “memory” to be “conventional” (MacMillan, 6:24-36), but does not limit other

components (including floating-point units) to being “conventional.” Goodin-

Reply, ¶ 61; Khatri-Depo., 139-143 (“MacMillan has simply no opinion…on

what’s inside the PE”). In MacMillian’s “embedded” systems (7:15-34), POSAs

understood that components were conventionally customized to save space/power.

Petition, 57-58; Goodin-Reply, ¶ 62; Ex. 1076, 1 (“[e]mbedded computers” “often

employ idiosyncratic processors…designed…for a limited class of applications”),



                                        16
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UNITED STATES PATENT AND TRADEMARK OFFICE
                _____________

BEFORE THE PATENT TRIAL AND APPEAL BOARD
               _____________

                    GOOGLE LLC,
                      Petitioner,

                         v.

          SINGULAR COMPUTING LLC,
                 Patent Owner.
                _____________

              Case No. IPR2021-00155
               Patent No. 10,416,961
                  _____________




 REPLY DECLARATION OF RICHARD GOODIN



                                           Google Exhibit 1071
                                           Google v. Singular
                                           IPR2021-00155




                              APPX05082
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      31.     Dr. Khatri asserts that Dockser’s FPP would “increase costs” in

MacMillan’s system. Khatri, ¶ 104 (emphasis in original). However, I have

reviewed Dr. Khatri’s declaration, and I find no evidence cited in Dr. Khatri’s

declaration to demonstrate that incorporating Dockser’s FPP into MacMillan’s

system would increase cost at all, much less to any appreciable degree. Dr. Khatri

says in ¶ 103 of his declaration that “Dockser’s FPPs are even larger than

traditional full-precision execution units because of the control circuitry needed to

implement the selectable subprecision modes” (emphasis in original). But I find

no evidence cited in Dr. Khatri’s declaration that establishes that any size

difference that may exist between Dockser’s FPP and conventional units would

increase cost, much less that any such increase would outweigh the cost decrease

gained by Dockser’s power savings. Additionally, even if there were some cost

increase, that does not mean there is no motivation to implement the combination

for other beneficial reasons, such as those I discussed in my original declaration.

Goodin-Orig., ¶¶ 351-355.

      B.      “Computing Device”

      32.     Dr. Khatri asserts that MacMillan’s CPU in the Dockser/MacMillan

combination does not meet the “at least one first computing device adapted to

control the operation of the at least one first LPHDR execution unit” recited in the




                                        29
                                      APPX05112
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operation of the at least one first LPHDR execution unit” would have understood

that the claim language is not limited to direct control, and does not require

controlling anything beyond “the operation of” the unit(s) (e.g., whether, when

and/or how the LPHDR units operate).

      37.     In fact, a POSA would have understood that in the ’961 Patent’s own

described embodiment, a host computing device controls operation of the SIMD

PEs by instructing an intermediate control unit (“CU”) (like MacMillan’s SIMD

Controller) to control the PEs. See ’961 Patent, 8:10-29, 8:59-63. The ’961 Patent

states that the “SIMD computing system 100 [that] is illustrated in FIG. 1 …

includes a collection of many processing elements (PEs) 104.” Id., 8:10-12. “The

collection of PEs is referred to [in the patent] as ‘the Processing Element Array’

(PEA).” Id., 8:14-16. A POSA would have understood that the “PEs” in the

“PEA” are an embodiment of LPHDR execution units. See, e.g., Goodin-Orig.,

¶ 199. The ““Host computer 102” “is responsible for overall control of the

computing system,” which includes the LPHDR execution units (i.e., the PEs). Id.,

8:59-63. Furthermore, the way that the host computer exercises this control is by

instructing an intermediate “control unit (CU)” (id., 8:13) to execute a program to

control the PEs. See id., 8:59-63 (“Host 102 typically will load the instructions

(the program) for the PEA 104 into the CU instruction memory (not shown in FIG.

1), then instruct the CU 106 to interpret the program and cause the PEA 104 to



                                        32
                                      APPX05115
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compute according to the instructions.”). As I explained in my original

declaration (e.g., Goodin-Orig., ¶¶ 360-361), the ’961 Patent’s control scheme is

mirrored by the process MacMillan describes whereby “the uniprocessor program”

running on the “Host CPU” “calls a system routine to start SIMD Controller

execution,” as a result of which “[t]he SIMD Controller 252 then executes the

SIMD program.” MacMillan, 10:46-67; Goodin-Orig., ¶¶ 360-361 (citing, e.g.,

MacMillan, 9:20-31, 10:27-30, 10:46-51, 10:66-67, 8:56-9:2, 10:44-45, 13:35,

10:44-49; ’961 Patent, 8:27-28, 8:47-48, 8:59-63).

                                                                                         1()()

                                                                                       ,J
                                                                   104




                          106

                   Contro l                              Processing Element
                  Unit (CU)                                 Array (PEA)




                                108


                                         Input/Output Unit (IOU)


                                              102                            11 0


                                      Host                     Peripherals




                                       ’961 Patent, Fig. 1


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‘sometimes’ operate at lower precisions” (emphasis in original). In light of a

POSA’s understanding of prior-art GPUs, which I discuss above (e.g., paragraphs

44-53), I disagree, and in my opinion a POSA would have disagreed. As I

discussed above (e.g., paragraphs 50-53), the parallel (SIMT) architecture of the

GPUs the specification discusses, which contained the vast majority of the GPU’s

processing units, was composed of 32-bit-only units that could not perform lower-

precision operations. A POSA would have understood the ’961 Patent’s

specification’s statement that “existing GPUs devote substantial resources to 32 …

bit arithmetic and are wasteful of transistors” (’961 Patent, 5:30-33) is referring to

the large number (“substantial resources”) of traditional-precision-only units (e.g.,

SPs) in the GPUs that could not sometimes perform lower-precision operations.

Thus, the specification supports my opinion that the “exceeds” claims’ 32-bit EUs

are separate and distinct from LPHDR execution units, of which Dockser’s FPP is

the latter and not the former. See Goodin-Orig., ¶¶ 374-375.

IV.   GROUND 4 – DOCKSER/TONG/MACMILLAN COMBINATION

      A.      Customized Implementation of Dockser/Tong/MacMillan
              Combination

      56.     As I explained in my original declaration, the challenged claims of the

’961 Patent are also met by an obvious alternative implementation of the

Dockser/Tong/MacMillan combination that incorporates customized Dockser FPPs

(customized in a manner having no full-precision capability) in MacMillan’s


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architecture for use in “an embedded system designed specifically for signal

processing” that never uses full precision. Goodin-Orig., ¶ 393; see also Goodin-

Orig., ¶¶ 389-399. This obvious implementation meets the “exceeds” claims and

their dependents even if the “exceeds” claims were interpreted in the manner Dr.

Khatri proposes in ¶¶ 90-100 of his declaration. For the reasons I explain in

paragraphs 57-69 below, I disagree with Dr. Khatri’s assertions that a POSA would

not have been motivated to make this customized implementation.

      57.     Dr. Khatri asserts that Tong teaches that some “scientific programs”

“inevitabl[y]” require full precision in a generic system intended for all

applications. Khatri, ¶ 111 (emphasis in original). Even if true, that assertion is

irrelevant to the customized implementation of the Dockser/Tong/MacMillan

combination, which is not a generic system intended for all applications. The

customized implementation of the Dockser/Tong/MacMillan combination is an “an

embedded system designed specifically for signal processing,” that “only

operate[s] at precision levels lower than full FP 32-bit operations, in view of

Tong’s teachings that ‘the fine precision of the 23-bit mantissa is not essential’” for

all applications. Goodin-Orig., ¶ 393 (quoting Tong, 279). Whatever Tong may

say about other “different … scientific programs” (Tong, 279), Tong also teaches

that “not all programs need the precision provided by generic FP hardware,” and

“[f]or a narrow, application-specific task”—like the applications performed by



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Dockser/Tong/MacMillan’s embedded signal-processing system (Goodin-Orig., ¶

393)—a “custom FP format may be a viable option.” Tong, 278-280.

      58.     Dr. Khatri asserts that “a central tenet of Dockser” is “to always be

able to execute full-precision operations.” Khatri, ¶ 114 (citing Dockser, [0003]).

I disagree with Dr. Khatri’s characterization of Dockser, and in my opinion a

POSA would also have disagreed. The paragraph of Dockser that Dr. Khatri cites,

paragraph [0003], states:

      The performance of floating-point arithmetic operations can entail
      computational inefficiency because floating-point processors are
      commonly limited to the precision provided by either the single
      format, or both the single and double formats. While some
      applications may require these types of precision, other applications
                    ---
      may not. For example, some graphics applications may only require a
      16-bit mantissa. For these graphics applications, any accuracy beyond
      16 bits of precision tends to result in unnecessary power consumption.
      This is of particular concern in battery operated devices where power
      comes at a premium, such as wireless telephones, personal digital
      assistants (PDA), laptops, game consoles, pagers, and cameras, just to
      name a few. If it is known that an application always requires a certain
      reduced precision, the floating-point processor can be designed and
      built to that reduced precision. For general purpose processors,
      however, the common situation is that for certain applications, e.g.
      generating 3D graphics, a reduced precision may be acceptable, and
      for other applications, e.g. implementing Global Positioning System



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                                           may be needed. Accordingly,
      (GPS) functions, a greater precision ---
      there is a need in the art for a floating-point processor in which the
      reduced precision, or subprecision, of the floating-point format is
      selectable. Power management techniques may also be employed to
      ensure that that the floating-point processor does not consume more
      power than necessary to support the selected subprecision.

Dockser, [0003]. Thus, this paragraph nowhere states or suggests that to “always”

execute full-precision operations is a “central tenet” of Dockser (Khatri, ¶ 114);

rather, this paragraph teaches that some processors, i.e. “general purpose

processors,” “may” require full precision. Other types of processors (not intended

to be “general purpose”) may not.

      59.     Moreover, as I noted in my original Declaration (see Goodin-Orig.,

¶ 394), and which Dr. Khatri does not appear to dispute (see Khatri, ¶¶ 110-115),

Dockser ([0017]) explicitly teaches that its input “register file” can be “formatted

differently from IEEE 32-bit…, and/or may contain a different number of register

locations.” That is precisely the customization applied in

Dockser/Tong/MacMillan in the “embedded applications” that MacMillan

describes. Goodin-Orig., ¶¶ 389-399; MacMillan, 7:15-34.

      60.     Dr. Khatri asserts that “[t]he removal of full-precision circuitry from

the Dockser FPP … would increase manufacturing costs.” Khatri, ¶ 115. I

disagree, and in my opinion a POSA would have disagreed. I find no evidence



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MacMillan, 6:24-36. However, a POSA reading MacMillan would have

understood that MacMillan does not limit other components (including

MacMillan’s floating-point units—MacMillan, 12:55-56) to being “conventional.”

         62.    Second, in the “embedded” systems that MacMillan (7:15-34)

describes, POSAs understood that components were conventionally customized,

for example to save space and power. For documentary evidence corroborating my

testimony regarding a POSA’s background knowledge in this regard, see, e.g., Ex.

1076 (“Cooper”)3, page 1 (“[e]mbedded computers” “often employ idiosyncratic

processors…designed…for a limited class of applications”), page 5 (“difference[s]

between the embedded environment and more general computing environments”



3
    The indicia on the face of Cooper indicate that it was publicly accessible as early

as 2003. For example, Cooper bears a date of “June 2003” (Cooper, cover page)

and includes a statement that it had been deemed “releasable to the general public”

by the “Air Force Research Laboratory” (Cooper, second page). Cooper also

contains a “Report Documentation Page” (Cooper, third page) that lists a “Report

Date” of “Jun 03.” In my opinion, these indica, combined with Ex. 1079 and the

fact that Cooper is dated years before the ’961 Patent’s 2009 claimed priority date,

demonstrate that Cooper would have been publicly accessible prior to the ’961

Patent’s claimed priority date.


                                          53
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include “power and size constraints”); Ex. 1097 (“Miner”), 1:23-26 (“processors in

embedded systems are often streamlined…to the purpose of the product device and

are not configured to perform general-purpose computing”); Ex. 1077

(“Lienhart”)4, page 1 (in “special purpose computers” for “very specific problems,”

“arithmetic units are implemented which are optimally suited for the computation

pattern of the problem.”); Ex. 1078 (“Fang”)5, page 496 (“Modern digital signal

processing DSP applications are typically prototyped using floating-point

arithmetic, which offers both large dynamic range and high precision for each

numerical computation. However, for hardware implementations, the final form

rarely uses a full-precision floating-point unit, given issues of silicon area,

power, and speed.”).

        63.     Dr. Khatri asserts that “Tong suggests 11 bits of precision for specific

signal processing applications, and Petitioner provides no analysis of whether 11

bits of precision would meet the imprecision limitation.” Khatri, ¶ 116. However,

whether using 11 bits of precision would “meet the imprecision limitation” is



4
    Ex. 1080 demonstrates that Lienhart was publicly accessible as of 2002, prior to

the ’961 Patent’s claimed priority date.
5
    Ex. 1081 demonstrates that Fang was publicly accessible as of 2003, prior to the

’961 Patent’s claimed priority date.


                                           54
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irrelevant, because the Dockser/Tong/MacMillan combination also uses other

lower precision levels that Tong teaches. Tong teaches that embedded signal-

processing programs “range in complexity” and can use different precision levels

between 5 bits and 11 bits. Tong, 278-279; Goodin-Orig., ¶ 391. Dockser’s

precision is selectable, and in the embedded signal-processing system of

Dockser/Tong/MacMillan, it would have been obvious to customize Dockser’s

FPP for the use of any of “the precision levels Tong teaches” for particular

programs performed by an embedded signal-processing system. Goodin-Orig.,

¶ 332. See also Goodin-Orig., ¶ 397 (noting that “the input signal and selected

precision levels are unchanged” from my previous analysis of the Dockser,

Dockser/Tong, and Dockser/MacMillan combinations), ¶391 (“Tong

experimentally demonstrates that the optimum precision for a ‘benchmark suite’

(Tong, 284) of ‘five signal processing applications’ spanning a ‘range in

complexity’ is between 5 and 11 mantissa fraction bits (Tong, 278-279).”), ¶ 392

(“A POSA would have been motivated to use Dockser’s FPPs in MacMillan’s

architecture with Tong’s precision levels…in MacMillan’s embedded signal-

processing system”). Dr. Khatri does not dispute that the claimed imprecision

limitation [1B2] is met by 5-bit through 9-bit precision, which are among the levels

Tong teaches for various embedded signal-processing applications.




                                       55
                                     APPX05138
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      79.     Additionally, the use of a “large number” of execution units “capable

of executing arithmetic operations only at low precision … in order to ‘put more

multipliers in the same chip area’” (Khatri, ¶ 127, emphasis original) was not

novel. Numerous prior-art references each individually taught using smaller,

lower-bitwidth execution units to facilitate parallelization, as I explain in this

paragraph and in paragraphs 80-83 below. For example, Ex. 1088 (“Belanovic-

Article”), explained that “[m]any image and signal processing applications benefit

from acceleration with reconfigurable hardware,” and that “[t]his acceleration

results from the exploitation of fine-grained parallelism available in reconfigurable

hardware.” Belanovic-Article, 657. The article then taught that “[r]econfigurable

implementations that exhibit speedup are possible if…a more flexible floating-

point representation than full IEEE precision is used, thus allowing for greater

parallelism.” Id. The article then noted:

      Optimal implementations of algorithms frequently do not require the
      bitwidths specified by the IEEE standard. Often, much smaller
      bitwidths than those specified in the 754 standard are sufficient to
      provide the desired precision. Reduced bitwidth implementations
      require fewer resources and thus allow for more parallel
      implementations than using the full IEEE standard format.

Belanovic-article, 658. Thus, a POSA would have understood that Belanovic-

Article taught achieving “greater parallelism” and “more parallel implementations”



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      I declare that all statements made herein of my own knowledge are true, that

all statements made on information and belief are believed to be true, and that

these statements were made with the knowledge that willful false statements and

the like are punishable by fine or imprisonment, or both, under Section 1001 of

Title 18 of the United States Code.

      I declare under penalty of perjury that the foregoing is true and correct.



Dated:______________
      11/01/2021



                                       _____________________________
                                       Richard Goodin




                                         91

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                                                                         Page 1

 1           UNITED STATES PATENT AND TRADEMARK OFFICE
 2                            _________________
 3           BEFORE THE PATENT TRIAL AND APPEAL BOARD
                              __________________
 4
                                  GOOGLE LLC,
 5                                Petitioner,
 6                                     V.
 7                      SINGULAR COMPUTING LLC,
                                 Patent Owner
 8
                              __________________
 9
          Case No. IPR2021-00155/Patent No. 10,416,961
10        Case No. IPR2021-00165/Patent No. 9,218,156
          Case No. IPR2021-00179/Patent No. 8,407,273
11
12
          ********************************************
13          REMOTE VIDEOTAPED / REALTIMED DEPOSITION OF
14                      SUNIL P. KHATRI, Ph.D.
15                            OCTOBER 21, 2021
16        *********************************************
17
18
19
20
21
22
23
24
                                                                       Google Exhibit 1072
25       Job No. CS4838992                                             Google v. Singular
                                                                       IPR2021-00155
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                                                                       Page 2

 1                  REMOTE VIDEOTAPED / REALTIMED
 2        DEPOSITION of SUNIL P. KHATRI, Ph.D.,
 3        produced as a witness at the instance of the
 4        Petitioner Google LLC, and remotely duly
 5        sworn by agreement, was taken in the
 6        above-styled and numbered cause on Thursday,
 7        the 21st day of October, 2021, from 9:03 a.m.
 8        to 2:03 p.m., before Pat English-Arredondo,
 9        CSR (TX), RMR, CRR, CLR, CCR (LA), in and for
10        the State of Texas, reported by machine
11        shorthand in remote realtime, with the court
12        reporter located in Houston, Texas, pursuant
13        to the United States Patent and Trademark
14        Office Procedures; that the Witness will read
15        the deposition.
16
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                                     APPX05179
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                                                                       Page 3

 1                    A P P E A R A N C E S
 2             (All via Zoom Video Communications)
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17              Ms. Pat English-Arredondo
                CSR (TX), RMR, CRR, CLR, CCR (LA)
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                                                                       Page 35

 1        algorithm acceleration uses GPUs, FPGAs, and
 2        custom ICs.
 3                           So what is a custom IC?
 4                  A.       A custom IC is an IC you make
 5        for a specific task.          So that's why it has
 6        the name "custom," because it's -- it's
 7        custom designed for a specific task.
 8                           And it's an IC, or integrated
 9        circuit.       So it's custom design integrated
10        circuit to perform a certain specific task.
11                  Q.       And in what types of
12        circumstances would you custom design an
13        integrated circuit to perform a specific
14        task?
15                  A.       So in the field we do that.
16        And in the industry, this is done routinely
17        and commonly.
18                           One such -- there are many
19        classes of custom ICs.           One class is
20        the -- microcontrollers.             So these are the
21        small, you know, microprocessor-style
22        circuits that reside in, for example, a smart
23        TV or several of them would be in an
24        automobile to handle braking or engine
25        mixtures or the fuel mixture and such.

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                                                                       Page 139

 1        imprecision.
 2                  Q.       Next sentence in Paragraph 58
 3        says:      "It simply teaches that each PE can
 4        'perform atomic values on data values up to
 5        32 bits wide.'"
 6                           Do you see that?
 7                  A.       Yes.
 8                  Q.       You don't believe that that
 9        statement from MacMillan is saying anything
10        regarding precision?
11                           MR. COWELL:        Objection to form.
12                  A.       That's just a statement
13        that -- you know, MacMillan's main teaching
14        is about how to use something called SIMD
15        architecture in the context of, you know,
16        personal computers, basically.
17                           It has no opinion or no
18        teaching about the precision of the -- you
19        know, the processing elements or what they
20        contain.
21                           The MacMillan -- MacMillan has
22        no opinion about that and has no teaching
23        about that in some sense basically, and
24        that's why I say it is -- MacMillan is silent
25        about that issue.

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 1                  Q.       (By Ms. Hunt)       So when it's
 2        says that each PE can perform atomic
 3        operation on data values up to 32 bits wide,
 4        is it saying that the PEs can be full
 5        precision?
 6                           MR. COWELL:       Objection to form.
 7                  Outside the scope.
 8                  A.       It's simply saying that
 9        the -- you know, that the PEs, you know, can
10        perform arithmetic operations on data values
11        up to 32 bits.
12                           Whether these PEs have and what
13        they have in them and whether they are
14        floating point values and so on is not
15        something that MacMillan teaches.
16                           MacMillan is just teaching a
17        processing element.         In this processing
18        element, it may or may not be, you know,
19        floating point.
20                           MacMillan has simply no opinion
21        on this -- on what's inside the PE and, you
22        know, how that operates and whether it's
23        floating point and what the precision or
24        imprecision is of that PE, of the operations
25        in the PE.

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 1                  Q.       (By Ms. Hunt)         Would that mean
 2        that MacMillan is agnostic to what's in the
 3        PE?
 4                           MR. COWELL:        Objection to form.
 5                  Outside the scope.
 6                  A.       MacMillan is teaching how to
 7        combine several PEs in some sense in a higher
 8        level.
 9                           So in some sense, you know, the
10        person who practices MacMillan would decide
11        what to put in the PEs, I suppose.
12                           But MacMillan's focus is not
13        what's inside the PE or floating point or
14        precision or imprecision.               That's what I mean
15        by this paragraph.
16                  Q.       (By Ms. Hunt)         Sorry.       Give me
17        one minute.        I'm having technical issues.
18        Bear with me.
19                           Sorry about the delay.
20                           Do you have your copy of
21        MacMillan in front of you?
22                  A.       Yes.
23                  Q.       Do you see -- sorry.              Could you
24        turn to Column 12 of MacMillan, please?
25                  A.       Yes.

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AFRL-IF-RS-TR-2003-145
Final Technical Report
June 2003




CODE OPTIMIZATION FOR EMBEDDED
SYSTEMS
Rice University


Sponsored by
Defense Advanced Research Projects Agency
DARPA Order No. F297, J468




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                   AIR FORCE RESEARCH LABORATORY
                      INFORMATION DIRECTORATE
                         ROME RESEARCH SITE
                           ROME, NEW YORK
                                                                                           Google Exhibit 1076
                                                                                           Google v. Singular
                                                                                           IPR2021-00155
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1. Summary

This project investigated a number of problems that arise in translating computer
programs for execution on embedded computer systems—compiling those programs.
Embedded systems are characterized by a number of constraints that do not arise in the
commodity computer world. Most of these constraints have an economic basis.
Embedded computers typically have limited amounts of memory. They often employ
idiosyncratic processors that have been designed to maximize their performance for a
limited class of applications. The applications are often quite sensitive to performance.
Some of the problems that arise in compiling code for execution on embedded systems
have solutions that are relatively local in their impact within a compiler. For example,
teaching the compiler to emit code for specialized instructions on a particular processor is
easily handled during instruction selection — a modern code generator, based on pattern
matching, can be extended to make good use of special case operations. We investigated
several of these local problems. Other problems, however, have solutions that cut across
the entire compiler. We tackled several of these cross-cutting problems. In both realms
(local problems and cross-cutting problems), we developed an understanding of the issues
involved, did some fundamental experimentation, proposed new techniques to address the
problem, and validated those techniques experimentally.
To transfer the results of this work into commercial practice, we have published papers,
distributed code, communicated with industrial compiler groups, and sent students to
work in those groups. The techniques developed in this project are beginning to appear
in the systems of other compiler groups — both research and commercial compilers. We
expect more of them to be adopted in the future.
Major Results
   ♦   New methods for reducing the size of compiler-generated code
   ♦   New techniques for instruction scheduling — both better schedulers for space
       constrained environments and stronger schedulers for hard problems
   ♦   A new algorithm for scheduling and data placement on processors with
       partitioned register sets — an increasingly popular feature in embedded
       processors
   ♦   New techniques for reducing the amount of spill code generated by a graph
       coloring register allocator and for reducing the impact of that spill code (both
       space and time)
   ♦   New techniques for some of the fundamental analyses and transformations used in
       code optimization for both embedded systems and commodity systems
   ♦   A new approach to building self-tuning optimizing compilers, which we call
       adaptive compilation.




                                             1


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   3. Iterative repair can find schedules that consume fewer resources than those
      produced by list scheduling, even when list scheduling finds an optimal length
      schedule. For example, it often finds schedules that use fewer registers.
   4. Blocks where list scheduling fails to find optimal results fall in a narrow range for
      one measurable parameter — available parallelism per issue slot. When this value
      falls with that range, it may be worth invoking an iterative repair scheduler. (The
      compiler can measure this parameter during list scheduling.)
   Computing Transformation Orders — We conducted a series of experiments with
   transformation ordering. In the first, we built a simple genetic algorithm to find an
   ordering for the compiler’s transformations that produced compact programs. The
   genetic algorithm was able to reduce code size by an average of thirteen percent over
   the default optimization sequence in our compiler. (In contrast, direct compression
   using pattern matching and procedure abstraction produced an average of five and
   one-half percent in the same compiler. See references 2 and 3.)
   Studying the strings that resulted from the genetic algorithm allowed us to derive a
   standard transformation sequence for compact code that achieved most of the benefit
   of running the genetic algorithm. It achieved an average of eleven percent reduction
   in code size when compared to the standard transformation sequence used in our
   research compiler. In the case of this problem (and, perhaps, these benchmarks), we
   were able to generalize from the experiment to discover a more broadly applicable
   sequence.
   Based on our experience using genetic algorithms to compute transformation
   sequences for compact code, we expanded our inquiry to look at other objective
   functions, to explore more effective genetic algorithms, and to investigate other
   search techniques. This line of inquiry has produced an independent, NSF-funded
   research program (“Building Practical Compilers Based on Adaptive Search”, $1.6
   million, 8/2002 through 8/2007). That project will explore a number of issues,
   including better search techniques, the relationship between program properties and
   the “best” sequences, how to apply the results in a time-constrained compiler, and
   how to engineer compilers so that their passes can be reordered. (Reference 9
   describes some of the early experiments on this project.)
Dealing with Constrained Resources
Resource constraints are a striking difference between the embedded environment and
more general computing environments. The limited program and data memories found in
embedded systems are driven by economics, as well as power and size constraints. These
constraints are unlikely to ease in future.
We explored a number of techcniques for reducing the memory requirements of compiled
code. In general, two approaches make sense. The first is a direct attack — compressing
the compiled code. The second is indirect — building compilers that generate smaller
code in the first place. We worked on both problems. Finally, our work on architectural
idiosyncrasies included techniques to reduce the data-memory footprint of programs.
Compressing Compiled Code — We built a code compressor based on ideas put forth in
a 1984 paper by Fraser, Myers, and Wendt. The tool built a suffix-tree to represent the


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                          Case: 22-1866                    Document: 50-2                    Page: 245               Filed: 02/03/2023

                               Using Floating-Point Arithmetic on FPGAs to Accelerate
                                            Scientific N-Body Simulations

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                                                                                        specialization on an application. But in science the exact
                                     Abstract                                           mathematical formulation of a simulation problem is
                                                                                        often subject to change. This aspect foils the approach of
        This paper investigates the usage of floating-point                             building an ASIC for the majority of applications.
        arithmetic on FPGAs for N-Body simulation in natural                               FPGA based machines are somewhere between
        science. The common aspect of these applications is the                         general-purpose computers and ASIC-based computers.
        simple computing structure where forces between a                               They enable building of application specific computation
        particle and its surrounding particles are summed up. The                       units but preserve the possibility of redesigning these
        role of reduced precision arithmetic is discussed, and our                      structures at any time. Due to the limits of programmable
        implementation of a floating-point arithmetic library with                      logic resources on an FPGA they are to date mainly used
        parameterized operators is presented. On the base of this                       for integer and bit-level processing tasks. But with the
        library, implementation strategies of complex arithmetic                        recent progress in FPGA technology these chips are more
        units are discussed. Finally the realization of a fully                         and more interesting for scientific applications where
        pipelined pressure force calculation unit consisting of 60                      floating-point arithmetic is needed.
        floating-point operators with a resulting performance of                           Although the clock frequency of typical FPGA designs
        3.9 Gflops on an off the shelf FPGA is presented.                               (50-200 MHz) is much below the frequencies of state of
                                                                                        the art CPUs (1 GHz) a computational speedup is possible
                                                                                        for some algorithms, mainly for two reasons. First,
        1. Introduction                                                                 optimally suited calculation units with a high degree of
                                                                                        parallelization can be designed, where a minimum amount
           In the scientific community there is a particular interest                   of silicon is wasted for modules in wait state. This is
        for special purpose computers, which can compute a                              possible if the underlying algorithm has a simple
        specific problem at a very high performance. Since the                          computation pattern which allows to design a special
        simulation of biological, chemical or physical effects                          purpose calculation structure. Furthermore the required
        became an important aspect of natural science, there has                        precision of operators must be small enough to enable an
        always been an insatiable demand for computation power.                         implementation. Secondly, a possible speedup is obtained
        Examples for arbitrary large computing problems can be                          if the environment surrounding the FPGA and the
        found in the field of theoretical astrophysics where the                        controllers on the FPGA can be designed for providing a
        motion of millions of stars need to be simulated in order                       very high bandwidth of data transfer. Both aspects
        to understand how the structures in the universe have                           together allow for a sustained calculation with maximized
        developed.                                                                      utilization of the operators.
           For very specific problems special purpose computers                            There have been several investigations of using FPGAs
        based on ASICs can be built. There, arithmetic units are                        for implementing floating-point arithmetic. Fagin and
        implemented which are optimally suited for the                                  Renard [17], Shirazi et al. [15], Lourca et al. [12] and
        computation pattern of the problem. An example for such                         Ligon et al. [16] investigated ways of implementing
        an approach is the GRAPE project where a single formula                         floating-point adders and multipliers. Shirazi et al. [15]
        for getting the gravitational interaction force is calculated                   and Louie et al. [13] published division implementations.
        in a massively parallel manner (see publication of                              Li and Chu [11] presented their implementation of a
        Ebisuzaki et al. [1]). These GRAPE Computers reach a                            square root unit on FPGA. All these investigations have in
        performance up to the range of Tflops, and the Gordon-                          common that they were done for a particular floating-
        Bell Price has been awarded several times.                                      point precision. In contrast, we focus on the impact of
           The gain of computation speed compared to general-                           different floating-point representations on the resulting
        purpose machines is directly related to the amount of                           hardware design. Additionally we use different integer




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                                                                         Exhibit 1077 - p. 1                                              Google v. Singular
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            30.1

             Toward Efficient Static Analysis of Finite-Precision Effects
                in DSP Applications via Affine Arithmetic Modeling
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                                               {ffang, rutenbar, pueschel, tsuhan}@ece.cmu.edu
                                                                        Electrical and Computer Engineering
                                                                             Carnegie Mellon University



            ABSTRACT                                                                                   custom floating-point. The two-part problem for any com-
            We introduce a static error analysis technique, based on                                   plex DSP task is how to choose the smallest bit-level number
            smart interval methods from affine arithmetic, to help de-                                 formats, and then how to validate that the format choices
            signers translate DSP codes from full-precision floating-point                             maintain the necessary level of numerical precision. Several
            to smaller finite-precision formats. The technique gives re-                               techniques have been proposed [2, 3). Roughly speaking,
            sults for numerical error estimation comparable to detailed                                these all share three common characteristics: (a) they are
            simulation, but achieves speedups of three orders of mag-                                  based on detailed simulation to capture the necessary nu-
            nitude by avoiding actual bit-level simulation. We show                                    merical ranges and the maximum error; (b) they first strive
            results for experiments mapping common DSP transform                                       to determine the dynamic range of each operand, to avoid
            algorithms to implementations using small custom floating                                  catastrophic overflows; and (c) they next strive to choose the
            point formats.                                                                             right precision to assure acceptable quality in the output.
                                                                                                          The essential problem in all these techniques is the need
                                                                                                       to rely on detailed simulations to find the optimal range
            Categories and Subject Descriptors                                                         and precision of each operand. If we choose a sequence of
            C.3 [Special-Purpose and Application-Based Systems):                                       input patterns that are too few or incorrectly distributed,
            Signal Processing Systems; J.6 [Computer-Aided Engi-                                       we may fail to find all the extreme values that real-life use
            neering]: Computer-Aided Design                                                            will encounter. If we employ instead a more rigorous de-
                                                                                                       tailed simulation strategy, the format optimization process
            General Terms                                                                              becomes unduly expensive.
                                                                                                          A more attractive solution is some form of static analysis,
            Algorithms, Design, Performance
                                                                                                       which guarantees that we will find the extreme values and
                                                                                                       the maximum error of each operand, but does not require us
            Keywords                                                                                   to consider a potentially unbounded set of input patterns.
            Static error analysis, affine arithmetic, probabilistic error                              We use the term "static" here in the same sense as that from
            bound, embedded hardware, custom floating-point                                            static timing analysis for gate-level logic netlists. A single
                                                                                                       evaluation pass on the network, which computes more than
            1.     INTRODUCTION                                                                        just the delay through each gate, derives useful bounds on
                                                                                                       each path in the network. These delays are pessimistic-
               Modern digital signal processing DSP applications are
                                                                                                       they are upper bounds, but tight enough for timing signoff.
            typically prototyped using floating-point arithmetic, which
                                                                                                       For finite-precision format optimization, we seek exactly the
            offers both large dynamic range and high precision for each
                                                                                                       same sort of attack: a more pattern-independent evaluation
            numerical computation. However, for hardware implemen-
                                                                                                       that can create usefully tight bounds on the range/error of
            tations, the final form rarely uses a full-precision floating-
                                                                                                       each operand in the application.
            point unit, given issues of silicon area, power, and speed.
                                                                                                          The obvious approach for such a static analysis draws on
            This creates the common-and still awkward-problem of
                                                                                                       techniques from interval arithmetic [8], which replaces each
            transforming the application from its initial, for all practi-
                                                                                                       scalar value with a bounded interval on the real number
            cal purposes "infinite" precision form, into some final, finite--
                                                                                                       line. An algebra of intervals lets us "simulate" the code by
            precision hardware format.
                                                                                                       performing each operation on the intervals. Unfortunately,
               These final finite-precision formats can be either custom
                                                                                                       conventional interval arithmetic suffers from the problem of
            fixed-point or reduced-precision (so-called "lightweight" [3])
                                                                                                       range explosion: · as more computations are evaluated, the
                                                                                                       intervals tend to grow without bound. The problem is that
                                                                                                       correlations among variables are not captured.
            Permission to make digital or hard copies of all or part of this work for                     A recent solution to this problem is a more sophisticated
            personal or classroom use is granted without fee provided that copies are                  interval model called affine arithmetic, introduced in (l].
            not made or distributed for profit or commercial advantage and that copies                 The approach explicitly captures some of the correlations
            bear this notice and the full citation on the first page. To copy otherwise, to            among operands, and dramatically reduces the level of pes-
            republish, to post on servers or to redistribute to lists, requires prior specific
            permission and/or a fee.
                                                                                                       simism in the final intervals. It has been successfully used in
            DAC 2003, June 2-6, 2003, Anaheim, California, USA.                                        analog circuit sizing [6]. We apply the idea to the novel prob-
            Copyright 2003 ACM 1-58113-688-9/03/0006 ... $5.00.



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c12)   United States Patent                                                                 (10) Patent No.:                      US 7,921,425 B2
       Miner et al.                                                                         (45) Date of Patent:                               Apr. 5, 2011

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(65)                    Prior Publication Data
                                                                                     Primary Examiner - Emerson C Puente
        US 2006/0206898 Al            Sep. 14,2006                                   Assistant Examiner - Adam Lee
                                                                                     (74) Attorney, Agent, or Firm - Stolowitz Ford Cowger
(51)    Int.Cl.                                                                      LLP
        G06F 9/46                      (2006.01)
(52)    U.S. Cl. ......................... 718/107; 718/108; 718/102                  (57)                            ABSTRACT
(58)    Field of Classification Search .................. 718/104,                   Techniques for allocating computing resources to tasks
                                              718/105; 717/118, 148                  include receiving first data and second data. The first data
        See application file for complete search history.                            indicates a limit for unblocked execution by a processor of a
                                                                                     set of at least one task that includes instructions for the pro-
(56)                    References Cited
                                                                                     cessor. The second data indicates a maximum use of the
                 U.S. PATENT DOCUMENTS                                               processor by the set. It is determined whether a particular set
                                                                                     of at least one task has exceeded the limit for unblocked
       5,303,369 A * 4/1994 Borcherding et al. .. ...... 718/104                     execution based on the first data. If it is determined that the
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       5,625,870 A    4/1997 Moon                                                    particular set by the processor is blocked for a yield time
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                                                                                     specific-purpose device are starved for processor time by
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                                                    SETOFTASKSNOTIINCMI.TOC00P£RATEUSECFASltl3LE PROCESSOR


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                                                                                         FORYELDTIME



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                                        FIG.1



                   102 SPECIFIC PURPOSE DEVICE




                        PROCESSOR
              SYSTEM CLOCK

       114                                      116
       SYSTEM INSTRUCTIONS                      TIME COUNTER




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                                   FIG. 2
                                     212
           RECEIVE DATA INDICATING EXTERNAL EXECUTION LIMIT FOR
     SET OF TASKS NOT KNOWN TO COOPERATE USE OF A SINGLE PROCESSOR


                                     2H.
          RECEIVE DATA INDICATING MAXIMUM PROCESSOR USAGE FOR
     SET OF TASKS NOT KNOWN TO COOPERATE USE OF A SINGLE PROCESSOR


                                     216.
        DETERMINE YIELD TIME BASED ON MAXIMUM PROCESSOR USAGE


                                    22Q
              RECEIVE DATA INDICATING PROCESSOR INSTRUCTIONS
                       FOR A PARTICULAR SET OF TASKS




                 230.                                 240.
     EXECUTE INSTRUCTIONS FROM              EXECUTE INSTRUCTIONS FROM
       PARTICULAR SET OF TASKS                PARTICULAR SET OF TASKS




       200.?

                                                       ~
                                                YIELD PROCESSOR
                                                 FOR YIELD TIME




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                             FIG. 3

                                                   £300



                                   .312
                             INITIALIZE TIMER



                                   34Q
               EXECUTE UP TO N INSTRUCTIONS FROM
                    PARTICULAR SET OF TASKS

                                            .342
                        RECEIVE SYSTEM CLOCK INTERRUPT
                               AND UPDATE TIMER




                                               YES




                      248.
              YIELD PROCESSOR
                FOR YIELD TIME




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                                                                             400           ~
                  FIG.4                                                                    ~
                                           422                              GRAPH          ~

                                    75TH PERCENTILE             .£                         ~
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                         420         PERFORMANCE
                      MAXIMUM
                    PERFORMANCE           410
                                          CURVE OF OBSERVED PERFORMANCE                   t:-:
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APPX05918
                                         ON AVERAGE TO 75% PERFORMANCE
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                                   ·402 AXIS FOR NUMBER N OF INSTRUCTIONS                  -....l
                                           BETWEEN TIMER CHECKS                           \0
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            404 PERFORMANCE AXIS                                                          "'""'
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                                                       430 NUMBER N CORRESPONDING          N
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                                                      ON AVERAGE TO ALLOWED DURATION
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                               FIG. 5
                                       .584
                               INTERNET SERVICE
                                   PROVIDER

                             53
                               ~ 5 3NETWORK
                            532b    2       LINKS                    592
                                                                    SERVER
                           532c

                                              --510
                530                                BUS
        SWITCHING SYSTEM



                                                           DEVICE
                 filM.
               MEMORY

                                                              520
                                                          APPLICATION
                 .502                                      SPECIFIC IC
              PROCESSOR

                                                              .5lQ
                                                        COMMUNICATIONS
                .506.                                      INTERFACE
              READ ONLY
               MEMORY




                                          .5.12
                                       TERMINAL




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                                                      US 7,921,425 B2
                               1                                                                    2
        TECHNIQUES FOR ALLOCATING                                    using the router computing capacity to complete the process-
         COMPUTING RESOURCES TO                                      ing in the available time interval.
    APPLICATIONS IN AN EMBEDDED SYSTEM                                  There are problems associated with tapping the unused
                                                                     capacity of processors in embedded systems, however. For
            BACKGROUND OF THE INVENTION                              example, the extra application (called here a "foreign appli-
                                                                     cation") that is not related to the specific purpose of the
   1. Field of the Invention                                         device, may consume more than the excess capacity of the
   The present invention relates to scheduling independent           processor in the specific purpose device, and, thus, interfere
tasks in a multi-tasking operating system embedded in a              with the proper functioning of the device for its specific
specific purpose device, and in particular to externally con- 10 purpose. For example, a router might no longer be able to
straining the use of computing resources by a task that is not       route all the data packet traffic the router receives because the
known to cooperatively share computing resources.                    foreign application has consumed more than 80% of the
   2. Description of the Related Art                                 capacity of the router's processor in order to perform the
   A still increasing number of products in commerce include         computations on the data sent from the end node.
information processors. For example, greeting cards, cell 15            Embedded systems typically include multi-tasking sched-
phones, cameras, household appliances, automobiles,                  ulers which divide time on a processor among multiple
machining tools, construction tools, and network devices,            sequences of processor instructions called tasks. Each task
such as routers, among others, are specific purpose devices          typically uses the processor to do one specific job, such as
that include information processors. The processor, support-         reading a sensor, scanning a keyboard or mouse, logging
ing components, and processor instruction sets that support 20 some type of data, performing a calculation on numbers in
the primary purpose of such a specific purpose device consti-        one or more registers, and sending data over a bus to a device
tute an embedded system.                                             or communication link. It is desirable that the scheduler for an
   The information processors in embedded systems are often          embedded system ensure that the primary purpose of the
streamlined to perform a limited set of operations related to        device is accomplished even if some computing capacity is
the purpose of the product device and are not configured to 25 provided to foreign applications.
perform general-purpose computing. The streamlining is evi-             Typically, embedded system task schedulers assigns each
dent in both hardware and processor instructions (software).         task a priority that determines when it is given access to the
For example, the hardware might include less memory and              processor relative to other tasks. Higher priority tasks are
storage, fewer accelerator circuits, fewer peripherals, such as      performed before lower priority tasks. When multiple tasks
printers and other displays, and smaller power supplies than 30 have the same high priority, a policy is used to determine
are found in a general purpose computer. Similarly, the soft-        which task is allowed to execute on the processor next. A
ware might include a simpler operating system with fewer             common policy, called a "round robin" policy, is to take each
drivers for peripheral devices, and a reduced number of              task of the same priority in tum. Each task is allowed to run to
expected states and therefore a reduced number of state vari-        completion and then the next task at the highest priority is
ables and a reduced number of instructions to handle the 35 allowed to use the processor.
various states.                                                         For such a collection of tasks to successfully share a pro-
   It is often the case that the information processor in the        cessor, the tasks must be designed to be cooperative, i.e., to
embedded system is not fully utilized in performing all the          prevent one task from "starving" by being unable to use the
functions for which the specific purpose device is designed.         processor within a useful period of time. It is common for all
For example, many routers that direct data packets over com- 40 the tasks associated with an embedded system to be designed
munication links connecting multiple network nodes include           to cooperate in the use of a processor. Each cooperative task
one or more processors that are used to compute the best route       uses the processor for a limited time and then yields the
for a data packet, encapsulate the data in a data packet             processor for use by other tasks.
directed to the correct link, and perform error-checking to             However, instructions for foreign applications are not nec-
determine that communications are successful. However, 45 essarily designed to be cooperative, and a scheduler for an
only a portion of the processor capacity is consumed in per-         embedded system can not rely on instructions internal to each
forming the primary router purpose. For example, some rout-          task to provide the necessary sharing. One reason instructions
ers use only about 20% of the information processing capac-          from a foreign application might not be cooperative is that
ity of their processors, which often means that one or more          they were designed for operation on a general purpose com-
processors in the router are idle about 80% of the time.          50 puter in which a language compiler or a full operating system
   It is sometimes advantageous to make use of the excess            externally enforces a policy of sharing use of a processor.
capacity of processors in embedded systems. For example,             Thus, if such an uncooperative task is given control of the
the excess capacity of a processor on a refrigerator control         processor in an embedded system, the task might not yield the
circuit might be used by a separate software application to          processor in time for subsequent equal or higher-priority
compute and display the expected freshness life of different 55 tasks to use the processor. Thus the priority based schedulers
foodstuffs based on the current temperature and humidity             typical in embedded systems are not adequate for scheduling
conditions in the refrigerator and freezer sections of the appli-    tasks from many foreign applications.
ance. Similarly, the excess capacity of a processor on a net-           In some general purpose computing systems, strict time-
work router might be used by a separate software application         slicing is enforced, so that each task is allotted only a certain
to provide services over and beyond those usually associated 60 time on the processor and then is moved off. Tasks moved off
with a router, such as providing information to users on geo-        the processor are moved to a location in memory that pre-
spatial relationships among the network elements and hosts in        serves the state of all registers used by the task, and the stack
a network. As another example, an end node connected to a            of instructions that still need to be completed. However, in
network might have more data to process in a particular              embedded systems, all tasks are not equal; tasks that support
interval of time than it can handle; and so the end node sends 65 the purpose of the device and are time critical, such as real-
a part of the data and the instructions to process that data to      time processes, must be allowed to complete before other
each of one or more of the closest routers on the network,           tasks are started which are peripheral to the purpose of the




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device or are not time-critical. Strict time slicing is not com-         Embodiments of the invention are described in the context
patible with guaranteeing that certain tasks, such as the time-       of executing a JAVA™ virtual machine (NM) to run foreign
critical tasks that support the purpose of the device, run to         Java applications on an embedded system for a router in a
completion.                                                           network. Java is a registered trademark of Sun Microsystems,
   Thus neither a priority-based policy nor a strict time-slic-       Inc. of San Cupertino, Calif. for a progrannning language and
ing policy is adequate for a task scheduler for an embedded           compiled bytecode. However, the invention is not limited to
system that allows foreign applications.                              this context. In other embodiments, other methods are used to
   In some approaches, various hybrids between priority and           execute foreign applications (e.g., programs written in C or
time-slicing have been employed. For example, in one                  ACTIVEX™ or some other programming language) on
approach all high-priority, ready-to-execute tasks are run 10 embedded systems in the same or different specific purpose
before any lower priority task. Multiple ready tasks at the           devices, such as aircraft control systems, automobile control
same priority share the processor time equally by time slicing.       systems, medical monitors, and other devices. ActiveX is a
While suitable for some purposes, this approach still suffers         registered trademark of Microsoft Corp. of Redmond, Wash.
some disadvantages. For example, there is no provision for            1.0 Embedded Systems Overview
guaranteeing processor time for time-critical tasks; all tasks 15        FIG. 1 is a block diagram that illustrates a specific purpose
at the same priority level have equal access to the processor,        device 102 with an embedded system 110, according to an
even though some tasks are time critical and others are not.          embodiment. The specific purpose device 102 includes the
   In some approaches multiple ready tasks at the same pri-           embedded system 110 and instructions 120 for foreign appli-
ority share the processor time by running each to completion          cations, stored on one or more computer-readable media.
in tum. This approach also suffers some disadvantages. 20 Computer-readable media are described in more detail in a
Again, there is no provision for guaranteeing processor time          later section.
for time-critical tasks; all tasks at the same priority level have       The embedded system 110 includes a system clock 111, a
equal chance of being run to completion next, even though             processor 112, and system instructions 114. A system clock
some tasks are time-critical and others are not.                      repeatedly generates hardware interrupts with a particular
   Based on the foregoing, there is a clear need for techniques 25 temporal period that cause the processor to execute certain
to allocate processor time to tasks that give foreign applica-        tasks. The processor 112 processes signals that represent data
tions adequate resources without hindering the primary pur-           and instructions as described in more detail in a later section.
pose of an embedded system. In general, there is a need for           The instructions and data that control the embedded system
techniques to allocate computing resources among tasks that           are stored as system instructions 114 on one or more com-
do not suffer the disadvantages of prior art approaches. For 30 puter-readable media. In general, the system instructions 114
example, there is a need for techniques to schedule tasks,            include a task scheduler for sharing use of the processor 112
which allow real-time tasks that have absolute constraints on         among multiple tasks and instructions for performing various
their operation to run to completion and that also accommo-           tasks relevant to the specific purpose of the device 102. In an
date tasks that are not known to be cooperative.                      illustrated embodiment, the system instructions 114 include a
                                                                   35 data item for a time counter 116. In some embodiments a
       BRIEF DESCRIPTION OF THE DRAWINGS                              separate system clock 111 is omitted and an internal clock for
                                                                      the processor 112 controls all timing.
   The present invention is illustrated by way of example, and           In an example embodiment, the specific purpose device
not by way oflimitation, in the figures of the accompanying           102 is a router for a network, as described in more detail in a
drawings and in which like reference numerals refer to similar 40 later section with reference to FIG. 5. Networks of general
elements and in which:                                                purpose computer systems connected by external communi-
   FIG. 1 is a block diagram that illustrates a specific purpose      cation links are well known and widely used in commerce.
device with an embedded system, according to an embodi-               The networks often include one or more network devices that
ment;                                                                 facilitate the passage of information between the computer
   FIG. 2 is a flow diagram that illustrates a method for allo- 45 systems. A network node is a network device or computer
cating computing resources among sets of one or more tasks,           system connected by the communication links. An end node
according to an embodiment;                                           is a node that is configured to originate or terminate commu-
   FIG. 3 is a flow diagram that illustrates in more detail some      nications over the network. An intermediate network node
steps of the method of FIG. 2, according to an embodiment;            facilitates the passage of data between end nodes. A router is
   FIG. 4 is a graph that illustrates considerations for selecting 50 an example of an intermediate network node.
a parameter used to perform a step illustrated in FIG. 3,                In the example embodiment, the system instructions 114
according to an embodiment; and                                       include instructions for a networking operating system, such
   FIG. 5 is a block diagram that illustrates a router upon           as the Internetwork Operating System (IOS) available from
which an embodiment of the invention may be implemented.              Cisco Systems, Inc. of San Jose, Calif. and instructions for a
                                                                   55 Java virtual machine (JVM). A NM is a progrannned process
                  DETAILED DESCRIPTION                                that interprets instructions written in a special language called
                                                                      Java bytecode and translates those instructions into instruc-
   A method and apparatus are described for allocating com-           tions or operating system program calls in a machine lan-
puting resources among sets of one or more tasks. In the              guage (called native code) used by the processors, e.g., pro-
following description, for the purposes of explanation, 60 cessor 112. A Java compiler converts code written in a
numerous specific details are set forth in order to provide a         human-compatible, high-level JAVA programming language
thorough understanding of the present invention. It will be           into Java bytecode. The Java language, bytecode and NM are
apparent, however, to one skilled in the art that the present         well known and widely used in the art of programming pro-
invention may be practiced without these specific details. In         cessors. See for example, J. Gosling, W. Joy, G. Steele, G.
other instances, well-known structures and devices are shown 65 Bracha, "The Java Language Specification, Second Edition,"
in block diagram form in order to avoid unnecessarily obscur-         2000, available beginning at file j.title.doc.html in directory
ing the present invention.                                            /docs/books/jls/second_edition/html/at World Wide Web




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domain java.sun.com, the entire contents of which are hereby         make up the set of tasks. The usage indicated by the data
incorporated by reference as if fully set forth herein.              received during step 214 includes resumed execution of the
   In the example embodiment, the foreign application                set of tasks after one or more blocking periods end. In other
instructions 120 include Java bytecode or Java language              embodiments, the data received during step 214 indicates a
instructions. For example, instructions 120 include Java byte-       maximum usage of the processor by any set of tasks.
code and data for performing data processing for an end node             For example, in some embodiments, the maximum usage is
(not shown) connected to the router 102.                             expressed as a percentage of the processor time that may be
   In the illustrated embodiment, the system instructions            used by the externally limited set of tasks, designated here-
include a data item called a time counter 116 to store the           inafter by the symbol LPU for limit on percent usage. In an
contents of a timer register on the processor, as described in 10 example embodiment, the value of LPU received indicates
more detail below.                                                   80%, because the primary purpose of the router is satisfied
2.0 Method for Allocating Computing Resources                        with 20% of the processor time.
   FIG. 2 is a flow diagram that illustrates a method 200 for            A yield time during which the set of tasks yields the pro-
allocating computing resources among sets of one or more             cessor to other tasks is implied by the limit on execution time
tasks, according to an embodiment. Although steps are 15 and the maximum usage. The yield time is designated by the
depicted in FIG. 2 and subsequent flow diagrams in a particu-        symbol YT hereinafter. The values of LET, LPU and YT are
lar order for purposes of illustration, in other embodiments,        related by Equation 1.
the steps are performed in a different order or overlapping in
                                                                              LPU~I00*LETl(LET+YT)                                     la.
time, or one or more steps are omitted, or some combination
of these changes are made.                                        20 A YT value indicating 5 ms is consistent with a LET value
   In step 212, data is received which indicates an external         indicating 20 ms and a LPU indicating 80%. In some embodi-
limit on unblocked execution time for tasks that are not             ments, during step 214, a minimum yield time is received in
known to follow conventions for sharing a processor. Any             lieu of, or in addition to, the LPU as the measure of maximum
method may be used to receive the data. In some embodi-              usage of the processor by the set of tasks.
ments, the data is input manually by a system designer. In 25            In step 216, yield time is computed based on LET and LPU,
some embodiments, the data is stored on a local or remote            according to Equation 1b.
computer readable media, and retrieved by memory call or
                                                                              LPU~I00*LETl(LET+YT)                                     lb.
request for data from a local or remote storage device. In some
embodiments, the data is received in a solicited or unsolicited      In embodiments in which YT is provided in step 214, step 216
message sent from a remote node on a network.                     30 is omitted.
   The limit on unblocked execution time is an external limit            In step 220, data is received that indicates processor
placed by the embedded system and is independent of any              instructions for a particular set of one or more tasks. Any
execution time limit imposed internally by the instructions          method may be used to receive this data. For example, in
that make up the task. In some embodiments, the limit is             some embodiments, instructions for a task are indicated by a
placed on individual tasks. In some embodiments, the limit is 35 memory address in a queue for tasks of a certain priority. The
placed on a group of multiple tasks, such as all the tasks           data indicates whether a new task is starting or a previously
associated with a particular process. A set of one or more tasks     started task stored in memory with its stack and context
that are limited by the external limit is called herein an exter-    variables is to be resumed, as is well known in the art.
nally limited set of tasks.                                              In step 222, it is determined whether the particular set of
   In other embodiments, the limit is placed on all tasks, even 40 one or more tasks is subject to external limits. For example, if
tasks that are known to cooperate in the use of a processor. In      the memory address in the queue for tasks of the certain
the illustrated embodiment, the limit is placed only on tasks        priority is not within a memory area dedicated to tasks that
that are not known to follow some convention for sharing a           follow conventions for sharing a processor in the embedded
processor. For example in some embodiments, the limit is             system, then it is determined that the task is subject to external
placed only on tasks that are not known to follow a Cisco 45 limits. Similarly, if the memory address in the queue for tasks
design convention for sharing a processor on a router.               of the certain priority is within a memory area dedicated to
   In some embodiments, the limit is expressed as a number           tasks of foreign applications, then it is determined that the
that indicates time (e.g. in milliseconds, 1 millisecond,            task is subject to external limits. In the example embodiment,
ms,= 10- 3 sec) that the externally limited set of tasks actually    if the set of tasks are Java bytecode, then it is determined that
executes on the processor since the start of execution of the set 50 the set of tasks is subject to external limits. In some embodi-
of tasks. This limit is called the limit on execution time and is    ments in which all tasks are subject to external limits, step 222
designated hereinafter by the symbol LET. In an example              is omitted.
embodiment, the value of LET received indicates 20 ms.                   If it is determined in step 222 that the set of tasks is not
   In some embodiments, the limit is expressed an interval of        subject to external limits, then control passes to step 230 to
time since the start of execution of the set of tasks, regardless 55 execute the instructions from the particular set without exter-
of the amount of that time interval during which the set was         nal limits. For example, each task within a memory area
not executing due to hardware interrupts or explicit or              dedicated to tasks that follow conventions for sharing a pro-
implicit yielding of the processor to the operating system. In       cessor in the embedded system is executed to completion. In
other embodiments other values are used to express the limit         an example embodiment, each task that is not Java bytecode
on execution.                                                     60 is executed to completion. Control then passes to step 220 to
   In step 214, data is received which indicates a maximum           receive data indicating the next set of tasks.
usage of the processor by tasks that are not known to follow             If it is determined in step 222 that the set of tasks is subject
conventions for sharing a processor. Any method may be used          to external limits, then control passes to step 240 to begin
to receive the data, such as those described above for step 212.     executing the instructions from the particular set with exter-
The maximum usage is an external constraint imposed by the 65 nal limits. For example, each task outside a memory area
embedded system and is independent of any usage constraint           dedicated to tasks that follow conventions for sharing a pro-
or yielding time imposed internally by the instructions that         cessor in the embedded system starts execution subject to




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external limits. In an example embodiment, each task that is          system clock interrupt periods are used; e.g., in one embodi-
Java bytecode starts execution subject to external limits. Con-       ment the system clock interrupt period is 1.0 ms.
trol passes to step 244 to determine whether execution                   Step 343 represents a branch point in which it is determined
exceeds external limits. If execution of the set of tasks com-        whether the set of one or more tasks has completed during the
pletes before control passes to step 244, then control passes to      execution of the up to N processor instructions. If so, control
step 220 to receive data indicating the next task or set of tasks.    passes to step 220 to receive data indicating the next set of one
    In step 244, it is determined whether execution exceeds the       or more tasks. If not, control passes to step 344. When a Java
external limits. If not, control passes back to step 240 to           thread voluntarily relinquishes the processor, the JVM stack
continue execution of the instructions from the particular set        and its context variables, such as time counter 116 for holding
of tasks subject to external limits. However, ifit is determined 1o contents of the timer register, are moved off the processor into
that execution of the set of tasks exceeds the external limits        memory and control passes to step 220. During this time off
then control passes to step 248. For example, if the execution        the processor, the time counter is not incremented by system
time of the set of tasks exceeds LET (e.g., 20 ms), then control      clock interrupts. When the next Java thread is started, the
passes to step 248.                                                   JVM is reloaded onto the processor, the timer register is reset
    In step 248, the embedded system causes the set of one or 15 to the value in the time counter 116, and the timer register
more tasks to yield the processor to satisfy the maximum              resumes incrementing with each system clock interrupt. Thus
usage constraint. In the illustrated embodiment, an enforce-          in the example embodiment, the timer records the actual
ment process for the embedded system blocks execution of              execution time for Java threads and not total elapsed time
the task by the processor. For example, the enforcement pro-          since the timer was initialized.
cess calls an operating system service that causes the task not 20       In step 344, it is determined whether the contents of the
to be allowed to run for a time equal to the YT (e.g., 5 ms). As      timer register exceeds the limit on execution time LET. If not,
a result, the current task of the externally limited set of tasks     control passes to back to step 340 to execute up to the next N
has its context and stack offloaded by the task scheduler to a        processor instructions of the externally limited set of one or
memory location for storage until the task is resumed. Control        more tasks. If the contents of the timer register exceeds the
then passes back to step 220 to receive data that indicates the 25 limit on execution time LET, however, then control passes to
next set of one or more tasks to be executed by the processor.        step 248 to block the externally limited set of one or more
After the yield time expires, the blocked task in the externally      tasks (e.g., to force the set to yield the processor) for the yield
limited set of one or more tasks may be received in step 220.         time YT.
3 .0 Allocating Processor Time to JVM Tasks on a Router                  Java threads do more than step through bytecode instruc-
    In this section, additional details are provided for an illus- 30 tions in the bytecode interpreter loop. Java threads also invoke
trated embodiment in order to more thoroughly describe this           native code to perform some standard functions, such as
embodiment of the invention. FIG. 3 is a flow diagram that            input/output (I/O), terminating calls to subroutines and free-
illustrates in more detail steps 240,244 and 248 of the method        ing memory for temporary variables (a set of processes called
of FIG. 2, according to an embodiment 300.                            "garbage collection"), and waiting for events to occur. There-
    Outside of embodiment 300, step 222 of FIG. 2 is repre- 35 fore, in the example embodiment, native code for I/O and
sented by connector circle 222, and step 220 of FIG. 2 is             garbage collection includes one or more calls to check the
represented by connector circle 220. Ifit is determined in step       contents of the timer in step 344.
222 that the set of tasks is subject to external limits, then            For example, in some embodiments during step 344, the
control passes to step 312 to begin executing the instructions        value of LET is 200 to indicate 200 increments of the timer
from the particular set with external limits. In an example 40 register at 0.1 ms per increment, which indicates an LET of20
embodiment, all Java threads executed by a JVM are treated            ms. If the contents of the time register exceeds 200, the value
as an externally limited set of tasks. Each task representing a       of LET, then the execution time of the externally limited set
single Java thread includes a bytecode interpreter loop to            exceeds 20 ms, and control passes to step 248. The yield time
perform the functions of the JVM.                                     YT computed from Equation 1b is 50, which indicates 50
    In step 312, a timer register is initialized. For example, the 45 ticks of the system clock which corresponds to a yield time of
contents of a time register are set to zero. In the example           5 ms. So in step 248, the processor is given up by the exter-
embodiment, the JVM for the router initializes a timer regis-         nally limited set of one or more tasks for 5 ms. In the example
ter when the JVM is started.                                          embodiment, the JVM is blocked for the YT (e.g., 5 ms); thus
    In step 340, up to a number N of processor instructions           all Java threads and the native code they spawned are blocked
from the particular set are executed. In the example embodi- 50 for the yield time.
ment, the number N is the number of Java bytecode instruc-               Because the JVM might have voluntarily relinquished the
tions that are interpreted by the bytecode interpreter loop.          processor, such as in input/output bound tasks, the JVM
    During the execution of the up to N processor instructions,       might not have executed continuously for the LET. Further-
the timer register is updated. For example, every time the            more, in some circumstances, the timer counter is not stopped
system clock 111 sends a hardware interrupt to the processor 55 when the NM relinquishes the processor. For example, in
112, the processor 112 increments the contents of the timer           some embodiments, operating system timing services are
register. In an example embodiment, a router system clock             limited and it is impractical or impossible to stop the timer
issues a hardware interrupt every 0.1 ms. Thus the timer              when the JVM is not processing a JAVA thread. In such
register in this embodiment increments by one every 0.1 ms.           circumstances also, the NM has not executed continuously
Because the system clock provides the granularity in time 60 for the LET. If the NM does not execute continuously for the
measurement, it is desirable for the LET value to be large            LET, then the YT computed by Equation 1bis an overestimate
compared to the system clock interrupt period; e.g., about an         of the yield time needed to constrain maximum processor
order of magnitude greater than the system clock period or            usage to the LPU. Using an overestimated YT is acceptable,
more. In the illustrated embodiment with a 0.1 ms system              because an overestimated YT leads to less usage than LPU for
clock period, an LET value of 1 ms or greater is desirable; so, 65 the externally limited set of one or more tasks. Thus the
the LET of 20 ms is acceptable for a system clock with a              processor time actually remaining for the sets of tasks that are
period of 0.1 ms. In other embodiments, larger or smaller             not externally limited, such as time-critical tasks directed to




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the primary purpose of the device, is equal to or greater than     percentile performance position 422 along axis 404. A hori-
the time allotted for such tasks. Thus the method 300 guar-        zontal line is drawn through the 75 th percentile performance
antees sufficient time to perform such time-critical tasks. In     position 422. The curve 410 crosses the 75 th percentile per-
some embodiments both an elapsed time and an execution             formance position 422 at a value for N indicated on the axis
time timer are kept, and the value of YT is reduced by the         402 by the position 432. The value ofN at position 432 is the
difference. In some embodiments, a difference greater than         average value ofN corresponding to the 75 th percentile per-
YT is used to dynamically increase the value of LET.               formance measure. It is assumed for purposes of illustration
   Using the steps of method 300 in the example embodiment,        that the value ofN at position 432 is 20,000. A vertical dashed
it can be guaranteed that no Java thread will monopolize the       line is drawn through position 432 (e.g., at N=20,000).
processor time and starve time-critical tasks directed to per- 10
                                                                      The selected value of N is a design choice that is readily
forming routing functions. Yet, plenty of processor time is
                                                                   made based on observations such as those illustrated in graph
provided for Java threads to execute-up to 80% of processor
                                                                   400. It is assumed for purposes of illustration that the value of
time in the example embodiment. In practice, it has been
found that the value set for LPU can be remarkably accurate.       N  is selected to be greater than the value ofN associated with
                                                                          th
When a processor-bound Java thread is executed, the mea- 15 the 75 percentile performance and less than the one tenth the
sured percentage of processor time consumed by the NM, as          value   of N associated with LET. Thus, in the illustrated
measured by mechanisms available in the IOS, is invariably         embodiment, the value of N is greater than 20,000 and less
substantively equal to the LPU.                                    than 40,000. It is assumed for purposes of illustration that N
   The performance of the embedded system to execute for-          is selected as 25000, e.g., the timer register is checked after
eign applications is affected by the choice of the number N of 20 every 25,000 bytecode interpretations.
processor instructions executed before checking the contents       4.0 Implementation Mechanisms-Hardware Overview
of the timer register. The number N is chosen to be small             FIG. 5 is a block diagram that illustrates a computer system
enough to check the contents of the time register at least once    500 upon which an embodiment of the invention may be
before the timer exceeds the LET. However, if the number N         implemented. The preferred embodiment is implemented
is too small, the timer might be checked so often that system 25 using one or more computer programs running on a network
performance is affected adversely. Thus, the number N is           element such as a router device. Thus, in this embodiment, the
chosen to be large enough to have a relatively small effect on     computer system 500 is a router.
a performance measure for the externally limited set of one or        Computer system 500 includes a communication mecha-
more tasks.                                                        nism such as a bus 510 for passing information between other
   FIG. 4 is a graph 400 that illustrates considerations for 30 internal and external components of the computer system
selecting the parameter N used to perform step 340 illustrated     500. Information is represented as physical signals of a mea-
in FIG. 3, according to an embodiment. The horizontal axis         surable phenomenon, typically electric voltages, but includ-
402 indicates the number N of processor instructions (e.g.,        ing, in other embodiments, such phenomena as magnetic,
bytecode instructions) executed before the timer register is       electromagnetic, pressure, chemical, molecular atomic and
checked in step 344. The number N increases to the right. The 35 quantum interactions. For example, north and south magnetic
vertical axis is a performance axis 404 that indicates a mea-      fields, or a zero and non-zero electric voltage, represent two
sure of performance of the externally limited set of one or        states (0, 1) ofa binary digit (bit). A sequence ofbinary digits
more tasks. The performance improves upward along axis             constitutes digital data that is used to represent a number or
404.                                                               code for a character. A bus 510 includes many parallel con-
   Curve 410 is an example graph of performance measure as 40 ductors of information so that information is transferred
a function of the number N. Curve 410 shows that as N              quickly among devices coupled to the bus 510. One or more
increases, the performance improves. That is, the less often       processors 502 for processing information are coupled with
the timer register is checked the more quickly the tasks are       the bus 510. A processor 502 performs a set of operations on
completed. The maximum performance achieved if the timer           information. The set of operations include bringing informa-
is never checked (the value ofN approaches infinity) is indi- 45 tion in from the bus 510 and placing information on the bus
cated by the maximum performance position 420 along axis           510. The set of operations also typically include comparing
404. A horizontal line through the maximum performance             two or more units of information, shifting positions of units of
position 420 shows that the curve 410 approaches this value        information, and combining two or more units of informa-
more closely as N increases to the right.                          tion, such as by addition or multiplication. A sequence of
   An average value ofN associated with the limiting execu- 50 operations to be executed by the processor 502 constitute
tion time (LET) is indicated on the axis 402 by the position       computer instructions.
430. It is assumed for purposes ofillustration that a LET of20        Computer system 500 also includes a memory 504 coupled
ms is associated with the processor time consumed to perform       to bus 510. The memory 504, such as a random access
400,000 bytecode interpretations on average. A vertical            memory (RAM) or other dynamic storage device, stores
dashed line is drawn through position 430 (e.g., at N=400, 55 information including computer instructions. Dynamic
000).                                                              memory allows information stored therein to be changed by
   It is desirable that the value of N be small compared to        the computer system 500. RAM allows a unit of information
position 430, so that the timer is checked frequently enough to    stored at a location called a memory address to be stored and
reasonably quickly determine that a set of one or more tasks       retrieved independently of information at neighboring
has exceeded the LET. A value of N less than the value at 60 addresses. The memory 504 is also used by the processor 502
position 430 is clearly desirable. A value ofN about an order      to store temporary values during execution of computer
of magnitude smaller than the value of N associated with           instructions. The computer system 500 also includes a read
position 430 is reasonable. For example, a value ofN about         only memory (ROM) 506 or other static storage device
40,000 or less satisfies this consideration.                       coupled to the bus 510 for storing static information, includ-
   It is also desirable that the value ofN not be so small that 65 ing instructions, that is not changed by the computer system
performance is unreasonably impaired. Seventy five percent         500. Also coupled to bus 510 is a non-volatile (persistent)
(75%) of maximum performance is indicated by the 75 th             storage device 508, such as a magnetic disk or optical disk, for




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storing information, including instructions, that persists even   interface 570 sends and receives electrical, acoustic or elec-
when the computer system 500 is turned off or otherwise           tromagnetic signals, including infrared and optical signals,
loses power.                                                      which carry information streams, such as digital data. Such
   The term computer-readable medium is used herein to refer      signals are examples of carrier waves
to any medium that participates in providing information to          In the illustrated embodiment, special purpose hardware,
processor 502, including instructions for execution. Such a       such as an application specific integrated circuit (IC) 520, is
medium may take many forms, including, but not limited to,        coupled to bus 510. The special purpose hardware is config-
nonvolatile media, volatile media and transmission media.         ured to perform operations not performed by processor 502
Nonvolatile media include, for example, optical or magnetic       quickly enough for special purposes. Examples of application
disks, such as storage device 508. Volatile media include, for 10
                                                                  specific ICs include graphics accelerator cards for generating
example, dynamic memory 504. Transmission media
                                                                  images for display, cryptographic boards for encrypting and
include, for example, coaxial cables, copper wire, fiber optic
                                                                  decrypting messages sent over a network, speech recognition,
cables, and waves that travel through space without wires or
cables, such as acoustic waves and electromagnetic waves,         and  interfaces to special external devices, such as robotic
including radio, optical and infrared waves. Signals that are 15 arms and medical scanning equipment that repeatedly per-
transmitted over transmission media are herein called carrier     form some complex sequence of operations that are more
waves.                                                            efficiently implemented in hardware.
   Common forms of computer-readable media include, for              In the illustrated computer used as a router, the computer
example, a floppy disk, a flexible disk, a hard disk, a magnetic  system 500 includes switching system 530 as special purpose
tape or any other magnetic medium, a compact disk ROM 20 hardware for switching information for flow over a network.
(CD-ROM), a digital video disk (DVD) or any other optical         Switching system 530 typically includes multiple communi-
medium, punch cards, paper tape, or any other physical            cations interfaces, such as communications interface 570, for
medium with patterns of holes, a RAM, a programmable              coupling to multiple other devices. In general, each coupling
ROM (PROM), an erasable PROM (EPROM), a FLASH-                    is with a network link 532 that is connected to another device
EPROM, or any other memory chip or cartridge, a carrier 25 in or attached to a network, such as local network 580 in the
wave, or any other medium from which a computer can read.         illustrated embodiment, to which a variety of external devices
   Information, including instructions, is provided to the bus    with their own processors are connected. In some embodi-
510 for use by the processor from an external terminal 512,       ments an input interface or an output interface or both are
such as a terminal with a keyboard containing alphanumeric        linked to each of one or more external network elements.
keys operated by a human user, or a sensor. A sensor detects 30 Although three network links 532a, 532b, 532c are included
conditions in its vicinity and transforms those detections into   in network links 532 in the illustrated embodiment, in other
signals compatible with the signals used to represent infor-      embodiments, more or fewer links are connected to switching
mation in computer system 500. Other external components          system 530. Network links 532 typically provides informa-
of terminal 512 coupled to bus 510, used primarily for inter-     tion communication through one or more networks to other
acting with humans, include a display device, such as a cath- 35 devices that use or process the information. For example,
ode ray tube (CRT) or a liquid crystal display (LCD) or a         network link 532b may provide a connection through local
plasma screen, for presenting images, and a pointing device,      network 580 to a host computer 582 or to equipment 584
such as a mouse or a trackball or cursor direction keys, for      operated by an Internet Service Provider (ISP). ISP equip-
controlling a position of a small cursor image presented on the   ment 584 in turn provides data communication services
display and issuing commands associated with graphical ele- 40 through the public, world-wide packet-switching communi-
ments presented on the display of terminal 512. In some           cation network of networks now commonly referred to as the
embodiments, terminal 512 is omitted.                             Internet 590. A computer called a server 592 connected to the
   Computer system 500 also includes one or more instances        Internet provides a service in response to information
ofa communications interface 570 coupled to bus 510. Com-         received over the Internet. For example, server 592 provides
munication interface 570 provides a two-way communication 45 routing information for use with switching system 530.
coupling to a variety of external devices that operate with          The switching system 530 includes logic and circuitry
their own processors, such as printers, scamiers, external        configured to perform switching functions associated with
disks, and terminal 512. Firmware or software rumiing in the      passing information among elements of network 580, includ-
computer system 500 provides a terminal interface or char-        ing passing information received along one network link, e.g.
acter-based command interface so that external commands 50 532a, as output on the same or different network link, e.g.,
can be given to the computer system. For example, commu-          532c. The switching system 530 switches information traffic
nication interface 570 may be a parallel port or a serial port    arriving on an input interface to an output interface according
such as an RS-232 or RS-422 interface, or a universal serial      to pre-determined protocols and conventions that are well
bus (USB) port on a personal computer. In some embodi-            known. In some embodiments, switching system 530
ments, communications interface 570 is an integrated ser- 55 includes its own processor and memory to perform some of
vices digital network (ISDN) card or a digital subscriber line    the switching functions in software. In some embodiments,
(DSL) card or a telephone modem that provides an informa-         switching system 530 relies on processor 502, memory 504,
tion communication connection to a corresponding type of          ROM 506, storage 508, or some combination, to perform one
telephone line. In some embodiments, a communication              or more switching functions in software. For example,
interface 570 is a cable modem that converts signals on bus 60 switching system 530, in cooperation with processor 504
510 into signals for a communication connection over a            implementing a particular protocol, can determine a destina-
coaxial cable or into optical signals for a communication         tion of a packet of data arriving on input interface on link 532a
connection over a fiber optic cable. As another example,          and send it to the correct destination using output interface on
communications interface 570 may be a local area network          link 532c. The destinations may include host 582, server 592,
(LAN) card to provide a data communication connection to a 65 other terminal devices connected to local network 580 or
compatible LAN, such as Ethernet. Wireless links may also         Internet 590, or other routing and switching devices in local
be implemented. For wireless links, the communications            network 580 or Internet 590.




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                              13                                                                   14
   The invention is related to the use of computer system 500             embedded system is configured to process one or more
for implementing the techniques described herein. According               primary operations of a special-purpose device, and
to one embodiment of the invention, those techniques are                  wherein the set of tasks are separately identified from the
performed by computer system 500 in response to processor                 one or more primary operations according to a program-
502 executing one or more sequences of one or more instruc-               ming language that the set of tasks are written in;
tions contained in memory 504. Such instructions, also called          receiving first data that indicates a time limit for unblocked
software and program code, may be read into memory 504                    execution of the set of tasks by a processor of the embed-
from another computer-readable medium such as storage                     ded system, wherein the one or more primary operations
device 508. Execution of the sequences of instructions con-               are not bound by the time limit;
tained in memory 504 causes processor 502 to perform the 10
                                                                       receiving second data that indicates a maximum allowable
method steps described herein. In alternative embodiments,
                                                                          use of the processor by the set of tasks, wherein the
hardware, such as application specific integrated circuit 520
                                                                          maximum allowable use corresponds to an available
and circuits in switching system 530, may be used in place of
or in combination with software to implement the invention.               processing time of the processor that exceeds a process-
Thus, embodiments of the invention are not limited to any 15              ing time allocated to process the one or more primary
specific combination of hardware and software.                            operations;
   The signals transmitted over network link 532 and other             determining whether one or more tasks of the set of tasks
networks through communications interfaces such as inter-                 have exceeded the time limit for unblocked execution
face 570, which carry information to and from computer                    based on the first data;
system 500, are exemplary forms of carrier waves. Computer 20          blocking execution of the one or more tasks for a yield time
system 500 can send and receive information, including pro-               interval responsive to determining that the one or more
gram code, through the networks 580, 590 among others,                    tasks have exceeded the time limit, wherein the yield
through network links 532 and communications interfaces                   time interval is determined as a function of the time limit
such as interface 570. In an example using the Internet 590, a            for unblocked execution and the maximum allowable
server 592 transmits program code for a particular applica- 25            use of the processor;
tion, requested by a message sent from computer 500,                      processing the one or more primary operations during
through Internet 590, ISP equipment 584, local network 580                   the yield time interval; and
and network link 532b through communications interface in                 resuming the execution of the one or more tasks that
switching system 530. The received code may be executed by                   exceeded the time limit for unblocked execution after
processor 502 or switching system 530 as it is received, or 30               the one or more primary operations yield the proces-
may be stored in storage device 508 or other non-volatile                    sor.
storage for later execution, or both. In this manner, computer         2. The method of claim 1, wherein the method further
system 500 may obtain application program code in the form          comprises determining whether the set of tasks is subject to
of a carrier wave.                                                  the time limit for unblocked execution according to a type of
   Various forms of computer readable media may be 35 the programming language used in writing the set of tasks.
involved in carrying one or more sequence of instructions or           3. The method of claim 1, wherein the one or more primary
data or both to processor 502 for execution. For example,           operations are known to conform to a particular convention
instructions and data may initially be carried on a magnetic        for allocating the computing resources of the embedded sys-
disk of a remote computer such as host 582. The remote              tem, and wherein the set of tasks is not known to conform to
computer loads the instructions and data into its dynamic 40 the particular convention for allocating the computing
memory and sends the instructions and data over a telephone         resources.
line using a modem. A modem local to the computer system               4. The method of claim 1, wherein the second data that
500 receives the instructions and data on a telephone line and      indicates the maximum allowable use of the processor indi-
uses an infra-red transmitter to convert the instructions and       cates the available processing time of the processor that
data to an infra-red signal, a carrier wave serving as the 45 leaves sufficient computing resources to process the one or
network link 532b. An infrared detector serving as commu-           more primary operations on time.
nications interface in switching system 530 receives the               5. The method of claim 1, wherein the second data that
instructions and data carried in the infrared signal and places     indicates the maximum allowable use of the processor indi-
information representing the instructions and data onto bus         cates the available processing time of the processor that
510. Bus 510 carries the information to memory 504 from 50 leaves sufficient computing resources to process all hardware
which processor 502 retrieves and executes the instructions         interrupts of the special-purpose device.
using some of the data sent with the instructions. The instruc-        6. The method of claim 1, wherein the first data that indi-
tions and data received in memory 504 may optionally be             cates the time limit for unblocked execution indicates an
stored on storage device 508, either before or after execution      allowed time duration for the unblocked execution of the set
by the processor 502 or switching system 530.                    55 of tasks after which the execution of the set of tasks is
5.0 Extensions and Alternatives                                     blocked.
   In the foregoing specification, the invention has been              7. The method of claim 6, wherein the allowed time dura-
described with reference to specific embodiments thereof. It        tion is more than ten times a time resolution of a system clock
will, however, be evident that various modifications and            of the embedded system configured to send a hardware inter-
changes may be made thereto without departing from the 60 rupt to the processor.
broader spirit and scope of the invention. The specification           8. The method of claim 7, further comprising:
and drawings are, accordingly, to be regarded in an illustrative       initializing a timer register when the set of tasks begins
rather than a restrictive sense.                                          executing;
   What is claimed is:                                                 updating the timer register with every interrupt from the
   1. A method, comprising:                                      65       system clock;
   identifying a set of one or more tasks competing for com-           checking contents of the timer register after a particular
      puting resources of an embedded system, wherein the                 number N of instructions of the set of tasks; and




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                              15                                                                    16
   determining whether the contents of the timer register               17. The apparatus of claim 16, wherein the one or more
      exceed the allowed time duration.                              processors are further configured to perform operations com-
   9. The method of claim 8, wherein the particular number N         prising determining whether the set of tasks is not known to
is small enough to check the contents of the timer register at       conform to a particular convention for sharing the processor
least once before the timer exceeds the allowed time duration.       among multiple tasks, wherein the one or more primary
   10. The method of claim 1, wherein the yield time interval        operations are known to conform to the particular convention.
is determined by multiplying the time limit by an absolute              18. The apparatus of claim 16, further comprising a
value of a difference between one and a quotient of one              memory configured to store the set of tasks and the one or
hundred divided by the maximum allowable use of the pro-             more primary operations, wherein the set of tasks is stored in
                                                                  10 an area of the memory that is different from where the one or
cessor.
                                                                     more primary operations are stored, and wherein the proces-
   11. The method of claim 1, wherein the one or more pri-
                                                                     sor determines whether the set of tasks is subject to the time
mary operations yield the processor to resume the unblocked
                                                                     limit according to the area of memory that the set of tasks is
execution of the one or more tasks after the one or more             stored in.
primary operations are completed.                                 15    19. The apparatus of claim 18, wherein the set of tasks is
   12. The method of claim 1, further comprising identifying         offloaded from the processor to the area of memory when the
whether the programming language includes JAVA bytecode,             set of tasks is blocked, and wherein the set of tasks is reloaded
and wherein blocking the execution further includes blocking         into the processor after the yield time interval.
the execution of only the one or more tasks that include the            20. The apparatus of claim 15, wherein the set of tasks is
JAVA bytecode.                                                    20 not included in the one or more primary operations, and
   13. The method of claim 12, further comprising loading a          wherein the processor is not a general-purpose computer.
JAVA language virtual machine (NM) process onto the pro-                21. The apparatus of claim 15, wherein the special-purpose
cessor to execute the one or more tasks.                             device comprises a router for network communications, and
   14. The method of claim 13, wherein the set of tasks com-         wherein the one or more primary operations comprise routing
prise JAVA strings configured to invoke native code that per- 25 the network communications.
form functions other than the set of tasks, and wherein the             22. The apparatus of claim 21, wherein the set of tasks
method further comprises blocking the native code for the            comprises one or more JAVA strings, wherein the embedded
yield time interval.                                                 system comprises a network operating system and instruc-
   15. An apparatus, comprising:                                     tions for a JAVA language virtual machine (JVM), wherein
   a network interface that is coupled to a network for com- 30 the network operating system is configured to execute the one
      municating one or more packet flows therewith; and             or more primary operations, and wherein the JVM is config-
   one or more processors communicatively coupled to the             ured to execute the JAVA strings.
      network interface and configured to perform operations            23. The apparatus of claim 15, wherein the maximum
      comprising:                                                    allowable use of the processor indicates the available process-
      identifying a set of one or more tasks including JAVA 35 ing time of the processor that leaves sufficient computing
          bytecode competing for computing resources of an           resources to perform the one or more primary operations.
          embedded system, wherein the embedded system is               24. The apparatus of claim 15, wherein the maximum
          configured to process one or more primary operations       allowable use of the processor indicates the available process-
          of a special-purpose device, and wherein the set of        ing time of the processor that leaves sufficient computing
          tasks are unrelated to the one or more primary opera- 40 resources to process all hardware interrupts for the special-
          tions;                                                     purpose device.
      determining a time limit for unblocked execution of the           25. The apparatus of claim 15, further comprising a timer
          set of tasks by a processor of the embedded system,        register and a system clock, wherein the one or more proces-
          wherein the one or more primary operations are not         sors are further configured to perform operations comprising:
          bound by the time limit;                                45    initializing the timer register when the set of tasks begins
      determining a maximum allowable use of the processor                 executing;
          by the set of tasks, wherein the maximum allowable            updating the timer register with every interrupt from the
          use corresponds to an available processing time of the           system clock;
          processor that exceeds a processing time allocated to         checking contents of the timer register after a particular
          process the one or more primary operations;             50       number N of instructions of the set of tasks; and
      determining whether one or more tasks of the set of tasks         determining whether the contents of the timer register
          has exceeded the time limit for unblocked execution;             exceed the time limit.
          and                                                           26. The apparatus of claim 15, wherein the time limit for
      if the one or more tasks include the JAVA bytecode, then       unblocked execution indicates an allowed time duration for
          blocking the execution of the one or more tasks for a 55 the unblocked execution of the set of tasks after which the
          yield time interval responsive to determining the one      execution of the set of tasks is blocked, and wherein the one
          or more tasks of the set of tasks has exceeded the time    or more processors are further configured to perform opera-
          limit for unblocked execution, wherein the yield time      tions comprising determining the yield time interval by mul-
          interval is determined as a function of the time limit     tiplying the time limit by an absolute value of a difference
          for unblocked execution and the maximum allowable 60 between one and a quotient of one hundred divided by the
          use of the processor.                                      maximum allowable use of the processor.
   16. The apparatus of claim 15, wherein the one or more               27. An apparatus, comprising:
processors are further configured to perform operations com-            means for identifying a set of one or more tasks competing
prising determining whether the set of tasks is subject to the             for computing resources of an embedded system,
time limit for unblocked execution, wherein the execution of 65            wherein the embedded system is configured to process
the set of tasks is only blocked if it is determined that the set          one or more primary operations of a special-purpose
of tasks is subject to the time limit.                                     device, and wherein the set of tasks are separately iden-




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                              17                                                                  18
      tified from the one or more primary operations accord-            one or more tasks have exceeded the time limit, wherein
      ing to a programming language that the set of tasks are           the yield time interval is determined as a function of the
      written in;                                                       time limit for unblocked execution and the maximum
   means for receiving first data that indicates a time limit for       allowable use of the processor.
      unblocked execution of the set of tasks by a processor of      29. The computer-readable medium of claim 28, wherein
      the embedded system, wherein the one or more primary        determining whether the set of tasks has exceeded the time
      operations are not bound by the time limit;                 limit is performed only if the set of tasks is subject to the time
   means for receiving second data that indicates a maximum       limit.
      allowable use of the processor by the set of tasks,            30. The computer-readable medium of claim 28, wherein
      wherein the maximum allowable use corresponds to an 10 the set of tasks comprises JAVA strings, and wherein the
      available processing time of the processor that exceeds a   embedded system comprises a JAVA language virtual
      processing time allocated to process the one or more        machine (NM) configured to process the JAVA strings.
      primary operations;                                            31. The computer-readable medium of claim 28, wherein
   means for determining whether one or more tasks of the set     the operations further comprise:
      of tasks have exceeded the time limit for unblocked 15         initializing a timer register when the set of tasks begins
      execution based on the first data; and                            executing;
   means for blocking the execution of the one or more tasks         updating the timer register with every interrupt from a
      for a yield time interval responsive to determining that          system clock;
      the one or more tasks have exceeded the time limit,            checking contents of the timer register after a particular
      wherein the yield time interval is determined as a func- 20       number N of instructions of the set of tasks; and
      tion of the time limit for unblocked execution and the         determining whether the contents of the timer register
      maximum allowable use of the processor, and wherein               exceed the time limit.
      only those one or more tasks that are written in the           32. The computer-readable medium of claim 31, wherein
      programming language are blocked.                           the operations further comprise selecting the particular num-
   28. A computer-readable medium having stored thereon 25 ber N of instructions of the set of tasks that utilize 7 5% or
computer-executable instructions, wherein execution of the        more of maximum performance of the processor.
instructions by one or more processors causes the one or more        33. The computer-readable medium of claim 32, wherein
processors to perform operations comprising:                      the particular number N of instructions of the set of tasks is
   identifying a set of one or more tasks competing for com-      selected to be less than one tenth a number of the instructions
      puting resources of an embedded system, wherein the 30 that when executed by the processor would be associated with
      embedded system is configured to process one or more        the time limit.
      primary operations of a special-purpose device, and            34. The computer-readable medium of claim 28, wherein
      wherein the set of tasks is unrelated to the one or more    the yield time interval is determined by multiplying the time
      primary operations;                                         limit by an absolute value of a difference between one and a
   determining a time limit for unblocked execution of the set 35 quotient of one hundred divided by the maximum allowable
      of tasks by a processorofthe embedded system, wherein       use of the processor.
      the one or more primary operations are not bound by the        35. The computer-readable medium of claim 28, wherein
      time limit;                                                 the embedded system comprises instructions for a network
   determining a maximum allowable use of the processor by        operating system and a JAVA virtual machine (JVM), wherein
      the set of tasks, wherein the maximum allowable use 40 the network operating system is configured to process the one
      corresponds to an available processing time of the pro-     or more primary operations, and wherein the JVM is config-
      cessor that exceeds a processing time allocated to pro-     ured to process the set of tasks.
      cess the one or more primary operations;                       36. The computer-readable medium of claim 35, wherein
   determining whether one or more tasks of the set of tasks      the one or more primary operations comprise routing com-
      have exceeded the time limit for unblocked execution; 45 mands.
   identifying if the one or more tasks comprise JAVA byte-          37. The computer-readable medium of claim 36, wherein
      code; and                                                   the special-purpose device comprises a router, and wherein
   if the one or more tasks comprise the JAVA bytecode,           the set of tasks is unrelated to operation of the router.
      blocking the execution of the one or more tasks for a
      yield time interval responsive to determining that the




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       UNITED STATES PATENT AND TRADEMARK OFFICE
                     __________________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
__________________________________________________________________



                              GOOGLE LLC,

                                 Petitioner,

                                     v.

                       SINGULAR COMPUTING LLC,

                               Patent Owner.




                            Patent No. 10,416,961
                        Filing Date: October 30, 2018
                       Issue Date: September 17, 2019

                        Inventor: Joseph Bates
          Title: PROCESSING WITH COMPACT ARITHMETIC
                      PROCESSING ELEMENT


__________________________________________________________________

     PATENT OWNER’S SUR-REPLY TO PETITIONER’S REPLY

                      Case No. IPR2021-00155
__________________________________________________________________




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                                                                IPR2021-00155
                                                                PATENT NO. 10,416,961

especially when Tong itself acknowledges that 11-bits is needed for reliable results

across all the selected applications. POR, 26-27. The Reply similarly provides no

such reasoning. Reply, 8-9.

       Indeed, Tong both implicitly and explicitly teaches a POSA that any useful

computer system must retain full-precision capabilities. For example, Tong teaches

that “it appears inevitable that some fraction of our operands will require full IEEE-

standard precision.” Tong, 280. A person of ordinary skill in the art certainly would

not have been motivated by these teachings to modify Dockser to operate only in 5-

bit, 7-bit, or 9-bit modes, as Google erroneously suggests.

       Accordingly, Ground 2 does not render any Challenged Claims obvious.

III.   GROUND 3
       A.     Dockser/MacMillan Cannot Meet the “Exceeds” Limitation

       To meet Claim 3, the number of LPHDRs in a given device must “exceed by

at least one hundred the non-negative integer number of execution units in the device

adapted to execute at least the operation of multiplication on floating point numbers

that are at least 32 bits wide.” ’961 Patent, 30:43-48 (the “exceeds limitation”). In

other words, the number of LEUs must be at least 100 greater than the number of

execution units adapted to execute at least the operation of multiplication on 32-bit

floating point numbers. POR, 28-36. Google has not sought to construe the exceeds

limitation.


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      Google also does not dispute that Dockser is adapted to execute multiplication

on numbers 32 bits wide. POR, 29-30. Reply, 12-15.

      Instead, Google argues that if an execution unit is capable of executing low

precision high dynamic range operations (e.g., a Dockser unit), that execution unit

cannot also be adapted to execute 32-bit operations. Reply, 12 (“Because the number

of Dockser FPPs in Dockser/MacMillan exceeds the single Host CPU, the ‘exceeds’

claims are met.”). In other words, Google’s only argument that this limitation is met

by its cited art, is based on an unsupported and untenable construction that a unit

that performs low precision high dynamic range operations, cannot also be a unit

“adapted to execute at least the operation of multiplication on 32-bit floating point

numbers.”

      Google’s argument, thus, imports an unsupported negative limitation into the

claim; in other words, Google argues that “execution units in the device adapted to

execute at least the operation of multiplication on floating point numbers that are at

least 32 bits wide” actually means “execution units in the device that are not LPHDR

execution units and that are adapted to execute at least the operation of

multiplication on floating point numbers that are at least 32 bits wide.” There is no

support for this negative limitation.

      In an attempt to support its construction argument, Google does point to a part

of the specification that distinguishes between units that are “designed to


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perform . . . arithmetic of traditional precision,” and LEUs. Reply, 12; Pet., 54. This

part of the specification, however, does not support Google’s construction of this

“adapted to execute” term. Though it is true that an LEU and a full precision unit

are different things, this does not mean that a device capable of full precision

operations (i.e., “adapted to execute at least . . . operations on . . . numbers that are

at least 32 bits wide”) suddenly loses this capability whenever it happens to be

programmed to perform low precision high dynamic range operations. That full

precision capability remains no matter how the device is programmed.

      Google also argues in support of its position that because the specification

states “a LPHDR arithmetic element produces results which are sometimes (or all of

the time) no closer than 0.05% to the correct result”, a 32-bit EU can therefore never

produce inexact results. ’961 Patent, 26:67-27:1. Singular does not dispute this

statement—claimed LEUs sometimes produce incorrect results. However, Google

makes a flawed logical leap from this uncontroversial statement to the incorrect

conclusion that an execution unit capable of 32-bit multiplication—as claimed—can

never produce incorrect results. Nothing in the passage cited above, or anywhere

else in the patent’s claims or specification, supports this logical fallacy. The mere

fact that an LEU sometimes produces inexact results does not mean that an execution

unit capable of 32-bit multiplication can never produce inexact results if, for

example, programmed differently. The specification simply never contemplates, let


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alone reaches, such a conclusion.

      Google’s interpretation also improperly limits the applicability of the words

“at least” in the term “at least the operation of multiplication,” as Singular has

previously explained. POR, 32. Google argues that its interpretation gives meaning

to this claim language because it allows for the claim to encompass “other 32-bit

arithmetic operations besides multiplication.” Reply, 13. This argument is absurd,

in large part because the specification never compares counts of units that perform

multiplication to counts of units that do not perform multiplication. Singular’s

interpretation on the other hand, while encompassing other 32-bit operations besides

multiplication, also encompasses EUs that perform non-32-bit operations. This is

important because the specification does repeatedly compare counts of 32-bit

precision execution units to counts of non-32-bit precision execution units (see, for

example, ’961 Patent, 28:9-47). By contrast, Google’s interpretation arbitrarily

excludes comparing counts of devices that support 32-bit operations, to counts of

devices that do not support 32-bit operations, notwithstanding the specification’s

support for such comparisons. POR, 32.

      Finally, Google attempts to dismiss the specification’s discussion of GPUs

that support both 16- and 32-bit operations, and specifically the distinction drawn

between such GPUs and the claimed LEU, by citing entirely new references (Ex.

1073-75). Reply, 13-15. The references are not cited in the prosecution history of


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the ’961 Patent and are not relevant to what the inventor intended to claim.

      For the reasons given above, Dockser and MacMillan cannot meet the plain

language of the claim. Google’s interpretation of the “exceeds” limitation is entirely

untethered from the specification, and its irrelevant extrinsic evidence cannot mask

this deficiency to improperly alter the “exceed” claims’ scope.

      B.      There Is No Motivation to Combine Dockser and MacMillan
      A POSA would not be motivated to combine Dockser and MacMillan because

while MacMillan is focused on reducing cost, Dockser’s specialized FPP is larger,

and thus costlier, than even the full precision execution units used in Macmillan.

POR, 35-36.

      Google argues that Singular provided no evidence that incorporating Dockser

would increase cost (Reply, 9-10), but Singular cited both its own and Google’s

expert testimony that use of a Dockser FPP increased size and complexity, and

therefore cost. POR, 36. It is also apparent to anyone skilled in the art that a

Dockser-like FPP that supports a wide range of precisions—including 32-bit

precision—would be physically larger than a MacMillan-like FPP that supports only

32-bit precision, thus requiring more volume, more transistors, and a higher cost.

      Google next argues that such cost concerns are not relevant to obviousness.

Reply, 10. Singular’s argument is not that it would be too costly to implement a

Dockser/MacMillan combination, as in the cited Farrenkopf case.                Instead,


                                         14
                                         APPX05950
             Case: 22-1866    Document: 50-2       Page: 269   Filed: 02/03/2023

                                                               IPR2021-00155
                                                               PATENT NO. 10,416,961

Singular’s argument is that a POSA would not seek to introduce to MacMillan

additional complexity and cost, in the form of Dockser FPPs, given MacMillan is

explicitly focused on reducing cost. POR, 35-36.

      C.    Dockser and MacMillan Fail to Disclose or Render Obvious the
            “Computing Device”

      Google does not dispute that the Host CPU in MacMillan is optional, and that

the SIMD controller actually controls the PEs. See Reply, 10-11. Thus, Google

provides no basis for finding that MacMillan’s CPU meets the “computing device”

limitation of the claims. POR, 36-38.

IV.   GROUND 4

      Neither Tong nor Dockser nor MacMillan suggest using in a MacMillan

system a Dockser FPP that is modified by physically removing its full precision

capabilities. POR, 41-44. Google’s Reply suggests that Tong states otherwise. It

does not.

      Google’s purported motivation comes from Tong’s mention that for a

“narrow, application-specific task, a single custom FP format may be a viable

option.” Reply, 15-16. Tong, however, immediately dismisses the idea in the next

sentence:

      For a narrow, application-specific task, a single custom FP format may

      be a viable option. However, to be more generally useful, we need to

      consider arithmetic architectures which can scale to different FP

                                        15
                                        APPX05951
              Case: 22-1866     Document: 50-2     Page: 270    Filed: 02/03/2023

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                                                                PATENT NO. 10,416,961

       formats. Even though we may be able to assume that most of our

       operands can be computed successfully in limited precision, it appears

       inevitable that some fraction of our operands will require full IEEE-

       standard precision.

Tong, 280 (under section “Exploiting a Variable Bitwidth Multiplier”) (emphasis

added). As explained in the POR, a POSA faced with Dockser’s variable precision

FPP and Tong’s variable precision teachings, would not discard both to create

Singular’s non-variable single precision (i.e., low precision) device. Google offers

no motivation to do so other than hindsight. 2 See Otsuka Pharm. Co. v. Sandoz, Inc.,

678 F.3d 1280, 1298 (Fed. Cir. 2012) (affirming district court’s rejection of

“impermissible hindsight reasoning”).




2
    Google’s statement that Dockser says its “‘register file’ can be ‘formatted

differently from IEEE 32-bit . . . and/or may contain a different number of register

locations’” is irrelevant. The different formatting referred to is the mapping of the

bits, not a change to a smaller number of bits. Dockser, [0017] (referring to changing

from IEEE 32-bit to IEEE 64-bit double (i.e. using 2 32-bit registers) format). The

different number of locations refers to changing from 16 total 32-bit registers to

another number of 32-bit registers. Id. See also POR, 40 n.4.


                                         16
                                         APPX05952
                       CONFIDENTIAL
              Case: 22-1866            MATERIAL
                            Document: 50-2         REDACTED
                                           Page: 271  Filed: 02/03/2023

                                                                  IPR2021-00155
                                                                  PATENT NO. 10,416,961

      B.     Google’s Skepticism Is Relevant Evidence of Non-obviousness
      Google erroneously states that evidence of skepticism after the invention date

is legally irrelevant. Reply, 22. The Board and the Federal Circuit have considered

this position. E.g., WBIP, LLC v. Kohler Co., 829 F.3d 1317, 1335-36 (Fed. Cir.

2016) (giving weight to skepticism after prototype was produced); Pressure Prods.

Med. Supplies, Inc. v. Greatbatch Ltd., 599 F.3d 1308, 1319 (Fed. Cir. 2010)

(considering evidence of skepticism after patents issued where companies initially

turned down license to patents “because they did not believe that the invention would

work”); Gillette Co. v. S.C. Johnson & Son, Inc., 919 F.2d 720, 725-26 (Fed. Cir.

1990); EIS GmbH v. Novoluto GmbH, IPR2020-00007, Paper No. 41, 61 (P.T.A.B.

Sep. 23, 2021). Both have concluded that there is no logical reason that skepticism

of an invention after it has been invented is any less probative than skepticism before.

      Google’s remaining arguments about this issue rely on cherry-picked quotes

from Google emails. Reply, 22-23. As shown in the POR, the evidence when taken

as a whole clearly shows that Google was skeptical that the invention would be

workable or useful. POR, 50-52.




      Accordingly, the skepticism of Google’s expert employees weighs in favor of

non-obviousness. WBIP, 829 F.3d, 1335-36 (“If industry participants or skilled


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                     CONFIDENTIAL
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                                     50-2 Page: REDACTED
                                                272 Filed: 02/03/2023

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                                                                PATENT NO. 10,416,961

artisans are skeptical about whether or how a problem could be solved or the

workability of the claimed solution, it favors non-obviousness.”).

      C.      Google’s Praise Is Relevant Evidence of Non-obviousness

      As set forth in the POR, Google’s own employees, considered experts in the

field, praised Dr. Bates’s invention. POR, 52-53. Google argues that the praise itself

“identifies no specific features.” Reply, 23. There is, however, no requirement that

praise identify exactly the features being praised. Here, the praise was directed to

Singular’s invention, as set forth                            . POR, 52-53. That is

sufficient. See WBIP, 829 F.3d at 1334-35.

      Google further states that

                                                Reply, 24. But as explained in the

POR, Google’s initial skepticism turned to praise as its employees began to

understand the technology. POR, 52-53.

      D.      Unexpected Results Provide Relevant Evidence of Non-
              obviousness
      The POR sets out unexpected results in the form

                                          . POR, 53-57. Google’s only argument

against               is that a subjective belief is insufficient. Reply, 24. But the




-         Accordingly, these results weigh in favor of non-obviousness.




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                                         APPX05956
                      Case: 22-1866    Document: 50-2      Page: 273    Filed: 02/03/2023




                    United States Patent and Trademark Office
                     Before the Patent Trial and Appeal Board


                                             GOOGLE LLC,
                                                 (Petitioner)

                                                      v.
                                 SINGULAR COMPUTING LLC,
                                              (Patent Owner)




                                            Inter Partes Review
                            No. IPR2021-00155 | U.S. Patent No. 10,416,961
                            No. IPR2021-00165 | U.S. Patent No. 9,218,156
                            No. IPR2021-00179 | U.S. Patent No. 8,407,273
                                                                                                  Google Exhibit 1098
                                                                                                  Google v. Singular
                                      Petitioner’s Demonstrative Exhibits                         IPR2021-00155
February 11, 2022
                                                                        DEMONSTRATIVE EXHIBIT – NOT EVIDENCE | REDACTED VERSION   |1

                                                APPX06066
                                         Case: 22-1866                     Document: 50-2                Page: 274            Filed: 02/03/2023

     Singular’s Arguments Against Motivation to
     Combine Are Unsupported                                                                                                                                                                      Reply 9-10

   Singular’s POR                                                                                        Petitioner’s Expert

                         Dockser's FPPs are even larger than traditional full-preci sion                         3 1.   Dr. Khatri asserts that Dockser's FPP would " increase costs" in

       execution units because of the control circuitry needed to implement the selectable                 MacMillan' s system. Khatri ,     104 (emphasis in origi nal). However, I have

       subpreci ion modes. Id. ; Goodin Dep. 70:6-12 (explaining that Dockser does not                     reviewed Dr. Kha11·i ' s declaration, and I find no evidence cited in Dr. Khatri ' s

       reduce space compared to conventional units), 43 :2 1-45 :9 (additional circuitry                   declaration to demonstrate that incorporating Dockser's FPP into MacMill an's

       required to reduce precision). As a result, replacing the full-preci sion execution                 system would increase cost at all, much less to any appreciable degree. Dr. Khatri

       units of MacMillan with Dockser FPP units would require additional circui try and                   says in   103 of hi s declaration that "Dockser' s FPPs are even larger than

       chip pace and would therefore increase costs, while providing no benefit.           .,1,,           traditional full-precision execution units because of the control circuitry needed to

                                                                                                           impl ement the selectable subprecision modes" (emphasis in original). But I find
                                      ’273 POR at 35 (’156 POR at 37; ’961 POR at 36)
                                                                                                           no evidence cited in Dr. Khatri ' s declaration that establi hes that any size
   Petitioner’s Expert
                                                                                                           difference that may exist between Dockser's FPP and conventional units would
                                                                                                   'Ir
                                                                                                           increase cost, much less that any such increase would outweigh the cost decrease
       Q. Does the processor of Dockser require circuitry to
          power off the bits representing the portions of the                                              gained by Dockser" s power savings . Additionally, even if there were some cost

          mantissa that aren't going to be used in the operation?                                          increase, that does not mean there is no motivation to implement the combination


       A. Well, certainly, there would be circuitry that would                                             for other beneficial reasons, such as those I discussed in my original declaration .

          cause power to be removed from a floating-point                                                  Goodin-Orig.,      353-357.

          register elements for the excess bits of the fraction.
                                              * * *
                                                                                                                                                                   Ex. 1071 at ¶ 31 (cited Reply, 10)
             I believe that Dockser does disclose circuitry that
             would remove power from the logic in the floating-
             point operation in the logic bit-dropping case.


                   Ex. 2043 at 43-44 (cited ’273 POR at 35; ’156 POR at 37; ’961 POR at 36)
DEMONSTRATIVE EXHIBIT – NOT EVIDENCE | REDACTED VERSION                                                                                                                                                  21

                                                                                               APPX06086
       Case: 22-1866     Document: 50-2   Page: 275   Filed: 02/03/2023



Trials@uspto.gov                                            Paper No. 56
571-272-7822                                          Date: April 6, 2022



      UNITED STATES PATENT AND TRADEMARK OFFICE
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        BEFORE THE PATENT TRIAL AND APPEAL BOARD
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                             GOOGLE LLC,
                               Petitioner,

                                    v.

                     SINGULAR COMPUTING LLC,
                           Patent Owner.
                          ______________

                       PART 1: PUBLIC PORTION
                           ______________

                   IPR2021-00155 (Patent 10,416,961 B2)
                    IPR2021-00165 (Patent 9,218,156 B2)
                    IPR2021-00179 (Patent 8,407,273 B2)
                            ______________

                         Record of Oral Hearing
                         Held: February 11, 2022
                            ______________



Before JUSTIN T. ARBES, STACEY G. WHITE, and JASON M. REPKO,
Administrative Patent Judges.




                                 APPX06165
     Case: 22-1866    Document: 50-2    Page: 276   Filed: 02/03/2023

IPR2021-00155 (Patent 10,416,961 B2)
IPR2021-00165 (Patent 9,218,156 B2)
IPR2021-00179 (Patent 8,407,273 B2)



APPEARANCES:

ON BEHALF OF THE PETITIONER:

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   Rye, NY 10580



      The above-entitled matter came on for hearing on Friday, February
11, 2022, commencing at 1:00 p.m., EDT, by video/by telephone.




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                               APPX06166
             Case: 22-1866   Document: 50-2   Page: 277   Filed: 02/03/2023

     IPR2021-00155 (Patent 10,416,961 B2)
     IPR2021-00165 (Patent 9,218,156 B2)
     IPR2021-00179 (Patent 8,407,273 B2)

1    as the floating point unit in each MacMillan P E in this parallel
 2   architecture.
 3            Singular made three arguments on this ground that I'll step
 4   through now. So slide 20. T heir first argument is that Dockser's
 5   unit is allegedly bigger and therefore would increase cost but
 6   they have no data or documentary evidence to support that. T hey
 7   have only expert testimony that only parrots the P OR's
 8   conclusory statements. T hat's not entitled to any weight. As
 9   Your Honors told Singular at Institution they would have needed
10   some cost analysis to make this type of argument and they still
11   don't have any.
12            Slide 21. T hey also cite our expert who answered some
13   questions about circuitry but he only said that Dockser has some
14   circuitry to switch power off. He certainly never said that
15   amount of circuitry would cause any appreciable size or cost
16   increase and his reply declaration testified that power savings
17   from Dockser's units would be a cost decrease. So no evidence
18   supports Singular's argument against motivation to combine.
19            Side 22.
20            JUDGE REP KO: You have a little more than seven minutes
21   left.
22            MS. HUNT : T hank you. T heir second argument was for
23   some claims reciting a computing device on slide 22. I don't see
24   this issue in their slides so I'll rest on the papers for that
25   argument. I will just note that their surreply's only response to



                                        20
                                    APPX06184
        Case: 22-1866   Document: 50-2      Page: 278   Filed: 02/03/2023

     IPR2021-00155 (Patent 10,416,961 B2)
     IPR2021-00165 (Patent 9,218,156 B2)
     IPR2021-00179 (Patent 8,407,273 B2)

1    high precision, Dockser's whole concept is that you could have
 2   selectable precision. T hat's why you want a Dockser processor
 3   so that when you don't need the entirety of the precision in the
 4   processor you can just switch off what you don't need and in
 5   order to get to the MacMillan alternate embodiment you would
 6   have to go ahead and strip away the inventive concept. T hat is
 7   not obvious. It is never obvious to take a reference and strip
 8   away the inventive concept.
 9        T ong certainly provide that motivation. T ong says that it is
10   inevitable you are going to need full precision. He says it is
11   inevitable that you need full precision in a system so T ong
12   doesn't teach either for ground 2 or for grounds 3 and 4 that you
13   would ever strip away the inventive concept of Dockser because
14   if anything T ong reinforces Dockser. T ong says the same thing.
15   He says you need selectable precision.
16        Now, if MacMillan is going to be a lower cost device, right,
17   and if we turn to our slide that has some of the specification
18   from MacMillan and that is slide 17 you're not going to replace
19   your 32-bit processing element with Dockser which has even
20   more transistors. Now we heard -- we know that on Institution
21   the Board said that there wasn't evidence regarding cost.
22   MacMillan provides all the evidence we need and a portion and
23   we cited in MacMillan on claim 17 talks about one of the issues
24   with a SIMD device, a power device. It says,
25        "T o overcome this pin bottleneck some SIMD designs have



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                                APPX06206
        Case: 22-1866     Document: 50-2    Page: 279   Filed: 02/03/2023

     IPR2021-00155 (Patent 10,416,961 B2)
     IPR2021-00165 (Patent 9,218,156 B2)
     IPR2021-00179 (Patent 8,407,273 B2)

 1   a large register set on each P E allowing temporary results to
 2   remain local to the P E, thereby reducing the number of loads and
3    stores needed. However, this increases die area for P E resulting
4    in higher cost per P E."
5         So we see that the art itself cited by P etitioner teaches if
6    you have more registers that increases die area, that means
7    higher cost and MacMillan's teaching you don't want all these
 8   extra registers because it increases cost and that's not what we're
 9   trying to do here. We're trying to have a low cost computer such
10   as a personal computer with higher performance. So there's no
11   motivation, in fact there's a negative motivation to include a
12   Dockser processor with additional registers in the MacMillan
13   device and there's no reason to strip all that away either because
14   Dockser tells you you need that as does T ong. So these
15   combinations fail.
16        Unless there are any questions, Your Honors, I would like
17   to retain the rest of my time for rebuttal.
18        JUDGE REP KO: All right. Do my colleagues have any
19   questions? No? Okay. T hank you, counsel. P etitioner, you
20   have 11 minutes for rebuttal.
21        MS. HUNT : T hank you, Your Honor. So let me try to step
22   backwards through some of these from the most of what counsel
23   said backwards. So counsel was just discussing his slide 17 on
24   MacMillan where we're hearing this argument for the first time
25   that their evidence on cost is MacMillan saying that a large



                                     43
                                 APPX06207
         Case: 22-1866   Document: 50-2     Page: 280   Filed: 02/03/2023

     IPR2021-00155 (Patent 10,416,961 B2)
     IPR2021-00165 (Patent 9,218,156 B2)
     IPR2021-00179 (Patent 8,407,273 B2)

 1   register set on each P E in some SIMD designs from the prior art
 2   would increase die area resulting in higher cost. First of all, this
 3   is an improper new argument that we haven't heard before today.
 4   But if their argument is that somehow this relates to what the
 5   architecture is in Dockser, there is no evidence here and no
 6   expert support for the idea that whatever MacMillan is talking
 7   about here is something that happens in Dockser's P E.
 8   MacMillan's talking about some specific design with a large
 9   register set. I don't even know what registers it is that counsel is
10   pointing to in Dockser. Dockser just has input registers that a
11   T E would have and has, you know, one register for a control
12   select bits to tell you what to do. T hat is not a large register set
13   different from what a typical, you know, 32-bit P E would have in
14   MacMillan. T here's certainly no evidence supporting that and
15   this argument has nothing to do with the selectable precision
16   nature of Dockser which was the whole basis of Singular's
17   argument in the P OR.
18        Counsel said T ong says it's inevitable that you need full
19   precision. T heir (audio interference) context there which says
20   (audio interference) T ong is talking about if you want a more
21   general purpose system which is not the system that we're talking
22   about in ground 4 as we discussed.
23        Counsel said that to get to the ground 4 combination you'd
24   have to strip away Dockser's inventive concept. I don't see
25   where that happens. Ground 4's customized implementation is



                                     44
                                 APPX06208
        Case: 22-1866   Document: 50-2      Page: 281   Filed: 02/03/2023

     IPR2021-00155 (Patent 10,416,961 B2)
     IPR2021-00165 (Patent 9,218,156 B2)
     IPR2021-00179 (Patent 8,407,273 B2)

1    removing some hardware for precision levels that are higher than
2    the ones that you determine that you need for the particular
3    programs that you're going to perform. T he petition didn't say
4    that we would be stripping away the concept of selectivity but
5    just, you know, some precision levels that in an embedded
6    system for the programs that you have tested given T ong's
7    techniques. You know what precision levels you need, you don't
8    need higher ones so not all of that hardware is necessary and
 9   that's typical in an embedded system customized --
10        JUDGE WHIT E: Wouldn't that precisely remove the
11   selectability? If you slim down the hardware so that you don't
12   have these other capabilities, what would you have left to select
13   between?
14        MS. HUNT : You would have the capabilities for the
15   precision levels that you need for the programs you're going to
16   perform for the signal processing programs; right? T ong
17   discusses that there's a range of precision levels that are
18   appropriate for different signal processing programs. So if
19   you're in an embedded system that can be performing a number
20   of these types of programs you would have a particular range of
21   precision levels that you determine that you need and the ones
22   that you don't need you don't need that hardware for because that
23   would always be the ones that are always powered down to zero
24   and would not be in the system.
25        Counsel also mentioned the particular goals that MacMillan



                                    45
                                APPX06209
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UNITED STATES PATENT AND TRADEMARK OFFICE
                _____________

 BEFORE THE PATENT TRIAL AND APPEAL BOARD
                _____________

                    GOOGLE LLC,
                      Petitioner,

                           v.

            SINGULAR COMPUTING LLC,
                   Patent Owner.
                  _____________

                Case No. IPR2021-00155
                 Patent No. 10,416,961
                    _____________




        PETITIONER’S NOTICE OF APPEAL




                       APPX06247
          Case: 22-1866      Document: 50-2     Page: 283    Filed: 02/03/2023

                                                                 IPR2021-00155
                                                      U.S. Patent No. 10,416,961
      Pursuant to 35 U.S.C. §§ 141(c), 142, and 319 and 37 C.F.R. §§ 90.2(a) and

90.3, notice is hereby given that Petitioner Google LLC appeals to the United

States Court of Appeals for the Federal Circuit from the Final Written Decision

entered May 11, 2022 (Paper 57) in Case No. IPR2021-00155, the public version

of which is attached as Exhibit A, and from all orders, decisions, rulings, and

opinions underlying the Final Written Decision.

      For the limited purpose of providing the Director with the information

requested in 37 C.F.R. § 90.2(a)(3)(ii), Petitioner anticipates that the issues on

appeal may include, but are not limited to:

    The panel’s finding that claims 3 and 23 were not shown to be unpatentable

      as obvious.

       Pursuant to 37 C.F.R. § 90.3, this Notice of Appeal is timely, having been

duly filed within 63 days after the date of the Final Written Decision.

      A copy of this Notice of Appeal is being filed simultaneously with the Patent

Trial and Appeal Board, the Clerk’s Office for the United States Court of Appeals

for the Federal Circuit, and the Director of the U.S. Patent and Trademark Office.

                                       Respectfully submitted,
                                       Google LLC

Date: June 2, 2022                     /Elisabeth Hunt/
                                       Elisabeth H. Hunt, Reg. No. 67,336




                                        1
                                      APPX06248
        Case: 22-1866     Document: 50-2   Page: 284     Filed: 02/03/2023




       UNITED STATES PATENT AND TRADEMARK OFFICE
                      _________________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
__________________________________________________________________


                               GOOGLE LLC,
                                Patent Owner,


                                      v.


                    SINGULAR COMPUTING LLC,
                          Patent Owner.


                             Patent No. 10,416,961
                         Filing Date: October 30, 2018
                        Issue Date: September 17, 2019

                        Inventor: Joseph Bates
          Title: PROCESSING WITH COMPACT ARITHMETIC
                      PROCESSING ELEMENT


__________________________________________________________________

              PATENT OWNER’S NOTICE OF APPEAL

                      Case No. IPR2021-00155
__________________________________________________________________




                                  APPX06351
           Case: 22-1866     Document: 50-2     Page: 285    Filed: 02/03/2023

                                                                    IPR2021-00155
                                                         U.S. Patent No. 10,416,961

      Pursuant to 35 U.S.C. §§ 141, 142, and 319 and 37 C.F.R. §§ 90.2 and 90.3,

Patent Owner Singular Computing LLC (“Singular” or “Patent Owner”) hereby

provides notice that it appeals to the United States Court of Appeals for the Federal

Circuit from the Final Written Decision entered May 11, 2022 (Paper 57) and from

all underlying orders, decisions, rulings, and opinions regarding U.S. Patent No.

10,416,961 (the “’961 patent”) in Case No. IPR2021-00155. This notice is timely

under 37 C.F.R. § 90.3 and Fed. R. App. P. 4(a)(3) having been filed within 63 days

after the date of the Final Written Decision. For the limited purpose of providing the

Director with the information requested in 37 C.F.R. § 90.2(a)(3)(ii), Patent Owner

anticipates that the issues on appeal may include, but are not limited to: the Board’s

claim constructions or determinations not to construe terms; its application of those

constructions; any implied claim constructions; its obviousness determinations that

claims 1, 2, 4, 5, 10, 13-14, 21, and 24-25 of the ’961 patent are unpatentable under

35 U.S.C. § 103; any findings related to secondary considerations of non-

obviousness; the findings, rulings and conclusions supporting or relating to those

determinations; its order dismissing Patent Owner’s Motion to Exclude; and any

other issues decided adversely to Patent Owner in any orders, decisions, rulings, or

opinions in IPR2021-00155.

      Simultaneous with this submission, three (3) copies of this Notice of Appeal

are being filed with the Clerk of the United States Court of Appeals for the Federal

                                        1
                                      APPX06352
           Case: 22-1866     Document: 50-2    Page: 286    Filed: 02/03/2023

                                                                    IPR2021-00155
                                                         U.S. Patent No. 10,416,961

Circuit and are being submitted electronically through the Court’s CM/ECF system,

together with the requisite fee in the amount of $500.00. In addition, a copy of this

Notice of Appeal is being filed with the Patent Trial and Appeal Board and served

upon counsel of record for Google LLC.

                                       Respectfully submitted,

Dated: July 12, 2022                   /Peter Lambrianakos                   /
                                       Peter Lambrianakos (Reg. No. 58,279)
                                       Lead Counsel for Patent Owner
                                       Vincent J. Rubino, III (Reg. No. 68,594)
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                                     APPX06353
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                                                                  IPR2021-00155
                                                       U.S. Patent No. 10,416,961

                          CERTIFICATE OF SERVICE

      A copy of Patent Owner’s Notice of Appeal is being served via email on

Petitioners’ attorneys of record on the 12th day of July, 2022, the same day as the

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